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                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT
                                    ____________
                                     Case No. 22-1198 (L)
                                          (2:20-cv-00278)
                                           ____________

        DON BLANKENSHIP

                   Plaintiff-Appellant

        v.

        NBCUNIVERSAL, LLC; CNBC, LLC

                   Defendants-Appellees

        and

        DOES 1-50, inclusive

                   Defendant
                                           ____________
                                         Case No. 22-1207
                                          (2:19-cv-00236)
                                           ____________

        DON BLANKENSHIP

                   Plaintiff-Appellant

        v.

        FOX NEWS NETWORK, LLC; CABLE NEWS NETWORK, INC.; MSNBC
        CABLE LLC; 35TH INC.; WP COMPANY LLC, d/b/a The Washington Post;
        DOES 1-50, inclusive; MEDIAITE, LLC; FISCALNOTE, INC., d/b/a Roll Call;
        NEWS AND GUTS, LLC; THE CHARLESTON GAZETTE-MAIL; AMERICAN



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        BROADCASTING COMPANIES,                INC.;      TAMAR     AUBER;     GRIFFIN
        CONNOLLY; ELI LEHRER

                   Defendants-Appellees

        and

        DOES 1-50, inclusive

                   Defendant
                                        ____________

                          Appeal from the United States District Court
                    for the Southern District of West Virginia at Charleston
                                        ____________

                                     JOINT APPENDIX
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                                   ____________




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                       DOCUMENT            DATE          ECF     VOLUME PAGE
                      DESCRIPTION                        NO.
              31. Memorandum of Points 06/07/2021       911-5           IV   848
                  and Authorities In
                  Support of Plaintiff Don
                  Blankenship’s
                  Opposition to Motion
                  for Summary Judgment
                  of Defendant MSNBC
                  Cable, LLC – Exhibit 5:
                  Excerpts from
                  Deposition Transcript of
                  Joy Reid taken on April
                  19, 2021
              32. Memorandum of Points 06/07/2021       911-6           IV   894
                  and Authorities In
                  Support of Plaintiff Don
                  Blankenship’s
                  Opposition to Motion
                  for Summary Judgment
                  of Defendant MSNBC
                  Cable, LLC – Exhibit 6:
                  Excerpts from
                  Deposition Transcript of
                  Denis Horgan taken on
                  April 23, 2021
              33. Memorandum of Points 06/07/2021       911-7           IV   926
                  and Authorities In
                  Support of Plaintiff Don
                  Blankenship’s
                  Opposition to Motion
                  for Summary Judgment
                  of Defendant MSNBC
                  Cable, LLC – Exhibit 7:
                  Excerpts from
                  Deposition of Don
                  Blankenship taken on
                  November 18, 2020



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              34.   Memorandum of Points       06/07/2021    911-8           IV   945
                    and Authorities In
                    Support of Plaintiff Don
                    Blankenship’s
                    Opposition to Motion
                    for Summary Judgment
                    of Defendant MSNBC
                    Cable, LLC – Exhibit 8:
                    Letter from Dr. Stan
                    Smith to Mr. Eric Early
                    re Assessment of
                    Damages dated February
                    1, 2021
              35.   Memorandum of Points       06/07/2021    911-9           IV   1001
                    and Authorities In
                    Support of Plaintiff Don
                    Blankenship’s
                    Opposition to Motion
                    for Summary Judgment
                    of Defendant MSNBC
                    Cable, LLC – Exhibit 9:
                    Excerpts from
                    Deposition Transcript of
                    Don Blankenship taken
                    on April 29, 2021
              36.   Defendant MSNBC            06/14/2021    938             IV   1021
                    Cable, LLC’s Reply In
                    Support of Its Motion
                    for Summary Judgment
              37.   Defendant MSNBC            06/14/2021    938-1           IV   1047
                    Cable, LLC’s Reply In
                    Support of Its Motion
                    for Summary Judgment
                    – Exhibit 1: Excerpts
                    from Deposition
                    Transcript of
                    Christopher Loffredo


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                        DESCRIPTION                           NO.
                    Hayes taken on March 2,
                    2021
              38.   Defendant MSNBC            06/14/2021    938-2           IV   1083
                    Cable, LLC’s Reply In
                    Support of Its Motion
                    for Summary Judgment
                    – Exhibit 2: Excerpts
                    from Deposition
                    Transcript of Denis
                    Horgan taken on April
                    23, 2021
              39.   Defendant MSNBC            06/14/2021    938-3           IV   1095
                    Cable, LLC’s Reply In
                    Support of Its Motion
                    for Summary Judgment
                    – Exhibit 3: Excerpts
                    from Deposition
                    Transcript of Joy-Ann
                    Lomena-Reid taken on
                    April 19, 2021
              40.   Defendant MSNBC            06/14/2021    938-4           IV   1121
                    Cable, LLC’s Reply In
                    Support of Its Motion
                    for Summary Judgment
                    – Exhibit 4: Excerpts
                    from Deposition
                    Transcript of Marian
                    Porges taken on
                    December 10, 2020
              41.   Defendant MSNBC            06/14/2021    938-5           IV   1134
                    Cable, LLC’s Reply In
                    Support of Its Motion
                    for Summary Judgment
                    – Ex. 5: Excerpts from
                    Deposition Transcript of
                    Don Blankenship taken
                    on April 29, 2021


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                                      EXHIBIT 5
                               Excerpts from Deposition
                                 of Joy Reid taken on
                                     April 19, 2021




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                                         In the Matter Of:

                                        Don Blankenship vs
                                           Fox News Network




                                 JOY--ANN LOMENA-REID
                                           April 19, 2021




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             Fox News Network                   Confidential                       April 19, 2021

                                                                                           1
         1                           UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF WEST VIRGINIA
         2                               CHARLESTON DIVISION

         3     DON BLANKENSHIP,             §
                                            §
         4             Plaintiff,           §
                                            §
         5     v.                           § Case No.:        2:19-cv-00236
                                            §
         6     FOX NEWS NETWORK,            §
               L.L.C., et al.               §
         7                                  §
                      Defendants.           §
         8
               * * * * * * * * * * * * * * * * * * * * * * * * * * *
         9
                         REMOTE VIDEOTAPED ORAL DEPOSITION OF
        10                      JOY-ANN LOMENA-REID
                           Designated as "Confidential"
        11                        April 19, 2021
               * * * * * * * * * * * * * * * * * * * * * * * * * * *
        12

        13            REMOTE VIDEOTAPED ORAL DEPOSITION OF JOY-ANN

        14     LOMENA-REID, produced as a witness and duly sworn, was

        15     taken in the above-styled and numbered cause on April

        16     19, 2021, from 10:01 a.m. until 12:12                 p.m.   (Eastern

        17     Time), before Suzanne Kelly, RDR, CRR, in and for the

        18     State of Texas, reported by stenographic method with

        19     all participants appearing remotely from separate

        20     locations pursuant to emergency orders related to the

        21     COVID-19 pandemic.

        22

        23     Reported by:         Suzanne Kelly, CSR, RDR, CRR

        24     Job Number:        2021-785595

        25


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                                                 0850
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                                                                                        2
         1                                  APPEARANCES

         2     FOR THE PLAINTIFF:

         3     Jeremy Gray, Esq.
                     -and-
         4     Saam Takaloo, Esq.
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        19     FOR ABC:

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        24

        25


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                                                                                        3
         1                           APPEARANCES (Continued)

         2
               FOR THE DEFENDANT CABLE NEWS NETWORK AND THE
         3     WASHINGTON POST:

         4     Melinda Johnson, Esq.
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         6     202-434-5181
               mkjohnson@wc.com
         7

         8     FOR DEFENDANT FOX NEWS NETWORK, L.L.C.:

         9     Silvia N. Ostrower, Esq.
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        10     200 Park Avenue
               New York, New York 10166
        11     212.309.1204
               sostrower@HuntonAK.com
        12

        13     ALSO PRESENT:

        14     Mr.   Don Blankenship
               Mr.   Phil Roller, Videographer, proller@otrlv.com
        15     Mr.   Erik Bierbauer, MSNBC in-house counsel
               Ms.   Gail Gold
        16

        17

        18

        19

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                                                                                           6
         1     B-i-e-r-b-a-u-e-r.           He is in-house counsel for

         2     MSNBC.      And he'll be taking the lead in defending

         3     this deposition.

         4                          MR. BIERBAUER:       I would just add

         5     that I believe the General Counsel Gail Gold,

         6     will also be joining although she may have

         7     trouble getting in for the moment.

         8                          THE VIDEOGRAPHER:          All right.   And

         9     the Court Reporter, Dawna Suzanne Kelly, will now

        10     swear in the witness.

        11                          MS. OSTROWER:       This Silvia Ostrower

        12     of Hunter Andrews Kurth for Fox News Network.

        13                          MR. KALINOWSKI:          Caesar Kalinowski

        14     from Davis Wright Tremaine appearing on behalf of

        15     ABC.

        16                          MS. JOHNSON:      Mindy Johnson

        17     appearing on behalf of CNN and the Washington

        18     Post.

        19                          MR. GRAY:    Suzi, you're muted.

        20                          THE COURT REPORTER:          Anyone else to

        21     announce?

        22                          In that is the case, Ms. Reid, if

        23     you would please raise your right hand.

        24                          Do you solemnly swear or affirm

        25     that the testimony which you give in this case


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                                                                                             7
         1     will be the truth, the whole truth and nothing

         2     but the truth, so help you God?

         3                          THE WITNESS:      I do.

         4                          THE COURT REPORTER:          Thank you.

         5                          You all may proceed.

         6                          JOY-ANN LOMENA-REID,

         7     having sworn to testify the truth, the whole

         8     truth, and nothing but the truth testifies upon

         9     her oath as follows:

        10                                  EXAMINATION

        11     BY MS. REID:

        12            Q.     Good morning, Ms. Reid.            My name is

        13     Jeremy Gray.         I am a lawyer, I represent Don

        14     Blankenship in this litigation.

        15            A.     Good morning.

        16            Q.     Morning.       Could you please state and

        17     spell your full name for the record?

        18            A.     My full name is Joy-Ann Lomena-Reid.

        19     Joy, J-o-y-A-n-n.            Last name L-o-m-e-n-a-R-e-i-d

        20     but it's also just Joy-Ann Reid.

        21            Q.     Ms. Reid, have you ever had your

        22     deposition taken before?

        23            A.     No.

        24            Q.     Let me go over some of the ground rules.

        25                          I'm going to be asking you


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                                                  0854
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         1            Q.     Take a moment to read the two paragraphs

         2     under "Opinion and Commentary."

         3            A.     Uh-huh.

         4            Q.     So have you read those two paragraphs?

         5            A.     I have.

         6            Q.     Is that your understanding of the policy

         7     to which you were generally referring to just a

         8     moment ago?

         9            A.     Yes.

        10            Q.     Okay.     Is it -- it's your understanding

        11     that you are allowed to provide opinions; is that

        12     right?

        13            A.     Correct.

        14            Q.     But that doesn't detract from your

        15     obligation to be factually accurate; true?

        16            A.     To strive to be accurate, yes.

        17            Q.     A couple more questions on Exhibit 1.

        18                           Did you ever attend any training

        19     sessions at NBC Universal regarding these

        20     policies?

        21            A.     I can't recall doing a training

        22     specifically on this.           I don't -- I mean I worked

        23     there a long time.           So I can't recall.

        24            Q.     I'm going to mark as Exhibits "2" and

        25             two                     The first, Exhibit 2, are


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         1     document control numbers 87 through 105 and it's

         2     dated          it is for a first show dated July 9,

         3     20 1 8.

         4                            And the second transcr i pt is - -

         5     which is Exh i bit 3, are document control numbers

         6     1 45 through 163 and it's for a show dated May 24,

         7     2019.

         8                            Do you have those

         9                            MR . BI ERBAUER:           think you said

        10     "July 9th, 2018" for Exhibit 2 and I think you

        11     meant January 9th, 2018.

        12                            MR. GRAY:    I did .        I did mean

        13     January 9th, I apologize.               Thank you, Counsel.

        14                            THE WI TNESS:      I have.

        15                            MR. GRAY:    So let me correct for

        16     the record.          Exhibit 2 is J anuary 9, 2018, I

        17     misspoke.          Exhibit 3 is May 4, 2018.

        18                            THE WI TNESS:      Uh - huh.

        19     BY MR. GRAY:

        20               Q.   Do you have those two in front of you,

        21     ma ' am?

        22               A.   I do.

        23               Q.   All r i ght .   So I 'm going to ask you some

        24     questions about these later.                      just wanted to

        25     mark them.


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         1                          So these are two shows where you

         2     guest hosted for Chris Hayes on "All In."               Is

         3     that right?

         4             A.    Yes.

         5             Q.    And -- and those shows were in 2018?

         6             A.    Yes.

         7             Q.    Was there a typical amount of notice

         8     that you would be given before you guest hosted a

         9     show?

        10             A.    It depends.    You know if the person,

        11     the -- the original host is out sick, for

        12     instance, you get very little notice.

        13                          If there was a planned, you know,

        14     vacation or, you know, he was going to be out,

        15     you might get, you know, a week or two notice.

        16     It just really depends on what -- what were the

        17     circumstances of the person being out.

        18             Q.    Understood.    Do you recall with respect

        19     to either the January 9th show or the May 4th

        20     show in either case, how much notice you had

        21     that you were going to be the guest host that

        22     day?

        23             A.    I -- I absolutely do not remember that,

        24     no.

        25             Q.    Did you typically confer with Mr. Hayes


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         1     familiar.          I'm not the best with names in general

         2     but her name sounds familiar.

         3            Q.     How about Diane Shamis or "Shamis"?

         4            A.     Diane Shamis, yes.

         5            Q.     Denis Horgan?

         6            A.     Yes.     He's the executive producer of

         7     that show.

         8            Q.     Todd Cole?

         9            A.     He's a producer on that show, yeah.

        10            Q.     Brendan O'Melia?

        11            A.     He is the senior producer on that show.

        12            Q.     And Rachel Simon?

        13            A.     Rachel -- that name sounds familiar.          I

        14     think she is a staffer somewhere on that show.

        15            Q.     Okay.     Do you recall ever working with

        16     someone named "Gregg Cockrell"?

        17            A.     You know what's interesting is that

        18     I -- I don't know if I ever worked with Gregg

        19     Cockrell on that show, but I think I used to work

        20     with him at WTVJ weirdly enough.

        21                           That -- the only Gregg Cockrell I

        22     remember worked at WTVJ back when I did.             So I

        23     don't recall a Gregg Cockrell being on this

        24     particular show.

        25            Q.     When y:ou hosted the "All In" show in


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         1     2018,    were portions of the program scripted in

         2     advance?

         3             A.    Well, "in advance," us -- is not sort of

         4     the way I would put it, no.             Every show that's a

         5     daily show is scripted that day.                 So, the show

         6     that's going to air at 8:00 o'clock live is

         7     scripted that day.

         8             Q.    All right.     So just so there's no

         9     confusion, when I say,         "in advance," I mean

        10     before you start broadcasting.                 So ...

        11             A.    It's scripted that day in advance, yeah.

        12     It's scripted during the day and worked on and

        13     then you go live with it at 8:00.

        14             Q.    And who prepares those scripts?

        15                           Let me ask it more specifically.

        16     In 2018, when you were get hosting "All In," how

        17     were those scripts prepared?             Let me ask you

        18     generally.

        19             A.    Okay.     So this is from memory.         Not

        20     having guest hosted that show as a while.

        21                           As I recall, you come in for the

        22     meeting in the morning which is I think the team

        23     meeting that, one, but I would like to get there

        24     a little early talk to the executive producer and

        25     the senior producers about kind of the lay of the


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         1     it's in my voice because I have to actually speak

         2     these words.         So I want to make sure that, you

         3     know, Chris and I don't speak the same way, you

         4     know, we don't have the same inflections or the

         5     same kind of vibes.

         6                          If you're       so even though you are

         7     guest hosting, you want it to be in the style of

         8     the show that it is.         You don't want to change

         9     the character of the show.            But you do want it to

        10     be in your voice because, you know, you're

        11     reading it.         So, I more edit it for that.

        12                          I don't edit it for content or for,

        13     you know, I don't go back and, you know, do any

        14     of that.       I'm just editing it more to make sure

        15     that it's in my voice.

        16            Q.     Were -- part of -- let me start again.

        17                          There were segments of the shows

        18     that you guest hosted in 2018, when there were

        19     guests being interviewed.           Were -- were those

        20     scripted in any way?

        21            A.     No.    The interviews are just live.       They

        22     are not scripted.

        23            Q.     Is it correct to say that other -- that

        24     segments other than interviews or where you have

        25     a 2anel discussion, discussing on the show, the


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         1     other seg -- other than those, the segments on

         2     the shows are scripted?

         3                           MR. BIERBAUER:       Objection to form.

         4     BY MR. GRAY:

         5             Q.    You can answer.

         6                           Let me rephrase the question.

         7             A.    Sure.

         8             Q.    I understand when you're interviewing

         9     someone, that's not scripted; true?

        10             A.    Correct.

        11             Q.    And again, we're talking about when

        12     you're guest hosting "All In" in 2018.

        13             A.    Uh-huh.

        14             Q.    So the interviews are not scripted;

        15     true?

        16             A.    Correct .      What's scripted is the

        17     introduction to the segment.               So you come in,

        18     and you come back from commercial and you set up

        19     the topic that's scripted and then you introduce

        20     the guest and then the conversation is

        21     unscripted.

        22             Q.    Would the same be true if you had a

        23     panel that was kicking around a topic of the

        24     day?

        25             A.    Correct.       The setup is scripted and the


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         1     conversation with the panel is unscripted .

         2            Q.     Mr. Hayes has a feature on his show

         3     called "Thing One" and "Thing Two."

         4                           Was that in 2018 when you are a

         5     guest hosting, was that scripted in advance?

         6            A.     Yes.     And just to be clear, when we say,

         7     "in advance," we mean that day before the show.

         8     Not like days before, it's scripted that day in

         9     advance of it airing life, yeah.

        10                           MR. GRAY:   We have been going for

        11     about an hour.          Why don't we take a 10-minute

        12     break?

        13                           THE WITNESS:      Okay.

        14                           THE VIDEOGRAPHER:          The time is

        15     10:57.      We are off the record.

        16                           (Recess taken.)

        17                           THE VIDEOGRAPHER:          The time is

        18     11:10 a.m.         We're back on the record.

        19     BY MR. GRAY:

        20            Q.     Ms. Reid, when you were preparing for

        21     these shows in 2018 that you were guest hosting,

        22     did you work with Mr. Denis Horgan on the scripts

        23     for those shows?

        24            A.          would say I did not work with Denis

        25     Horgan on the scripts for those shows, you know,


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         1     becau se he is, as the executive producer, he is

         2     not writing the scripts.            He is assigning the

         3     producers who write the scr i pts, and he's

         4     oversee ing the process overall.

         5                          So, I worked with him overall on

         6     the show.

         7             Q.    Were there particu l ar people that you

         8     recall working on with respect to the scripts

         9     d i rectly?

        10             A.    There are so many producers on these

        11     shows,        coul d not       I coul dn't reca l l which

        12     producer wrote wh i ch transcript from that far

        13     back.

        14                          But, you know, each producer is

        15     assigned a segment.          So one of the many producers

        16     on "All In" wrote Segment A, one wrote Segment B,

        17     one wrote, you know, they all                    you know,   I
        18     coul dn't te ll you which one .

        19             Q.    Did       did you and Mr. Horgan do a final

        20     read through or final review of all of those

        21     materia l s before the show aired?

        22             A.    Not together .     I mean, you know, he has

        23     his process and his review price and I have mine .

        24             Q.    Was it your understanding that he'd

        25     review whatever materials you were broadcasting


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         1     that day?

         2            A.     Yeah.     He's overseeing the overall

         3     process, yes.

         4            Q.     Okay.     Please put Exhibit 2 in front of

         5     you.

         6                           Do you have it?

         7            A.     Which - - which is Exhibit 2?      I ' m sorry.

         8            Q.     I'm sorry.     It's the January 9th show.

         9     Transcri pt of the January 9th show.

        10            A.     I have that.

        11            Q.     All right.     So as I said before, I' m

        12     just going to ask you about a couple of comments

        13     in this particular transcript so I'm just going

        14     to ask you about those if you feel the need to

        15     read more than I'm asking, l et me know .

        16     Otherwise, we' l l       just proceed.

        17                           If you could look at Page 101, to

        18     the document control number to at the bottom of

        19     that transcript.

        20            A.     Uh-huh.

        21            Q.     Do you have that in front of you?

        22            A.     Yes .

        23            Q.     All right.     Do you see the paragraph

        24     that begins "yet" about a third of the way down?

        25     "Yet the Associated Press"?


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         1             A.    Yes.

         2             Q.    All right.     You know above that, it

         3     says,    "Reid."       I understand that to mean that

         4     this is statements that you broadcast that day;

         5     is that correct?

         6             A.    Correct.

         7             Q.    All right.     And if you could just read

         8     from where it says, "After being convicted"

         9     through the end of the paragraph that begins

        10     with,    "yet, the Associated Press," yourself?

        11                           I'm going to ask you some questions

        12     about it.

        13             A.    Sure.     Read it to myself?

        14             Q.    Yeah.     And then I'm going to have you

        15     read part of it out loud but -- but I want to

        16     just make sure you are oriented.

        17             A.    Sure.

        18             Q.    Okay.     Could you read for me into the

        19     record the paragraph, just the paragraph that

        20     begins,      "Yet, the Associated Press"?

        21             A.    Sure.     "Yet, the Assoc i ated Press

        22     reports that the judge in Arpaio's case said

        23     pardons moot punishments in criminal cases but

        24     don't erase conviction.

        25                           Meaning that Arpaio is still an


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         1     85-year-old convicted criminal, which makes him

         2     the third convicted criminal running for office

         3     as an Republican this year,           joining Don

         4     Blankenship who is running for a Senate seat in

         5     West Virginia after serving a year in federal

         6     prison for ignoring safety regulations in a

         7     mining explosion in a 20 -- in 2010 that killed

         8     29 men."

         9                           Do you want me to keep going?

        10            Q.     No.     You can stop there.       That is fine.

        11            A.     Okay.

        12            Q.     Was that something what you just read

        13     into the record, is that something you broadcast

        14     on this show that night; true?

        15            A.     This is a transcript, so I cannot

        16     dispute that, yes.           This is correct.

        17            Q.     You have no reason to believe that's not

        18     accurate?

        19            A.     No reason, no.

        20            Q.     All right.     And was that something that

        21     was scripted in advance?

        22            A.     Yes.

        23            Q.     Do you recall providing any input into

        24     that portion of the show meaning -- let me re-ask

        25     the question.


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         1                          Do you recall providing any input

         2     into the script on              for this show relating to

         3     the paragraph that we just looked at?

         4            A.     No.    No.     I cannot.

         5            Q.     Do you --

         6            A.     Other than         again, the only input that

         7     I would offer would be, you know, sometimes

         8     adding an ellipse where I would pause or, you

         9     know, making sure that there was something about

        10     the voice that would be mine but this was just

        11     factual information.            So, I wouldn't have had any

        12     reason to that I can recall.

        13            Q.     Do you recall discussing Mr. Blankenship

        14     with any of the folks involved in preparation of

        15     the show prior to this broadcast?

        16            A.     Discussing him in what way?

        17            Q.     In any way.       In other words, do you

        18     recall as you sit here today, any discussion

        19     about Mr. Blankenship that you may have had with

        20     any of the producers or staff on the show prior

        21     to the January 9th broadcast?

        22            A.     I can't think of a reason why I would

        23     have had such a discussion.               So I can't recall

        24     anything like that, no.

        25            Q.     So for the May 4th show, I'm going


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         1     to -- we are going to play a portion of that so

         2     we can all watch it together.                 I believe it

         3     starts

         4                          MR. GRAY:   Saam, I believe it

         5     starts at 3234; is that right?

         6                          MR. TAKALOO:      3222.

         7                          MR. GRAY:   Okay.          Thank you.

         8                          So can you -- Saam, just let us

         9     know for the record the portion of the May 4th

        10     program that you're going to play.

        11                          MR. TAKALOO:      Sure, it is going to

        12     be 3222 to 3506.

        13                           (Video clip plays as follows:)

        14                          MS. REID:   Speech to the Trump base

        15     is ahead.          Plus the political ad you have to see

        16     to believe.          In tonight's Thing 1, Thing 2, next.

        17                          Thing 1 tonight, coal baron and

        18     convicted felon Don Blankenship who spent a year

        19     in federal prison for his role in a 2010 mine

        20     explosion that killed 29 people and who is still

        21     on probation has been trying to get Republicans

        22     votes in the West Virginia Senate primary by

        23     going after his own party, senate leader Mitch

        24     McConnell, nicknaming him "Cocaine Mitch" and

        25     referring to McConnell's father-in-law as a


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         1     quote,     "China person. "

         2                          MR. BLANKENSHIP:            I'm an American

         3     person.       I don't see this insinuation by the

         4     press that there is something racist about saying

         5     a "China person."            Some Korean persons and some

         6     of them are African persons.               It's not any

         7     slander there.

         8                          MS. REID:     Oh, oh, but he wasn't

         9     done there.        Behold the Blankenship's new

        10     campaign ad.

        11                          MR. BLANKENSHIP:            Swamp captain

        12     Mitch McConnell has created millions of jobs for

        13     China people.         While doing so, Mitch has gotten

        14     rich, in fact, his China family has given him

        15     tens of millions of dollars.               Mitch's swamp

        16     people are now running false negative ads against

        17     me, they are also childishly calling me

        18     "despicable" and "mentally ill."

        19                          The war to drain the swamp and

        20     create jobs for West Virginia people has begun.

        21     I will beat Joe Manchin and ditch Cocaine Mitch

        22     for the sake of the kids.

        23                          MS. REID:     It's for the kids.         And

        24     for the sake of the kids, Don Blankenship has a

        25     new defense against charges of racism and that's


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         1                          You know, in order to have a racist

         2     statement, you have to mention a race or a

         3     derogatory comment about a race.

         4                          (Video ceases to play.)

         5     BY MR. GRAY:

         6            Q.     So Ms. Reid, what we just watched was

         7     part of a program that was broadcast live on

         8     MSNBC on May 5th, 20 -- excuse me -- May 4th,

         9     2018; right?

        10            A.     Uh-huh.

        11            Q•     Is that a      II
                                                 yes 11 ?

        12            A.     Yes.    Sorry.           Yes.

        13            Q.     And this sounds weird, but that was you

        14     speaking?

        15            A.     Very different hair style, but yes.

        16            Q.     And you say that Mr . Blankenship is a

        17     coal baron and convict -- convicted felon.

        18                          Did you see that?

        19            A.     I saw that.

        20            Q.     And were you reading that off a

        21     teleprompter?

        22            A.     Yes.

        23            Q.     Was that scripted in advance?

        24            A.     Scripted that day, yes.

        25            Q.     There is a clip in that segment from the


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                                                                                         90
         1                UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF WEST VIRGINIA
         2                    CHARLESTON DIVISION
         3     DON BLANKENSHIP,    §
                                            §
         4             Plaintiff,           §
                                            §
         5     v.                           § Case No.:        2:19-cv-00236
                                            §
         6     FOX NEWS NETWORK,            §
               L.L.C., et al.               §
         7                                  §
                      Defendants.           §
         8
                             REMOTE VIDEOTAPED ORAL DEPOSITION OF
         9                         JOY-ANN LOMENA-REID
        10                             April 19, 2021

        11
                    I, Suzanne Kelly, RDR, CRR, in and for the State
        12     of Texas hereby certify to the following:

        13           That the witness, JOY-ANN LOMENA-REID, was duly
               sworn by the officer and that the transcript of the
        14     videotaped oral deposition is a true record of the
               testimony given by the witness;
        15
                    That the deposition transcript was submitted on
        16     the ___ day of ______ , 2021, to the witness for
               examination, signature and return to Suzanne Kelly by
        17     the ___ day of _ _ _ _ _ , 2021;

        18         That the amount of time used by each party at the
               deposition is as follows:
        19
                      Mr. Gray:        One hour and 43 minutes used;
        20
                    That pursuant to the information given to the
        21     deposition officer at the time said testimony was
               taken, the following includes counsel for all parties
        22     of record:

        23

        24

        25


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             Fox News Network                 Confidential                    April 19, 2021

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             Don Blankenship vs                                        Joy-Ann Lomena-Reid
             Fox News Network                 Confidential                    April 19, 2021

                                                                                     92
         1          I further certify that I am neither counsel for,
               related to, nor employed by any of the parties or
         2     attorneys in the action in which this proceeding was
               taken, and further that I am not financially or
         3     otherwise interested in the outcome of the action.
         4

         5
         6
               name on this       -SiJaJUU ;,<'~
                    In witness whereof, I have this date subscribed my



         7
         8                           Suzanne Kelly, RDR, CRR
                                     Expiration Date:  12-31-18
         9                           LEXITAS
                                     Firm Registration No. 736
        10                           Suite 118
                                     999 Old Eagle School Road
        11                           Wayne, Pennsylvania 19087-1707
                                     215.494.7650
        12
               JOB NO.:       2021-78559584
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           <Show: ALL IN with CHRIS HAYES>
           <Date: January 9, 2018>
           <Time: 20:00>
           <Tran: 01090lcb.478>
           <Type: Show>
           <Head: ALL IN WITH CHRIS HAYES for January 9, 2018, onMSNBC>
           <Sect: News; International>
           <By line: Joy Reid>
           <Guest: Jason Johnson, Rick Wilson, Mazie Hirono, Evan McMullin, Kurt
           Bardella >
           <High:>
           <Spec: Politics; Immigration; DACA; Congress; Donald Trump>

            CHRIS MATTHEWS, MSNBC HOST:. Thanks for being with us. "ALL IN" with
            Chris Hayes starts right now.

            (BEGIN VIDEO CLIP)

           JOY REID, MSNBC HOST: Tonight on ALL IN.

           DONALD TRUMP, PRESIDENT OF THE UNITED STATES: Well, I think it's very sad
           what they've done with this fake dossier.

           REID: Democrats release the Fusion GPS transcripts.

           TRUMP: But I think it's a disgrace.

           REID: Tonight, explosive new details about the Steele dossier, including
           fears that Trump was blackmailed. And that a human source from inside the
           Trump organization led to the FBI' s investigation. Then --

           STEVE BANNON, FORMER CHIEF STRATEGIST, WHITE HOUSE: This is what they
           think about President Trump behind closed doors.

           REID: Steve Bannon bounced from Breitbart as his epic collapse continues.

           TRUMP: That's why sloppy Steve is now looking for a job.

           REID: And the self-proclaimed very stable genius holds court on
           immigration --

           TRUMP: My positions are going to be what the people in this room come up
           with.

           REID: -- and plays chicken with DACA and the wall.

           TRUMP: I think that's what she's saying.

           REID: ALL IN starts now.

            (END VIDEO CLIP)

           REID: Good evening from New York, I'm Joy Reid in for Chris Hayes.
           Republicans did not want the public to see secret testimony related to the
           infamous Trump dossier. But today democratic Senator Dianne Feinstein went
           ahead and released the testimony anyway. And now that we've seen it, it's




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           clear why the Republicans didn't want it to get out because this testimony
           destroys the conspiracy theory being peddled on the right to undermine
           Special Counsel Robert Mueller's Russia investigation. According to that
           theory, the dossier was co-opted by the FBI in 2016 as part of a Democratic
           plot to tarnish Donald Trump.

            (BEGIN VIDEO CLIP)

           REP. JIM JORDAN (R), OHIO: The Clinton campaign and the DNC, now we know
           those are one and the same, paid the law firm who paid Fusion GPS who paid
           Christopher Steele who paid Russians to give him this dossier and get this
           dossier that was we think taken to the FISA court and was the basis for
           securing warrant to spy on American --

           UNIDENTIFIED MALE: Congressman -- the Clinton campaign --if you let me, I
           will get to this, I will get to this --

            (END VIDEO CLIP)

           REID: The testimony released today blows those claims out of the water and
           the two Republican Senators blocking its release, Chuck Grassley, and
           Lindsey Graham knew that. They knew the narrative being pushed on Fox News
           and Capitol Hill was baloney. But instead of correcting that narrative,
           they chose to perpetuate it calling for a second special counsel to
           investigate so-called FBI bias and referring the author of the dossier,
           former British spy Christopher Steele, for a criminal investigation. It's
           all part of a concerted drive by the President's allies to muddy the waters
           of the Russia investigation and discredit the dossier, which outlines
           alleged Russian collusion with the Trump campaign in 2016. According to
           the testimony released today, the reports in that dossier were "really
           serious and really credible." And their author Steele was an experienced
           intelligence professional who used to be the top Russia expert at MI6.

           The testimony was given by Glenn Simpson, Co-Founder of the research firm
           Fusion GPS, which hired Steele to investigate Donald Trump during the
           campaign. The research by Fusion GPS, in tum, was originally funded by
           the Washington Free Beacon, a conseivative Web site and later by a lawyer
           representing the DNC and the Clinton campaign. Simpson was inteiviewed in
           August for about ten hours by investigators on the Senate Judiciary
           Committee. And more recently, at his firm's work has taken center stage in
           right-wing conspiracy theories, he's been calling on the committee's senior
           Republicans, Grassley and Graham, to release his testimony. Well, today
           the top-ranking Democrat on Judiciary, Dianne Feinstein, got tired of
           waiting.

            (BEGIN VIDEO CLIP)

           SEN. DIANNE FEINSTEIN (D), CALIFORNIA: I think the people are entitled to
           know what was said and the lawyers also wanted it released. I see no
           problem with releasing.

            (END VIDEO CLIP)

           REID: A spokesman for Grassley slammed Feinstein's move in a written
           statement claiming that it "undermines the integrity of the committee's
           oversight work and jeopardizes its ability to secure candid, voluntary




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           testimony related to the independent recollections of future witnesses."
           But Grassley may have had other reasons to object. According to the
           testimony, Christopher Steele approached the FBI in the Summer of 2016, not
           as part of some shadowy Democratic plot, but because he was deeply troubled
           by his findings in the dossier. "He said he thought we were obligated to
           tell someone in government about this information. He thought from his
           perspective there was an issue, a security issue, about whether a
           presidential candidate was being blackmailed." When Steele finally did get
           in contact with the FBI, it turned out he was not the first person to do so
           according to this testimony. "They believed Chris' information might be
           credible because they had other intelligence that indicated the same thing.

           One of those pieces of intelligence was a human source from inside the
           Trump organization." rm joined now by two people who know a thing or two
           about the Department of Justice, MSNBC Justice Analyst Matt Miller, who was
           Chief Spokesman at the DOJ under President Obama and NBC News National
           Security Contributor Frank Figliuzzi, former Assistant Director for
           Counterintelligence at the FBI, under then-Director Robert Mueller. And
           Frank, r 11 start with you first. There are questions about who this other
           intelligence source inside the Trump campaign might have been and whether
           it might be George Papadopoulos, the same person who's pleaded guilty to a
           crime, the same person who allegedly on a drunken night told Australian
           officials who then relayed to American intelligence officials that there
           might be some attempted contact with the Trump campaign by the Russians.
           Would it surprise you if George Papadopoulos was the inside man, so to
           speak?

           FRANK FIGLIUZZI, NBC NEWS NATIONAL SECURITY CONTRIBUTOR: No, that could
           very well be the case. We know that he had a conversation with the Aussies
           in May 2016. We know that Christopher Steele approached the FBI in July
           2016 so this could be consistent. But r 11 tell you something, if it's not
           George Papadopoulos, then we've got a mystery person inside the Trump
           campaign who theoretically could still be in place. And if in fact that's
           been compromised or jeopardized, I'm sure that the Mueller team is kind of
           scratching their heads tonight.

           REID: Yes, and you know, I think probably the thing that's the most
           maddening when you look at this new piece of information that Republicans
           tried to stop us from seeing but that we can now see, is that you had the
           FBI being approached now by at least two people, someone inside the
           campaign, as well as this former MI6 top Russia expert and raising the
           alarms that one of the two candidates for President of the United States
           could be being blackmailed. And there's this piece from Glenn Simpson's
           testimony to Congress that Steele was concerned. He said, "I understand
           Chris severed his relationship with the FBI out of concern that he did not
           know what was happening inside the FBI and there was a concern that the FBI
           was being manipulated for political ends by the Trump people." That's
           referring to the fact that the FBI was denying that it was investigating
           the Trump campaign while it was acknowledging that it was investigating
           Hillary Clinton's e-mails. Is that a scandal, a new scandal upon the FBI?

           MATT MILLER, MSNBC JUSTICE ANALYST: I think it's a tough thing to explain.
           Look, I think --

           REID: Matt first.




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           MILLER: I think what -- I think why Christopher Steele severed his ties
           was after that story in The New York Times ran October 31st when they said
           that you know, the FBI's been investigating this and so far had found no
           clear ties. And of course, Chris Steele was talking to FBI agents and had
           his own information he was supplying them that showed that wasn't the case.
           And that happened after two other events. One, Director Corney having sent
           -- having sent that letter up to the Hill, and then two, a Wall Street
           Journal story that had a number of leaks from the FBI, very harmful to the
           Clinton campaign about attempts by FBI agents to investigate the Clinton
           Foundation.

           So I think he was very concerned when he saw that story. And I think we
           still haven't ever gotten a good explanation from the bureau about why they
           did knock that down. It may be very well that they didn't want --- that
           they didn't want the Trump campaign, people they planned to approach to
           know how serious they were conducting this investigation. In fact, that
           would be a legitimate thing for them to do. They aren't supposed to be
           confirming investigations appropriately, it only seems odd because they
           acted so differently in the Clinton case.

           REID: Yes. And Frank, I mean, that -- I guess -- I guess that would be
           sort of the only rational explanation why the FBI would then prompt the New
           York Times to publish this story that essentially knocks down the idea that
           the Trump campaign was being investigated while they were confirming that
           Hillary Clinton was. Doesn't this also explode this idea on the right that
           somehow the FBI was this hotbed of liberalism that was trying to help
           Hillary Clinton?

           FIGLIUZZI: Yes, I think it does. And we know now that the FBI was being
           very circumspect. And I think as Matt said, they were in the midst of
           figuring out what they had with Trump, a candidate, very early stages
           perhaps, and just were circumspect to come out with it. But I also want to
           add something here, because we're talking about Chris Steele as a British
           Intelligence, professional, who knows Russia, came forward, called time-
           out, went to the FBI. I also want to point out another intelligence
           professional here, and that's Dianne Feinstein. Don't forget she Chairs
           the Senate Intelligence Committee. I personally as A.D. at FBI had met
           with her personally, briefed the committee, briefed her. She gets the
           intelligence from Russia and I think in part the reason why she released
           this transcript was because she knows how deeply damaging the Russian
           threat can be. She needs the public to see it and she was extremely
           frustrated with her colleagues in not being able to release it.

           REID: Yes, absolutely. And I think you know, she of all people would
           understand that according to Glenn Simpson's lawyer, somebody's already
           been killed as a result of the publication of this dossier and those
           involved didn't want to see harm come to anyone else. You know, she also
           met with dealing with a colleague on the other side of the aisle that doing
           were things like Lindsey Graham did this weekend on "MEET THE PRESS." This
           is Lindsey Graham again reiterating who he wants investigated.

            (BEGIN VIDEO CLIP)

           SEN. LINDSEY GRAHAM (R), SOUTH CAROLINA: I want a special counsel to look
           at not only how Mr. Steele conducted himself, what the FBI did with the
           dossier, whether Mr. Orr, whose wife worked for Fusion GPS alongside Mr.




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           Steele, what involvement did he have in the dossier, and I want to find out
           if the lead investigator of the Clinton e-mail investigation had a
           political bias against Trump for Clinton to the point that it was a sham
           investigation. I don't know all these things, but I can tell you somebody
           needs to look. If you believe Robert Mueller should be looking at the
           Trump campaign, count me in. But if you ignore all this stuff, you're
           blind.

            (END VIDEO CLIP)

           REID: Matt, what does it say to you or how do you feel about it when you
           hear -- when you hear Lindsey Graham saying that, knowing that he heard the
           exact same testimony Diane Feinstein did, that he knew what was in these
           transcripts and yet he still demonize -- he's still demonizing Mr. Steele,
           still demonizing Fusion GPS, and he knew better?

           MILLER: You know, one of the things that's most stark when you read this
           transcript is the behavior of Christopher Steele versus that of Lindsey
           Graham, Chuck Grassley, and everyone in the Trump orbit. Look, Christopher
           Steele is not an American citizen, he's a British citizen, someone who's
           worked with American intelligence agencies and national security agencies
           for years. But he was so concerned by what he saw and cared so much about
           America's national security, that he took it upon himself to call the FBI.
           Contrast that with Donald Trump Jr. who saw that the Russians want to
           interfere with the selection and said, I love it. Contrast it with Jared
           Kushner, who got an e-mail saying the same thing, and went to a meeting.
           And contrast that with Lindsey Graham and Chuck Grassley, who seeing
           Christopher Steele tried to blow the whistle, and refer him for criminal
           charges, try to have him prosecuted and sent to jail. It really is, I
           would say a shameful moment for those two members of the Senate.

           REID: Yes, well said. Matt Miller, Frank Figliuzzi, thank you, both. I
           appreciate it. And for more on Russian efforts to block the dossier
           testimony from being released -- from being released, let's bring in MSNBC
           Contributor Jennifer Rubin, Conservative Columnist for The Washington Post
           and Evan McMullin, Independent Presidential Candidate in 2016, who's also
           happens to be a former CIA officer. And actually, rm going to start with
           you, Evan. What do you make of this? You just heard you know, Lindsey
           Graham again demonizing Christopher Steele, who made it his business, he's
           not even an American citizen as Matt just pointed out, to try to inform the
           FBI that he thought there could be blackmail happening against an American
           presidential candidate and then finding out there was an insider in the
           Trump campaign that was saying the same thing. What does it -- what do you
           make of the idea that Republicans have been trying to get Fusion GPS and
           Christopher Steele investigated?

           EVEN MCMULLIN, FORMER INDEPENDENT PRESIDENTIAL CANDIDATE: Well, I think it
           goes to show how far this extreme partisanship with many Republicans in
           Congress has gone. It's gone so far that they' re willing to attack people
           who are standing up for American and for western national security, meaning
           our allies in Europe, in the U .K., elsewhere, and of course here at home.
           I mean, this is what they're doing. They're attacking even the people that
           serve our country's interests, our country's most vital interests including
           the integrity of our elections. I find (AUDIO GAP) Grassley' s attack,
           especially the criminal referral to the DOJ on Christopher Steele, to be
           just disgusting and very disappointing. I mean, this is -- this is -- they




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           are not seiving the public interest. What they did is completely
           disingenuous.

           Keep in mind, they took information that they had received from the FBI and
           then wrote a criminal referral back to the Department of Justice about
           information that the FBI had given them. Think about how ridiculous that
           is. That's information the DOJ already has. And these guys, in a
           political stunt, send it back to DOJ and said, we' re going to give you a
           criminal referral on this. It's absolutely absurd. Christopher Steele is
           a patriotic Brit. He's somebody who cares about our security too. He's
           been a partner in a variety of forms with our national security and law
           enforcement officials. He did what any intelligence or any law enforcement
           self-respecting officer would do, and that is alerted the appropriate
           authorities about a serious national security risk.

           REID: Yes, and Jennifer, you know, you have the Australians alerting the
           United States about their alarms about what was going on between the
           Kremlin and the Trump campaign. You have Christopher Steele, who's a
           British citizen, MI6 Russia expert, alerting them. They're being alerted
           by the FBI, they' re being investigated by the FBI. How under those
           circumstances, knowing what they knew before we did, can Lindsey Graham,
           best friend of John McCain, possibly justify turning this around and
           demonizing Christopher Steele and Fusion GPS?

           JENNIFER RUBIN, MSNBC CONTRIBUTOR: Well, you ask the same question that I
           have been asking, which is, remember, how did the FBI and Steele kind of
           get together? And that was through John McCain, one of the closest friends
           and colleagues that Lindsey Graham has in the Senate. But instead, as you
           say, he's off on this wild goose chase. And the Republicans can understand
           didn't want us to learn lots of things that were in this testimony. I
           didn't know, for example, that they determined that, for example, Donald
           Trump was doing business in former Soviet States. Donald Trump kept
           denying he did business in Russia but he didn't say anything about Georgia
           and Azerbaijan, two places that apparently still figured out he was active
           in. He talked about ties with people connected to the Russian mob. He
           talked about, as you have said, other people within the Trump campaign who
           had this concern he was being blackmailed. So there's a lot of substantive
           material in here.

           But the picture that you get is someone, both Mr. Simpson and Mr. Steele,
           who are professionals, who are handling material in the appropriate way,
           who didn't go in with the agenda that they wanted to find this or that or
           they wanted to make stuff up but they wanted to find out was out there.
           You know, Republicans don't want to find out what's out there, and they're
           completely just interested frankly in finding out the truth here. The name
           of the game for them toss circle the wagons around Donald Trump, threw up
           enough dust and enough distraction that we all get lost in the weeds and
           hope that somehow they stumble through 2018. But instead they're making
           themselves accessories to this cover-up, they're making themselves
           complicit in an effort to mislead the American people and to really conceal
           Donald Trump's own wrongdoings.

           REID: Yes, and everything you have now, there's -- a piece of Spencer
           Ackerman is reporting just tonight in The Daily Beast that even after the
           election, an acolyte of Michael Flynn and Peter Thiel was floating the idea
           of withdrawing U.S. forces from parts of Europe that the United States has




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           been defending since the Cold War, just to please Vladimir Putin. The
           evidence is mounting that this administration is attempting to appease
           Putin. And so when you couple that with these ties before the election,
           does it -- I mean, you ran for President of the United States. Can you
           imagine why somebody like Lindsey Graham, who used to be a hawk, could
           possibly not be interested in exploring that further?

           MCMULLIN: No, and he has been. It's -- Lindsey Graham's behavior over the
           past month or two has been absolutely bewildering. rm somebody who has
           had a great deal of respect for him. I just don't understand it. I
           absolutely don't understand it. The Russian interfered in our election,
           they would like to deprive the American people of unimpeded power to choose
           their own leaders. The Russians want to have a say in that. They had a
           say in that in 2016. It's a huge national security problem. Lindsey
           Graham knows it. Why he would behave in this manner is just -- I just
           can't explain it.

           REID: Yes, and I think a lot of people are baffled. Jennifer Rubin and
           Evan McMullin, thank you so much for your time tonight.

           RUBIN: Thanks.

           MCMULLIN: Thankyou.

           REID: Thank you. And next, two -- what two-shirted strategic genius Steve
           Bannon Loses two jobs in one day. The epic demise of Steve Bannon in two
           minutes.

            (COMMERCIAL BREAK)

            (BEGIN AUDIO CLIP)

           BANNON: You've got this miracle. You don't think that that's going to
           resonate. When you say he's created this kind of Oprah thing to set up to
           run against him in 2020, because of just his tweets or maybe his -- the way
           he comports himself, isn't his actions, whether it's destroying ISIS in the
           Middle East, or rebuilding the economy here, and unlocking the animal
           spirits of the American people, don't you think those actions go a lot
           farther than your quiet professionalism?

            (END AUDIO CLIP)

           REID: Well, the groveling didn't work. Steve Bannon is out of a job
           tonight. Two jobs, in fact. He has stepped down as Executive Chairman of
           Breitbart News and will no longer host the Breitbart radio show on Sirius
           XM. Bannon attacked Donald Trump's family in the new book Fire and Fury,
           going after Ivanka and Donald Jr. and angering the President in the
           process. After the book came out, Trump said Bannon had "lost his mind"
           and said his one-time campaign chief executive and fired chief strategist
           "has nothing to do with me or my presidency." That in tum lost Bannon the
           support of Rebecca Mercer and her father Robert, the billionaire backers of
           the Breitbart media site where he served as Executive Chairman since 2012.

           Well, tonight The New York Times broke the news that Bannon is out at
           Breitbart. His departure forced by Rebecca Mercer herself. MSNBC
           Political Analyst Robert Costa, National Reporter for the Washington Post,




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           has been reporting on Bannon' s exit today and Kurt Bardella is a former
           Spokesperson for Breitbart News. I' 11 start with you on this Robert. Give
           us the play by play of how Bannon lost his gig.

           ROBERT COSTA, MSNBC POLITICAL ANALYST: It came sudden today at Breitbart' s
           headquarters. People were preparing for radio interviews, Bannon himself
           was sharing the Web site and the editorial coverage. But the decision in a
           way also had been in the works for weeks. Rebecca Mercer, the billionaire
           donor who's a stakeholder in the site and others in the Breitbart
           leadership were looking to push him. They wanted to move away from Bannon
           as being this omnipresent person running the whole operation.

           REID: And you reported or you tweeted out earlier today that poor people
           close to Bannon, his wistful, but has referenced Thomas Cromwell in recent
           days, during Cromwell guided a king but it never last and Cromwell was
           eventually sent to the tower.

            COSTA: And executed.

           REID: What is that about?

           COSTA: Well, when I was doing my reporting today with my colleagues Josh
           Dawsey and Paul Farhi, we' re trying to really get a sense of what's
           happening inside of the whole Breitbart world today as this drama unfolds,
           this battle with the White House. And people say Bannon keeps talking
           about history, he mentioned Thomas Cromwell, who was an adviser to a
           British king and he eventually was sent to the tower of London and
           executed. And Bannon' s reason for that, they tell us, is that he sees
           himself as a revolutionary figure who guided a president, but he never
           really saw it as something that would last.

           REID: Well, he thinks quite highly of himself. Does he have to move out
           of the Breitbart residence where he lives?

           COSTA: We've been looking into that, and it's hard to say exactly what
           Bannon' s next step will be. He does runs a political operation, a C4 group
           and he's going to try to perhaps move forward in 2018. But it's going to
           be a real challenge Joy, to see if Steve Bannon can have a presence in the
           Republican Party because President Trump is such a dominant force and he
           doesn't want Bannon there.

           REID: Yes, and so Kurt, you know, we have come to know, you know, over the
           past 18 months or two years, Steve Bannon as this very haughty figure,
           thinks highly of himself and likes to talk into a tough-guy terms. This is
           Bannon from the Weekly Standard just back on August 18th after his White
           House exit. This is just after he left, and he said, I feel jacked up.
           Now I'm free. I've got my hands back on the weapon. Someone said, it's
           Bannon the barbarian, rm definitely going to crush the opposition, there's
           no doubt. I built an F-ing machine at Breitbart. Now that I'm about to go
           back, knowing what I know, and we're about to rev that machine up and rev
           it up we will do." Is that a person that's capable of being deflated? Do
           you think that his ego has been checked?

           KURT BARDELLA, FORMER SPOKESPERSON FOR BREITBART NEWS: No, I think Steve,
           much like his former boss, Donald Trump, is a textbook narcissist. And he
           believes that the more that they punch at him, the more that he goes down,




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           the harder he' 11 fight to come back. He is kind of that street fighter.
           And he talks about the how he built at Breitbart the so-called fight club.
           That's what they'd refer to themselves as. So I don't think Steve will go
           quietly. Now, the question is, is it viable for him to make a return,
           really that hinges on his relationship with Trump right now. Trump is the
           Republican Party, he is the gateway to donors, to supporters, to that
           audience. If Bannon can try to find his way back into Trump's good graces,
           he might have a second, third, fourth lease on life. But that's really the
           ultimate question.

           REID: And do you -- how could he possibly think he could do that? I mean,
           he accused Donald Trump's son of treason. He went on the record, according
           to multiple people who have spoken about how they came to speak to Michael
           Wolff, they said Bannon was the guy who said, go ahead and talk to him.
           What way, what method would he use Kurt, to try to get back in Trump's good
           graces?

           BARDELLA: I think that for Steve to succeed, he needs Trump to fail. At
           the end of the day, Trump is all about instant gratification in that
           moment. And that's why he's so unpredictable. He can watch one segment
           and see one thing he doesn't like, and all of a sudden tweet something
           crazy and fly off the handle. The Mueller investigation is a dark cloud
           that really is hanging over this Presidency. And as that cloud continues
           to darken and unfold, that can create a lot of chaos and instability in the
           Donald Trump world and he can become very disenchanted very quickly with
           this current cast of advisers, start reaching out to outside people outside
           the White House, and I suspect that Steve Bannon will be right there
           whisper -- trying to whisper in Trump's ear telling him, this is what
           people are seiving you right now. This is whatthey're doing wrong, here's
           what you should be doing and try to use the chaos of failure that can be
           around Trump in the Mueller investigation to get back into his good graces.

           REID: And Robert, there's been some reporting that part of the reason that
           Steve Bannon' s felt comfortable going on the record with Michael Wolff, is
           that he assumed that Roy Moore was going to win, that his candidates would
           actually win and that would give him leverage because Trump would need him
           and feel like he need him in 2018. Can you -- can you confirm that?

           COSTA: Joy, you' re putting your finger on the Alabama senate race which
           was a huge factor in this entire unraveling of the relationship between the
           White House and Steve Bannon. He was confident that Roy Moore would win
           that race. And when Democrat Doug Jones won, he saw his political capital
           and his relationship with the White House suddenly tum. The White House
           was pointing a finger at Bannon and saying, you' re responsible for this.
           You made this happen in Alabama. And Senate Majority Leader Mitch
           McConnell was only happy to cheer along that conclusion by the President.

           REID: Yes, we saw that happy tweet by Mitch McConnell's office. I'm sure
           he's quite glad to see him gone. Robert Costa, Kurt Bardella, thank you,
           guys. I appreciate it.

            COSTA: Thank you.

           REID: Thank you. And next, the President who calls himself a very stable
           genius decided to put on a show for the cameras today and displayed a very
           loose grasp of what he was talking about. We'll show you what happened




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           right after this

            (COMMERCIAL BREAK)

           REID: There are two competing conceptions of Donald Trump as President.
           The version in Michael Wolff s new book, of a man seen by everyone as an
           inattentive and incurious child who is utterly unfit for the job and the
           version being pushed by Trump himself, of a "very stable genius." Today,
           the President got a chance to make his case when he allowed cameras to roll
           for nearly an hour as he presided over a bipartisan negotiating session on
           immigration. One issue on the table, whether to pass a standalone bill to
           protect DREAMers from deportation as Democrats want.

            (BEGIN VIDEO CLIP)

           SEN. DIANNE FEINSTEIN (D), CALIFORNIA: What about a clean DACA bill now,
           and with a commitment that we go into a comprehensive immigration reform
           procedure --

           TRUMP: I have no problem. I think that's basically what Dick is saying.
           We're going to come upwithDACA, we're going to do DACA, and then we can
           start immediately on the phase two which would be comprehensive --

           FEINSTEIN: Would you be agreeable to that?

           TRUMP: Yes, I would like that. I think a lot of people would like to see
           that. But I think we have to do DACA first.

           REP. KEVIN MCCARTHY (R-CA), HOUSE MAJORITY LEADER: Mr. President, you need
           to be clear though. I think what Senator Feinstein is asking here, when we
           talk about just DACA, we don't want to be back here two years later. You
           have to have security as the secretary would tell you.

           TRUMP: But I think that's what she's saying.

            (CROSSTALK)

           MCCARTHY: No, I think she's saying something different.

            (END VIDEO CLIP)

           REID: She was saying something different. Trump just didn't seem to
           understand what it was. But Donald Trump has never been one to get bogged
           down in policy details. Indeed he told lawmakers today to just send him
           something, anything and he' 11 sign it.

            (BEGIN VIDEO CLIP)

           TRUMP: When this group comes back, hopefully with an agreement, this group
           and others from the Senate, from the House, comes back with an agreement,
           rm signing it. I mean, I will be signing it. rm not going to say, oh,
           gee, I want this, I want that. r 11 be signing it.

            (END VIDEO CLIP)

           REID: Art of the deal. What it's like to try and to negotiate with this




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           President from a Senator who was in that meeting next.

            (COMMERCIAL BREAK)

            (BEGIN VIDEO CLIP)

           SEN. MAZIE HIRONO, (D) HAWAIi: As the only immigrant seiving in the United
           States Senate right now, I would like nothing better than for us to get to
           comprehensive immigration reform, but what rm hearing around the table
           right now is a commitment to resolving the DACA situation, because there is
           a sense of urgency. Now, you have put it out there that you are $18
           billion for a wall,
           or else there will be no DACA. Is that still your position?

           TRUMP: Yeah. I can build it for less, by the way.

           HIRONO: But you are --

           TRUMP: I must tell you, rm looking at these prices, somebody said $42
           billion. This is like the aircraft carrier, started off at $1.5 billion,
           now at $18 billion. No. We can do it for less.

           We can do a great job. We can do a great wall, but you need the wall. And
           rm now getting involved. I like to build under budget, OK? I like to go
           under budget, ahead of schedule.

            (END VIDEO CLIP)

           REID: That was the scene at today's bipartisan negotiating session on
           immigration, and joining me now is the senator you just saw in that clip,
           Democrat Mazie Hirono of Hawaii.

           And, senator, let's talk about that last bit, the wall. Donald Trump said
           in response to Dianne Feinstein, when she asked about a clean DACA bill,
           yes, Put that in front of me and r 11 sign it. But then he said to you
           that it's contingent on his wall. Did you come out of this negotiating --
           negotiation
           understanding which of those two things is his position?

           HIRONO: He repeated several times that DACA, he would like to resolve, but
           that the border
           security would be part of that resolution. So we actually have bipartisan
           support for the DREAMers in
           the senate, and I understand there were enough votes to pass a similar bill
           in the House, maybe not with the Freedom Caucus, but nonetheless going
           forward. But as you know, Joy, two days ago, he said, I need $18 billion
           for a wall or there will be no DACA, and that is why I wanted to ask him
           whether that's still his position. And you notice that he did not answer
           that question.

           Now I would have appreciated if he had clarified and just said, oh, yeah,
           that's my still position. Then we would have that understanding. But then
           he kind of went all over the place. I asked him how many miles this wall
           would be and he didn't respond.

            So he wants something that he can call border security, something he can




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           call a wall, but to me the fact that he didn't come out and say, something
           that I said two days ago, $18 billion for a wall or no DACA, he didn't do
           that. So I say maybe that he's open to something that's more reasonable.

           I don't know, because with the president, you don't know what he's going to
           say tomorrow.

           REID: Yeah.

           And would you and your Democratic colleagues vote for a bill that included
           building this wall of Donald Trump's?

           HIRONO: We already know that building a massive wall that goes on for
           hundreds and hundreds of miles is not going to have much of an impact, and
           so that's a waste of money. You know, $18 billion, which is just a down
           payment for a wall, could pay for a whole year of health care for 9 million
           children. So I am hopeful that if the House and Senate negotiators were
           left to our own devices, that we might be able to better come up with a
           compromise. But it's the president interjecting himself at the last
           minute, throwing a wrench into the works that could foul things up.

           And there's no question that as long as border security is on the table,
           that's going to be a challenge as it is. The Democrats are open to
           reasonable border security measures.

           REID: But would you refuse to vote for a bill if it included the wall in
           it?

           HIRONO: It depends on what the wall is. Because he said things such as
           originally you think it's 2,000 miles, oh, no, it's not 2,000 miles. And
           of course there are mountains and rivers and valleys. And so we' re not
           sure quite he means. He wants something that he can call a wall for his
           base, I suppose, but that's going to be the challenging part of the
           negotiations.

           As I said, we already have bipartisan agreement to support the dreamers in
           both the House and the Senate, particularly in the Senate, so why can't we
           just go ahead with that? That was Dianne's question and he did not provide
           a yes or no response to that.

           REID: I want to play you a little bit more sound. This is Donald Trump
           talking about something it didn't seem he was for the entire time he was
           running for president, and that's comprehensive immigration reform. This
           is Donald Trump today.

            (BEGIN VIDEO CLIP)

           TRUMP: When you talk about comprehensive immigration reform, which is
           where I would like to get to eventually, if we do the right bill here, we
           are not very far away. We've done most of it.

           You want to know the truth there, kid, we do this properly, DACA, you're
           not so far away from
           comprehensive immigration reform. And if you want to take it that further
           step, I'll take the heat, I don't care.




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            (END VIDEO CLIP)

           REID: Did it surprise you to hear Donald Trump say he's for comprehensive
           immigration reform?

           HIRONO: Well, that's what he said today. And rm all for comprehensive
           immigration reform because we passed such a bill in 2013 in the Senate.
           And I was very involved in that as a member of the judiciary committee.
           That's what he's saying today. He didn't really talk about that during the
           campaign. So one never knows.

           Now, I care very much about dealing with DACA and the 800,000 young people
           who are subject to deportation. And I have to say that one of the most
           astounding things that came out today was his homeland security secretary
           saying that no DACA participants had lost status. Is she not aware over
           10,000 DACA participants have already lost their DACA status? That was an
           astounding thing. And I expect the homeland security secretary to know her
           facts better.

           Yeah, indeed. Senator Mazie Hirono, thank you so much for your time
           tonight. Appreciate it. Thank you.

           And still ahead, Joe Arpaio is a man of many titles -- former sheriff,
           Obama birther, convicted criminal. And now he wants to add senator to the
           list. That story coming up.

           And the case for making sure every president from here on in is a stable
           genius in tonight's Thing One, Thing Two next.

            (COMMERCIAL BREAK)

           REID: Thing One tonight, Donald Trump is just three days away from his
           first physical since taking office. Now, we know two things about the 71-
           year-old' s health. During the campaign, Trump's
           long-time doctor, Harold Bornstein, wrote a letter calling Trump's health
           astonishingly excellent and stated unequivocally Trump will be the
           healthiest individual ever elected to the presidency."

            (BEGIN VIDEO CLIP)

           HAROLD BORNSTEIN, TRUMP DOCTOR: I thought about it all day. And at the
           end -- I get rushed and I get anxious when I get rushed. So I try to get
           four or five lines done as fast as possible that they would be happy with.

            (END VIDEO CLIP)

           REID: The other thing we know about Trump's health is that he really likes
           fast food even as president, and so much so that according to Michael
           Wolff s reporting for Fire and Fury, the president
           of the United States takes his cheeseburgers to bed with him.

           Wolff s book has also brought to the forefront something we don't have
           medical analysis of: Trump's mental fitness. Yesterday, a White House
           spokesman said a psychiatric exam would not be part of his physical on
           Friday.




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           But one lawmaker is trying to change that. And that's Thing Two in 60
           seconds.

            (COMMERCIAL BREAK)

           REID: Pennsylvania Democrat Brendan Boyle introduced a bill in the House
           this morning which would require all presidential candidates to undergo a
           mental health exam with the secretary
           of the navy. The bill is called The Stable Genius Act. And it's not a
           joke. It's aimed to avoid a situation like we have now.

           All we know about the mental fitness of the man in the White House is his
           own self-diagnosis.

            (BEGIN VIDEO CLIP)

           TRUMP: Is Donald Trump an intellectual? Trust me, I'm like a smart
           person.

           I went to the best colleges -- or college.

           I went to Wharton.

           I had a situation where I was a very excellent student.

           I'm a person that very strongly believes in academics.

           I was a nice student.

           I have a very good brain and I've said a lot of things.

           I understand things. I comprehend very well, better than I think almost
           anybody.

           rm very highly educated. I know words. I have the best words.

           rm like a very smart person.

           Like a smart person.

           rm a very smart person.

           It's like rm a smart person.

           Very intelligent person.

           Like a lot of us are really smart.

           rm really smart.

           We' re going to have smartness.

            (END VIDEO CLIP)

            (COMMERCIAL BREAK)




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            (BEGIN VIDEO CLIP)

           TRUMP: Was Sheriff Joe convicted for doing his job? That's what -- he
           should have had a jury, but you know what, I'll make a prediction, I think
           he's going to be just fine, OK?

            (END VIDEO CLIP)

           REID: After being convicted last July of criminal contempt for violating a
           judge's order, and
           pardoned by the president in a tweet a month later, former Sheriff Joe
           Arpaio is now running for U.S. Senate.

           Arpaio thanked Donald Trump in a tweet of his own, quote, "for seeing my
           conviction for
           what it is, a political witch hunt by holdovers in the Obama Justice
           Department."

           Yet the Associated Press reports that the judge in Arpaio' s case has said
           pardons moot punishments in criminal cases, but don't erase convictions,
           meaning that Arpaio is still an 85-year-old convicted criminal, which makes
           him the third convicted criminal running for office as a Republican this
           year joining Don Blankenship who is running for a senate seat in West
           Virginia after serving a year in federal prison for ignoring safety
           regulations in a mining explosion in 2010 that killed 29 men.

           Blankenship will actually still be on probation at the time of the
           Republican primary.

           And here in New York, ex-con Michael Grimm is running to reclaim his old
           congressional
           seat after he was forced to resign in 2014 and served seven months in
           prison for felony tax fraud.

           Interestingly enough, a convicted felon isn't prohibited from running for
           federal office at all.

           Next, what happens when you elect a reality show star who hates to study to
           play the role
           of president. Well, he doesn't always understand the nuances of party
           policies or even the broad strokes. More on that next.

            (COMMERCIAL BREAK)

            (BEGIN VIDEO CLIP)

            REP. PAUL RYAN, (R) WISCONSIN: Something this big, something this
           generational, something this profound could not have been done without
           presidential leadership. Mr. President, thank you for getting us over the
           finish line.

            (END VIDEO CLIP)

           REID: House Speaker Paul Ryan was effusive in praising the dear leader
           Donald Trump after Republicans rammed their tax cuts for corporations and
           the 1 percent through congress. Ryan even coined a phrase that may come




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           back to haunt him: exquisite leadership.

           But one of the points in Michael Wolff s Fire and Fury is that Donald Trump
           doesn't really know Republican orthodoxy. That seems to be how he stumbled
           into agreeing, at least in principle, to comprehensive immigration reform
           today when he met with a bipartisan group of lawmakers.

            (BEGIN VIDEO CLIP)

           UNIDENTIFIED MALE: Mr. President, comprehensive means comprehensive.

           TRUMP: No, we are talking about comprehensive, now we are talking --

           UNIDENTIFIED MALE: No, we are talking comprehensive --

           TRUMP: If you want to go there, it's OK, because you're not that far away.

           UNIDENTIFIED MALE: Mr. President --

           TRUMP: When this group comes back, hopefully with an agreement, this group
           and others, from the Senate, from the House comes back with an agreement,
           rm signing it. I think a lot of people would like to see that, but I
           think we need to do DACA first.

           UNIDENTIFIED MALE: Mr. President, you need to be clear, though. I think
           what Senator Feinstein is asking here, when we talk about just DACA, we
           don't want to be back here two years later.

           TRUMP: I think that's what she said. No, No, I think she's saying
           something different.

           I think what we're all saying is we'll do DACA and we can certainly start
           comprehensive immigration reform the following afternoon, OK. We'll take
           an hour off and then we' 11 start.

            (END VIDEO CLIP)

           REID: Republicans sat around that table and watched their president almost
           give away the entire store for nothing. MSNBC political analyst Jason
           Johnson is the politics editor at The Root and a professor at Morgan State
           University; and Rick Wilson is a Republican strategist and media
           consultant.

           And Rick, the entire premise of the Trump campaign was Mexico is sending
           its worst, we' re going to end immigration and build a wall. How did he
           suddenly go from that to being Marco Rubio? What is happening?

           RICK WILSON, REPUBLICAN STRATEGIST: I think Donald Trump got his gang of
           eight tattoo tonight and the Members Only jacket for RINO immigration
           squishes, because this is a guy who literally sat there today and shredded
           the entire Bannon/Steve Miller agenda on building the wall and
           throwing out all the brown people. It was a clown show.

           REID: But who is in charge of telling Ann Coulter? I nominate you, Rick.
           You' re in charge of telling Ann Coulter. You have to tell her.




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           OK, so Jason, is this a Democrats in my Twitter feed, there is some anger
           that Democrats aren't really putting their foot down and saying we ain't
           voting for a wall period, end of story. We don't care what you say.

            Should Democrats be planting their flag there?

           JASON JOHNSON, THE ROOT: They don't even have to put the flag down yet,
           Joy, because it's clear -- and this is from the book and everyone who has
           ever talked about this president, he agrees with whatever the last idea is
           of the person who left the room. That's why he was ping pongingback and
           forth. I like this kind of immigration. I hate this kind of immigration.
           I don't like these kind of people. I like these people.

           So, the Democrats don't have to take a strong position now because they
           don't know what position Trump is going to have in three weeks.

           That's part of the problem. So, there is no reason to plant a flag.

           REID: Rick, I'm going to let you listen to Sarah Huckabee Sanders whose
           job frequently is to try to interpret Trump for regular people.

           Here she is trying to explain that he really does know what clean DACA bill
           means. He meant something completely different than what clean DACA bill
           sounds like. Take a listen.

            (BEGIN VIDEO CLIP)

           SARAH HUCKABEE SANDERS, WHITE HOUSE PRESS SECRETARY: Only if you look at
           what the president's definition of a clean DACA bill is, and within that
           bill, he thinks that you have to include not just fixing the -- not just
           fixing DACA, but closing the loopholes and making sure we have a solution
           on the front so we don't create a problem and find ourselves right back
           where we started in one, two, three years later.

            (END VIDEO CLIP)

           REID: Help me, Rick. What did that mean?

           WILSON: You know, Sarah Sanders is just the White House mistress of word
           vomit. Every day something new just pops out.

           Look, I don't blame her. It's like Donald Trump speaks some sort of
           forgotten language like Hitite (ph) or Syrian and just rambles on and she
           just tries to translate as best she can.

           But this is a White House led by a man who does not have a lot of shall we
           say intellectual heft when it comes to understanding complex items of the
           policy agenda. You know, he's overcome by basically inanimate objects
           every day. And so you end up with a situation where he says things in this
           meeting that the rest of the Republicans are in the room saying, dear god,
           what are we doing here? Because, you know, it's like they stumble
           occasionally on a policy win like the tax bill, and then they come to
           something like this and Trump is confused about what his own base is going
           to do about this.

           A lot of his base was motivated and informed by the sense that he was going




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           to build a wall and throw out all the brown people, and obviously, what
           he's saying today is we' 11 have a policy based on love and we' re going to
           do DACA and we're going to come back an hour later and do comprehensive
           immigration reform.

           Like I said, that gang of eight tramp stamp tattoos is going to look
           awesome.

           REID: Back in June of 2016, we pulled this -- January of 2016, January
           30th, as a matter of fact, Donald Trump told The New York Times editorial
           board the following about the wall. He said quote, "if it gets a little
           boring at his rallies, if I see people starting to sort of think about
           leaving, I can sort of tell the audience, I will just say, we' 11 build the
           wall, and they go nuts.

           Isn't it just the case that Donald Trump used the wall and all of this
           Brexit talk about immigration just to trick his base into being for for
           him?

           WILSON: Sure.

           REID: Because he doesn't know what any of this means?

           JOHNSON: Joy, he doesn't know what any of this means. He doesn't know how
           to build it. He's basically been punked multiple times by Mexico who is
           like, rm not building your wall. rm not giving you any money. Fox said
           I'm not building a wall. So he doesn't know how this thing can get made.
           And he's always been back and forth on these issues.

           Look, I mean, back in 2012 remember he said Mitt Romney was crazy for
           telling people that they have to self-deport and he said that to Newsmax.
           But I think the important thing to remember is this, as much as Donald
           Trump seems to flip flop back and forth, and can't figure out what he wants
           to order for lunch when it comes to immigration, this is the same
           administration that's now trying to kick out 200,000 El Salvadorians, when
           they aren't doing that to Kosovo refugees who we accepted in 1999. So the
           underlying tendency is still kicking out people of color, making it
           difficult for people of color to stay in the country, or at the same time
           fanning ignorance.

           REID: And at the same time, Rick then why doesn't his base react when he
           changes his mind?

           WILSON: I think we'll see the comment section of the now Steve Bannon free
           Breitbart tomorrow losing their minds on this and I think a lot of these
           folks that really relied on Donald Trump's
           immigration message that he really activated in an effort to position
           himself as the guy who was going to return their jobs from the sly Mexicans
           and wile Chinese, you know, these evil brown people and people of color
           from overseas, I think he's going to have some smprised supporters when
           they start reading these stories tomorrow.

           REID: Absolutely. Jason Johnson, Rick Wilson, thank you, guys.

           That's All In for this evening. The Rachel Maddow Show starts right now.
           Good evening Rachel.




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                                    EXHIBIT 6
                             Excerpts from Deposition
                             of Denis Horgan taken on
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                                         In the Matter Of:

                                           Blankenship vs
                                           Fox News Network




                                        DENIS HORGAN
                                           April 23, 2021




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             Fox News Network                  Confidential                     April 23, 2021

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         1                        UNITED STATES DISTRICT COURT

         2                   SOUTHERN DISTRICT OF WEST VIRGINIA

         3                             CHARLESTON DIVISION

         4     DON BLANKENSHIP

         5                      Plaintiff,

         6           vs.                            Case No.:    2:19-cv-00236

         7     FOX NEWS NETWORK LLC, et al.,

         8                      Defendants.
               ------------------------------/
         9

        10

        11                              **CONFIDENTIAL**

        12                              REMOTELY CONDUCTED

        13                 VIDEOTAPED DEPOSITION OF DENIS HORGAN

        14                           Friday, April 23, 2021

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        20

        21     Stenographically reported by:
               LORRIE L. MARCHANT, RMR, CRR, CCRR, CRC
        22     California CSR No. 10523
               Washington CSR No. 3318
        23     Oregon CSR No. 19-0458
               Texas CSR No. 11318
        24

        25     Job No.:         2021-788039


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                                                                                        2
         1                           A P P E A R A N C E S

         2                 (All appearances remotely via Zoom)

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               Also present:
        14
                                Don Blankenship
        15                      Erik Bierbauer, in-house counsel for MSNBC
                                Gail Gove, in-house counsel for MSNBC
        16                      Marie Schuetze, stenographic intern
                                Mitch Reisbord, legal video specialist
        17

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             Fox News Network                    Confidential                   April 23, 2021

                                                                                        5
         1                           FRIDAY, APRIL 23, 2021

         2                NEW YORK, NEW YORK (Witness's location)

         3                                  10:02 a.m. EDT

         4                   THE VIDEOGRAPHER:        We are now on the

         5     record.       My name is Mitchell Reisbord.           I'm a

         6     videographer retained by Lexitas.                This is a video

         7     deposition for the U.S. District Court, Southern

         8     District of West Virginia, Charleston Division.

         9     Case No. 2:19-cv-00236.

        10                   Today's date is April 23rd, 2021, and the

        11     time is 10:02 a.m.            This deposition is being held in

        12     the matter of Don Blankenship versus Fox News

        13     Network, LLC, et al.

        14                   The deponent is Denis Horgan.          All present

        15     counsel will be noted on the stenographic record.

        16     The court reporter is Lorrie Marchant and will now

        17     swear in the witness.

        18                                  DENIS HORGAN,

        19        FIRST DULY SWORN/AFFIRMED, TESTIFIED AS FOLLOWS:

        20                   MR. SIMPKINS:       Are you ready?

        21                   THE WITNESS:       I'm ready.

        22                       EXAMINATION BY MR. SIMPKINS

        23                   BY MR. SIMPKINS:

        24           Q.      State your full legal name, please.

        25           A.      It's Denis Edward Horgan, Jr.


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             Fox News Network                     Confidential                     April 23, 2021

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         1           A.     22 people.

         2           Q.     When is the determination of show topics

         3     typically finalized?             Is it the day of?       The morning

         4     of?     Just immediate prior to the segment or

         5     telecast?

         6           A.     It depends on the situation.              Some of them

         7     are in advance, days in advance.                  Some of them

         8     are        you know, if it's built around something

         9     that's happening on the calendar that day.                  But most

        10     of the time they are determined that day, in the

        11     midafternoon.         Sometimes it goes a little later than

        12     that.

        13           Q.     Who has the final authority to determine

        14     the show topics on All In with Chris Hayes?

        15           A.     I don't -- we don't really work in terms of

        16     final authority .            It's a collaborative effort.

        17           Q.     Do you have the final authority to

        18     determine show topics?

        19           A.     I mean, I may technically, but we don't

        20     practice that.          We don't practice it that way.

        21           Q.     Well, if it's not you, who -- is there any

        22     other person that would have final authority to

        23     determine show topics on All In with Chris Hayes?

        24           A.     I mean, again, I think technically, as

        25     executive producer.            But I don't -- we don't


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         1     circumstance is.

         2           Q.     Who has final authority to determine a

         3     script, or is that the same as the show topics?

         4           A.     Yes.     I would give the same answer.         It's

         5     collaborative effort.

         6                   (Marked for identification purposes,

         7                      Exhibit 1.)

         8                  BY MR. SIMPKINS:

         9           Q.     Do you have Exhibit No. 1, Mr. Horgan?             Do

        10     you have access to that?

        11           A.     I do, yes.

        12           Q.     Exhibit No. 1 is the NBCUniversal News

        13     Group Policies and Guidelines.

        14           A.     Yes.

        15           Q.     I assume you have that.

        16           A.     M-hm.

        17           Q.     Is that a "yes"?

        18           A.     Yes.

        19           Q.     Instead of saying "NBCUniversal News Group

        20     Policies and Guidelines," I'm just going to refer to

        21     them as "guidelines."

        22                  Is that okay?

        23           A.     Yes.

        24           Q.     Okay.      Has MSNBC ever provided you with a

        25     copy of these guidelines?


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         1     the        the shows -- the opinion shows are.

         2           Q.     Let me rephrase.

         3                  Do the guidelines require that All In with

         4     Chris Hayes comply with the fundamental journalism

         5     principles of accuracy and fairness?

         6                  MR. SHOOK:          Objection.

         7                  THE WITNESS:          I mean, again, I'm not the

         8     author of the guidelines, but the guidelines are

         9     guidelines.         They are -- they are not requirements

        10     necessarily.

        11                  BY MR. SIMPKINS:

        12           Q.     Do you agree that the guidelines basically

        13     speak for themselves in regard to the principles of

        14     accuracy and fairness?

        15           A.     Yes.

        16           Q.     Thank you.

        17                                        go to Exhibit No. 2.

        18                   (Marked for identification P.Urposes,

        19                      Exhibit 2 . )

        20                  BY MR. SIMPKINS:

        21           Q.     Just tell me when you're there.

        22           A.     Okay.

        23           Q.     It appears it is two pages with four

        24     e-mails.         Just let me know when y ou're there.

        25           A.     I'm here.


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                                                                                        20
         1           Q.     Do you need a chance to review these

         2     e-mails?

         3           A.     No.

         4           Q.     Go to the second page of Exhibit No. 2, if

         5     you would.

         6           A.     Okay.

         7           Q.     Can you tell me who sent the e-mail?

         8           A.     The original e-mail in the chain is what

         9     you're asking?

        10           Q.     Yes.

        11           A.     It appears that I sent an e-mail with a

        12     link to a story from The New York Times.

        13           Q.     When was the e-mail sent?

        14           A.     December 3rd, 2015, 10:13 a.m.

        15           Q.     This says it was sent from Chris Hayes to

        16     you; is that not correct?

        17           A.     Yes, you are correct.             The e-mail itself

        18     is -- is Chris responding to my e-mail.

        19           Q.     Okay.

        20           A.     And my e-mail is only included as a part of

        21     his e-mail.

        22           Q.     And Chris Hayes, he is the anchor and host

        23     of All In with Chris Hayes; correct?

        24           A.     Yes.

        25           Q.     Okay.      And what was the subject of the


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         1           Q.     Exhibit No. 3 appears to be a single

         2     e-mail.

         3                  Do you see that?

         4           A.     Yes.

         5           Q.     Who sent the e-mail?

         6           A.     This e-mail is from Brendan O'Melia.

         7           Q.     And who is Brendan O'Melia?

         8           A.     He is a producer on the show.

         9           Q.     Okay.      When was the e-mail sent?

        10           A.     It was sent on April 6th of 2016.

        11           Q.     Who were the recipients of this e-mail?

        12           A.     The full staff and Chris Hayes.

        13           Q.     What is the subject of the e-mail?

        14           A.     The subject:

        15                         "Our old friend Don Blankenship going

        16                  to the cooler for a year."

        17           Q.     Is Don Blankenship an old friend of any

        18     member of the All In with Chris Hayes production

        19     team?

        20                  MR. SHOOK:      Objection.

        21                  THE WITNESS:      He's not an old friend of

        22     anyone on the team, no.

        23                  BY MR. SIMPKINS:

        24           Q.     Do you know why Don Blankenship was

        25     described as "an old friend"?


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         1                  BY MR. SIMPKINS:

         2           Q.     Can you explain the e-mail message?

         3           A.     The e-mail message?

         4           Q.     Yes.

         5           A.     Are you asking me to explain the subject of

         6     the e-mail or the --

         7           Q.     Yes.     The subject.      Yeah.

         8           A.     Well, I didn't write it, so I can only tell

         9     you my interpretation of it.

        10           Q.     What is your interpretation of it?

        11           A.     Someone who had been on our show had been

        12     convicted of the crime that he was convicted of and

        13     was going to prison for a year.                 This was an update

        14     to the story.

        15           Q.     And he was only going to prison for a year

        16     because it was a misdemeanor conviction; correct?

        17                  MR. SHOOK:      Objection.

        18                  THE WITNESS:      I know that now, yes.

        19                  BY MR. SIMPKINS:

        20           Q.     Is Exhibit No. 3 a true and accurate copy

        21     or depiction of the e-mail that was sent from

        22     Brendan O'Melia to everyone at All In with Chris

        23     Hayes and to you?

        24                  MR. SHOOK:      Objection.

        25                  THE WITNESS:                      that it is.


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         1                   (Marked for identification purposes,

         2                      Exhibit 4.)

         3                  BY MR. SIMPKINS:

         4           Q.     Exhibit No. 4 is a video segment of All in

         5     with Chris Hayes that was telecast on November the

         6     29th, 2017.

         7                  Have you had a chance to review that video?

         8           A.     I don't -- I don't have an Exhibit No. 4

         9     printed out.         So it ' s a video?

        10                  MR. SIMPKINS:      Yes.

        11                  Mitch, can you p l ay the video, please.

        12                   (Video playing. )

        13                  BY MR. SIMPKINS:

        14           Q.     Are you familiar with Exhibit No. 4, the

        15     video?

        16           A.     I am now, yeah.

        17           Q.     Thank you.

        18                  If you would, go to Exhibit No. 5.

        19                   (Marked for i dentification purposes,

        20                      Exhibit 5.)

        21                  BY MR. SIMPKINS:

        22           Q.     Tell me when you have it and if you need a

        23     chance to review it.

        24           A.          have it.

        25           Q.     Have you -- did you review Exhibit No. 5


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         1     prior to today's deposition?

         2           A.     I reviewed it when it was presented as an

         3     exhibit.

         4           Q.     Okay.      And Exhibit No. 5 is an article from

         5     wchstv.com titled " Former Massey Energy CEO

         6     Don Blankenship to run for U.S. Senate."

         7                  Do you see that?

         8           A.     Yes.     That's the headline.

         9           Q.     And Chris Hayes referred to this article as

        10     "a source " during the telecaster segment; is that

        11     correct?

        12           A.     Correct.

        13                  MR. SHOOK:      Objection.

        14                  THE WI TNESS:     Sorry.

        15                  BY MR. SIMPKINS:

        16           Q.     Sorry.      I f you want to al l ow a brie f moment

        17     of pause before so Kevin Shook can get his

        18     object i on, t h at would be f ine, if you don't mind.

        19                  MR. SIMPKINS:      So, Kevin, do you have an

        20     objection?

        21                  MR. SHOOK:      Yeah.      I objected.

        22                  MR. SIMPKINS:      Okay.

        23                  BY MR. SIMPKINS:

        24           Q.     The article was also used as a graphic

        25     d u ring the segment or te l ecast; corr ec t ?


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         1           A.     Correct.

         2                  MR. SHOOK:      Objection.

         3                  THE WITNESS:      We have a real delay here.

         4     Sorry.

         5                  BY MR. SIMPKINS:

         6           Q.     The article alludes to Don Blankenship's

         7     misdemeanor conviction in the third full paragraph

         8     on page 2.

         9                  Do you see that?       It starts:

        10                         "Blankenship's misdemeanor conviction

        11                  came after 24 days o f testimony in

        12                  connection with his involvement in the

        13                  Upper Big Branch explosion that killed 29

        14                  men in 2010."

        15                  Do you see that?

        16           A.     Not on page 2.      I have -- that's page 3.        I

        17     see that on page 3.

        18           Q.     Page 3 ends:

        19                         "The AP contributed to the story."

        20                  I'm talking about page 2 of Exhibit No. 5 ,

        21     The first page is a picture of Don Blankenship.

        22           A.     This is my first page (witness showing page

        23     to camera).

        24           Q.     Where is your second page?

        25           A.     This is my second page (witness showing


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         1     page to camera).

         2           Q.     Okay.      Maybe it is your third page, but

         3     it's my second page.

         4           A.     This is my third page (witness showing page

         5     to camera).

         6           Q.     Do you see the paragraph --

         7           A.     This is the fourth page (witness showing

         8     page to camera).

         9           Q.     Okay.      Do you see the paragraph that

        10     states:

        11                         "Blankenship's misdemeanor conviction

        12                  came after 24 days of testimony"?

        13                  Do you see that within the article?

        14           A.     I see it on page 3, yes.

        15           Q.     Okay.      Is Exhibit No. 5 a true and accurate

        16     depiction of the wchstv.com article used as a

        17     graphic during the telecast of All In with

        18     Chris Hayes?

        19                  MR. SHOOK:      Objection.

        20                  Go ahead and answer if you know.

        21                  THE WITNESS:      I have no reason to believe

        22     that it's not.

        23                  BY MR. SIMPKINS:

        24           Q.     Okay.      Do you know who chooses the graphics

        25     to be used during the telecast of All In with


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         1     Chris Hayes?

         2           A.     Generally the segment producer will choose

         3     the graphics.

         4           Q.     And who was the segment producer for

         5     this -- for the video segment, Exhibit No. 4?              If

         6     you recall.

         7           A.     I don't know.        I don't recall.

         8           Q.     Okay.      If you would, go to Exhibit No. 6 .

         9                   (Marked for identification purposes,

        10                      Exhibit 6.)

        11                  THE WITNESS:        Okay.

        12                  BY MR. SIMPKINS:

        13           Q.     Do you have it in front of you?

        14           A.     l do.

        15           Q.     Now, Exhibit No. 6 is an article from The

        16     New Yorker titled "Don Blankenship, West Virginia's

        17     'King of Coal,' is Guilty."

        18                  Do you see that?

        19           A.     I do.

        20           Q.     Yeah.      And Chris Hayes referred to this

        21     article as a source during the segment or telecast;

        22     is that correct?

        23                  MR. SHOOK:        Objection.

        24                  THE WITNESS:        He did.

        25     Ill

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         1                  BY MR. SIMPKINS:

         2           Q.     Okay.      And the article was also used as a

         3     graphic dur ing the segment or telecast; is that

         4     correct?

         5                  MR. SHOOK:      Objection.

         6                  THE WITNESS:      That headline and a quote

         7     from it was .

         8                  BY MR. SIMPKINS:

         9           Q.     Okay.      On the top of page 2 of t he artic l e,

        10     what's my page 2, states -- well, turn to page 2.

        11     It states:

        12                         "Today, after a six-week trial,

        13                  jurors convicted Blankenship of one

        14                  misdemeanor for conspiring to violate

        15                  safety rules and acquitted him of felony

        16                  charges of lying about it. "

        17                  Do you -- do you see that?

        18           A.     I do see that.

        19           Q.     And is Exhibit No. 6 a true and accurate

        20     depict i on of The New York -- The New Yorker article

        21     used as a graphic during the te l ecast of All in with

        22     Chris Hayes on November the 29th, 2017?

        23                  MR . SHOOK:     Objection.

        24                  Go ahead and answer if you know.

        25                  THE WITNESS:      I t appears to be.


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         1           Q.     Wasn't this the second use of the phrase

         2     "convicted felon Don Blankenship" of All In with

         3     Chris Hayes in less than one week?

         4                  MR. SHOOK:         Objection.

         5                  THE WITNESS:         It is a second use of that.

         6                  BY MR. SIMPKINS:

         7           Q.     Yeah.      So it was on May the 4th of 2018 and

         8     also May the 9th of 2018; is that correct?

         9           A.     Yes.

        10           Q.     On the May 9th episode of All In with Chris

        11     Hayes, was the P.hrase "convicted felon

        12     Don Blankenship" scri2ted or ad-libbed by

        13     Chris Hayes?

        14                  MR. SHOOK:         Objection.

        15                  THE WITNESS:         It a22ears to have been in

        16     the script .

        17                  BY MR. SIMPKINS:

        18           Q.     Okay.      Who wrote the phrase "convicted

        19     Don Blankenship"             [sic] into the script on the

        20     May 9th, 2018, episode or telecast?

        21           A.     I don't -- I couldn't be -- say.             I don't

        22     know.

        23           Q.     You don't know?          Can you find out?

        24           A.     Not really.         It's a collaborative effort,

        25     and a lot of other -- a small number of people that


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         1                  MR. SHOOK:      Objection.        Asked and answered.

         2                  BY MR. SIMPKINS:

         3           Q.     I asked who approved the script.              The next

         4     question was who was ultimately responsible for

         5     approving the script.          That's two different

         6     questions.

         7                  You can answer.

         8           A.     Generally, we have -- it depends on the

         9     situation, I guess is the answer.                There's

        10     there's no one answer to that question.

        11           Q.     Did Chris Hayes have any participation in

        12     scripting the phrase "convicted felon

        13     Don Blankenship"?

        14                  MR. SHOOK:      Objection.

        15                  THE WITNESS:      I don't recall what his

        16     involvement was with this one.

        17                  BY MR. SIMPKINS:

        18           Q.      "Accurate" is define as correct in all

        19     details.

        20                  Was the phrase "convicted felon

        21     Don Blankenship" correct in all details?

        22                  MR. SHOOK:      Objection.

        23                  BY MR. SIMPKINS:

        24           Q.     You can answer.

        25           A.     I don't know that I agree with that


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         1     definition.

         2           Q.     What is your definition of "accurate,"

         3     then?

         4           A.     I think the context is important.         And

         5     "accurate" may be defined differently depending on

         6     the context that you're using the word in.

         7           Q.     I got the definition of "accurate" from

         8     Oxford Languages, which is the leading dictionary in

         9     the entire universe.

        10                  So you are disagreeing with the most used

        11     dictionary in the world in regard to the definition

        12     of "accurate"?

        13                  MR. SHOOK:       Objection.

        14                  THE WITNESS:       Well, I don't have the

        15     dictionary in front of me, but I would imagine that

        16     the definition of "accurate" has a little bit more

        17     than one          one line.

        18                  BY MR. SIMPKINS:

        19           Q.     So you're saying it's accurate that

        20     Don Blankenship was a convicted felon?

        21           A.     I am not -- I'm not saying that, no.            I

        22     didn't say anything.

        23           Q.     Well, I asked you whether or not it was

        24     accurate that -- strike that.

        25                  So the question was was the phrase


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         1     "convicted felon Don Blankenship" correct?              Is that

         2     an accurate -- was that an accurate statement?

         3           A.     I don't feel like it was inaccurate --

         4           Q.     So it was accurate?

         5           A.           the way it was delivered.

         6           Q.     You're saying that "the convicted felon

         7     Don Blankenship" was an accurate statement, then?

         8           A.     I feel like in the context that it was

         9     delivered, it was an adjective to describe a -- to

        10     shorthand Don Blankenship's biography as someone who

        11     had committed a serious crime and had spent a year

        12     in federal prison.

        13           Q.     I'm not asking you in regard to the

        14     context.         My question was is it accurate that

        15     Don Blankenship is a convicted felon?

        16                  MR. SHOOK:      Objection.

        17                  BY MR. SIMPKINS:

        18           Q.     I could care less about context.         I want to

        19     know facts.

        20                  Is it factually true that Don Blankenship

        21     was a convicted felon?

        22                  MR. SHOOK:      Objection.

        23                  THE WITNESS:      It is not technically precise

        24     to say that he was a convicted felon.

        25     Ill

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         1     And so not inaccurate and not unfair.

         2                  BY MR. SIMPKINS:

         3           Q.     So you're saying it's accurate to say that

         4     Don Blankenship was a convicted felon?

         5                  MR. SHOOK:      Objection.        Asked and answered.

         6                  THE WITNESS:      I think it's technically

         7     imprecise, but we were not making a legal definition

         8     in this case.         We were doing something in a

         9     lighthearted segment and delivered in an almost

        10     satirical way.

        11                  BY MR. SIMPKINS:

        12           Q.     But you agree that it was factually

        13     imprecise to call Don Blankenship a convicted felon?

        14                  MR. SHOOK:      Objection.

        15                  THE WITNESS:      I think it's technically

        16     imprecise.

        17                  BY MR. SIMPKINS:

        18           Q.     Thank you.

        19                  According to the guidelines, the writer who

        20     penned the phrase "convicted felon Don Blankenship"

        21     was responsible for the accuracy of the content

        22     published by MSNBC on the show All In with

        23     Chris Hayes; correct?

        24                  MR. SHOOK:      Objection.        Objection to form.

        25                  THE WITNESS:      Yeah.     I'm not -- I don't


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                                                                                    69
         1     know that I could confirm that.

         2                  BY MR. SIMPKINS:

         3           Q.     You're familiar with the guidelines.

         4                  So the writer who penned the phrase

         5     "convicted felon Don Blankenship" was responsible

         6     for the accuracy; correct?

         7                  MR. SHOOK:      Objection.

         8                  THE WITNESS:      I believe you are quoting it

         9     correctly.

        10                  BY MR. SIMPKINS:

        11           Q.     Okay.      According to the guidelines, you, as

        12     executive producer, was responsible for the accuracy

        13     of the content published by MSNBC; correct?

        14           A.     That's correct.

        15           Q.     According to the guidelines, Chris Hayes's

        16     host was responsible for the accuracy of the content

        17     published by MSNBC; correct?

        18           A.     I'm not sure what the guidelines say about

        19     the host of the show.

        20           Q.     Thank you.

        21                  You, Chris Hayes, and the entire All In

        22     with Chris Hayes production team knew

        23     Don Blankenship was only convicted of a misdemeanor

        24     by virtue of the articles published by The New York

        25     Times -- or the article published by The New York


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         1           A.     Was I aware in 2015?

         2           Q.     Yes.

         3           A.     I can't recall if I was aware at that time

         4     or how much of that that I read.

         5           Q.     Has Chris Hayes ever called a misdemeanor a

         6     convicted felon during a telecast on All In with

         7     Chris Hayes?

         8                  MR. SHOOK:      Objection.

         9                  Go ahead and answer if you know.

        10                  THE WITNESS:      I don't know.

        11                  BY MR. SIMPKINS:

        12           Q.     Has any All In with Chris Hayes writer

        13     penned that a misdemeanor was a convicted felon

        14     during your tenure as executive producer?

        15                  MR. SHOOK:      Same objection.

        16                  THE WITNESS:      I can't recall.       don't

        17     know.

        18                  BY MR. SIMPKINS:

        19           Q.     Have you ever approved a script in which a

        20     misdemeanor was referenced as a convicted felon

        21     during your tenure as executive producer?

        22                  MR. SHOOK:      Objection.

        23                  THE WITNESS:      I don't know .

        24                  BY MR. SIMPKINS:

        25           Q.     Have you ever heard or known of any


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         1     incident in which a misdemeanor was referenced as a

         2     convicted felon on a telecast of NBC News, MSNBC, or

         3     CNBC?

         4           A.     Not that I can recall.

         5           Q.     Have you ever called a misdemeanor a

         6     convicted felon?             Have you yourself ever called a

         7     misdemeanor a convicted felon?

         8           A.     I don't know.         I may have.

         9           Q.     Do you know of any other incident in which

        10     a misdemeanor was called a convicted felon during a

        11     telecast of All In with Chris Hayes during your

        12     tenure as a -- as executive producer?

        13           A.     I don't recall.

        14           Q.     Has MSNBC ever clarified or corrected the

        15     "convicted felon Don Blankenship" statements of

        16     Chris Hayes and Joy Reid?

        17           A.     I don't think so.

        18           Q.     Okay.      Have you, Chris Hayes, or any other

        19     member of the production people for All In with

        20     Chris Hayes ever been subjected to disciplinary

        21     action for making the statement "convicted felon

        22     Don Blankenship"?

        23           A.     No.     There were no rule violations or

        24     reason for that.

        25           Q.     Do you concede that you, Chris Hayes,


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         1                        STENOGRAPHER'S CERTIFICATE

         2                      I, LORRIE L. MARCHANT, Certified Shorthand

         3     Reporter, Certificate No. 10523, for the State of

         4     California, hereby certify that DENIS HORGAN was by

         5     me duly sworn/affirmed to testify to the truth, the

         6     whole truth and nothing but the truth in the

         7     within-entitled cause; that said deposition was

         8     taken at the time and place herein named; that the

         9     deposition is a true record of the witness's

        10     testimony as reported to the best of my ability by

        11     me, a duly certified shorthand reporter and a

        12     disinterested person, and was thereafter transcribed

        13     under my direction into typewriting by computer;

        14     that request [ X] was [          ] was not made to read and

        15     correct said deposition.

        16                      I further certify that I am not interested

        17     in the outcome of said action, nor connected with,

        18     nor related to any of the parties in said action,

        19     nor to their respective counsel.

        20                      IN WITNESS WHEREOF, I have hereunto set my

        21     hand this 6th day of May, 2021.

        22

        23
                           LORRIE L. MARCHANT, RMR, CRR, CCRR, CRC
        24           Stenographic Certified Shorthand Reporter #10523

        25


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                            EXHIBIT #3
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          From:   O'Melia, Brendan (NBCUniversal, MSNBC}
          Sent:   Wed 4/06/2016 12:39 PM (GMT-04:00)
          To:     "allin_everyone@nbcuni.com" <"@NBC UNI All In Everyone>, "Chris
                  Hayes<clhprivate@gmail.com" <dhprivate@gmail.com>
          Cc:
          Bee:
          Subject: our old friend Don Blankenship going to the cooler for a year




           Former Massey Energy CEO Don
           Blankenship receives maximum sentence
          http://www.wsaz.com/ content/news/Former-Massey-Energy-CEO-Don-Blankenship-to-be-sentenced-
          Wednesday-374701101.htm 1




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                             EXHIBIT #5
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  Former Massey Energy CEO Don Blankenship to run for U.S. Senate I WCHS                            4/21/21, 8:QQ PM




         Former Massey Energy CEO Don
         Blankenship to run for U.S. Senate
         CHARLESTON, WV (WCHS/WVAH) -




         Eyewitness News has learned that former Massey Energy chief executive
         officer Don Blankenship plans to run for U.S. Senate.

         Blankenship filed his federal election official papers Tuesday. He will be
         running as a Republican.

         He is one of the most well-known figures in West Virginia and has continued
         to push for a full investigation of the Upper Big Branch mine explosion in
         2010. Blankenship contends the Mine Safety and Health Administration
         caused the blast after it reduced the ventilation air flow through the mine.

         Blankenship has been a long-time critic of U.S. Sen. Joe Manchin, D-W.Va.

  https://Wchstv.com/news/local/former- massey- energy-ceo-don-blankenship -to-run- for-us-senate         Page 1 of 3


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                                                                    of 32 PageID #: 14480
  Former Massey Energy CEO Don Blankenship to run for U.S. Senate I WCHS                          4/21/21, 8:0Q PM



         Manchin, a Democrat, is seeking re-election. In the Republican primary,
         Blankenship will square off against U.S. Rep. Evan Jenkins and West Virginia
         Attorney General Patrick Morrisey.

         In February, Blankenship's petition for a rehearing of his appeal of his
         conviction was denied by the U.S. Fourth Circuit Court of Appeals. In
         January, the court already had ruled that U.S. District Court in Charleston
         committed no reversible errors and denied Blankenship's battle to get his
         conviction overturned.

         Blankenship served a one-year sentence at a California prison for conspiring
         to willfully violate mine safety standards.

         Blankenship's misdemeanor conviction came after 24 days of testimony in
         connection with his involvement in the Upper Big Branch explosion that killed
         29 men in 2010.

         In briefs filed earlier this year, Blankenship's attorneys said the jury pool in
         Charleston was biased against him, the prosecution was politically motivated
         and the trial controlled by rulings unfair to the defense.

         A defiant Don Blankenship declared himself an "American political prisoner"
         on his blog, blaming others for the 2010 mine explosion. The ex-Massey
         Energy CEO distributed 250,000 copies of the 67-page diatribe in booklet
         form.

         After Blankenship's announcement, Sen. Joe Manchin released the following
         statement:

         "Joe Manchin is focused on working in the Senate for West Virginia families,
         not campaign politics. He won't be distracted by Mitch McConnell's
         backroom deals in Washington, D.C!'


  https://wchstv.com/news/local/former-massey-energy-ceo-don-blankenship-to- run-for- us-senate        Page 2 of 3


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  Former Massey Energy CEO Don Blankenship to run for U.S. Senate I WCHS                          4/21/21, 8:00 PM



         West Virginia Attorney General Patrick Morrisey took to Twitter following the
         announcement that Blankenship would run for U.S. Senate.

         Congressman Evan Jenkins released the following statement Wednesday
         afternoon:

         "Every citizen has the right to run for office, and I have no doubt that West
         Virginia Republicans will choose their nominee with careful consideration. My
         candidacy offers voters a clear choice on issues they care about most, a
         fighter for our shared West Virginia values, a close working relationship with
         President Trump and the one candidate West Virginia voters can count on to
         defeat Joe Manchin!'

         The AP contributed to this story




  https:/fwchstv.com/news/l ocal/former-massey-energy-ceo-don-blankenship-to-ru n-for-us-senate         Page 3 of 3


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                                 EXHIBIT 7
                          Excerpts from Deposition of
                           Don Blankenship taken on
                              November 18, 2020




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                                                                                         Page 1
     1                IN THE UNITED STATES DISTRICT COURT
     2               FOR THE EASTERN DISTRICT OF VIRGINIA
     3                      ALEXANDRIA DIVISION
     4
     5
     6     DON BLANKENSHIP                           )Civil Action No.
                                                     )1:20-cv-00429-LMB-IDD
     7           Plaintiff                           )
                                                     )
     8     v.                                        )
                                                     )
     9     KEVIN McLAUGHLIN, et al.,                 )
                                                     )
    10           Defendants                          )

    11

    12

    13

    14                     - C O N F I D E N T I A L -

    15

    16           Zoom Videotaped Deposition of Don Blankenship

    17                              November 18, 2020

    18                                    10:09 a.m.

    19

    20

    21

    22

    23

    24     Reported by:        Bonnie L. Russo

    25     Job No. 186668


                                             0927
                            TSG Reporting - Worldwide     877-702-9580
USCA4 Appeal: 22-1198  Doc:Document
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                                                                                         Page 2
     1     Zoom Videotaped Deposition of Don Blankenship
     2     held through:
     3

     4

     5

     6                      TSG Reporting
     7                      228 E. 45th Street
     8                      Suite 810
     9                      New York, New York 10017
    10
    11
    12

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    19

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    22     Pursuant to Notice, when were present on behalf
    23     of the respective parties:
    24

    25


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                                                                                         Page 3
     1     APPEARANCES:
     2

     3

     4     On behalf of the Plaintiff:
     5         BY: JEFFREY SIMPKINS, ESQ.
     6               MICHAEL SPARKS, ESQ.
     7         SIMPKINS LAW OFFICE
     8         102 E. 2nd Avenue
     9         Williamson, West Virginia 25661
    10
    11
    12         BY: JEREMY GRAY, ESQ.
    13               LISA ZEPEDA, ESQ.
    14         EARLY SULLIVAN WRIGHT GIZER                &   McRAE
    15         6420 Wilshire Boulevard
    16         Los Angeles, California 90048
    17

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                                                                                         Page 4
     1     APPEARANCES (CONTINUED):
     2

     3     On behalf of the Defendants:
     4         BY: DAVID TORBORG, ESQ.
     5               STEPHEN KENNY, ESQ.
     6         JONES DAY
     7         51 Louisiana Avenue, N.W.
     8         Washington, D.C. 20001
     9

    10
    11
    12
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    15
    16

    17

    18

    19     Also Present:
    20     Mark von Lanken, Videographer
    21
    22

    23

    24

    25


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                                                                                         Page 9
     1                              DON BLANKENSHIP

     2                   MS. ZEPEDA:         Lisa Zepeda on behalf
     3     of Don Blankenship.
     4                   THE VIDEOGRAPHER:           Will the court
     5     reporter please swear in the witness.

     6

     7                           DON BLANKENSHIP,
     8     being first duly sworn, to tell the truth, the
     9           whole truth and nothing but the truth,

    10                       testified as follows:
    11           EXAMINATION BY COUNSEL FOR DEFENDANTS
    12                   BY MR. TORBORG:

    13           Q.      Good morning, Mr. Blankenship.
    14           A.      Morning.       How are you?
    15           Q.      Good.      Again, my name is David
    16     Torborg, I'm with the law firm of Jones Day.
    17     We represent Kevin McLaughlin in connection
    18     with a case that you brought against him
    19     pending in the United States District Court for
    20     the Eastern District of Virginia.

    21                    You understand that you are
    22     appearing for your deposition in that matter
    23     today, correct?
    24           A.       Yes.

    25           Q.       Can you hear me okay?


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                                                                                       Page 259
     1                              DON BLANKENSHIP

     2           A.      Okay.

     3           Q.      Okay.      In this interrogatory we ask

     4     that you describe the basis for your allegation

     5     that the defamation of Mr. Blankenship as a

     6     felon so smeared his reputation that he has

     7     been prevented from pursuing other businesses

     8     and opportunities in generating returns of

     9     billions of dollars, including identifying a

    10     business and opportunities lost and the basis

    11     for the contention that any lost businesses and

    12     opportunities resulted from the alleged

    13     conspiracy and/or McLaughlin's alleged"

    14     ''allegedly defamatory statement rather than

    15     plaintiff's criminal record."                  It cites

    16     Complaint Paragraph 48.

    17                   Do you see that?

    18           A.       Yes.

    19           Q.      Okay.      And then I want to ask you

    20     about some of the specifics in your response to

    21     this interrogatory.           At the bottom of Page 12,

    22     you state that you were invited to serve and in

    23     fact did serve on the board of directors of

    24     Fluor Corporation.

    25                   Do you see that?


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                                                                                       Page 260
     1                              DON BLANKENSHIP

     2           A.      Yes.

     3           Q.      And --

     4           A.       Fluor, F-L-U-0-R.             It's not flowers;

     5     it's Fluor.

     6           Q.       Yeah.     I misspoke.

     7                   Was the Fluor Corporation the former

     8     parent of Massey?

     9           A.      Before Massey was spun off to be

    10     public in          I don't know.           1990 or something.

    11     19 something like that.

    12           Q.      My research said it was November of

    13     2000.      Does that sound about right to you?

    14           A.       Yeah.     I'm sorry.          We split with

    15     Shell in 1990 probably, so an way, it all runs

    16     together.

    17           Q.      When did you serve on the board of

    18     the        the Fluor Corporation?

    19           A.       I don't remember the exact years,

    20     but it was during a period of time that I was

    21     president of Massey, so probably from 1990 to

    22     2000, something like that.                 Probably 1992 or

    23     '3, something.

    24           Q.      Were you serving on the board of the

    25     Fluor corporation at the time or immediately


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                            TSG Reporting - Worldwi           8 77- 702 - 9580
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                                                                                       Page 261
     1                              DON BLANKENSHIP
     2     before your retirement from Massey?
     3           A.      No.     Once Massey was spun off to the
     4     public and I became the president of Massey, I
     5     guess, for -- you know, I don't know if it's

     6     the law or the rules, but for the appearances I

     7     was separated from Fluor so that Massey would
     8     be viewed as being independent of Fluor.
     9           Q.       You also state that you served on

    10     the board of Witco Chemical?
    11           A.       Yes.

    12           Q.      And what kind of company is that?

    13           A.       It was a chemical company
    14     headquartered in Greenwich, Connecticut that

    15     was merged into -- I can't remember, another

    16     chemical company.           I don't know what year that
    17     was either but probably late 1990s or 2000.

    18           Q.      When did you serve on the board of

    19     Witco Chemical?

    20           A.      That's what I said.              I think in the
    21     late 1990s, but I'm not -- I'm not sure.
    22           Q.      And is the reason that you ceased
    23     serving on the board was the -- I believe you

    24     said there was a merger with another company?
    25           A.       Yes.


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                                                                                     Page 262
     1                             DON BLANKENSHIP
     2          Q.        Do you have -- and that was in the
     3     late 1990s you said?
     4          A.        My memory is very, very vague of it,
     5     so I --    ~   shouldn't guess.         But I would think

     6     it was some time in that frame.
     7          Q.        Okay.    Let me ask you to go to the
     8     bottom of Page 13, last full 2aragraph starting
     9     with:     "A component of the harm."

    10          A.        Yes.
    11          Q.        It states:       "A component of the harm

    12     suffered by Mr. Blankenship will be lost
    13     opportunities, business and otherwise.                   By

    14     their nature, the precise nature of these lost
    15     opportunities is either difficult to quantify

    16     or otherwise unknown to Mr. Blankenship and
    17     will be the subject of investigation and
    18     discovery."
    19                    Do you see that?

    20          A.        Yes.
    21          Q.        Okay.    What investigation have you
    22     done to identify the nature of the lost
    23     opportunities referenced in your response?
    24          A.        Well, we engaged an expert who
    25     studied -- you know, had some time with me and


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                                                                                     Page 269
     1                             DON BLANKENSHIP

     2          Q.       Are you aware of any particular

     3     companies that would have hired you as the CEO
     4     after the 2018 primary but for Mr. McLaughlin's
     5     statement?

     6          A.       As I said repeatedly, I don't think
     7     that any individual statement is solely

     8     responsible.        I think that the multitude of

     9     false statements much like those that you asked

    10     me about earlier and these other issues.                     I
    11     mean, it's -- it's a continuation that I have

    12     tried to stop.         I ran for the U.S. Senate,
    13     spent millions of dollars making sure that
    14     people knew the truth when people knew the
    15     truth.     I took the lead in the polls, and the
    16     media stepped up and created the same problem
    17     with Kevin McLaughlin, Karl Rove, and others.
    18          Q.       Have you expressed your interest to
    19     any company about serving as their CEO?
    20          A.       I have not because I know that
    21     companies do not hire people who they believe
    22     are felons, and I am pretty engaged in this
    23     lawsuit and other things.             But I hope to as
    24     soon as I win this lawsuit.
    25          Q.       So you don't think you -- if -- if a


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                                                                                     Page 270
     1                             DON BLANKENSHIP
     2     company really wanted to hire you as a CEO,
     3     that they couldn't do their own research and
     4     determine whether you were in fact a felon?
     5          A.       They could do their own research and

     6     determine that, but they would not be able to
     7     withstand the pressure of the Security and

     8     Exchange Commission of hiring a chairman who is
     9     believed by the public because of false

    10     statements by the Republican establishment and
    11     the media that you are a felon.

    12          Q.       How do you know that the public
    13     believes that you are a felon.                What's the
    14     basis for that?
    15          A.       Well, because I know that they are
    16     greatly influenced by the media because I have
    17     seen it when I have used the media to run ads
    18     and -- and won elections and when I turned my
    19     unfavorables and so forth around through ads
    20     that I know that people believe what they see
    21     on TV because they expect it to be the truth.

    22          Q.       Have you spoken with anyone in
    23     connection with seeking any employment
    24     opportunities?
    25          A.       Again, I haven't I think I just


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     1                             DON BLANKENSHIP
     2     answered that question that I know as a former
     3     CEO, former member of the board of U.S. Chamber
     4     of Commerce, the largest construction company
     5     in the world, and a chemical company that

     6     people will not hire felons in this environment
     7     because the SEC and others would put them under

     8     greater scrutiny.
     9          Q.       But you are not a felon?

    10          A.       That's correct, but you are -- you
    11     know, your people, if you will, have caused
    12     lots of people to believe that, and perception,
    13     as y ou know, can become reality .
    14          Q.       Are you aware of any CEOs in America
    15     who have previously spent a year in federal

    16     prison?
    17                   MR. SIMPKINS:         Objection as to form.

    18                   THE WITNESS:        Yeah.       I can't
    19     remember the names right now, but there was one

    20     guy that was found guilty of a crime who came
    21     out and became a broker, so it's rare, but it
    22     is like the camel getting through the eye of

    23     the needle.       It's -- it's not going to happen

    24     very often.
    25                   BY MR. TORBORG:


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     1                             DON BLANKENSHIP

     2           Q.      You also referenced in your
     3     interrogatory response participating in private
     4     equity energy ventures.
     5                   Do you see that?

     6                   MR. SIMPKINS:         Which interrogatory,
     7     David?

     8                   MR. TORBORG:        Interrogatory 7, Page
     9     14.    It's one of the opportunities that he

    10     listed in response.
    11                   THE WITNESS:        Okay.       We are on the
    12     right page now.
    13                   BY MR. TORBORG:
    14           Q.      Okay.     What do you mean by "private
    15     equity energy ventures"?
    16           A.      It's a situation where a group of
    17     private individuals get together and they
    18     either buy a property or they buy a public

    19     company and -- and make it private.                  It can be
    20     a number of things, but basically, it's a -- a

    21     lot of times it's a lot of people with more
    22     money than they know what to do with that hire
    23     you to start a private energy company or a
    24     private company.
    25           Q.      What have you done since the 2018


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     1                             DON BLANKENSHIP

     2     primary to seek business opportunities in this

     3     area?

     4          A.       As I have said probably five times

     5     in the last two hours, I don't seek jobs as a

     6     person who is perceived by the public to be a

     7     felon.     I have -- I have spent a lot of money

     8     trying to correct the misimpression that

     9     they've given people.

    10          Q.       And why would reports that you were

    11     a felon prevent you from pursuing opportunities

    12     in the private equity energy venture space?

    13                   MR. SIMPKINS:         Objection.       Asked and

    14     answered.

    15                   THE WITNESS:        It's the same thing.

    16     I mean, peoP.le who are going to make
    17     investments depend heavily on permits.                   They

    18     depend on banking arrangements.                They depend on

    19     the reputation and so forth with customers.

    20     They depend on trusts.            So it's just -- once

    21     you've branded someone -- it's like that

    22     song, you know, being branded is hard to stick,

    23     you know.

    24                   BY MR. TORBORG:

    25          Q.       So you made your own decision not to


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     1                             DON BLANKENSHIP

     2     current chaos to figure out what you will do in

     3     the next one, but you know, should I win the

     4     $12 million I've sued for, I probably will be
     5     free to do a number of things.

     6                   BY MR. TORBORG:
     7          Q.       Do you need the $12 million that you

     8     are suing for in order to take advantage of
     9     whatever else you want to do?

    10                   MR. SIMPKINS:         It's billion with a
    11     B.

    12                   THE WITNESS:        Hardly.      I -- I think
    13     that the point is that by winning the lawsuit,

    14     I'm going to make us a better country and I'm
    15     going to make us a better judicial system and I
    16     will be able to expose how unfair the criminal
    17     justice system is.           I will be able to do a lot
    18     of good for the country, but I will also be
    19     able to do whatever I want to do, which I'm

    20     sure I'll do a lot of businesses.                 But right
    21     now I am almost singularly focused on winning
    22     this case.
    23                   BY MR. TORBORG:
    24          Q.       Can you identify any business
    25     partners who have declined to work with you?


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     1                             DON BLANKENSHIP

     2                   MR. SIMPKINS:         Objection.        Asked and
     3     answered.
     4                   THE WITNESS:         You know, it's a --
     5     it's a situation where I don't have to identify

     6     them.      I am familiar enough with the corporate
     7     world and particularly the public law firm
     8     world, the banking institute.                  It's just not
     9     practical.       I have enough knowledge and
    10     experience to know that I need to clean up this
    11     mess first.
    12                   BY MR. TORBORG:

    13           Q.      Your interrogatory response also

    14     references opportunities to participate in a
    15     Nevada gaming industry.
    16                   Do you see that?
    17           A.      Yes.

    18           Q.      What kind of opportunities do you --
    19     did you reference -- do you mean to reference

    20     there?

    21           A.      Almost anything that you do in
    22     Nevada involves games.             Every gas station has a
    23     slot machine and all that.              When you have a bad
    24     reputation, that is very hard to get a gaming
    25     license that would allow you to even be


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     1                             DON BLANKENSHIP
     2           Q.      Have you spoken with any companies
     3           strike that.
     4                   Let's go to Page 14.             Sorry, the
     5     next paragraph.          It states:        "Mr. Blankenship
     6     has also expended more than $10 million on
     7     efforts to prepare for his post Massey business
     8     life and to restore his business reputation."
     9                   Do you see that?
    10           A.      Yes.
    11           Q.      And it says:         "Defendant's
    12     defamation has effectively undone those efforts
    13     and rendered that expenditure of funds largely
    14     useless."
    15                   And, actually, before we go to that,
    16     let me go back up to a different spot, so I
    17     don't forget it.
    18                   MR. SIMPKINS:         Is there a question
    19     in the near future?
    20                   MR. TORBORG:         Yeah.
    21                   BY MR. TORBORG:
    22           Q.      Let's go -- going back up to 14, you
    23     say        it's the end of the last sentence of the
    24     carryover paragraph.            You say:       "During the
    25     course of discovery, Mr. Blankenship also


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     1                             DON BLANKENSHIP

     2

     3                     CERTIFICATE OF NOTARY PUBLIC

     4                I, Bonnie L. Russo, the officer before

     5     whom the foregoing deposition was taken, do

     6     hereby certify that the witness whose testimony

     7     appears in the foregoing deposition was duly

     8     sworn by me; that the testimony of said witness

     9     was taken by me in shorthand and thereafter

    10     reduced to computerized transcription under my

    11     direction; that said deposition is a true

    12     record of the testimony given by said witness;

    13     that I am neither counsel for,                 related to, nor

    14     employed by any of the parties to the action in

    15     which this deposition was taken; and further,

    16     that I am not a relative or employee of any

    17     attorney or counsel employed by the parties

    18     hereto, nor financially or otherwise interested

    19     in the outcome of the action.

    20     Dated: November 19, 2020.

    21

    22                                 Bonnie L. Russo
                                   Notary Public in and for
    23                             the District of Columbia

    24

    25     My Commission expires:            August 14, 2025


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                                      EXHIBIT 8
                                     Expert Report




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                                              Economics / Finance / Litigation Support
                                                                                                            Stan V. Smith, Ph.D.
                                                                                                                 President




         February 1, 2021

         Mr. Eric P. Early
         Early Sullivan Wright Gizer & McRae
         6420 Wilshire Blvd., 17th Floor                                                      EXHIBIT           §
         Los Angeles, CA 90048                                                                                  .ii
                                                                                                                -~
                                                                                                   701          :c
         Re: Blankenship v. Fox News Network LLC                                             ------i
         Dear Mr. Early:

         You have asked me to assess the damages to Don Blankenship based on the allegations against
         the various media defendants ("Media Defendants") described in the operative First Amended
         Complaint.

         I. ASSIGNMENT

         Based on the allegations against the Media Defendants described in the First Amended
         Complaint, I have been asked to assess the loss of earnings suffered by Mr. Blankenship.


         II. QUALIFICATIONS AND EXPERIENCE

         I am President of Smith Economics Group, Ltd., headquartered in Chicago, IL, which provides
         economic and financial consulting nationwide. I have worked as an economic and financial
         consultant since 1974, after completing a Research Internship at the Federal Reserve, Board of
         Governors, in Washington, D.C.

         I received my Bachelor's Degree from Cornell University. I received a Master's Degree and my
         Ph.D. in Economics from the University of Chicago; Gary S. Becker, Nobel Laureate 1992, was
         my Ph.D. thesis advisor. The University of Chicago is one of the world's preeminent institutions
         for the study of economics, and the home of renowned research in the law and economics
         movement.

         As President of Smith Economics, I have performed economic analyses in a great variety of
         engagements, including damages analysis in personal injury and wrongful death cases, business
         valuation, financial analysis, antitrust, contract losses, a wide range of class action matters,
         employment discrimination, defamation, and intellectual property valuations including
         evaluations of reasonable royalty.


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        I have more than 40 years of experience in the field of economics. I am a member of various
        economic associations and served for three years as Vice President of the National Association
        of Forensic Economics (NAFE) which is the principal association in the field. I was also on the
        Board of Editors of the peer-reviewed journal, the Journal of Forensic Economics, for over a
        decade; I have also published scholarly articles in this journal. The JFE is the leading academic
        journal in the field of Forensic Economics.

         I wrote the first textbook on Forensic Economic Damages that has been used in university
         courses such as the University of Wisconsin, Penn State University, and in various other states.
         As an adjunct professor, I created and taught the first course in Forensic Economics nationwide,
         at DePaul University in Chicago.

         I am the creator and founder of Ibbotson Associates' Stock, Bonds, Bills, and Inflation (SBBI)
         Yearbook, Quarterly, Monthly, and SBBI/PC Services. SBBI is generally regarded by
         academics in the field of finance as the most widely accepted source of statistics on the rates of
         return on investment securities. SBBI was originally published by Ibbotson Associates, then by
         Morningstar, Inc., and is now currently published by Duff & Phelps. The original SBBI series
         generated what became a six-book set universally used for business valuation, and currently
         available on an online platform. These data series are widely relied upon and regarded as the
         most accepted and definitive scholarly references by the academic, actuarial and investment
         community, and in courts oflaw. All three publishers of the SBBI series acknowledge me as the
         founder in 1983, for my "invaluable role" as having "originated the idea" of SBBI, which I then
         implemented while Managing Director at Ibbotson Associates.

         My estimate of the real discount rate is 1.25 percent per year. This discount rate is based on the
         rate ofreturn on short-term U.S. Treasury investments. The data is from the statistical series
         H.15 Selected Interest Rates, published by the Board of Governors of the Federal Reserve
         System found at www.federalreserve.gov. This data is also published in the Economic Report of
         the President Table for "Bond yields and interest rates" for the real return on U.S. Treasury
         investments primarily for the last 20 years.

        I have performed economic analysis in many thousands of cases in almost every state and federal
        jurisdiction since the early 1980s.

         My curriculum vita is attached, listing all my publications in the last 10 years and beyond. My
         hourly rate in this case is $525 per hour. The list of all cases in which I have testified in the last
         4 years is also attached.


         III. INFORMATION REVIEWED

             1. Plaintiff's First Amended Complaint;
             2. The informational interview with Mr. Blankenship dated September 8, 2020.




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         IV. BACKGROUND AND DISCUSSION

         Don Blankenship became a leader in the coal industry after a meteoric rise at Massey Energy.
         Mr. Blankenship began working for Massey Energy in 1982, and within two years, he was
         President of RAWL Sales, which was a subsidiary of Massey Energy. He was put in charge of
         all of Massey's mining operations four years later. In 1992, he was named President and CEO of
         the company, and his compensation rose to almost $18,000,000 in 2009 as a result of his success
         with the company and the phenomenal growth in the company's value from $150,000,000 to
         $7,800,000,000.

         On April 5, 2010, tragedy struck Raleigh County at the Upper Big Branch Mine. Only a few
         hours after ventilation changes required by the Obama Administration were completed, cutting
         the mine's airflow in half, flammable gas deep in the mine ignited, causing an explosion which
         took the lives of twenty-nine miners. Eight months after the disaster, on December 6, 2010,
         MSHA concluded that a coal bed methane build-up ignited and created an explosion. In April
         2014, Mr. Blankenship released a documentary which refuted MSHA's findings and challenged
         the inherent conflict of having a regulatory agency investigate an explosion where the agency
         itself was likely at fault. Among other things, the documentary identified powerful scientific
         evidence which refuted MSHA's conclusion that the explosion was caused by an influx of
         methane.

         On or about November 13, 2014, federal prosecutors from the Obama Justice Department
         charged Mr. Blankenship with three felonies, including conspiracy to defraud the Federal mine
         regulators. He was also charged with a misdemeanor, conspiring to violate mine safety laws.
         Mr. Blankenship was not charged with causing any of the twenty-nine deaths in the April 5, 2010
         Upper Big Branch Mine disaster. The Federal Government brought the full weight of its infinite
         resources to bear on Mr. Blankenship. The matter went to trial in October 2015 and lasted about
         two months. Following lengthy deliberations, the West Virginia jury found Mr. Blankenship
         innocent on all felony charges on December 3, 2015. The jury convicted him of the misdemeanor
         offense. Notably, at that time, many media outlets accurately reported that Mr. Blankenship was
         convicted only of a misdemeanor and not for any of the felony counts he was facing.

         The Department of Justice Office of Professional Responsibility has since investigated the
         conduct of the United States Attorneys who prosecuted Mr. Blankenship -- Booth Goodwin and
         Steve Ruby. The QPR found that massive prosecutorial misconduct had occurred in the
         prosecution of Mr. Blankenship, stating among other things that, "because Ruby and Goodwin
         recklessly violated the Department's discovery policies regarding the disclosure of discoverable
         statements, they committed professional misconduct." Mr. Blankenship's verdict is still under
         appeal.

         In January 2018, Mr. Blankenship formally announced his plans to run as a Republican for the
         U.S. Senate seat held by Senator Joe Manchin, a Democrat. The Republican primary was
         scheduled for May 8, 2018. Beginning at about the end of March 2018 the Media Defendants
         falsely called Mr. Blankenship a felon in order to injure his reputation and discredit his
         candidacy. Mr. Blankenship's senatorial run was his chance to increase his reputation, but
         following the defamatory statements by the Media Defendants on national media, he failed to

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         receive the Republican nomination. Achieving the Republican nomination in a senatorial race
         would have undoubtedly added to Mr. Blankenship's reputation and provided him with business
         opportunities, as well as a national podium to further establish himself.


         V. OPINION

         Lost Earnings

         Mr. Blankenship would have had great opportunities to earn income from multiple sources but
         for the actions of the Media Defendants. I have illustrated Mr. Blankenship's loss of earnings in
         five categories:

                    1.)   CEO in the Mining/Construction Industry;
                    2.)   Strategic Consultant;
                    3.)   Board of Directors;
                    4.)   Coal Broker/Entrepreneur; and
                    5.)   Author.

         All of the above opportunities would have been available for Mr. Blankenship, but it is unlikely
         that he would have been a CEO and a Strategic Consultant at the same time. He could have been
         a CEO or a Strategic Consultant and entertained the other opportunities.


         A. CEO in the Mining/Construction Industry

         Tables 1 and 2 show Mr. Blankenship's loss of earnings as a CEO in the Mining/Construction
         industry. Mr. Blankenship's earning capacity has been established by his track record of success
         as a President and CEO in the mining industry. Mr. Blankenship's compensation in as Chairman
         of the Board and President of Massey Energy was $5,328,422 in 2006, $9,929,125 in 2007,
         $11,226,717, plus non-qualified deferred compensation of $26,530,954, totaling $37,757,671 in
         2008, and $17,835,837 in 2009. Adjusting Mr. Blankenship's earnings for inflation, Mr.
         Blankenship earned $6,900,337 in year 2020 dollars in 2006, $12,601,153 in year 2020 dollars in
         2007, $13,955,811, plus non-qualified deferred compensation of $32,980,343 in years 2020
         dollars, totaling $46,936,154 in year 2020 dollars in 2008, and $21,584,160 in year 2020 dollars
         in 2009.

         While at Massey Energy, Mr. Blankenship received multiple employment offers from other
         companies. Mr. Blankenship states that he received an offer from Carl Smith, the former owner
         ofFola Coal, which was equivalent to $15 million in year 2020 dollars. He states that Massey
         Energy then matched and exceeded that offer to retain him. He states that he was named to the
         Board of Directors of Fluor, a global engineering and construction company, in 1997. In 1999,
         Mr. Blankenship was asked to manage Fluor while its Chairman, Les McGraw, battled cancer.
         Mr. Blankenship was approached to become the President of Fluor, but he declined, as he wanted
         to remain in West Virginia. Mr. Blankenship was contacted by a headhunter to become the
         President of Raytheon in approximately 2000, but he again declined to remain at Massey Energy.

                                                      4

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         According to the Economic Research institute, the salary for new hire CEOs in the mining
         industry is $5,048,242 in year 2020 dollars. 1

         I have illustrated Mr. Blankenship's loss of earnings as a CEO in two scenarios. Table 1 shows
         the loss of earnings for Scenario 1. In Scenario 1, I have illustrated the lost earning to begin in
         2019 at $22,005,451 in year 2020 dollars based on Mr. Blankenship's average real income from
         2006 through 2009. Future earnings are illustrated to grow at inflation.

         Based on the above assumption, my opinion of the lost earnings as a CEO through 2030 are
                        •
         $254,647,877 Table 1.

         Table 2 shows the loss of earnings for Scenario 2. In Scenario 2, I have illustrated the lost
         earning to begin in 2019 at $5,048,242 in year 2020 dollars based on the salary for new hire
         CEOs in the mining industry. Mr. Blankenship's earnings are grown in 2024 to $21,584,160 in
         year 2020 dollars based on his actual income in 2009. Future earnings are illustrated to grow at
         inflation.

         Based on the above assumption, my opinion of the lost earnings as a CEO through 2030 are
                        •
         $197,218,122 Table 2.


         B. Strategic Consultant

         Tables 3 through 5 show the lost earnings for Mr. Blankenship as a Strategic Consultant in three
         scenarios. Under Mr. Blankenship's leadership, and his implementation of systems that cut costs
         and increased efficiency, Massey Energy grew from a valuation of $150,000,000 to
         $7,800,000,000

         Mr. Blankenship gained an expertise in cost accounting following his exposure to standard cost
         practices in the food industry while working for Keebler Company earlier in his career. Mr.
         Blankenship was able to grow Massey Energy in a time when the coal industry was in decline
         based on his ingenuity and groundbreaking methods. The metrics that he implemented to assess
         mines and make them profitable are now used universally in the mining industry. This approach
         has now become broad and has been applied to other industries as well, including the banking
         industry. Mr. Blankenship stated he cut costs by $400 million per year while at Massey Energy.
         Mr. Blankenship's ingenuity reduced Massey Energy's costs by 30 percent compared to similar
         coal mines.

         Mr. Blankenship states that the harm to his reputation following the election has limited his
         ability to engage in business opportunities as a Strategic Consultant. He states that he would
         have been able to bring his expertise to companies across multiple industries, including mining,
         banking, and construction, in order to assist with cutting costs. Mr. Blankenship states that he
         would have been able to put together a team to assess companies and negotiate a percentage of

         1   https://online.erieri.com/SS/ExecutiveSurvey/
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                                                     SEG
         the savings as compensation, and 10 percent would be a reasonable fee. Mr. Blankenship states
         that based upon his experience as a CEO, he would be willing to pay an outside consultant 10
         percent of the realized cost savings.

         I have illustrated Mr. Blankenship's loss of earnings as a strategic consultant in three scenarios.
         In Scenario 1, I have illustrated Mr. Blankenship to earn $5,000,000 per year beginning in 2019,
         which assumes that he would provide cost savings of approximately $50,000,000 to various
         companies. Mr. Blankenship's Scenario 1 earnings are illustrated to grow in 2024 to
         $20,000,000, which assumes that he would increase the amount of cost savings provided to
         $200,000,000, or half of what he did at Massey Energy.

         Based on the above assumptions for Scenario 1, my opinion of the lost earnings as a
                                                                •
         Strategic Consultant through 2030 is $175,394,301 Table 3.

         I have illustrated Mr. Blankenship's loss of earnings as a strategic consultant in three scenarios.
         In Scenario 2, I have illustrated Mr. Blankenship to earn $5,000,000 per year beginning in 2019,
         which assumes that he would provide cost savings of approximately $50,000,000 to various
         companies. Mr. Blankenship's Scenario 2 earnings are illustrated to grow in 2024 to
         $15,000,000, which assumes that he would increase the amount of cost savings provided to
         $150,000,000.

         Based on the above assumptions for Scenario 2, my opinion of the lost earnings as a
                                                                •
         Strategic Consultant through 2030 is $136,982,590 Table 4.

         I have illustrated Mr. Blankenship's loss of earnings as a strategic consultant in three scenarios.
         In Scenario 3, I have illustrated Mr. Blankenship to earn $5,000,000 per year beginning in 2019,
         which assumes that he would provide cost savings of approximately $50,000,000 to various
         companies. Mr. Blankenship's Scenario 2 earnings are illustrated to grow in 2024 to
         $10,000,000, which assumes that he would increase the amount of cost savings provided to
         $100,000,000, or one-quarter of what he did at Massey Energy.

         Based on the above assumptions for Scenario 3, my opinion of the lost earnings as a
                                                               •
         Strategic Consultant through 2030 is $97,766,336 Table 5.


         C. Board of Directors

         Tables 6 and 7 show the lost earnings for Mr. Blankenship from seats on Board of Directors. Mr.
         Blankenship states that he had seats on three boards while he was CEO at Massey Energy, and he
         believes that he could have been on up to five boards if he was not engaged in other businesses,
         and three boards ifhe was engaged in other businesses.

         I have illustrated Mr. Blankenship's loss of earnings as a member of a Board of Directors in two
         scenarios. The 90th percentile earnings for members of a Board of Directors is $290,000 in year



                                                       6

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         2020 dollars 2 • In Scenario 1, I have illustrated Mr. Blankenship as a member of five Boards of
         Directors and earning $290,000 per seat, which yields estimated annual earnings of $1,450,000
         in year 2019 dollars beginning in 2019. Mr. Blankenship's Scenario 1 earnings are adjusted by
         inflation.

         Based on the above assumptions for Scenario 1, my opinion of the lost earnings as member
                                                                 •
         of a Board of Directors through 2030 is $17,115,042 Table 6.

         In Scenario 2, I have illustrated Mr. Blankenship as a member of three Boards of Directors and
         earning $290,000 per seat, which yields estimated annual earnings of $870,000 in 2019 dollars
         beginning in 2019. Mr. Blankenship's Scenario 2 earnings are adjusted by national average
         wage growth of 4.29 percent in 2019, and 3.00 percent in 2020. Future earnings are illustrated to
         grow at 1.00 percent real.

         Based on the above assumptions for Scenario 2, my opinion of the lost earnings as member
                                                                 •
         of a Board of Directors through 2030 is $10,269,025 Table 7.


         D. Coal Broker

         Tables 8 and 9 show the lost earnings for Mr. Blankenship from working as a Coal Broker. Mr.
         Blankenship states that had a relationship with the steel industry, and while he was at Massey
         Energy he had wanted to become a coal broker or start his own mining company later in his life.
         Mr. Blankenship states that there have been several successful coal brokers, including Chris
         Cline, Ernie Thrasher, and Joseph Craft III, and he believes that he could have gone down a
         similar path. He states that in the 1990s, as well as after leaving Massey Energy in 2011, Chris
         Cline reached out to him about becoming the President of Cline Resource and Development Co.
         Mr. Blankenship states that he advised Mr. Cline on his large purchase of mines in Illinois,
         which earned Mr. Cline a fortune.

         Chris Cline, another West Virginia native got his start working in coal mines at age 15 and later
         bet big on high-sulfur coal reserves in Illinois. He took coal mining firm Foresight Energy
         public in 2014, and sold a controlling stake in 2015 for $1.4 billion cash. His net worth was
         estimated at $1,800,000,000 in 2019. 3

         Ernie Thrasher is the Founder, CEO and CMO ofXcoal Energy and Resources. Thrasher held
         various positions in mine operations and mine management through 1981. Prior to forming
         Xcoal Energy & Resources in 2003, Thrasher spent twenty-two (22) years in various global
         marketing positions at Primary Coal and AMCI. Xcoal is the largest exporter of U.S. origin coal.
         In addition to marketing U.S. origin coal to customers throughout the world, Xcoal activities
         include the financing and development of mining projects and related infrastructure projects.
         Thrasher founded XLNG Energy & Resources in 2015, which plans to market LNG originating
         from natural gas reserves in the Marcellus and Utica Shale basins in the U.S., to customers in

         2   https://www.payscale.com/research/US/Job=Member_of_the_Board_of_Directors/Salary
         3   https://www.forbes.com/profile/christopher-cline/#4bba4fbf9al d
                                                       7

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         South America, Europe, and Asia. Thrasher serves on the Board of Directors of Barrick Gold
         Corporation, the President's Leadership Council-Boy Scouts of America, is a member of the
         Council on Foreign Relations, serves as a Director on the National Committee on U.S. China
         Relations, and serves as a Director of the U.S.-India Strategic Partnership Forum. 4

         Joseph Craft III became a lawyer, and then joined diversified coal company MAPCO as an
         assistant general counsel in 1980. He became president in 1987. Craft was rewarded with a big
         stake for leading the firm's LBO and conversion into a tax-efficient public master limited
         partnership in 1996; it was renamed Alliance Resource Partners three years later. He has been
         chief executive since and overseen subsequent expansion across Appalachia and the Midwest as
         revenue increased to $390 million. His net worth was an estimated $1,400,000,000 in 2012. 5

         The average net worth for Joseph Craft III and Chris Cline, whose net worth is publicly
         available, is $1,730,675,739. Assuming a 30-year career yields an estimated annual income of
         $56,558,030 in year 2019 dollars.

         I have illustrated Mr. Blankenship's loss of earnings as a coal broker or entrepreneur in two
         scenarios. In Scenario 1, I have illustrated Mr. Blankenship's earnings to begin in 2019 at
         $56,558,030 in year 2020 dollars. Future earnings are illustrated to grow at inflation.

         Based on the above assumptions for Scenario 1, my opinion of the lost earnings as a coal
                                                                   •
         broker or entrepreneur through 2030 is $667,581,406 Table 8.

         In Scenario 2, I have illustrated Mr. Blankenship's earnings to begin in 2019 at 50 percent of
         $56,558,030, or $28,279,015 in year 2020 dollars. Future earnings are illustrated to grow at
         inflation.

         Based on the above assumptions for Scenario 2, my opinion of the lost earnings as a coal
                                                                   •
         broker or entrepreneur through 2030 is $333,790,703 Table 9.


         E. Author

         Tables 10 and 11 show the lost earnings for Mr. Blankenship from being an author in two
         scenarios. Mr. Blankenship states that he planned to author several books over the remainder of
         his career. He states that he also planned to adapt his story into a screenplay.

         I have illustrated Mr. Blankenship's loss of book revenue in two scenarios. In Scenario 1, I have
         illustrated Mr. Blankenship receiving a benchmark of $100,000 advances every 3 years.

         Based on the above assumptions for Scenario 1, my opinion of the lost earnings as member
                                                              •
         of a Board of Directors through 2030 is $383,816 Table 10.



         4   https://usispf.org/team/ernie-thrasher/
         5   https://www.forbes.com/profile/joseph-craft/#6a4b02ab712a
                                                       8

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                                                    SEG
        In Scenario 1, I have illustrated Mr. Blankenship receiving a benchmark of$250,000 advances
        every 3 years.

        Based on the above assumptions for Scenario 1, my opinion of the lost earnings as member
                                                             •
        of a Board of Directors through 2030 is $959,539 Table 11.



        All opinions expressed in this report are clearly labeled as such. They are rendered in
        accordance with generally accepted standards within the field of economics and are expressed to
        a reasonable degree of economic certainty. Estimates, assumptions, illustrations and the use of
        benchmarks, which are not opinions, but which can be viewed as hypothetical in nature, are also
        clearly disclosed and identified herein.

        In my opinion, it is reasonable for experts in the field of economics and finance to rely on the
        materials and information I reviewed in this case, for the formulation of my substantive opinions
        herein.

        If additional information is provided to me, which could alter my opinions, I may incorporate
        any such information into an update, revision, addendum, or supplement of the opinions
        expressed in this report.

        It is my opinion, based upon the foregoing, that the Plaintiff has suffered concrete, tangible,
        economic harm.

        If you have any questions, please do not hesitate to call me.

        Sincerely,




        Stan V. Smith, Ph.D.
        President




                                                      9

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                                     SUMMARY OF LOSSES



            TABLE   DESCRIPTION                                               ESTIMATE


                    LOSS OF EARNINGS THROUGH 2030



                    CEO IN MINING/CONSTRUCTION
               1      SCENARIO 1                                           $254,647,877
               2      SCENARIO 2                                           $197,218,122


                    STRATEGIC CONSULTANT
               3      SCENARIO 1                                           $175,394,301
               4      SCENARIO 2                                           $136,982,590
               5      SCENARIO 3                                            $97,766,336


                    BOARD OF DIRECTORS
               6      SCENARIO 1                                            $17,115,042
               7      SCENARIO 2                                            $10,269,025


                    COAL BROKER/ENTREPRENEUR
               8      SCENARIO 1                                           $667,581 ,406
               9      SCENARIO 2                                           $333,790,703


                    AUTHOR
              10      SCENARIO 1                                               $383,816
              11      SCENARIO 2                                               $959,539




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                                                                     30756 PageID #: 14512
                                                    Table 1

                                 LOSS OF CEO EARNINGS - SCENARIO 1
                                             2019 - 2030


                                               1%
                                       DISCOUNT     PRESENT
                 YEARS      INCOME       FACTOR        VALUE     CUMULATE
                  2019   $21,573,972     1.0000     21,573,972    21,573,972
                  2020   $22,005,451     1.0000     22,005,451    43,579,423
                  2021   $22,445,560     0.9938     22,306,147    65,885,569
                  2022   $22,445,560     0.9815     22,030,762    87,916,331
                  2023   $22,445,560     0.9694     21,758,777   109,675,109
                  2024   $22,445,560     0.9574     21,490,150   131,165,259   1.363899
                  2025   $22,445,560     0.9456     21,224,840   152,390,099
                  2026   $22,445,560     0.9339     20,962,805   173,352,904
                  2027   $22,445,560     0.9224     20,704,005   194,056,909
                  2028   $22,445,560     0.9110     20,448,400   214,505,309
                  2029   $22,445,560     0.8998     20,195,950   234,701,259
                  2030   $22,445,560     0.8887     19,946,618   254,647,877




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                                                                     30756 PageID #: 14513
                                                    Table 2

                                 LOSS OF CEO EARNINGS - SCENARIO 2
                                             2019 - 2030


                                               1%
                                       DISCOUNT     PRESENT
                 YEARS      INCOME       FACTOR        VALUE     CUMULATE
                  2019    $4,949,257     1.0000      4,949,257     4,949,257
                  2020    $6,723,867     1.0000      6,723,867    11,673,124
                  2021    $9,134,783     0.9938      9,078,046    20,751,170
                  2022   $12,410,160     0.9815     12,180,818    32,931,988
                  2023   $16,859,959     0.9694     16,344,083    49,276,071
                  2024   $22,905,282     0.9574     21,930,304    71,206,375   1.358561
                  2025   $22,905,282     0.9456     21,659,560    92,865,935
                  2026   $22,905,282     0.9339     21,392,158   114,258,093
                  2027   $22,905,282     0.9224     21,128,057   135,386,151
                  2028   $22,905,282     0.9110     20,867,217   156,253,368
                  2029   $22,905,282     0.8998     20,609,597   176,862,965
                  2030   $22,905,282     0.8887     20,355,158   197,218,122




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                                                                     30756 PageID #: 14514
                                                     Table 3

                         LOSS OF STRATEGIC CONSULTANT EARNINGS - SCENARIO 1
                                             2019 - 2030


                                                1%
                                        DISCOUNT     PRESENT
                 YEARS       INCOME       FACTOR        VALUE     CUMULATE
                  2019     $5,000,000     1.0000      5,000,000     5,000,000
                  2020     $6,597,540     1.0000      6,597,540    11,597,540
                  2021     $8,705,506     0.9938      8,651,434    20,248,974
                  2022    $11,486,984     0.9815     11,274,702    31,523,676
                  2023    $15,157,166     0.9694     14,693,391    46,217,067
                  2024    $20,000,000     0.9574     19,148,687    65,365,754   1.319508
                  2025    $20,000,000     0.9456     18,912,284    84,278,038
                  2026    $20,000,000     0.9339     18,678,799   102,956,837
                  2027    $20,000,000     0.9224     18,448,196   121,405,033
                  2028    $20,000,000     0.9110     18,220,441   139,625,474
                  2029    $20,000,000     0.8998     17,995,497   157,620,971
                  2030    $20,000,000     0.8887     17,773,330   175,394,301




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                                                           Page   of of
                                                                     30756 PageID #: 14515
                                                     Table 3

                         LOSS OF STRATEGIC CONSULTANT EARNINGS - SCENARIO 2
                                             2019 - 2030


                                                1%
                                        DISCOUNT     PRESENT
                 YEARS       INCOME       FACTOR        VALUE     CUMULATE
                  2019     $5,000,000     1.0000      5,000,000     5,000,000
                  2020     $6,228,655     1.0000      6,228,655    11,228,655
                  2021     $7,759,228     0.9938      7,711,034    18,939,689
                  2022     $9,665,910     0.9815      9,487,282    28,426,971
                  2023    $12,041,123     0.9694     11,672,693    40,099,664
                  2024    $15,000,000     0.9574     14,361,515    54,461,179   1.245731
                  2025    $15,000,000     0.9456     14,184,213    68,645,392
                  2026    $15,000,000     0.9339     14,009,099    82,654,491
                  2027    $15,000,000     0.9224     13,836,147    96,490,638
                  2028    $15,000,000     0.9110     13,665,331   110,155,969
                  2029    $15,000,000     0.8998     13,496,623   123,652,592
                  2030    $15,000,000     0.8887     13,329,998   136,982,590




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                                                                     30756 PageID #: 14516
                                                   Table 5

                         LOSS OF STRATEGIC CONSULTANT EARNINGS - SCENARIO 3
                                             2019 - 2030


                                                1%
                                        DISCOUNT PRESENT
                 YEARS       INCOME       FACTOR     VALUE CUMULATE
                  2019     $5,000,000     1.0000   5,000,000  5,000,000
                  2020     $5,743,492     1.0000   5,743,492 10,743,492
                  2021     $6,597,540     0.9938   6,556,561 17,300,053
                  2022     $7,578,583     0.9815   7,438,529 24,738,582
                  2023     $8,705,506     0.9694   8,439,137 33,177,719
                  2024    $10,000,000     0.9574   9,574,344 42,752,063   1.148698
                  2025    $10,000,000     0.9456   9,456,142 52,208,205
                  2026    $10,000,000     0.9339   9,339,399 61,547,604
                  2027    $10,000,000     0.9224   9,224,098 70,771,702
                  2028    $10,000,000     0.9110   9,110,220 79,881,923
                  2029    $10,000,000     0.8998   8,997,749 88,879,671
                  2030    $10,000,000     0.8887   8,886,665 97,766,336




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                                                                     30756 PageID #: 14517
                                                  Table 6

                         LOSS OF BOARD OF DIRECTORS EARNINGS - SCENARIO 1
                                             2019 - 2030


                                               1%
                                       DISCOUNT PRESENT
                 YEARS      INCOME       FACTOR     VALUE CUMULATE
                  2019    $1,450,000     1.0000   1,450,000  1,450,000
                  2020    $1,479,000     1.0000   1,479,000  2,929,000
                  2021    $1,508,580     0.9938   1,499,210  4,428,210
                  2022    $1,508,580     0.9815   1,480,701  5,908,911
                  2023    $1,508,580     0.9694   1,462,421  7,371,332
                  2024    $1,508,580     0.9574   1,444,366  8,815,698      1.363899
                  2025    $1,508,580     0.9456   1,426,535 10,242,233
                  2026    $1,508,580     0.9339   1,408,923 11,651,156
                  2027    $1,508,580     0.9224   1,391,529 13,042,685
                  2028    $1,508,580     0.9110   1,374,350 14,417,035
                  2029    $1,508,580     0.8998   1,357,382 15,774,417
                  2030    $1,508,580     0.8887   1,340,625 17,115,042




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                                                                     30756 PageID #: 14518
                                                Table 7

                         LOSS OF BOARD OF DIRECTORS EARNINGS - SCENARIO 2
                                             2019 - 2030


                                              1%
                                      DISCOUNT PRESENT
                 YEARS     INCOME       FACTOR   VALUE CUMULATE
                  2019     $870,000     1.0000   870,000    870,000
                  2020     $887,400     1.0000   887,400  1,757,400
                  2021     $905,148     0.9938   899,526  2,656,926
                  2022     $905,148     0.9815   888,421  3,545,347
                  2023     $905,148     0.9694   877,453  4,422,799
                  2024     $905,148     0.9574   866,620  5,289,419         1.363899
                  2025     $905,148     0.9456   855,921  6,145,340
                  2026     $905,148     0.9339   845,354  6,990,694
                  2027     $905,148     0.9224   834,917  7,825,611
                  2028     $905,148     0.9110   824,610  8,650,221
                  2029     $905,148     0.8998   814,429  9,464,650
                  2030     $905,148     0.8887   804,375 10,269,025




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                                                                     30756 PageID #: 14519
                                                     Table 8

                         LOSS OF BROKER/ENTREPRENEUR EARNINGS - SCENARIO 1
                                             2019 - 2030


                                                1%
                                        DISCOUNT     PRESENT
                 YEARS       INCOME       FACTOR        VALUE     CUMULATE
                  2019    $56,558,030     1.0000     56,558,030    56,558,030
                  2020    $57,689,191     1.0000     57,689,191   114,247,221
                  2021    $58,842,974     0.9938     58,477,490   172,724,711
                  2022    $58,842,974     0.9815     57,755,546   230,480,256
                  2023    $58,842,974     0.9694     57,042,514   287,522,771
                  2024    $58,842,974     0.9574     56,338,286   343,861,057   1.363899
                  2025    $58,842,974     0.9456     55,642,751   399,503,808
                  2026    $58,842,974     0.9339     54,955,804   454,459,612
                  2027    $58,842,974     0.9224     54,277,337   508,736,949
                  2028    $58,842,974     0.9110     53,607,247   562,344,195
                  2029    $58,842,974     0.8998     52,945,429   615,289,624
                  2030    $58,842,974     0.8887     52,291,781   667,581,406




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                                                                     30756 PageID #: 14520
                                                     Table 9

                         LOSS OF BROKER/ENTREPRENEUR EARNINGS - SCENARIO 2
                                             2019 - 2030


                                                1%
                                        DISCOUNT     PRESENT
                 YEARS       INCOME       FACTOR        VALUE     CUMULATE
                  2019    $28,279,015     1.0000     28,279,015    28,279,015
                  2020    $28,844,595     1.0000     28,844,595    57,123,610
                  2021    $29,421,487     0.9938     29,238,745    86,362,355
                  2022    $29,421,487     0.9815     28,877,773   115,240,128
                  2023    $29,421,487     0.9694     28,521,257   143,761,385
                  2024    $29,421,487     0.9574     28,169,143   171,930,528   1.363899
                  2025    $29,421,487     0.9456     27,821,376   199,751,904
                  2026    $29,421,487     0.9339     27,477,902   227,229,806
                  2027    $29,421,487     0.9224     27,138,669   254,368,474
                  2028    $29,421,487     0.9110     26,803,623   281,172,098
                  2029    $29,421,487     0.8998     26,472,714   307,644,812
                  2030    $29,421,487     0.8887     26,145,891   333,790,703




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                                              Table 10

                               LOSS OF AUTHOR EARNINGS - SCENARIO 1
                                            2019 - 2030


                                               1%
                                        DISCOUNT     PRESENT
                  YEARS      INCOME       FACTOR       VALUE     CUMULATE
                   2019      $100,000       1.0000     100,000      100,000
                   2020            $0       1.0000           0      100,000
                   2021            $0       0.9938           0      100,000
                   2022      $100,000       0.9815      98,152      198,152
                   2023            $0       0.9694           0      198,152
                   2024            $0       0.9574           0      198,152       1.363899
                   2025      $100,000       0.9456      94,561      292,713
                   2026            $0       0.9339           0      292,713
                   2027            $0       0.9224           0      292,713
                   2028      $100,000       0.9110      91,102      383,816
                   2029            $0       0.8998           0      383,816
                   2030            $0       0.8887           0      383,816




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                                              Table 11

                               LOSS OF AUTHOR EARNINGS - SCENARIO 2
                                            2019 - 2030


                                               1%
                                        DISCOUNT     PRESENT
                  YEARS      INCOME       FACTOR       VALUE     CUMULATE
                   2019      $250,000       1.0000     250,000      250,000
                   2020            $0       1.0000           0      250,000
                   2021            $0       0.9938           0      250,000
                   2022      $250,000       0.9815     245,380      495,380
                   2023            $0       0.9694           0      495,380
                   2024            $0       0.9574           0      495,380       1.363899
                   2025      $250,000       0.9456     236,404      731,784
                   2026            $0       0.9339           0      731,784
                   2027            $0       0.9224           0      731,784
                   2028      $250,000       0.9110     227,756      959,539
                   2029            $0       0.8998           0      959,539
                   2030            $0       0.8887           0      959,539




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                                           Economics / Finance / Litigation Support
                                                                                                             Stan V. Smith, Ph.D.
                                                                                                                  President
                                       S T A N          V.       SMITH,                PH. D.

     Smith Economics Group, Ltd. -- Consultants and Experts in Economics and Finance.
        President, 11/85 to present. Assisted in the successful resolution of
        thousands of lawsuits on behalf of clients that include many dozens of the
        nation's largest law firms, the U.S. Department of Justice, as well as
        thousands of other prominent plaintiff and defense law firms in almost every
        state. Firm provides economic and financial consulting and economic legal
        analysis in federal and state courts on damages of every sort: Business Damages
        including antitrust damages, patent valuation, breach of contract losses, and
        others commercial losses; Business Valuations; Personal Injury and Wrongful
        Death losses including lost wages, benefits, services, and other injury losses;
        Bedonie Damages; Wrongful Discharge, defamation and employment discrimination;
        Identity Theft and other credit damages; Product Liability; Pension Fund
        Evaluation and Withdrawal liability, Security Losses.



     DePau1 University. -- Adjunct Professor, College of Law, 1990 to 1994. Created
        and taught a full three-credit course in Advanced Remedies - Analysis of
        Economic Damages in Litigation, based on my textbook on Forensic Economics;
        delivered lectures to other courses in subsequent years.  This was the first
        course created nationwide in the area of Forensic Economics.

     Ibbotson Associates, Inc. -- Economic and Financial Consultants. Principal and
        Managing Director; Originator of SBBI Subscription Services, 11/81 to 11/85.
        Firm provides consulting to hundreds of the nation's most prominent money
        managers, law firms, brokerage firms, and pension funds.

     Seaquest Internationa1, Inc. -- Founder and President, 7/77 to 11/81. Developed
        and financed sophisticated research, search, and recovery technologies for
        ancient underwater artifacts.

     The December Group, Ltd. -- Investment Banking Consultants. Associate Economic
        Analyst 12/74 to 7/77. Firm specialized in mergers and acquisitions, leveraged
        buy-outs, divestitures and financing specialized start-ups with venture
        capital.

     JPMorgan Chase Bank - Chicago. -- Staff Economist, 3/74 to 12/74.                                    Analyzed bank
        credit and service pricing policies.

     Federa1 Reserve System. -- Staff Economist at Board of Governors, Washington, D.C.
        9/73 to 2/74.

     University of Chicago. - Adjunct Professor, Public Policy Economics, 3/73 to 6/73.
       Research Assistant in Economics, 3/70 to 6/73.

     Mid1othian Manufacturing Co. -- Vice President, 9/68 to 3/73. Responsible for
        marketing to retail and industrial clients; production control.




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     EDUCATIONAL BACKGROUND:

     University of Chicago, Chicago IL. Ph.D. in Economics, 1997; Support Areas in
       Finance and Econometrics.   Honors: Allied Chemical Scholar and Federal Reserve
       Internship.   The University of Chicago is recognized as a world preeminent
       institution for the study of Economics and the home of the Law and Economics
       movement. Prof. Gary Becker, Nobel 1992, Thesis Advisor; Research Assistant to
       Prof. Eugene Fama, Nobel 2013.

     University of Chicago, Chicago, IL. Master's Degree, 1972, Graduate School of
       Business; Field of Concentration in Economics.

     Cornell University, Ithaca, NY. Bachelor of Science, Operations Research, 1968;
       Field of Concentration in Statistics, Computer Science and Industrial
       Engineering, Honors: John McMullen Scholar.


     PROFESSIONAL ACTIVITIES:

     American Academy of Economic & Financial Experts, Journal of Legal Economics,
        Manuscript Referee, 199x-2008.
     American Arbitration Association, Arbitrator, 1994 to 1996;
     American Board of Disability Analysts, Professional Advisory Council, 2002 to
        present, Member & Diplomat, 2001 to present;
     American College of Forensic Examiners, Fellow, Diplomate and Board Certified
        Forensic Examiner, 1996 to present;
     American Economic Association, Member, 1985 to present;
     American Finance Association, Member, 1985 to present;
     Collegium of Pecuniary Damages Experts, Charter Member, 2008-2011;
     Journal of the American Rehabilitation Economics Association: The Earnings
        Analyst, Manuscript Referee, 1998 to 2002;
     Journal of Forensic Economics, Board of Editors, 1990 to 2001;
     Journal of Forensic Economics, Manuscript Referee, 1990 to 2003;
     National Academy of Economic Arbitrators, Founder and Charter Member, 1989 to
        2005;
     National Association of Forensic Economics, Vice President, 2000 to 2003, Board
        of Editors, 1990 to 2000, Member, 1988 to present;
     National Futures Association's Panel of Arbitrators, Arbitrator, 1994 to
        present;


     PUBLICATIONS:

     Author, "Historical Returns on Investment Instruments," Handbook of Modern Finance
        1985, with Roger Ibbotson and Larry Siegel; Dennis Logue, ed., Warren, Gorham &
        Lamont, New York.
     Author, 1988 Supp.to Vol 13, Am Jur Proof of Facts 2d on Hedonic Damages.
     Author, "Economist Proposes Relief From Present Value Ruling," Chicago Daily Law
        Bulletin, June 8, 1988.
     Author, "Hedonic Damages" Illinois Tort Report, June, 1988. 9209




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     Author, "Bedonie Damages," The Audio Lawyer, Vol. 6 No. 8, ALI-ABA, February,
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     Author, "The Bedonie Value of Life: Economic Expert Witness Testimony in Injury
        and Wrongful Death," Expert Evidence Reporter, Vol. 1, No. 1, September 1989,
        Shepard's McGraw-Hill.
     Co-author: Economic/Bedonie Damages: A Practice Book for Plaintiff and Defense
        Attorneys, with M. L. Brookshire, Anderson Publishing Co., Cinn., Ohio, 1990.
     Co-author, "Bedonie Damages and Personal Injury: A Conceptual Approach," Journal
        of Forensic Economics, 3(1), 1990, pp. 1-8.
     Author, "Bedonie Damages in the Courtroom Setting - A Bridge Over Troubled
        Waters," Journal of Forensic Economics, 3(3), 1990, pp. 41-49.
     Author, "Admissibility of Bedonie Damages Testimony," The Audio Litigator, Vol. 1,
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     Author, "Bedonie Damages," with G. Magnarini, Wisconsin Lawyer, Vol. 64, No. 2,
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     Author, "Bedonie Damages: Assessing the Loss of Enjoyment of Life,"
        CaliforniaState Bar Bulletin, Vol. 1, No. 8, June 1991.
     Co-author, "Bedonie Damages and Personal Injury: A Conceptual Approach," Journal
        of Forensic Economics, 3(1), 1990, pp. 1-8; Reprinted in A Hedonics Primer for
        Economists and Attorneys, Compiled and Edited by John 0. Ward, Lawyers & Judges
        Publishing Co., Chapter 7, pp. 121-129, 1992.
     Co-author: 1991/1992 Cumulative Supplement to Economic/Bedonie Damages: A
        Practice Book for Plaintiff and Defense Attorneys, with M. L. Brookshire,
        Anderson Publishing Co., Cinn., Ohio, 1992.
     Author, "Bedonie Damages in the Courtroom Setting - A Bridge Over Troubled
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        Hedonics Primer for Economists and Attorneys, Compiled and Edited by John 0.
        Ward, Lawyers & Judges Publishing Co., Chapter 6, pp. 111-120, 1992.
     Author, "Spotting Bias in Plaintiffs' Economic Loss Reports: A Primer for both
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     Author, "Life Values: Measuring the Loss of Enjoyment of Life - Economic Analysis
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     Co-author: 1992/1993 Cumulative Supplement to Economic/Bedonie Damages: A
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     Author, "Evaluating the Loss of Enjoyment of Life - Bedonie Damages," in Charles
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        Traumatic Brain Injury, National Head Injury Foundation, Wash., DC, 1993.
     Author, "Bedonie Damages in Personal Injury and Wrongful Death Litigation," in
        Gaughan and Thornton, eds. Litigation Economics, Contemporary Studies in
        Economic and Financial Analysis, Vol 74, JAI Press, Greenwich, CT, 1993.
     Author, "Economic Evaluation of the Loss of Enjoyment of Life - Bedonie Damages,"
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     Author, "Measuring the Loss of Enjoyment of Life in Personal Injury Cases -
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        "Detecting Bias in Economics," November, 1994, pp. 14 & 21; "Striving for
        Economic Fairness," December, 1994, pp. 24-25, California Bar Journal, The
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     Author, "Measuring the Loss of Enjoyment of Life in Personal Injury Cases -
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     Author, "Hedonic Damages: Measuring The Loss of Enjoyment of Life in Personal
        Injury Cases," The Prairie Barrister, Vol. 1, No. 1, Winter, 1995, pp. 3, 4, &
        12, Nebraska Association of Trial Attorneys.
     Author, "Measuring The Loss of Enjoyment of life in Personal Injury Cases in Ohio
        - Hedonic Damages," Ohio Trial, Vol. 6, Issue 3, Summer 1995, pp. 13- 16, Ohio
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     Author, "Damages for the Value of Life," North Dakota Trial Lawyers The Pleader,
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        Association, Vol. 7, No. 9, September 1995, pp. 8-10.
     Author, "Measuring The Loss of Enjoyment of Life in Personal Injury Cases in
        Arizona - Hedonic Damages," Advocate, Arizona Trial Lawyers Association,
        November 1995, pp. 5, 7, 15.
     Co-Author, "Hedonic Damages and Personal Injury: A Conceptual Approach," Journal
        of Forensic Economics, 3(1), 1990, pp. 1-8; Reprinted in A New Hedonics Primer
        for Economists and Attorneys, Compiled and Edited by Thomas R. Ireland and John
        0. Ward, Lawyers & Judges Publishing Co., Reading 25, 1996, pp. 325-334.
     Author, "Hedonic Damages - Measuring the Loss of Enjoyment of Life in P.I. Cases,"
        In Brief, Iowa Trial Lawyers Association, Vol. 7/Issue 1, January-February
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     Author, "Hedonic Damages in Personal Injury and Wrongful Death Litigation," in
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     Author, "Measuring the Loss of Enjoyment of Life in Personal Injury Cases and
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     Author with Introduction by Darrel W. Aherin, "Measuring The Loss of Enjoyment of
        Life in Personal Injury Cases - Hedonic Damages," Idaho Trial Lawyers
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     Author, "The Value of Life to Close Family Members:  Calculating the Loss of
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        Lawyers & Judges Publishing Co., 1996, pp. 377-384.
     Author, "Pseudo-Economists - The New Junk Scientists," Federation of Insurance &
        Corporate Counsel Quarterly, Vol. 47, No. 1, Fall 1996, pp. 95-105.




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     Author, "Measuring The Loss of Enjoyment of Life in Personal Injury Cases in
        Washington - Bedonie Damages," Trial News, Vol. 32, Number 5, January 1997,
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        Thesis, UMI Dissertation Services, Ann Arbor, MI, 1997.
     Author, "The Value of Life to Close Family Members:   Calculating the Loss of
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        Monograph, pp. 10-16.
     Author, Abstract:   "Jury Verdicts in Drunken Driving Cases," Journal of Forensic
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     Author, "Why Juries Can Be Trusted," Voir Dire, Vol. 5, Issue 3, Summer 1998,
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     Author, "Jury Verdicts and the Dollar Value of Human Life," Journal of Forensic
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     Author, "Bedonie Damages," Izabela Z. Schultz, Douglas 0. Brady, Steven Carella,
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        Kaufman, James D. Rodgers, Gerald D. Martin, Edward Elgar Publishing, Inc.,
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     Author, "Don't Overlook the Loss of Expanded Family Services," Trial, Vol. 42,
        No. 3, "Good Counsel" Column, March 2006, pg. 73.
     Co-Author, "What is Your Value?" Chapter 2 in Six-Figure Salary Negotiation,
        Michael Zwell, Platinum Press, 2008.
     Co-Author, "Jury Verdicts in Drunken Driving Cases," Review of Law & Economics,
        Berkeley Press, 2008.
     Contributor, "Determining Economic Damages," Gerald D. Martin, James Publishing
        Inc., 2008 & previous years' editions.
     Co-Author, "Estimating the Value of Family Household Management Services:
        Approaches and Markups," Forensic Rehabilitation & Economics, Vol 3, No. 2,
        2010, with David A. Smith and Stephanie R. Uhl, pp. 85-94.
     Co-Author, "Credit Damage: Causes, Consequences and Valuation," Forensic
        Rehabilitation & Economics, Vol 4, No. 1, 2011, with David A. Smith and
        Stephanie R. Uhl, pp. 27-32.
     Co-Author, "Reply to Tinari's Comment on 'Estimating the Value of Family
        Household Management Services: Approaches and Markups,'" Forensic
        Rehabilitation & Economics, Vol 4, No. 1, 2011, with David A. Smith and
        Stephanie R. Uhl, pp. 37-38.
     Co-Author, "A Response to Jayne's Comment on 'Estimating the Value of Family
        Household Management Services: Approaches and Markups,'" Forensic
        Rehabilitation & Economics, Vol 4, No. 1, 2011, with David A. Smith and
        Stephanie R. Uhl, pp. 39-40.
     Co-Author, "A Reply to Mr. Climo's Credit Damage Comment," Forensic
        Rehabilitation & Economics, Vol 5, No. 1, 2012, with David A. Smith and
        Stephanie R. Uhl, pp. 75-76.




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     Contributor, "Lost Earnings Report: Economist Expert," How To Write An Expert
        Witness Report, James J. Mangraviti, Jr., Steven Babitsky, Nadine Nasser
        Donovan, SEAK, Inc, The Expert Witness Training Company, 2014, pp. 527-542.
     Author, "Economic Damages in Nevada," Vegas Legal Magazine, Vol 1, Issue 1,
        Summer 2015, pp. 24-25.
     Author, "Economic Damages in Nevada," REPRINT, Vegas Legal Magazine, Fall 2016,
        pp. 31-32.
     Author, "What Is a Wife Worth?" Vegas Legal Magazine, Winter 2017, pp. 34-35.
     Author, "What Is Your Earning Capacity?" Vegas Legal Magazine, Spring 2017, pp.26-
        27.
     Author, "Partially Disabling Injuries," Vegas Legal Magazine, Summer 2017, pp. 26-
        27.
     Co-Author, "Credibility & Bias in Economic Experts," Vegas Legal Magazine, Winter
        2017, pp. 28-29.
     Co-Author, "Credit Damages," Vegas Legal Magazine, Spring 2018, pp. 28-29.
     Co-Author, "Defamation" Vegas Legal Magazine, Summer 2018, pp. 26-27.
     Co-Author, "Economics is Not Fair!" Vegas Legal Magazine, Fall 2018, pp. 20-21.
     Co-Author, "Speculative Damages v. Imprecision: Are They the Sarne?" Vegas Legal
        Magazine, Spring 2019, pp. 24-25.




     Creator and founder of Ibbotson Associates' Stocks, Bonds, Bills, and Inflation
        (SBBI) Yearbook, Quarterly, Monthly, and SBBI/PC Services. SBBI is generally
        regarded by academics in the field of finance as the most widely accepted
        source of statistics on the rates of return on investment securities. SBBI
        was originally published by Ibbotson Associates, then by Morningstar, Inc.,
        and is now currently published by Duff & Phelps. The original SBBI series
        generated what became a six-book set universally used for business valuation,
        and currently available on an online platform. These data series are widely
        relied upon and regarded as the most accepted and definitive scholarly
        references by the academic, actuarial and investment community, and in courts
        of law. All three publishers of the SBBI series acknowledge me as the founder
        in 1983, for my "invaluable role" as having "originated the idea" of SBBI,
        which I then implemented while Managing Director at Ibbotson Associates.




     PROFILES:

     The Wall Street Journal, page 1 feature article with photo;
     The Best Lawyer's in America: Directory of Expert Witnesses;
     National Law Journal, page 1 feature article with photo;
     Who's Who in the World;
     Who's Who in America;
     Who's Who in Finance and Industry;
     Who's Who in Science and Engineering;
     Who's Who in the Midwest;
     Who's Who of Emerging Leaders of America;
     Chicago Daily Law Bulletin, page 1 feature article;
     Chicago Reader, Section 1 feature article with photo;



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     Like Judgment Day:  The Ruin and Redemption of A Town Called Rosewood, D'Orso,
     Michael, 1996, Pg. 237.


     NATIONAL PRESENTATIONS:

     Arizona: Brain Injury Association 13th Annual Conference for Attorneys, Phoenix,
         September 16, 1999;
     California: American Bar Association Annual Meeting, San Francisco, August 10,
         1992;
     California: American Trial Lawyers Association 2005 Winter Convention, "Making
        Tangible the Intangible: Replacement Household/Family Services", Palm Springs,
         January 29, 2005;
     Canada: Association of Trial Lawyers of America Annual Meeting, Economic
        Damages, Toronto, 1991;
     District of Columbia: Larry King Live, Washington, May 22, 1989;
     District of Columbia: National Institute for Trial Advocacy (NITA), Seventh
        Annual Washington DC Masters Advocacy Program, "Direct and Cross Examination of
        an Economic Witness," Washington, October 15, 1991;
     District of Columbia: National Association. of Protection & Advocacy Systems,
         Inc., 19th Annual Conference, "Assessment and Proof of Damages," Washington,
        May 30, 1996;
     District of Columbia: American Bar Association Annual Meeting, Washington, TIPS
        Aviation and Space Law, "Beyond the Horizon: What's Next in Aviation and Space
         Law Litigation," October 18, 2013;
     Florida: Association of Trial Lawyers of America 1992 Winter Convention, Boca
        Raton, "Cutting Edge Developments in Economic Testimony," January 15, 1992;
     Florida: Brain Injury Association 10th Anniversary Trial Lawyers Conference,
        Palm Beach, September 19, 1996;
     Florida: National Association of Consumer Advocates, 2003 NACA-FCRA Conference,
        Building on Our Success, Panel of Experts, "What the Experts Have Learned, A
        View From the Witness Box," Orlando, March 9, 2003;
     Georgia: National Academy of Economic Arbitrators Annual Meeting, Differences in
        Economic Assumptions in Personal Injury Wage Calculations, Atlanta, December,
         1989;
     Georgia: National Association of Forensic Economics Annual Meeting, Value of Life,
        Atlanta, December, 1989;
     Hawaii: American Bar Association Annual Meeting in Honolulu, HI, Speaker and
        Expert Witness at Mock Trial, Honolulu, August, 1989;
     Idaho: Inner Circle of Advocates Annual Meeting, Sun Valley, August, 1989;
     Illinois: University of Chicago 1982 Annual Management Conference on Venture
        Capital;
     Illinois: National Association of Consumer Advocates, 2009 NACA-FCRA Fair Credit
        Reporting Act Conference, "Credit Damages: How to Estimate Them," Chicago Hyatt
        Regency, May 9, 2009;
     Illinois: American Rehabilitation Economics Association Annual Conference,
         "Hedonic Damages: A Basic Approach," Chicago, June 13, 2009;
     Illinois: National Association of Consumer Advocates, 2010 NACA Auto Fraud
         Litigation Conference, Credit Damages: How to Estimate Them," Chicago Hyatt
        Regency, May 16, 2010;
     Illinois:   SEAK 19th Annual National Expert Witness Conference, "Handling the
        Toughest Questions: Depositions and Trial," Rosemont, June 25, 2010;



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     Illinois: National Consumer Law Center 20th Annual Consumer Rights Litigation
        Conference, "Expert Witnesses at Trial - Handling Experts in the Courtroom,"
        Fairmont Chicago Millennium Park Hotel, November 5, 2011;
     Internet: Credit Bureau Strategy Consulting, Webinar Presentation, "The
        Economics of Credit Damage," September 14, 2009
     Louisiana: American Bar Association, National Institute Transportation
        Megaconference, New Orleans, March 5, 1993;
     Louisiana: Defense Research Institute, Medical Malpractice Seminar, New Orleans,
        May 6, 1994;
     Louisiana: Association of Trial Lawyers of America 2001 Winter Convention,
         Litigation at Sunrise, "Measuring the Loss of Enjoyment of Life in Personal
         Injury Cases -- Bedonie Damages Over the Last Ten Years," New Orleans, February
         12, 2001;
     Louisiana: National Association of Consumer Advocates, 2005 NACA-FCRA Conference,
         "Litigating Accuracy Issues with Furnishers of Credit Data," Speaker on
        Economic Damages, New Orleans, June 5, 2005;
     Louisiana: National Association of Minority and Women-Owned Law Firms, Trials
        Practice Area Committee Session: Challenging Experts? "Tactics for Mastering
        Expert Examinations," New Orleans, February 21, 2016;
     Louisiana: National Association of Minority and Women-Owned Law Firms, Emerging
         Leaders Session: Ready for Action? "Hone Your Expert Cross Examination
        Techniques," New Orleans, February 22, 2016;
     Michigan: Northwest #255 Air Disaster Steering Committee Meeting, Detroit, June,
         1989;
     Nevada: American Rehabilitation Economics Association Conference, Mock Trial
        Presided by Nevada Supreme Court Justice William Maupin, Reno, May 15, 1999;
     Nevada: National Association of Consumer Advocates, 2006 NACA-FCRA Conference,
         "Experts on Damages," Washington, May 6, 2006;
     Nevada: National Association of Consumer Advocates, 2006 NACA-FCRA Conference,
         "Breakfast with the Stars," Washington, May 7, 2006;
     Nevada: Brain Injury Association of America; Mastering the Science and Trial
         Strategies, "Making Tangible the Intangible: Expanding the Traditional
        Measures," Las Vegas, April 4, 2008;
     Nevada: Internet Law Leadership Summit at Aria Resort & Casino, "Calculating
        Complex Financial Damages," Las Vegas, November 30, 2012;
     New York: Eastern Economic Association Annual Conference, "Estimating the
        Value of Family Household Management Services: Approaches and Markups," New
         York City, February 28, 2009;
     New York: Eastern Economic Association Annual Conference, "Credit Damage:
        Causes, Consequences and Valuation," New York City, February 28, 2009;
     Oregon: National Crime Victim Law Institute at Lewis & Clark Law School, Ninth
        Annual Crime Victim Law Conference, Due Process for Victims: Meaningful Rights
         in Every Case, Portland, June 11, 2010;
     Pennsylvania: Swiss Re American Annual Claims Conference, "Looking to the Third
        Millennium," Hershey, June 3, 1996;
     Texas: MADD Advanced Victim Assistance Institute Seminar, Dallas, November 12,
         1994;
     Texas: National Norplant Litigation Conference 1995, Houston, June 22, 1995.
     Texas: American Rehabilitation Economics Association Annual Conference, "Bedonie
        Damages for Dummies," Austin, June 23, 2018.




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     REGIONAL PRESENTATIONS:

     Hawaii: Western Trial Lawyers Association 1994 Annual Convention, "Making it Work-
        Trial Practice in the 90's," Maui, June 16, 1994;
     Illinois: GSA Seminar "Selling your Business", Chicago, October, 1987;
     Illinois: Society of Trial Lawyers, "How to Depose an Economist," Chicago, May
         7, 2009;
     Louisiana: Southern Trial Lawyers Association Annual Meeting, New Orleans, 1988;
     Louisiana: Southern Trial Lawyers Association 1996 Mardi Gras Conference, ATLA
         Traumatic Brain Injury Litigation Group, "Economic Implication of a Closed Head
         Injury," New Orleans, February 18, 1996;
     Michigan: Advocacy Institute, Continuing Legal Education, 46th Annual
         Seminar, "Wrongful Death of an Older Person," Ann Arbor, May 12, 1995;
     Michigan: Lorman Education Services, "Direct Examination of Experts in a
        Traumatic Brain Injury Case," Novi, August 21, 1997;
     Michigan: Lorman Education Services, "Direct Examination of Experts in a
        Traumatic Brain Injury Case," Livonia, August 26, 1998;
     New York: Eastern Finance Association Special Session on Pension Fund Asset
        Reversions, 1985;
     New York: American Reinsurance Company for Senior Claims Executives Annual
        Meeting, August, 1989;
     Ohio: Anderson Publishing Co., Proof of Economic Damages Seminar, Cincinnati,
        November 2, 1990.


     STATEWIDE PRESENTATIONS:

     California: Arizona State Bar Fourth Annual "CLE By The Sea," San Diego, July
         22-23, 1994;
     Connecticut Trial Lawyer Association, "All About Experts," Hartford, November 21,
         1992;
     Florida State Bar Association, National Institute of Trial Advocacy (NITA),
        Advanced Trial Advocacy Seminar, Speaker and Expert Witness at Mock trial on
        Economic Damages, Gainesville, May 14, 1991;
     Georgia Brain Injury Association & Institute of Continuing Legal Education in
         Georgia, "Hedonic Damages: Proving Loss of Enjoyment of Life in Non-Fatal
         Injury Cases," Atlanta, March 29, 2002;
     Idaho Trial Lawyers Association Annual Meeting, Twin Falls, February 23, 1996;
     Illinois State Bar Association CLE Series, April, 1989;
     Illinois: Insurance Group of the Union League Club of Chicago, "Toward A More
        Rational Approach to Liability Judgments," Chicago, March 19, 1991;
     Indiana State Bar Association Annual Meeting, October, 1989;
     Indiana Trial Lawyers Association Annual Meeting, November 30, 1990;
     Indiana State Bar Association "Masters in Trial" Spring Meeting, South Bend, April
         18, 1997;
     Iowa Trial Lawyers Association Annual Meeting, Des Moines, November 5, 1993;
     Kentucky Academy of Trial Attorneys Damages Seminar, Louisville, August 18, 1995;
     Louisiana Trial Lawyer Association, Baton Rouge, "Winning with Experts" Seminar,
        November 10, 1989;
     Louisiana Trial Lawyer Association, "Winning With the Masters" Seminar, New
         Orleans, November 21, 1995;




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     Louisiana Trial Lawyer Association, "Winning With the Masters" Seminar, New
        Orleans, December 10, 1997;
     Massachusetts Trial Lawyers Association, "Learn From the Experts," Boston, October
        9, 1992;
     Massachusetts Trial Lawyers Association Annual Meeting, Boston, October 29, 1993;
     Michigan Trial Lawyers Association Annual Meeting, Wrongful Death Damages, May,
        1990;
     Michigan Head Injury Alliance Fifth Annual Seminar on Closed Head Injury,
        Detroit, March 24, 1994;
     Michigan Head Injury Alliance Sixth Annual Seminar on Closed Head Injury,
        Detroit, March 23, 1995;
     Michigan Head Injury Alliance Seventh Annual Seminar on Closed Head Injury,
        Detroit, March 28, 1996;
     Michigan Head Injury Alliance Eighth Annual Seminar on Closed Head Injury,
        Detroit, March 27, 1997;
     Michigan, Institute of Continuing Legal Education, "The Name of the Game is
        Damages--Plaintiff and Defense Strategies in Negligence and Employment Cases,"
        Troy, July 20, 2000;
     Michigan Trial Lawyers Association Winter Seminar, "Hedonic Damages and Other
        Special Economic Issues," Gaylord, February 24, 2001;
     Michigan Trial Lawyers Association 13th Annual Seminar in the Snow, Litigation
        Strategies and Techniques, "Loss of Society and Household Companionship and
        Advisory Services," Bellaire, February 22, 2003;
     Mississippi Trial Lawyers Association Annual Convention, "Shooting Stars Seminar,"
        Biloxi, May 19, 1995;
     Mississippi Trial Lawyers Association Annual Convention, "Taking Your Recovery to
        the Next Level: Hedonic Damages," Biloxi, May 10, 2001;
     Mississippi: Arkansas Trial Lawyer Association "Maximizing Damages in the Personal
        Injury Case," Tunica, MS, October 24, 2003;
     Missouri: Kansas Trial Lawyers Association Annual Meeting, Kansas City, December
        8, 1990;
     Missouri State Bar Annual Meeting, Kansas City, September 19, 1996;
     Missouri State Bar CLE Seminar, Proving Damages in Catastrophic Injury Cases,
        "Hedonic Damages after September 11th and An Economist's View on Proving
        Economic Damages," Kansas City, April 19, 2002;
     Missouri State Bar CLE Seminar, Proving Damages in Catastrophic Injury Cases,
        "Hedonic Damages after September 11th and An Economist's View on Proving
        Economic Damages," St. Louis, May 9, 2002;
     Montana Trial Lawyer Association Fourth Annual Convention, "Proving The Intangible
         (Hedonic) Value of Human Life," Whitefish, July 23, 1993;
     Montana Trial Lawyer Association Seventh Annual Convention, Seminar of the
        Masters, Polson, August 1, 1996;
     Montana Trial Lawyer Association Spring Seminar, Scientific Evidence, "Making
        Tangible the Intangible: Loss of Enjoyment of Life, and Society & Companionship
        Damages," Billings, April 25, 2003;
     Nevada: Required Medical and Legal Education for the Traumatic Brain Injury
        Case, "9/11 Victim Compensation Fund Hedonic Damages: Implications for the
        State of Nevada," Las Vegas, October 25, 2002;
     New Hampshire Trial Lawyer Association, "Secrets & Strategies of Trial Law,"
        Concord, October 8, 1993;
     New Mexico Trial Lawyers Association Annual Meeting, Economic Damages, Santa Fe,
        June 22, 1991;



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     New Mexico Trial Lawyers Foundation Damages Seminar, Albuquerque, October 11,
        1996;
     North Carolina, Brain Injury Association of NC, First Annual Trial Lawyers
        Conference, "The Use of Expert Testimony in Brain Injury Litigation,"
        Charlotte, January 26, 1996;
     North Carolina, Brain Injury Association of NC, Second Annual Trial Lawyers
        Conference, "The Loss of Enjoyment of Life in Personal Injury - Bedonie
        Damages," Charlotte, January 24, 1997;
     North Dakota Trial Lawyers Association, Annual Meeting Trial Practice Seminar,
        Fargo, May 4, 1995;
     Ohio Association of Trial Lawyers Annual Meeting, Speaker and Expert Witness at
        Mock Trial on Wrongful Death Damages, Toledo, April, 1990;
     Ohio Head Injury Association, "Representing the Survivor of Mild Head Injury,"
        Annual Seminar, Columbus, June 3, 1994;
     Pennsylvania: Philadelphia Trial Lawyers Association CLE Lecture Series, March
        17, 1993;
     South Dakota Trial Lawyers Association Spring Seminar, April, 1989;
     Texas Trial Lawyers Association, Medical Malpractice Seminar, Wrongful Death
        Damages, Houston, May, 1990;
     Washington State Trial Lawyers Annual Meeting & Convention, Stevenson, July 11,
        1998;
     Wisconsin Association of Trial Lawyers Annual Meeting, Wrongful Death Damages,
        Door County, July, 1990;
     Wisconsin Brain Injury 2nd Annual Seminar, "Identifying and Understanding
        Traumatic Brain Injury," Green Lake, May 31, 1997.


     LOCAL PRESENTATIONS:

     Alaska: Alaska Trial Lawyers Association, Anchorage, August, 1989;
     California: "Value of Life: Dismal Science from the Courtroom, "Economics
        Department Workshop Colloquium, Pomona College, Claremont, April 17, 2006;
     Illinois: Chicago North Suburban Bar Association, May, 1988;
     Illinois: Chicago Advocates Society, June, 1988;
     Illinois: Northwest Chicago Suburban Bar Association, January, 1989;
     Illinois: Chicago Public Radio, WBEZ, February, 1989;
     Illinois: DuPage County, Bar Association, Chicago, May, 1989;
     Illinois: Sangamon County Trial Lawyers Association, Springfield, May, 1989;
     Illinois: McHenry County Bar Association, Chicago, May, 1989;
     Illinois: Chicago Bar Association Wrongful Death Seminar, Wrongful Death Damages,
        February, 1990;
     Illinois: Chicago Bar Association Torts Seminar, Defense Perspectives on Economic
        Damages, January 21, 1991;
     Illinois: Chicago Bar Association, Wrongful Death Seminar, February 11, 1993;
     Illinois: Chicago Bar Association Effective Direct and Cross-Examination of Expert
        Witnesses - A Demonstration, January 9, 1995;
     Illinois: Interstate National Corporation, "Cutting Edge Developments on
        Economic Damages - Defense Perspectives", Chicago, August 2, 1995;
     Illinois: Interstate National Corporation, "Cutting Edge Developments on
        Economic Damages - Defense Perspectives", Chicago, September 2, 1997;




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     Illinois: Cassiday Schade & Gloor, "Catastrophic Damages ... They're Back! -
         Limiting Damages After the Invalidation of Tort Reform," Chicago, November 18,
         1998;
     Illinois: Law Bulletin Publishing Company, Legal Career Day, Economic Outlook
         for Lawyer Employment, Chicago, April 13, 2004;
     Illinois: Fox News Contributor WFLD TV, October 10 and October 15, 2008;
        February 25, March 24, April 10, April 20, June 17, August 3, August 26 and
        October 19, 2009;
     Michigan: American Radio Network, WFOX, Detroit, January, 1989;
     Michigan: Oakland County Bar Association Negligence Committee, Bloomfield Hills,
        November 5, 1996;
     Ohio: Hamilton County, Bar Association Seminar on Economic Damages, Cincinnati,
         January 31, 1991.


     TELEVISION/VIDEO PRESENTATIONS

     American Bar Association Tort and Insurance Practice Section Annual
        Meeting, "Hedonic Damages," San Francisco, CA, August 10, 1992;
     American Law Institute-American Bar Association, ALI-ABA Tape,
        "Hedonic Damages: Litigating the Loss of Enjoyment of Life," The Lawyers'
        Video Magazine, Vol. III Issue 20, Philadelphia, PA, December, 1991;
     CNN: Larry King Live, May 22, 1989.


     PERSONAL BACKGROUND:

     Born November 16, 1946, Rhinelander, Wisconsin;
     Graduated Nicolet High School 1964, Milwaukee, Wisconsin;
     Honorable Discharge U.S. Army, 1975;
     Member of Chicago Board Options Exchange, 1975-1978;
     Trustee, Wright Graduate University;
     Board Member, Wright Foundation.




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                                                             LIST OF CASES OVER THE LAST FOUR YEARS WHEREIN
                                                                STAN V. SMITH HAS TESTIFIED AS OF 1/25/2021




                           Case Name                                               Court                              Case Number                  Law Firm                  Date
     Smith v. Keyport Liquor                                Superior Court of New Jersey, Law Division -          MON-L-1412-19           Hanus & Parsons,                 01-21-2021
                                                            Monmouth County                                                               Middletown, NJ
     Tsisyk v. Schneider, et al.                            United States District Court, Western District of     S:14-cv-00386-R         Tawwater Law Firm,               01-21-2021
                                                            Oklahoma                                                                      Oklahoma City, OK
     Polk v. Grumet                                         United States District Court, District of Nevada      2:19-cv-01636-JAD-VCF   Powell Law Firm, Las Vegas,      01-20-2021
                                                            (Las Vegas)                                                                   NV
     Perry/Smith v. Mosaic Residential Inc.                 District Court for Harris County, Texas, 127th        2019-761S4              Arnold & Itkin, Houston, TX      01-20-2021
                                                            District Court
     Devine v. XPO Logistics Freight, Inc.                  United States District Court, Northern District of    18 CV 1264              Woodruff Johnson & Evans,        01-19-2021
                                                            Illinois, Eastern Division                                                    Aurora, IL
     Carlini, Sr. v. Atlas Van Lines, et al.                Circuit Court of the Twelfth Judicial Circuit, Will   lS L0003S8              Burnes & Libman, Chicago, IL     01-18-2021
                                                            County, Illinois
     Powers/2ak v. Sofocleous, et al.                       United States District Court for the Southern         1:20-cv-0262S           Hendler Flores Law, Austin, TX   01-14-2021
                                                            District of New York
     Rothman v. Bretschneider                               Second Judicial District Court for the State of       CV18-02481, Dept No. lS Brazelton Law, Reno, NV          01-13-2021
                                                            Nevada, County of Washoe
     Oden, et al. v. Kelly, et al.                          Twentieth Judicial District, District Court, Rice     2018-CV-26              Wagstaff & Cartmell, Kansas      01-13-2021
                                                            County, Kansas, Civil Department                                              City, MO
     Savino, DO v. Indiana Urgent Care Physician Group,     United States District Court for the Southern         1:19-cv-2163            Betz & Blevins, Indianapolis,    01-12-2021
     LLC                                                    District of Indiana, Indianapolis Division                                    IN

     Thompson v. United States of America                   United States District Court, Southern District of    3:18-CV-1520            Walker Law Office, Granite       01-08-2021
                                                            Illinois                                                                      City, IL
     Goss v. Slavin, M.D., et al.                           Circuit Court of Cook County, Illinois, County        18 L4606                Mossing & Navarre, Chicago,      01-04-2021
                                                            Department - Law Division                                                     IL
     James/Phiffer v. Irwin, et al.                         Circuit Court of Cook County, Illinois, County        2017-L-006939           Leggans & Associates,            12-16-2020
                                                            Department - Law Division                                                     Chicago, IL
     Disantis v. C&W Facility Services, Inc.                Circuit Court of Cook County, Illinois, County        2018 L 012739           Anesi Ozmon, Chicago, IL         12-15-2020
                                                            Department - Law Division
     McCaley/McCalley v. Petrovic, M.D.                     Circuit Court of Cook County, Illinois, County        2018 L5925              Leggans & Associates,            12-15-2020
                                                            Department - Law Division                                                     Chicago, IL
     Jeffress v. Trinity Industries, Inc., et al.           Circuit Court of Missouri, Twenty-First Judicial      19SL-CC04435            Langdon & Emison, Lexington,     12-14-2020
                                                            Circuit, St. Louis County, Missouri                                           MO
     Graves v. 3M Company                                   State of Minnesota, County of Hennepin, District      27-CV-19-19916          Schwebel Goetz & Sieben,         12-14-2020
                                                            Court, Fourth Judicial District                                               Minneapolis, MN
     Mesa v. Schindler Elevator Corporation                 District Court, Clark County, Nevada                  A-16-745747-C, Dept No. Bochanis Law Office, Las         12-11-2020
                                                                                                                  XXXII                   Vegas, NV
     Mills v. Taragon Summit Ridge Lewisville, et al.       County Court at Law No. 1, Dallas County, Texas       CC-19-06948-A           Arnold & Itkin, Houston, TX      12-10-2020


     Burton/Foster v. Bristol-Myers Squibb Company, et      United States District Court, Northern District of    3:16-md-2734            Goldenberg Law, Minneapolis,     12-09-2020
     al.                                                    Florida, Pensacola Division                                                   MN
     Whitmore v. Spectrum Health Hospitals                  State of Michigan in the Circuit Court for the        20-01609-NH             Buchanan & Buchanan, Grand       12-02-2020
                                                            County of Kent                                                                Rapids, Ml
     Fletcher v. Whittington, et al.                        United States District Court for the Western          5:18-cv-01153-SMH-KLH   Jacob Litigation,                12-02-2020
                                                            District of Louisiana (Shreveport)                                            Mechanicsburg, PA
     Blankenship v. McLaughlin, et al.                      United States District Court, Eastern District of     1:20-cv-00429           Early Sullivan Wright Gizer &    12-01-2020
                                                            Virginia, Alexandria Division                                                 McRae, Los Angeles, CA
     Marshall v. Henkels & McCoy, Inc., et al.              Superior Court of New Jersey, Law Division -          MID-L-6247-17           Brach Eichler, Roseland, NJ      11-20-2020
                                                            Middlesex County
     Newson/West v. Hayes, M.D., et al.                     Circuit Court of Cook County, Illinois, County        2017L 003695            Leggans & Associates,            11-19-2020
                                                            Department - Law Division                                                     Chicago, IL
     Tamton v. Advocate Christ Hospital, et al.             Circuit Court of Cook County, Illinois, County        17 L 12380              Watts Guerra, San Antonio, TX    11-17-2020
                                                            Department - Law Division
     Smith v. Bristol-Myers                                 U.S. District Court, Northern District of Florida,    3:17-cv00474            Kirtland & Packard, Redondo      11-16-2020
     Squibb Co., et al.                                     Pensacola Division                                                            Beach, CA
     Chandler-Tonstad v. Bristol-Myers Squibb Company,      U.S. District Court, Northern District of Florida,    3:18-cv-01302           Kirtland & Packard, Redondo      11-13-2020
     et al.                                                 Pensacola Division                                                            Beach, CA
     Ray-Rouser vs. Hernandez/Century Towing                District Court, Clark County, Nevada                  A-19-788335-C           Powell Law Firm, Las Vegas,      11-12-2020
                                                                                                                                          NV
     Hutt, et al. v. Bristol-Myers Squibb Company, et al.   U.S. District Court, Northern District of Florida,    3:17-cv-00634-MCR-GRJ   Bernheim Kelley Battista &       11-11-2020
                                                            Pensacola Division                                                            Bliss, Plymouth, MA
     Spiekhout v. Pekin Insurance                           American Arbitration Association                      Z41-102                 Thiesen & Roche, Wheaton, IL     11-04-2020

     Moon v. Steelberg, M.D., et al.                        Eighteenth Judicial District, District Court,        2019-CV-2503             Napoli Shkolnik, Overland        11-03-2020
                                                            Sedgwick County, Kansas Civil Department                                      Park, KS
     Errant Gene Therapeutics LLC v. Sloan-Ketttering       Supreme Court of the State of New York, County 150856/2017                    Mccue Sussmane Zapfel &          10-30-2020
     Institute for Cancer Research, et al.                  of New York                                                                   Cohen, New York, NY
                                                            Circuit Court of Cook County, Illinois, Law Division 18 L2677                 Motherway & Napleton,            10-29-2020
     IAl!womoh v. Village of Dolton, et al                                                                                                Chicago, IL




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                                                              STAN V. SMITH HAS TESTIFIED AS OF 1/25/2021




                          Case Name                                                Court                                Case Number                  Law Firm                 Date
     Gamze v. Seibel                                      Circuit Court of Cook County, Illinois, Law Division 2017-L-007185              Patterson Law Firm, Chicago,      10-28-2020
                                                                                                                                          IL
     Driscoll v. Castellanos, et al.                      U.S. District Court, for the District of New Mexico 1:19-cv-00527-JCH-KK        Langdon & Emison, Chicago, IL     10-27-2020


     Wood v. PACCAR Inc. et al.                           U.S. District Court, Northern District of Iowa,       2:19-CV-1010              Crowley & Prill, Burlington, IA   10-26-2020
                                                          Eastern Division
     Jones Martin v. United States of America             U.S. District Court, District of Nevada               2:18-cv-02392-GMN-VCF Powell Law Firm, Las Vegas,           10-21-2020
                                                                                                                                          NV
     Martinez vs. James River Insurance Company           U.S. District Court, District of Nevada                                         Powell Law Firm, Las Vegas,       10-20-2020
                                                                                                                2: 19-cv-00603-JAD-NJ K   NV
     Pym v. Ford Motor Company, et al.                    Circuit Court of Missouri, Twenty First Judicial      19SL-CC00857              Langdon & Emison, Lexington,      10-14-2020
                                                          Circuit (St. Louis County)                                                      MO
     Rosas/Godinez v. Level Construction, Inc.            Circuit Court of Cook County, Illinois, County        2018 L 008625             Cogan & Power, Chicago, IL        10-06-2020
                                                          Department, Law Division
                                                                                                                                          Consumer Litigation               10-05-2020
     Trepeta v. National Consumer Telecom and Utilities   United States District Court, Eastern District of     2:19-cv-00405-MSJ-LRL     Associates, Newport News,
     Exchange, Inc., et al.                               Virginia, Norfolk Division                                                      VA
     Delap v. Boone, M.D., et al.                         Circuit Court of 17th Judicial Circuit, Winnebago     17 L 140                  Cogan & Power, Chicago, IL        10-02-2020
                                                          County, Illinois
                                                          United States District Court for the Southern         3:19-cv-01442-MMA-JLB     Kazerouni Law Group, Costa        09-30-2020
     Fernandez v. Debt Assistance Network, LLC ("DAN")    District of California                                                          Mesa, CA


     Lietzow v. Village of Huntley et al                  U.S. District Court, Northern District of Illinois,   17-cv-05291               Dvorak Law Office,                09-29-2020
                                                          Eastern Division                                                                Willowbrook, IL
     Burlew v. Shop Rite, et al.                          Superior Court of New Jersey, Monmouth County MON-L-4318-18                     Hanna Law Office,                 09-28-2020
                                                                                                                                          Manasquan, NJ
     Warner v. CCS/Wellpath, et al.                       United States District Court, Southern District of                              Eskew Law Office,                 09-28-2020
                                                          Indiana, Indianapolis Division                        1:19-cv-00774-RLY-MJD     Indianapolis, IN
     Watkins/Green v. United States of America, et al.    United States District Court, Northern District of    18-cv-4142                Cogan & Power, Chicago, IL        09-24-2020
                                                          Illinois, Eastern Division
     Lipps v. Central DuPage Hospital Association         Circuit Court of Cook County, Illinois, County        19 L005371                Motherway & Napleton,             09-21-2020
                                                          Department - Law Division                                                       Chicago, IL
     Dugger v. BNSF Railway Company                       District Court of Box Butte County, Nebraska          Cl1849                    High & Younes, Omaha, NE          09-18-2020


     Lugg v. Sutton, et al.                               United States District Court for the Central          18-cv-1412-JES-JEH        Katz Nowinski, Moline, IL         09-17-2020
                                                          District of Illinois, Peoria Division
     Jones v. Ohio/Oklahoma Hearst Television, Inc.       District Court of Oklahoma County, State of           CJ-2017-4274              Burch George & Germany,           09-16-2020
                                                          Oklahoma                                                                        Oklahoma City, OK
     Stambaugh v. Indiana Department of Insurance         State of Indiana, County of Miami in the Miami        52C01-2005-CT-000326      Rothberg Logan & Warsco,          09-15-2020
                                                          County Circuit Court                                                            Fort Wayne, IN
     Doe v. First Presbyterian Church of Plymouth, Ml     State of Michigan in the Third Circuit Court,         19-000088-NO              Fierberg National Law Group,      09-15-2020
                                                          Wayne County                                                                    Traverse City, Ml
     Martinez v. Sorenson, et al.                         District Court, Clark County, Nevada                  A-19-798555-C, Dept No.   Injury Lawyers Nevada, Las        09-14-2020
                                                                                                                11                        Vegas, NV
     Dugger v. BNSF Railway Company                       District Court of Box Butte County, Nebraska          Cl1849                    High & Younes, Omaha, NE          09-14-2020


     Seymour/Mankin v. Lewis & Mccorry PC                 State of Michigan in the Circuit Court for the        19-08339-NH               Buchanan & Buchanan, Grand        09-04-2020
                                                          County of Kent                                                                  Rapids, Ml
     Myers/Saterlee v. Land 'N' Sea Distributing, Inc.    United States District Court, Northern District of    1:18-CV-00187-TLS-SLC     Theisen & Associates, Fort        09-01-2020
                                                          Indiana, Fort Wayne Division                                                    Wayne, IN
     Davis v. Suburban Hospital, Inc. et al.              Circuit Court for Montgomery County, Maryland         474907-V                  Bekman Marder & Adkins,           09-01-2020
                                                                                                                                          Baltimore, MD
     White v. Mejia, et al.                               District Court, Clark County, Nevada                  A-18-780344-C, Dept No.   Paternoster Law Group, Las        08-31-2020
                                                                                                                XXIII                     Ve11:as, NV
     Sorge v. FCA US, LLC, et al.                         Circuit Court of Jackson County, Missouri at          1816-CV20409, Div 12      Langdon & Emison, Chicago, IL     08-27-2020
                                                          lndeDendence
     Lewis v. A.W. Chesterton Company, et al.             State of Indiana, Marlon County Superior Court,       49D12-1911-Ml-047874      Maune Ralchle Hartley French      08-25-2020
                                                          Clvll Division                                                                  & Mudd, St. Louis, MO

     Price v. UBS Financial Services, Inc.                United States District Court, District of New         1701882 (WJM-MF)          Henrichsen Law Group,             08-13-2020
                                                          Jersev, Newark Division                                                         Jacksonville, FL
     Howe, et al. v. Tri-Energy, et al.                   District Court, South Central Judicial District,      08-2018-CV-02789          Beattie Law Firm, Des Moines,     08-11-2020
                                                          State of North Dakota, County of Burleigh                                       IA

     Polanco Urena/Urena-Valverde v. Vltex Extrusion,     United States District Court, District of New         18-cv-1019-JL             Bagolle Friedman, Jersey City,    08-06-2020
     LLC.                                                 HamDshlre                                                                       NJ
     Heartwlse, Inc. v. Nutrlgold, Inc.                   United States District Court, District of Utah,       2:13-cv-00982-DAK         Magleby Cataxlnos &               07-30-2020
                                                          Central Division                                                                Greenwood, Salt Lake Clty\UT




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     Myers/Saterlee v. Land 'N' Sea Distributing, Inc.      United States District Court, Northern District of     1:18-CV-00187-TLS-SLC     Theisen & Associates, Fort          07-29-2020
                                                            Indiana, Fort Wayne Division                                                     Wayne, IN
     Stallworth v. Estate of Stanius                        Circuit Court of Cook County, Illinois, County         19 P 008267               Latimer LeVay Fyock,                07-29-2020
                                                            Department - Probate Division                                                    Chicago#IL
     Lee v. Dennison, et al.                                United States District Court, District of Nevada       2:19-cv-01332-KJD-DJ      Powell Law Firm, Las Vegas,         07-22-2020
                                                                                                                                             NV
     Ghaisar v. United States of America                    United States District Court, Eastern District of      1:19-cv-01224             Harris Wiltshire & Grannis,         07-21-2020
                                                            Virginia, Alexandria Division                                                    Washington, DC
     Guthmiller v. Ocwen Loan Servicing, LLC.               United States District Court, Western District of      2:19-CV-01585-BJR         Hutchison Law Office,               07-20-2020
                                                            Washington at Seattle                                                            Tacoma,WA
     Guthmiller v. Ocwen Loan Servicing, LLC.               United States District Court, Western District of      2:19-CV-01585-BJR         Hutchison Law Office,               07-13-2020
                                                            Washington at Seattle                                                            Tacoma,WA
     Hammit v. Spectrum Paint Company, Inc.                 Circuit Court of Washington County, Arkansas,          72CV-19-2491              Etoch Law Firm, Helena, AR          07-13-2020
                                                            Civil Division
     Hauck/Chambers v. Wabash National Corporation          First Judicial District Court, Sante Fe County, New D-101-CV-2018-01101          Langdon & Emison, Lexington,        07-09-2020
                                                            Mexico                                                                           MO
     Davis v. The Royal Paper Stock Company, Inc.           Common Pleas Court of Clinton County, Ohio,            CVH 19000202              Langdon & Emison, Lexington,        07-07-2020
                                                            Civil Division                                                                   MO
     Victor v. Dickey, et al.                               District Court, Clark County, Nevada                   A-18-775694-C, Dept. No   Paternoster Law Group, Las          07-06-2020
                                                                                                                   II                        Vegas, NV
     Sletten, et al. v. Southeastern Emergency Physicians   Circuit Court of St. Charles County, State of          1711-CC0ll0B, Division 1 Cox & Associates, St. Charles,       07-01-2020
     of Memphis, LLP, et al.                                Missouri                                                                         MO
     Morgan v. Lakeland Medical Center, et al.              State of Michigan, Circit Court for the County of      ADMIN-2019-0011-A6        Buchanan & Buchanan, Grand          06-30-2020
                                                            Kalamazoo                                                                        Rapids, Ml
     Roter v. Muhammad, M.D., et al.                        Circuit Court of the 21st Judicial Circuit, Kankakee 17L4                        Cogan & Power, Chicago, IL          06-29-2020
                                                            County, Illinois
     Stewart v. Pinnacle, et al.                            Commonwealth of Kentucky, Fayette Circuit              18-Cl-03919               Oldfather Law Firm, Louisville,     06-17-2020
                                                            Court, Division 8                                                                KY
     Rhude v. Artis, et al.                                 District Court, Clark County, Nevada                   A-18-785559-C, Dept No.   Powell Law Firm, Las Vegas,         06-16-2020
                                                                                                                   8                         NV
     Penton v. Hubard, et al.                               United States District Court for the Eastern           2: 11-cv-00518-TLN-KJ N   Simpson Thacher, Palo Alto,         05-19-2020
                                                            District of California, Sacramento Division            (PC)                      CA
     Burford, et al. v. Arconic, Inc., et al.               District Court of the 11th Judicial District, Harris   2017-70076-ASB            Cappolino Dodd & Krebs,             05-18-2020
                                                            County, Texas                                                                    Cameron, TX
     Magiera v. Modern Forge Services, LLC., et al.         State of Indiana in the Lake Superior Court Sitting 45D04-1505-CT-15 7           Allen Law Group, Valparaiso,        05-11-2020
                                                            at Gary, Indiana                                                                 IN
     Abt v. Ceco Concrete Construction, LLC                 Iowa District Court In and For Polk County             LACL 144075               Duff Law Firm, West Des             05-07-2020
                                                                                                                                             Moines, IA
     Winward, et al. v. Bitumar USA, Inc.                   Circuit Court for Baltimore City                       24-C-19-003648 OT         Bekman Marder & Adkins,             05-05-2020
                                                                                                                                             Baltimore, MD
     Ginsburg v. Furbush, et al.                            District Court, Clark County, Nevada                   A-18-779016-C, Dept. 10   Powell Law Firm, Las Vegas,         04-30-2020
                                                                                                                                             NV
     Moore v. BNSF Railway Company                          Nineteenth Judicial District, District County,         2017-CV-000099-W          Hubbell Law Firm, Kansas City,      04-30-2020
                                                            Cowley County, Kansas, Civil Department                                          MO


     Dorn, et al. v. Vivint, Inc.                           U.S. District Court, Middle District of Alabama,       2:19-cv-258-MHT0SMD       Pittman Dutton & Hellums,           04-29-2020
                                                            Northern Division                                                                Birmingham, AL
     Hart v. Southern Illinois Hospital Services, et al.    Circuit Court of the First Judicial Circuit, Jackson   17-L-59                   Wernick Law Firm,                   04-27-2020
                                                            County, Illinois                                                                 Carbondale, IL
     Bauer v. Parks/Patrick, et al.                         Commonwealth of Kentucky, Floyd Circuit Court,         16-Cl-00829               Collins Law Office, Salyersville,   04-27-2020
                                                            Division No. 2                                                                   KY
     Boster v. Gordon Food Service, Inc.                    Commonwealth of Kentucky, Warren Circuit               17-Cl-01382               Stephenson Rife, Shelbyville,       04-20-2020
                                                            Court, Division No. I                                                            IN
     Jimenez v. Ramasamy, M.D., et al.                      Superior Court of New Jersey, Law Division -           HUD-L-004047-17           Lynch Lynch Held Rosenberg,         04-17-2020
                                                            Hudson County                                                                    Hasbrouck Heights, NJ


     Anderson v. Prasad, M.D., et al.                       Iowa District Court, Polk County                       LACL143411                Duff Law Firm, West Des             04-14-2020
                                                                                                                                             Moines, IA
     Dreamstlme.com v. Google, et al.                       United States District Court, Northern District of     3:18-CV-01910-WHA         Baker Marquart, Los Angeles,        04-02-2020
                                                            California, San Jose Division                                                    CA
     Eble v. UH Portage Medical Center, et al.              Court of Common Pleas, Portage County, Ohio            2018CV00571               Farrell Law Firm, Brooklyn Hts,     03-31-2020
                                                                                                                                             Ohio
     Nelson v. Sliver Cross Hospital                        Circuit Court of WIii County, Illinois, Illinois       17L000068                 O'Connor Law Group, Chicago,        03-23-2020
                                                            Countv DeDartment - Law Division                                                 II
     Kendrick v. Union Pacific Rall road Co.                Circuit Court of Jackson County, Missouri at           1716-CV18714              Davis Bethune & Jones,              03-19-2020
                                                            lndeDendence                                                                     Kansas Cltv, MO
     Hanson v. Mednax, Inc.                                 Circuit Court of Camden County, Missouri at            17CM-CC00251              Heartland Group, Kansas City,       03-17-2020
                                                            Camdenton                                                                        MO




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     Nnau v. Correa, et al.                                 District Court, Clark County, Nevada                   A-18-780228-C, Dept No. The 702 Firm, Las Vegas, NV           03-11-2020
                                                                                                                   XXII
     Friel v. Miller, et al.                                Circuit Court of Cook County, Illinois, County         2015-L-006664             Snorf Law Office• Chicago\lL        03-11-2020
                                                            Department - Law Division

     Marques v. United Airlines, Inc.                       United States District Court, Northern District of     18-cv-4159                KMA Zuckert, Chicago, IL            03-10-2020
                                                            Illinois, Eastern Division
     Figueroa-Rosario v. Wal-Mart Stores, Inc.              District Court, Clark County, Nevada                   2:19-cv-00928-JCM-BNW Powell Law Firm, Las Vegas,             03-09-2020
                                                                                                                                             NV
     Stoch v. John Crane, Inc.                              Circuit Court of Cook County, Illinois, County         2016 L 009400             Taxman Pollock Murray &             03-05-2020
                                                            Department - Law Division                                                        Bekkerman, Chicago, IL
     Egermeier v. Trinity Industries, Inc.                  District Court In and For Nowata County, State of CJ-2017-37                     Langdon & Emison, Lexington,        03-03-2020
                                                            Oklahoma                                                                         MO
     Range Ill v. Roscoe Properties, Inc.                   District Court of Harris County, Texas, 61st           2018-88031                Arnold & Itkin, Houston, TX         03-02-2020
                                                            Judicial District
     Gonzalez v. Lowe's Home Centers, et al.                JAMS Arbitration, Las Vegas, NV                        2:17-cv-02S27-APG-PAL     Knepper & Clark, Las                02-27-2020
                                                                                                                                             Vegas\NV
     Brown v. Cheesecake Factory Restaurants, inc.          District Court, Clark County, Nevada                   A-17757481-C, Dept No.    Shook & Stone, Las Vegas, NV        02-27-2020
                                                                                                                   XXXII
     Nazario/Guerrero v. Trinity Health Corporation         Circuit Court of Cook County, Illinois, County         2017L 003937              Dinizulu Law Group,                 02-27-2020
                                                            Department - Law Division                                                        Chicago\lL
     Huntly v. Global Med Hospice Services, LLC, et al.     Eighth Judicial District Court, Clark County,          A-16-739023-C, Dept No.   Lucherini Blakesley Courtney,       02-26-2020
                                                            Nevada                                                 XXVIII                    Las Vegas\NV
     Long v. Love's Travel Stops and Country Stores, Inc.   United States District Court, Eastern District of      4:18-CV-01414-SEP         Cox & Associates, St. Charles,      02-24-2020
                                                            Missouri, Eastern Division                                                       MO
     Young/Artis v. Trinity Industries, Inc., et al.        Circuit Court of Cook County, Illinois, County         2018 L 007726             Langdon & Emison, Lexington,        02-21-2020
                                                            Department - Law Division                                                        MO
     Jennings v. Nash, et al.                               United States District Court, Western District of      6:18-cv-03261-NKL         Ramsey Law Office, St.              02-20-2020
                                                            Missouri                                                                         Louis\MO
     Squiers v. Fregien                                     Court of the Twenty-Second Judicial Circuit,           16 LA 61                  Franks & Rechenberg, Lake in        02-18-2020
                                                            McHenry County, Illinois                                                         the Hills, IL
     Clay v. Kabak, et al.                                  Circuit Court of Cook County, Illinois, County         16 L005380                Sandman Levy & Petrich,             02-17-2020
                                                            Department - Law Division                                                        Chicago, IL
     Shores/Clewell v. The Dupps Company, Inc., et al.      United States District Court for the Central           4:18-cv-04147             Bradley Law Firm, St. Louis,        02-14-2020
                                                            District of Illinois, Rock Island Division                                       MO
     Albright v. Metropolitan Sewer District                Jefferson Circuit Court, Division Thirteen(13)         18-Cl-007082              Sitlinger & Theiler, Louisville,    02-13-2020
                                                                                                                                             KY
     Lopez/Starrett v. Presbyterian Healthcare Services,    State of New Mexico, County of Santa Fe, First         D-101-CV-2018-01247       Salazar Sullivan Jasionowski,       02-11-2020
     Inc.                                                   Judicial District Court                                                          Albuquerque, NM


     Aldred v. Renown Health, et al.                        Second Judicial District Court for the State of        CV18-01501, Dept. No 7    Langdon & Emison, Lexington,        02-11-2020
                                                            Nevada, County of Washoe                                                         MO
     Brock/Olmedo v. Ching, et al.                          Circuit Court of Cook County, Illinois, County         17L9756                   Kalogerakos & Associates,           02-10-2020
                                                            Department - Law Division                                                        Lincolnwood, IL
     Hennigan v. J.B. Hunt.                                 Circuit Court of Cook County, Illinois, County         2018 L 002962             Alberts Curran & Eiler,             02-07-2020
                                                            Department - Law Division                                                        Chicago, IL
     Barnard v. Toyota Motor Corporation                    Circuit Court of Cook County, Illinois, County         2016 L 001063             Komyatte law Firm,                  02-06-2020
                                                            Department - Law Division                                                        Lakewood, CO
     Slocum v. Kaiser Foundation Health Plan, Inc.          Matter of Arbitration                                  15497                     Kapoor Law Offices, Danville,       02-05-2020
                                                                                                                                             CA
     Slocum v. Kaiser Foundation Health Plan, Inc.          Matter of Arbitration                                  15497                     Kapoor Law Offices, Danville,       01-14-2020
                                                                                                                                             CA
     Milburn v. Kansas City Southern Railway Company        Circuit Court of Jackson County, Missouri at           1816-CV11866, Division 8 Davis Bethune & Jones,               01-14-2020
                                                            Kansas City                                                                      Kansas City, MO
     Barnard v. Toyota Motor Corporation                    Circuit Court of Cook County, Illinois, County         2016 L 001063             Komyatte law Firm,                  01-14-2020
                                                            Department - Law Division                                                        Lakewood, CO
     Marfice v. Finlay, et al.                              District Court of the First Judicial District of the   CV28-18-6108              Ramsden Marfice Ealy &              01-14-2020
                                                            State of Idaho, In and For the County of Kootenai                                Harris, Coeur d'Alene, ID

     Kane v. Wal-Mart, Inc.                                 District Court, Clark County, Nevada                   A-18-772835-C, Dept No. Powell Law Firm, Las Vegas,           01-13-2020
                                                                                                                   13                      NV
     Jado v. Mohamed, et al.                                United States District Court, Southern District of     3:18-cv-00091           Langdon & Emison, Lexington,          01-13-2020
                                                            Iowa, Eastern Division                                                           MO
     Petite v. Martin                                       District Court, Clark County, Nevada                   A-17-750181-C, Dept No.   Powell Law Firm, Las                01-10-2020
                                                                                                                   2                         Ve11as\NV
     Walker v. Desert Palace LLC                            District Court, Clark County, Nevada                   A-18-771501-C, Dept No.   Powell Law Firm, Las Vegas,         01-09-2020
                                                                                                                   xv                        NV
     Bauer v. Parks/Patrick, et al.                         Commonwealth of Kentucky, Floyd Circuit Court,         16-Cl-00829               Collins Law Office, Salyersville,   01-09-2020
                                                            Division No. 2                                                                   KY




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     Moss v. Grane Transportation Industries, Inc.            Circuit Court of Cook County, Illinois, County        18-L-000164               Leonard Law Group, Chicago,       01-09-2020
                                                              Department - Law Division                                                       IL
     Olek, Inc. v. RAR Development Associates, et al.         Superior Court of New Jersey, Law Division -          ESX-L-1780-15             Orr Law Office, Newark\NJ         01-08-2020
                                                              Essex County
     Kennedy, et al. v. University of Kentucky Hospital, et   Commonwealth of Kentucky, Fayette Circuit             17-Cl-02025               Erdmann & Stumbo,                 01-06-2020
     al.                                                      Court, Division 7                                                               Richmond, KY
     Van Lente v. Rainbow Early Education Holding, LLC        State of Michigan, Circuit Court for the County of 2019-005857-NO               Eardley Law Office, Rockford,     01-03-2020
                                                              Ottawa                                                                          Ml
     Tutt-Crabtree v. Riley Love, et al.                      Circuit Court of the Twelfth Judicial Circuit, Will   17L677                    Suber & Associates, Chicago,      12-19-2019
                                                              County, Illinois                                                                IL
     Vilela/Ramos v. Valley Health Systems, LLC., et al.      United States District Court, District of Nevada      2:16-cv-01S03             Luh & Associates, Las Vegas,      12-19-2019
                                                                                                                                              NV
     Rea v. Carvana, LLC.                                     Marion Superior Court No. 13, State of Indiana        49D13-1712-CT-047191      Allen Law Group, Valparaiso,      12-18-2019
                                                                                                                                              IN
     Carter v. Szemak, et al.                                 District Court, Clark County, Nevada                  A-18-779043-C, Dept No.   Powell Law Firm, Las Vegas,       12-17-2019
                                                                                                                    XXIV                      NV
     Rust, II v. Banner Health, et al.                        Superior Court of Arizona, In and For the County      S0400CV201900001          Lloyd Law Group, Payson, AZ.      12-16-2019
                                                              of Gila
     Brady v. Desert Palace, Inc., et al.                     District Court, Clark County, Nevada                  A-16-746061-C, Dept No.   Eglet Adams, Las Vegas, NV        12-10-2019
                                                                                                                    II
     Butcher v. Dineequity, Inc., et al.                      District Court, 192nd Judicial District, Dallas       DC-18-05700               Witherspoon Law Group,            12-09-2019
                                                              County, Texas                                                                   Dallas, TX
     Godines v. Entac, et al.                                 Eighth Judicial District Court, Clark County,         A-18-777981-C, Dept. 15   Powell Law Firm, Las Vegas,       12-05-2019
                                                              Nevada                                                                          NV
     Hankins v. Ragauskaite, M.D., et al.                     Circuit Court of Cook County, Illinois, County        16 L2966                  Motherway & Napleton,             12-04-2019
                                                              Department - Law Division                                                       Chicago\lL
     Gonzalez v. Christus Santa Rosa Health Care              District Court, 131st Judicial District, Bexar        2018-Cl-09S52             Maloney Law Group, San            12-03-2019
     Corporation, et al.                                      County, Texas                                                                   Antonio, TX
     Farris, Jr. v. Clarksdale HMA, LLC., et al.              Circuit Court of Coahoma County, Mississippi          14-Cl-17-0033             Merkel & Cocke, Clarksdale,       12-02-2019
                                                                                                                                              MS
     Kroft v. Viper Trans, Inc.                               Circuit Court of Cook County, Illinois, County        2016 L 009466             Allen Law Group, Valparaiso,      11-26-2019
                                                              Department - Law Division                                                       IN
     LePretre v. Lend Lease (US) Construction, Inc., et al.   Circuit Court of Cook County, Illinois County         13 L 13896                Anesi Ozmon, Chicago, IL          11-25-2019
                                                              Department - Law Division
     Olson v. Advanced Pain & Anesthesia Consultants,         Circuit Court of Cook County, Illinois, County        2016L007019               Ruder Law, Chicago, IL            11-25-2019
     P.C., et al.                                             Department - Law Division
     Mikocewicz v. Kroczek, M.D.                              Circuit Court of Cook County, Illinois, County        16 L4094                  Xydakis Law Office, Chicago, IL   11-22-2019
                                                              Department - Law Division
     Heywood v. Stanford, et al.                              District Court, Clark County, Nevada                  A-18-76933S-C, Dept No.   Lerner Injury Attorneys, Las      11-14-2019
                                                                                                                    XXXII                     Vegas, NV
     Davis v. Pace Suburban Bus Division of the Regional      Circuit Court of Cook County, Illinois, County        18 L693                   Leggans & Associates,             11-13-2019
     Transportation Authroity, et al.                         Department - Law Division                                                       Chicago, IL
     Bennington v. Clapper, et al.                            District Court, Clark County, Nevada                  A-18-775050-C, Dept No    Powell Law Firm, Las Vegas,       11-13-2019
                                                                                                                    1                         NV
     Whitfield v. St. Anthony Hospital, et al.                District Court for Oklahoma County, State of          CJ-2017-1428              Tawwater Law Firm,                11-07-2019
                                                              Oklahoma                                                                        Oklahoma City, OK
     Darden v. Snow, et al                                    United States District Court, Northern District of    4:lS-CV-221-A             Washington Law Office,            11-06-2019
                                                              Texas, Fort Worth Division                                                      Dallas, TX
     Narazio/Guerrero v. Trinity Health Corporation           Circuit Court of Cook County, Illinois, County        2017 L 003937             Dinizulu Law Group, Chicago,      11-05-2019
                                                              Department - Law Division                                                       IL
     Arijeloye v. Weidner Properties LLC                      District Court of Midland County, Texas, 441st        CVS4920                   Arnold & Itkin, Houston, TX       11-04-2019
                                                              District Court
     Clean Culture Laboratories, LLC v. Oz Naturals, LLC      Judicial Arbitration and Mediation Service, Miami 146000S460                    Kronenberger Rosenfeld, San       10-30-2019
                                                              Office                                                                          Francisco\CA
     Michon v. The City of Chicago, et al.                    United States District Court, Northern District of    1:16-cv-06104             Horwitz Law Firm, Chlcago\lL      10-29-2019
                                                              Illinois, Eastern Division
     Baldassano v. Goetz, et al.                              Circuit Court of Cook County, State of Illinois, 1st 17L63013                   Carponelli Law Offices,           10-29-2019
                                                              Municipal District - Law Division                                               Hoffman Estates\lL
     Shapiro, M.D. et al. v. Northshore University            Circuit Court of Cook County, Illinois County         17L3203                   Motherway & Napleton,             10-28-2019
     Healthsvstem Facultv Practice Associates                 Department - Law Division                                                       Chicago, IL
     Guvenoz v. Target Corporation, et al.                    Circuit Court of Cook County, Illinois, County        16 L 7377                 Motherway & Napleton,             10-25-2019
                                                              Department - Law Division                                                       Chicago, IL
     Gaydula v. Roadsafe Traffic Systems, Inc.                Circuit Court of Cook County, Illinois, County        17L6680                   O'Connor Law Group, Chicago,      10-24-2019
                                                              Department - Law Division                                                       IL
     Johnson/O'Leary v. Meeks Transport, LLC                  Texas Arbitration Mediation Services                  18-0S24-ARB               Grossman Law Offices, Dallas,     10-23-2019
                                                                                                                                              TX
     Jimenez v. Ramasamy, M.D., et al.                        Superior Court of New Jersey, Law Division -          HUD-L-004047-17           Lynch Lynch Held Rosenberg,       10-17-2019
                                                              Hudson County                                                                   Hasbrouck Heights, NJ




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     Melgoza v. Rush University Medical Center               United States District Court, Northern District of     17-cv-6819               Hahn Loeser & Parks, Chicago,    10-16-2019
                                                             Illinois, Eastern Division                                                      IL
     Shah v. Insomniac, Inc., et al.                         District Court, Clark County, Nevada                   A-17-7S6782-C, Dept 10   Eglet Adams, Las Vegas, NV       10-16-2019

     Skinner, et al. v. Eth icon, Inc., et al.               United States District Court for the Southern          2:15-cv-07789            Carpenter Zuckerman &            10-15-2019
                                                             District of West Virginia at Charleston                                         Rowley, Ojai, CA


     Spradlin v. Millner, et al.                          State of New Mexico, County of Grant, Sixth               D-608-CV-2013-00141      Sherman & Sherman, Deming,       10-15-2019
                                                          Judicial District Court                                                            NM
     Gaguancela v. BJ's Wholesale Club, Inc. etal         Superior Court of New Jersey, Law Division -              MID-L-3824-16            Gill & Chamas, Perth             10-09-2019
                                                          Middlesex County                                                                   Amboy\NJ
     Greenberg, M.D. v. Board of Supervisors of Louisiana United States District Court, Eastern District of         19-cv-00137              Flood Law, Royal Oak, Ml         10-08-2019
     State University and Agricultural and Mechanical     Louisiana
     College
     Grzybowski v. All Star Fence, et al.                 Circuit Court of Cook County, Illinois, County            17L009196                Burnes & Libman, Chicago, IL     10-07-2019
                                                          Department, Law Division
     Richards v. Rainford                                 District Court, Clark County, Nevada                      A-18-775304-C, Dept No   Saggese & Associates, Las        10-04-2019
                                                                                                                    4                        Vegas, NV
     Santiago v. Fischer                                     United States District Court, Eastern District of      09-CV-1383               Davis Polk & Wardwell, New       10-03-2019
                                                             New York                                                                        York, NY
     Sisk/Golden v. Turner, M.D.                             Circuit Court of Lee County Mississippi                CV18-046 (R) (L)         Wais Vogelstein Forman &         10-02-2019
                                                                                                                                             Offutt, Baltimore, MD
     Huiett v. Trinity Industries, Inc.                      Circuit Court of Lake County, Illinois                 18L 00000741             Langdon & Emison, Lexington,     10-01-2019
                                                                                                                                             MO
     Zalud v. HC Aurora, LLC., et al.                        Circuit Court of the Sixteenth Judicial Circuit,       13 L570                  Cogan & Power, Chicago, IL       10-01-2019
                                                             Kane County, Illinois
     Baldassano v. Goetz, et al.                             Circuit Court of Cook County, State of Illinois, 1st   17L63013                 Carponelli Law Offices,          09-30-2019
                                                             Municipal District - Law Division                                               Hoffman Estates, IL
     Jacobson v. Spectrum Health Primary Care Partners       State of Michigan, Circuit Court for the County of     19-00978-N H             Buchanan & Buchanan, Grand       09-30-2019
                                                             Kent                                                                            Rapids, Ml
     Ha v. Hong, M.D., et al.                                Supreme Court of the State of New York, County         805177/2014              Lynch Lynch Held Rosenberg,      09-27-2019
                                                             of New York                                                                     Hasbrouck Heights\NJ


     Pawson v. Susan Bennett, LLC                            State of Illinois, Circuit Court of the Twenty-Third 2016 L46                   Burns Cronauer & Brown,          09-26-2019
                                                             Judicial Circuit, DeKalb County, Illinois                                       Sycamore, IL

     Gallagher v. Midwest Orthopaedic Center, S.C., et al. Circuit Court of the Tenth Judicial Circuit of           17L6                     McNabola Law Group,              09-26-2019
                                                           Illinois, Peoria County                                                           Chicago, IL
     Banks v. Diaz, et al.                                 District Court, Clark County, Nevada                     A-18-773248-C            Powell Law Firm, Las Vegas,      09-26-2019
                                                                                                                                             NV
     Denniston v. BNSF Railway Company                       Iowa District Court for Polk County                    LACL134839               Atwood Holsten Brown             09-25-2019
                                                                                                                                             Deaver & Spier, Lincoln\NE

     Mahaffey v. Union Pacific Railroad                      Circuit Court of Ouachita County, Arkansas             52CV-17-186              Hubbell Law Firm, Kansas City,   09-19-2019
                                                                                                                                             MO
     Lavelle Ill v. Illinois Bell Telephone Company          State of Illinois, Human Rights Commission             2007CN3494               McGrail & Associates, Loves      09-18-2019
                                                                                                                                             Park\lL
     Smithers v. Phillips, M.D.                              Commonwealth of Kentucky, Fayette Circuit          16-Cl-3702                   Keith Law Office, Lexington,     09-18-2019
                                                             Court, Division 7                                                               KY
     Winfield v. Metropolitan Hospital, et al.               State of Michigan, Circuit Court for the County of 18-06748-N H                 Buchanan & Buchanan, Grand       09-16-2019
                                                             Kent                                                                            Rapids, Ml
     Gallagher v. Midwest Orthopaedic Center, S.C., et al. Circuit Court of the Tenth Judicial Circuit of           17L6                     McNabola Law Group,              09-13-2019
                                                           Illinois, Peoria County                                                           Chicago, IL
     Butcher v. Dineequity, Inc., et al.                   District Court, 192nd Judicial District, Dallas          DC-18-05700              Witherspoon Law Group,           09-12-2019
                                                           County, Texas                                                                     Dallas, lX
     Messerl v. University of Colorado, Boulder              United States District Court for the District of       18-CV-02658-WJM-SKC      Savela Law Firm, Boulder, CO     09-11-2019
                                                             Colorado
     Jones Farms v. Helena Chemical Company                  State of Indiana, County of Harrison, Harrison         31C01-1512-PL-28         Moore & Malone,                  09-09-2019
                                                             Circuit Court                                                                   Owensboro\KY
     Huff, et al. v. AMR Corporation, et al.                 Court of Common Pleas, Mahoning County, Ohio           2017 CV 02343            Engler Law Firm, Warren, OH      09-07-2019

     Hudnut v. Adventist Midwest Health, et al.              Circuit Court of Cook County, Illinois, County         2017-L-003732            McNabola & Associates,           09-06-2019
                                                             Decartment - Law Division                                                       ChlcHo\lL
     Ludwig v. United States of America                      United States District Court, Northern District of     17 C 2943                Kralovec Jambols & Schwartz,     09-04-2019
                                                             Illinois, Eastern Division                                                      ChlcHo, IL
     McNamara v. ICO Polymers North America, Inc., et        Circuit Court of Cook County, Illinois, County         14-L-000819              Hendler Flores Law, Austin, lX   08-29-2019
     al.                                                     Decartment - Law Division
     Alonzo v. Kranzler, M.D., et al.                        Circuit Court of Cook County, Illinois, County         16 L3895                 Motherway & Napleton,            08-26-2019
                                                             Decartment - Law Division                                                       ChlcHo, IL




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                           Case Name                                               Court                                 Case Number                 Law Firm                   Date
     Koontz v. First Transit, Inc.                          Superior Court of the State of Arizona, In and For CV2017-090635                McGovern Law Offices,             08-22-2019
                                                            the County of Maricopa                                                          Phoenix, AZ
     Love, M.D. v. Medical College of Wisconsin, Inc.       United States District Court, Eastern District of     2:15-cv-00650-LA          Ruberry Stalmack & Garvey,        08-22-2019
                                                            Wisconsin                                                                       Chicago, IL
     Gibson v. Pirelli Tire, et al.                         Circuit Court of Benton County, Arkansas              04CV-17-2766              Langdon & Emison, Lexington,      08-21-2019
                                                                                                                                            MO
     Brook, M.D., Ph.D. v. Peconic Bay Medical Center, et Supreme Court of the State of New York, County          650921/2012               Pryor Cashman, New York, NY       08-20-2019
     al.                                                    of New York
     Mangaras v. Geico Casualty Company                     Circuit Court of the Twelfth Judicial Circuit, Will   17L001010                 Allen Law Group, Valparaiso,      08-19-2019
                                                            County, Illinois                                                                IN
     Libby v. Medina, et al.                                District Court, Clark County, Nevada                  A-17-766067-C, Dept No.   Powell Law Firm, Las Vegas,       08-16-2019
                                                                                                                  XXIV                      NV
     Bryant v. Waukegan Illinois Hospital Company, et al.   19th Judicial Circuit Court, Lake County, IL          18 L 0000611              Geraci Law, Chicago, IL           08-16-2019


     Ferry v. Shapero, DPM, et al.                          Superior Court of New Jersey, Law Division -          MI D-L-7150-16            Quinn Law Office, Red Bank,       08-14-2019
                                                            Middlesex County                                                                NJ
     Williams, et al. v. Chicago South Shore & South Bend State of Indiana, County of Lake, Lake Circuit          45(01-1308-CT-124         Allen Law Group, Valparaiso,      08-12-2019
     Railroad, et al.                                       Court                                                                           IN
     Wheaton College v. John                                Circuit Court for the Eighteenth Judicial Circuit,    2013 L 1179               Stilp Business Law• Chicago, II   08-07-2019
                                                            DuPage County, Illinois
     Watkins/Green v. United States of America              United States District Court, Northern District of    18 (4142                  Cogan & Power, Chicago, IL        07-19-2019
                                                            Illinois, Eastern Division
     Tutt-Crabtree v. Riley Love, et al.                    Circuit Court of the Twelfth Judicial Circuit, Will   17L677                    Suber & Associates, Chicago,      07-19-2019
                                                            County, Illinois                                                                IL
     Bangham v. Cabell, et al.                              Circuit Court of Kanawha County, West Virginia        18-C-640                  Cumbo Law Office, Inez, KY        07-18-2019


     Gerbasi v. Chicago Transit Authority                   Circuit Court of Cook County, Illinois, County        2016-L-8484               Grant Law• Chicago, IL            07-17-2019
                                                            Department - Law Division
     Park v. Petranker                                      Superior Court of New Jersey, Law Division -          BER-L-262-18              Lee Law Firm, Hackensack, NJ      07-15-2019
                                                            Bergen County
     Jordan/Lee v. Silver Cross Hospital and Medical        Circuit Court of Cook County, Illinois, County        2015 L 002103             Cogan & Power, Chicago, IL        07-15-2019
     Centers, et al.                                        Department - Law Division
     Fenner v. Toyota Motor Corporation, et al.             District Court, Clark County, Nevada                  A-17-757335-C, Dept No. Olson Cannon Gormley                07-12-2019
                                                                                                                  27                        Angulo & Stoberski, Las Vegas,
                                                                                                                                            NV
     Salazar v. ABC Automotive Investments, LLC.            United States District Court, District of Nevada      2:19-cv-00039-RFB-PAL     Haines & Krieger, Henderson,      07-11-2019
                                                                                                                                            NV
     Handhal-Hasan v. Lee Canyon Ski Lifts, Inc., et al.    District Court, Clark County, Nevada                  A-17-750487-C, Dept No.   Simon Law, Las Vegas, NV          07-11-2019
                                                                                                                  XIII
     Hankins v. Ragauskaite, M.D., et al.                   Circuit Court of Cook County, Illinois, County        16 L2966                  Motherway & Napleton,             07-09-2019
                                                            Department - Law Division                                                       Chicago, IL
     Neufeld v. Capital Bank N.A.                           United States District Court, Eastern District of     1:18-cv-01012-UO-SKO      Kazerouni Law Group, Arroyo       07-08-2019
                                                            California                                                                      Grande, CA
     Juve v. Premier Tech Technologies Ltd, et al.          United States District Court, District of Minnesota 17-cv-4545 (DWF/LIB)        Goldenberg Law, Minneapolis,      07-08-2019
                                                                                                                                            MN
     llczyszyn v. Southwest Airlines Co., et al.            Superior Cour of California, County of Alameda        RG15766954                Balaban & Spiel berger, Los       07-03-2019
                                                                                                                                            Angeles\CA
     Huff, et al. v. AMR Corporation, et al.                Court of Common Please, Mahoning County,              2017 CV 02343             Engler Law Firm, Warren, OH       07-01-2019
                                                            Ohio
     Wade v. ArcelorMittal, et al.                          Circuit Court of Cook County, Illinois, County        16 L 11769                Rubino Ruman Crosmer &            07-01-2019
                                                            Department - Law Division                                                       Polen, Dyer, IN
     Dunlap v. ArcelorMittal, et al.                        Circuit Court of Cook County, Illinois, County        16 L 11548                Motherway & Napleton,             07-01-2019
                                                            Department - Law Division                                                       Chicago, IL
     Allen v. Cumberland County, et al.                     United States District Court for the District of      1:15-cv-06273 (JBS/AMD) Benedetto Law Office,               06-27-2019
                                                            New Jersey, Camden Vicinage                                                     Philadelphia, PA
     Dent v. Gewerth, et al.                                District Court, Clark County, Nevada                  A-17-751695-C, Dept No.   Powell Law Firm, Las Vegas,       06-26-2019
                                                                                                                  XIV                       NV
     Hudnut v. Adventist Midwest Health, et al.             Circuit Court of Cook County, Illinois, County        2017-L-003732             McNabola & Associates,            06-24-2019
                                                            Department - Law Division                                                       Chicago, IL
     Cocuzza v. Vecchione, D.D.S., et al.                   Superior Court of New Jersey, Law Division -          MRS-L-1983-16             Lynch Lynch Held Rosenberg,       06-20-2019
                                                            Morris County                                                                   Hasbrouck Heights, NJ


     Charette v. Vecchione, D.D.S.,    et al.               Superior Court of New Jersey, Law Division -          MRS-L-2497-17             Lynch Lynch Held Rosenberg,       06-20-2019
                                                            Morris County                                                                   Hasbrouck Heights, NJ


     Steinberg v. Vecchione, D.D.S., et al.                 Superior Court of New Jersey, Law Division -          MRS-L-2032-16             Lynch Lynch Held Rosenberg,       06-20-2019
                                                            Morris County                                                                   Hasbrouck Heights, NJ




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                               Case Name                                          Court                             Case Number                       Law Firm               Date
     Davino v. Vecchione, D.D.S., et al                    Superior Court of New Jersey, Law Division -         M RS0L-1984-16            Lynch Lynch Held Rosenberg,      06-20-2019
                                                           Morris County                                                                  Hasbrouck Heights, NJ


     Nieswand v. Vecchione, D.D.S., et al                  Superior Court of New Jersey, Law Division -         MRS-L-1981-16             Lynch Lynch Held Rosenberg,      06-20-2019
                                                           Morris County                                                                  Hasbrouck Heights, NJ


     Boyle v. Vecchione, D.D.S., et al.                    Superior Court of New Jersey, Law Division -         MRS-L-1878-16             Lynch Lynch Held Rosenberg,      06-20-2019
                                                           Morris County                                                                  Hasbrouck Heights, NJ


     Doyle v. Vecchione, D.D.S., et al.                    Superior Court of New Jersey, Law Division -         MRS-L-1868-16             Lynch Lynch Held Rosenberg,      06-20-2019
                                                           Morris County                                                                  Hasbrouck Heights, NJ


     Jarolem v. Vecchione, D.D.S., et al.                  Superior Court of New Jersey, Law Division -         MRS-L-1867-16             Lynch Lynch Held Rosenberg,      06-20-2019
                                                           Morris County                                                                  Hasbrouck Heights, NJ


     Wernau    v. Vecchione, D.D.S., et al.                Superior Court of New Jersey, Law Division -         MRS-L-1866-16             Lynch Lynch Held Rosenberg,      06-20-2019
                                                           Morris County                                                                  Hasbrouck Heights, NJ


     Benfield v. Vecchione, D.D.S., et al.                 Superior Court of New Jersey, Law Division -         MRS-L-1862-16             Lynch Lynch Held Rosenberg,      06-20-2019
                                                           Morris County                                                                  Hasbrouck Heights, NJ


     DelGrosso v. Vecchione, D.D.S., et al.                Superior Court of New Jersey, Law Division -         MRS-L-1393-16             Lynch Lynch Held Rosenberg,      06-20-2019
                                                           Morris County                                                                  Hasbrouck Heights, NJ


     Baglieri v. New Jersey Manufacturers Insurance, et    Superior Court of New Jersey, Law Division -         BER-L-3927-17             Seigel Law, Ridgewood, NJ        06-17-2019
     al.                                                   Bergen County
     Mars v. BNSF Railroad Company                         District Court of Oklahoma County, State of          CJ-2017-6097              Hubbell Law Firm, Kansas City,   06-17-2019
                                                           Oklahoma                                                                       MO
     C.R. England, Inc., et al. v Abdi                     Northern District of Illinois, Western Division      17 CV 50152               McNeely Stephenson•              06-14-2019
                                                                                                                                          Shelbyville, IN
     Huff, et al. v. AMR Corporation, et al.               Court of Common Please, Mahoning County,             2017 CV 02343             Engler Law Firm, Warren, OH      06-14-2019
                                                           Ohio
     Boyd v. Autozone West, LLC                            District Court, Clark County, Nevada                 A-17-765517-C, Dept. No   Saggese & Associates, Las        06-11-2019
                                                                                                                II                        Vegas, NV
     Morris v. Equifax Information Services, LLC, et al.   United States District Court, District of Nevada     2:18-cv-01829-JAD-GWF     Haines & Krieger, Henderson,     06-07-2019
                                                                                                                                          NV
     Ruiz v. Diaz, M.D., et al.                            Superior Court of New Jersey, Law Division -         HUD-L-1177-17             Gill & Chamas, Howell, NJ        06-06-2019
                                                           Hudson County
     Cramer v. Equifax Information Services, LLC.          United States District Court, Eastern District of    4:18-cv-1078              Goldsmith Law Office, Rocky      06-04-2019
                                                           Missouri, Eastern Division                                                     River, OH
     Caruso v. PBR Rock, LLC., et al.                      District Court, Clark County, Nevada                 A-17-776385-C, Dept No. Close Law Group, Henderson,        06-03-2019
                                                                                                                II                        NV
     Gross v. FCA US LLC, et al.                           Circuit Court of Cook County, Illinois, County       2016-L-007623             Langdon & Emison, Lexington,     05-30-2019
                                                           Department - Law Division                                                      MO
     Mejia v. Valley Health Holdings, LLC., et al.         District Court, Clark County, Nevada                 A-17-751096-C, Dept No.   Paternoster Law Group, Las       05-28-2019
                                                                                                                XVII                  Vegas, NV
     Lemperle v. Avis Rent a Car Systems, LLC., et al.     United States District Court, District of Nevada     2:18-cv-00202-JCM-CWH Powell Law Firm, Las Vegas,          05-28-2019
                                                                                                                                          NV
     Landess   v.    DeBiparshad, M.D., et al.             District Court, Clark County, Nevada                 A-18-776896-C, Dept No.   Howard & Howard, Las Vegas,      05-24-2019
                                                                                                                24                        NV
     Stratman v. Farris, et al.                            District Court, Clark County, Nevada                 A-18-767754-C, Dept No.   Powell Law Firm, Las Vegas,      05-23-2019
                                                                                                                27                        NV
     Schwab v. Ford Motor Company                          United States District Court, District of Delaware   1: 18-cv-00 184 RGA       Lanier Law Firm, Houston, 1X     05-22-2019


     Salomone v. Advocate Health and Hospitals             Circuit Court of Cook County, Illinois, County       2016 L 005457             Slavin & Slavin, Chicago, IL     05-21-2019
     Corporation                                           Department - Law Division
     Guida v. Brown                                        Circuit Court of St. Charles County, Missouri,       1711-CC00Bll              Bradley Law, Louisiana, MO       0S-20-2019
                                                           Circuit Judge Division
     Hinshaw/Johnson v. OSF Healthcare System, et al.      Eleventh Judicial Circuit Court of Livingston        16 L 11                   McNabola & Associates,           05-20-2019
                                                           Countv, Illinois, Law Division                                                 Chicago, IL
     Moore v. Joe Tex, Inc., et al.                        District Court, 62nd Judicial District, Franklin     12363                     Grossman Law Offices, Dallas,    05-17-2019
                                                           Countv, Texas                                                                  1X
     Arvidson   v.   Buchar                                Superior Court of the Virgin Islands, Division of    410/ 2016                 Kreamer Law Office,              05-16-2019
                                                           St. Thomas & St. John                                                          Naperville, IL
     Flores, et al.   v.   Ramirez, et al.                 District Court of Harris County, Texas, 189th        2017-74379                Grossman Law Offices, Dallas,    05-14-2019
                                                           Judicial District                                                              1X
     Leglec v. Playcore Inc., et al.                       Superior Court of New Jersey, Law Division -         MID-L-6217-17             GIii & Chamas, Perth Amboy,      05-13-2019
                                                           Middlesex County                                                               NJ




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     Andrades v. Menard, Inc.                            Circuit Court of Cook County, Illinois, County       2017L 000671              Argionis & Associates,             05-03-2019
                                                         Department - Law Division                                                      Chicago, IL
     Errant Gene Therapeutics LLC v. Sloan-Kettering     Supreme Court of the State of New York, County       150856/2017               Mccue Sussmane Zapfel              05-01-2019
     Institute for Cancer Research, et al.               of New York                                                                    Cohen & Youbi, New York, NJ


     Birnbaum v. CentraState Medical Center, et al.      Superior Court of New Jersey, Law Division,          MON-L-4723-14             Lomurro Law, Freehold, NJ          04-30-2019
                                                         Monmouth County
     Schweer v. Diaz, et al.                             District Court, Clark County, Nevada                 A-17-766063-C, Dept no.   Powell Law Firm, Las Vegas,        04-26-2019
                                                                                                              27                        NV
     Rive USA Co., LTD. V. Arre Corporation              United States District Court, Northern District of   17cv08513-VMK-JC          Holmes Law Group, Chicago,         04-26-2019
                                                         Illinois, Eastern Division                                                     IL
     Doe v. Colgate University                           United States District Court, Northern District of   5:17-cv-1298 (FJS/ATB)    Nesenoff & Miltenberg, New         04-25-2019
                                                         New York                                                                       York, NY
     Mrkalj v. Swedish Convenant Hospital, et al.        Circuit Court of Cook County, Illinois, County       16 L 7992                 McNabola & Associates,             04-23-2019
                                                         Department - Law Division                                                      Chicago, IL
     Pappas v. Ford Motor Company, et al.                Superior Court of New Jersey, Law Division,          L-5811-16                 Guajardo & Marks, Dallas, 1X       04-23-2019
                                                         Middlesex County
     Zavala v. Richardson, et al.                        District Court, Clark County, Nevada                 A-17-749760-C, Dept No.   Powell Law Firm, Las Vegas,        04-17-2019
                                                                                                              II                        NV
     McFarland v. Rinella, M.D.                          Circuit Court of Will County, Illinois               16 L988                   Motherway & Napleton,              04-15-2019
                                                                                                                                        Chicago, IL
     Swiech v. Birhanu, M.D., et al.                     Circuit Court of Cook County, Illinois, County       16 L004271                Power Rogers & Smith,              04-15-2019
                                                         Department - Law Division                                                      Chicago, IL
     Doe, et al. v. Macomb Community Unit School         United States District Court for the Central         1:18-cv-01072-SLD-JEH     Fierberg National Law Group,       04-05-2019
     District No. 185, et al.                            District of Illinois, Rock Island Division                                     Traverse City, Ml
     Simon v. Riverside Health System, Inc., et al.      Circuit Court of Cook County, Illinois, County       16 L003077                Motherway & Napleton,              04-05-2019
                                                         Department - Law Division                                                      Chicago, IL
     Barajas v. Delnor Community Hospital, et al.        Circuit Court of the Sixteenth Judicial Circuit,     13 L40                    Cogan & Power, Chicago\lL          04-04-2019
                                                         Kane County, Illinois
     Gaguancela v. BJ's Wholesale Club, Inc. etal        Superior Court of New Jersey, Law Division -         MI D-L-3824-16            Gill & Chamas, Perth Amboy,        04-03-2019
                                                         Middlesex County                                                               NJ
     Gildein v. Birky                                    State of Indiana, Porter County Superior Court       64D01-CT-006021           Martz & Lucas, Valparaiso, IN      04-02-2019


     Walsh/Shane v. Koren, M.D., et al.                  Superior Court of New Jersey, Law Division:          CAM-L-1617-16             Lynch Lynch Held Rosenberg,        04-01-2019
                                                         Camden County                                                                  Hasbrouck Heights, NJ


     Das v. Kenny Construction Company, et al.           Circuit Court of Cook County, Illinois, County       14 L 13186                Morici Figlioli & Associates,      03-28-2019
                                                         Department - Law Division                                                      Chicago, IL
     Ottens v. Starcon International, Inc.               Circuit Court of Cook County, Illinois, County       17L3697                   Shannon Law Group,                 03-27-2019
                                                         Department - Law Division                                                      Woodridge, IL
     Adams v. May Trucking Co., et al.                   Circuit Court of the First Judicial Circuit,         17-L-33                   Langdon & Emison, Lexington,       03-26-2019
                                                         Williamson County, Illinois                                                    MO
     TSR Landmark, LLC., et al. v. International Plaza   Circuit Court of the Eighteenth Judicial Circuit,    2015 L 000569             Kreamer Law Office,                03-26-2019
     Owner's Association                                 DuPage County, Illinois                                                        Naperville, IL
     Kane v. Hill, et al.                                Circuit Court of Cook County, Illinois, County       11 L 10329                Leggans & Associates,              03-25-2019
                                                         Department - Law Division                                                      Chicago, IL
     Celie v. American Family Insurance Company          State of Illinois, Uninsured Motorist Action         NA                        Ryan Ryan & Landa, Chicago,        03-21-2019
                                                                                                                                        IL
     Jones Farms v. Helena Chemical Company              State of Indiana, County of Harrison, Harrison       31C01-1512-PL-28          Moore & Malone,                    03-20-2019
                                                         Circuit Court                                                                  Owensboro, KY
     Gerbasi v. Chicago Transit Authority                Circuit Court of Cook County, Illinois, County       2016-L-8484               Grant Law, Chicago, IL             03-20-2019
                                                         Department - Law Division
     Saenz-Quintana v. Mora-Diaz, et al.                 District Court, Clark County, Nevada                 A-17-760888-C, Dept No.   Powell Law Firm, Las Vegas,        03-19-2019
                                                                                                              12                        NV
     Gulick v. Schreiber, Castel & Bryant PLLC           Jefferson Circuit Court, Division Six                15-Cl-004456              Oldfather Law Firm, Louisville,    03-19-2019
                                                                                                                                        KY
     Walther v. Majeed, et al.                           Circuit Court of Cook County, Illinois, County       2015 L 10267              Truglio & Associates, Chicago,     03-18-2019
                                                         Decartment - Law Division                                                      IL
     Black v. Grant County Public Utility District       United States District Court, Eastern District of    2:17-cv-00365-RMP         Earl & Earl, Boise, ID             03-13-2019
                                                         Washlnltton
     Longobardi v. Kaskel, M.D., et al.                  Circuit Court of Cook County, Illinois, County       16 L 10339                Cogan & Power, Chicago, IL         03-13-2019
                                                         Decartment - Law Division
     Wise v. Red Star Expedite, Inc., et al.             Commonwealth of Kentucky, Shelby Circuit Court 16-Cl-00321                     Sltllnger & Theiler, Louisville,   03-12-2019
                                                                                                                                        KY
     Petite v. Martin                                    District Court, Clark County, Nevada                 A-17-750181-C             Powell Law Firm, Las Vegas,        03-11-2019
                                                                                                                                        NV
     Hospedales v. DuPage Medical Group, LTD             Circuit Court of Cook County, Illinois, County       16 L9158                  Lane & Lane, Chicago, IL           03-11-2019
                                                         Decartment - Law Division




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     Ayala/Muniz v. Lemons, et al.                             United States District Court, District of Nevada        2:18-CV-00511-GMN-PAL Powell Law Firm, Las Vegas,            03-08-2019
                                                                                                                                                 NV
     Rollo v. Flores, et al.                                   District Court, Clark County, Nevada                    A-17-749017-C, Dept No.   Ladah Law firm, Las Vegas, NV      03-05-2019
                                                                                                                       VII
     Warner v. Sheridan Agatite, LLC., et al.                  Circuit Court of Cook County, Illinois, County          2016 L 010989             McNabola & Associates,             03-05-2019
                                                               Department - Law Division                                                         Chicago, IL
     Maher v. Hackensack University Medical Center             Superior Court of New Jersey, Law Division -            BER-L-001350-16           Shaw Law Office, Ft. Lee\NJ        03-04-2019
                                                               Bergen County
     Obremski v. Advocate Christ Medical Center, et al.        Circuit Court of Cook County, Illinois, County          2016-L-000627             Konicek & Dillon, Geneva, IL       03-01-2019
                                                               Department - Law Division
     Varebrook v. Tisdall, M.D., et al.                        District Court of Bexar County, Texas, 225th            2017CI06007               Krebs Law Office, Austin\lX        02-28-2019
                                                               Judicial District
     llahi v. Sebert Landscaping Company                       Circuit Court of the Cook County Judicial Circuit,      16 L4742                  Salvi & Maher, Waukegan, IL        02-27-2019
                                                               Cook County, Illinois
     Gilmore v. Stamford Hospital, et al.                      Superior Court J.D. of Fairfield at Bridgeport          FBT-CV16-6058665-S        Skiber Law Office, Norwalk, CT     02-27-2019


     "Andy" v. Big Brothers Big Sister of America, Inc.        Third Judicial District Court, Salt Lake County,        170901382                 Marsh Law Firm, White Plains,      02-25-2019
                                                               State of Utah                                                                     NY
     Curry v. Brown, et al.                                    Circuit Court of Cook County, Illinois, County          16 L009946                Wolfman Law Office, Chicago,       02-21-2019
                                                               Department - Law Division                                                         IL
     Lilley/2eches v. Ek Lian Tan, et al.                      District Court, Clark County, Nevada                    A-17-749596-C, Dept No.   Powell Law Firm, Las Vegas,        02-20-2019
                                                                                                                       XVIII                     NV
     Santiago v. Fischer                                       United States District Court, Eastern District of       09-CV-1383                Davis Polk & Wardwell, New         01-30-2019
                                                               New York                                                                          York, NY
     Strbac v. CT Mechanical, LLC, et al.                      Circuit Court of Cook County, Illinois County           16 L 7256                 Curcio Law Offices, Chicago, IL    01-30-2019
                                                               Department - Law Division
     Guzman/Jaramillo-Guzman v. Estate of Michael Don          District Court, Clark County, Nevada                    A-16-748252-C, Dept No.   Bighorn Law, Las Vegas, NV         01-28-2019
     Tavis Dennis, et al.                                                                                              VII
     Gregory v. Lexington Center Corporation                   Commonwealth of Kentucky, Fayette Circuit               14-Cl-3891                O'Bryan Brown & Toner,             01-28-2019
                                                               Court, Division 4                                                                 Louisville, KY
     Cooley v. Power Construction Company, et al.              Circuit Court of Cook County, Illinois, County          15 L008626                O'Reilly Law Office, Chicago, IL   01-25-2019
                                                               Department - Law Division
     Cochran, et al. v. Nevada Property 1, et al.              District Court, Clark County, Nevada                    A687601, Dept No. 24      Eglet Prince, Las Vegas, NV        01-24-2019
     Lambert v. Bliss, et al.                                  Circuit Court of Cook County, Illinois, County          16 L001043                Conway & Mrowiec, Chicago,         01-22-2019
                                                               Department - Law Division                                                         IL
     Zorick v. ASV, Inc., et al.                               State of Indiana, County of Porter, Porter              64D01-1705-CT-004454      Allen Law Group, Valparaiso,       01-21-2019
                                                               Superior Court, Sitting at Valparaiso, Indiana                                    IN


     Heatherly, Ill v. Integrated Airline Services, Inc., et al. Circuit Court of Cook County, Illinois, County        17L4549                   Shannon Law Group,                 01-17-2019
                                                               Department - Law Division                                                         Woodridge, IL
     Abdalla, et al. v. Jewish Hospital, et al.                Commonwealth of Kentucky, 30th Judicial Circuit 16-Cl-02929                       Morris & Player, Louisville, KY    01-17-2019
                                                               Court, Jefferson Circuit Court, Division Nine (9)


     Levi/Mitchell v. Thomas                                   District Court, 17th Judicial District, Tarrant         017-287211-16             Washington Law Office,             01-16-2019
                                                               County, Texas                                                                     Dallas, lX
     Williams v. Kumho Tire Co. Inc., et al                    Circuit Court for Jefferson County, Arkansas            CV-2014-360-2             Langdon & Emison, Lexington,       01-14-2019
                                                                                                                                                 MO
     Kieckhaefer v. Roscoe Township                            State of Illinois, Circuit Court of the 17th Judicial   14 L 194                  Klein Stoddard Buck Lewis,         01-11-2019
                                                               Circuit, Winnebago County                                                         Sycamore, IL
     Valencia v. U.S. Bank National Association                United States District Court for the Southern           4:18-cv-00056             Duff Law Firm, West Des            01-10-2019
                                                               District of Iowa, Central Division                                                Moines, IA
     Martin v. Robertson                                       State of Indiana, County of Lake, Lake Superior         45D01-1803-CT-00060       Hilbrich Law Office, Highland,     01-09-2019
                                                               Court, Sitting at Hammond, Indiana                                                IN

     Johnson v. Toyota Motor Corporation, et al.               Circuit Court of Cook County, Illinois, County          16 L9558                  Langdon & Emison, Lexington,       01-09-2019
                                                               Department - Law Division                                                         MO
     Capuano v. Roshi, et al.                                  Circuit Court of Cook County, Illinois, County          15 L 12727                Motherway & Napleton,              01-08-2019
                                                               Department - Law Division                                                         Chicago, IL
     lsaaq v. The Village3 of Niles, et al.                    Circuit Court of Cook County, Illinois, County          16 L004710                Nemeroff Law Office, Chicago,      01-08-2019
                                                               Department - Law Division                                                         IL
     Carter v. Chelich, D.O.                                   Circuit Court of Cook County, Illinois, County          2017L 004046              Cogan & Power, Chicago, IL         01-07-2019
                                                               Department - Law Division
     Parmaksiz v. SVAP Hoffman Plaza, LP, et al.               Circuit Court of Cook County, Illinois, County          2016 CH 014315            Paris Law Firm, Chicago, IL        01-04-2019
                                                               Department - Chancery Division
     Ledet v. Capanna, M.D.                                    District Court, Clark County, Nevada                    A-15-712091-C, Dept No.   Eglet Prince, Las Vegas, NV        01-04-2019
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     Cortez v. FedEx Ground Package System, Inc.               44th Judicial District Court, Dallas County, Texas      DC-17-06463               Grossman Law Offices, Dallas,      12-21-2018
                                                                                                                                                 lX
     Benavides, Jr. v. Holland Community Hospital, et al.      State of Michigan in the Circuit Court for the          17-5138-NH                Buchanan & Buchanan, Grand         12-17-2018
                                                               County of Ottawa                                                                  Rapids, Ml




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                            Case Name                                                 Court                                   Case Number                    Law Firm                 Date
     Ripley v. Shankar, M.D., et al.                           Circuit Court of the First Judicial Circuit, Jackson    16-L-78                   Wernick Law Firm,                  12-13-2018
                                                               County, Illinois                                                                  Carbondale, IL
     Ibach v. Cho, et al.                                      Circuit Court of Cook County, Illinois, County          14 L 10446                McNabola & Associates,             12-12-2018
                                                               Department - Law Division                                                         Chicago, IL
     Vesely v. Walsh Construction Company of Illinois, Inc. Circuit Court of Cook County, Illinois, County             lS L004250                Morici Figlioli & Associates,      12-12-2018
                                                               Department - Law Division                                                         Chicago, IL
     Gallagher v. Midwest Orthopaedic Center, 5.C., et al.     Circuit Court of the Tenth Judicial Circuit of          17L6                      McNabola Law Group,                12-11-2018
                                                               Illinois, Peoria County                                                           Chicago, IL
     Lisboa v. Stocker Ill, et al.                             Circuit Court for Jackson County, Missouri at           1816-CV00467              Langdon & Emison, Lexington,       12-10-2018
                                                               Independence                                                                      MO
     Torres, et al. v. Brown, et al.                           United States District Court, District of Arizona       3:17-cv-08217 PCT-JAT     Lerner Injury Attyorney, Las       12-10-2018
                                                                                                                                                 Vegas, NV
     Roberts v. CCRP/AG BOFA Plaza Owner, LLC, et al.          District Court, Clark County, NV                        A-15-713245-C, Dept No.   Maier Gutierrez & Associates,      12-07-2018
                                                                                                                       VII                       Las Vegas, NV
     Zdravich v. Agave Azul Authentic Mexican Restaurant State of Indiana, County of Tippecanoe,                       79C01-1708-CT-000142      Oldfather Law Firm, Louisville,    12-07-2018
     3LLC                                                      Tippecanoe Circuit Court                                                          KY
     Bell v. Zarnke, M. D., et al.                             Circuit Court of the 17th Judicial Circuit,             15 L0206                  Ryan Ryan & Landa, Chicago,        12-06-2018
                                                               Winebago County, Illinois                                                         IL
     Watson/Ransom/Jones v. Texas-Cola Leasing Co., et         District Court, Tarrant County, 1X                      352-290806-17             Washington Law Office,             12-05-2018
     al.                                                                                                                                         Dallas\lX
     Watson/Ransom/Jones v. Texas-Cola Leasing Co., et         District Court, Tarrant County, 1X                      352-290806-17             Washington Law Office,             12-04-2018
     al.                                                                                                                                         Dallas, 1X
     Jones/Lofton v. Sheykholeslami, M. D., et al.             State of Illinois, Circuit Court of the 17th Judicial   2013-L-69                 Taxman Pollock Murray &            12-04-2018
                                                               Circuit, County of Winnebago                                                      Bekkerman, Chicago, IL
     Cardinali, et al. v. Plusfour, Inc., et al.               United States District Court, District of Nevada        2:16-cv-02046-JAD-NJK     Haines & Krieger, Henderson,       12-03-2018
                                                                                                                                                 NV
     Adams v. University of Indianapolis                       United States District Court for the Southern           1:17-CV-02101-WTL-MJD Betz & Blevins, Indianapolis,          11-30-2018
                                                               District of Indiana, Indianapolis Division                                        IN
     Hespe v. The City of Chicago, et al.                      United States District Court for the Northern           13 C 7998                 Herbert Law Firm, Chicago, IL      11-29-2018
                                                               District of Illinois, Eastern Division
     Meeks v. Dissanayake, M. D.                               Circuit Court of Cook County, Illinois County           15 L 11535                Leggans & Associates,              11-29-2018
                                                               Department - Law Division                                                         Chicago\lL
     Thoroughman v. Wisconsin Central, Ltd.                    United States District Court, Western District of       15-CV-74                  Lipkin & Higgins, Chicago, IL      11-28-2018
                                                               Wisconsin
     Ruettiger v. Lincoln-Way Area Special Education           Circuit Court of the Twelfth Judicial Circuit, Will     16 L0539                  Allen Law Group,                   11-28-2018
     District 843, et al.                                      County, Illinois                                                                  Valparaiso\lN
     Adair/Veytsman v. State Farm Mutual Automobile            United States District Court, District of Nevada        2:17-cv-00421-RFB-CWH     Powell Law Firm, Las Vegas,        11-27-2018
     Insurance Company, et al.                                                                                                                   NV
     E&I Holdings, Inc. v. Coral Springs Eggs and I, LLC, et   United States District Court for the District of        17-cv-02377-WJM-STV       NOVA IP Law, Gainesville, VA       11-21-2018
     al.                                                       Colorado
     King v. Desert Palace, Inc., et al.                       District Court, Clark County, Nevada                    A-13-691609-C, Dept No.   Gentile Cristalli Miller Armeni    11-21-2018
                                                                                                                       XIV                       Savarese, Las Vegas\NV


     King v. Desert Palace, Inc., et al.                       District Court, Clark County, Nevada                    A-13-691609-C, Dept No.   Gentile Cristalli Miller Armeni    11-20-2018
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     Wise v. Red Star Expedite, Inc., et al.                   Commonwealth of Kentucky, Shelby Circuit Court 16-Cl-00321                        Sitlinger & Theiler, Louisville,   11-16-2018
                                                                                                                                                 KY
     Strbac v. CT Mechanical, LLC, et al.                      Circuit Court of Cook County, Illinois County           16 L 7256                 Curcio Law Offices, Chicago, IL    11-14-2018
                                                               Department - Law Division
     Watson/Ransom/Jones v. Texas-Cola Leasing Co., et         District Court, Tarrant County, 1X                      352-290806-17             Washington Law Office,             11-13-2018
     al.                                                                                                                                         Dallas, 1X
     Watson/Ransom/Jones v. Texas-Cola Leasing Co., et         District Court, Tarrant County, 1X                      352-290806-17             Washington Law Office,             11-12-2018
     al.                                                                                                                                         Dallas, 1X
     Griffin v. Warren Ball, etal.                             Circuit Court of Cook County, Illinois County           17 L2740                  Motherway & Napleton,              11-09-2018
                                                               Department - Law Division                                                         Chicago, IL
     RIiey v. City of Chicago, et al.                          Circuit Court of Cook County, Illinois County           17L246                    Langdon & Emison, Chicago, IL      11-08-2018
                                                               Department - Law Division
     Shah v. Bernstein, et al.                                 Eighth Judicial District Court, Clark County,           A-15-723496-C, Dept No.   Padda Law, Las Vegas, NV           11-07-2018
                                                               Nevada                                                  XIII
     Bowens/Allen v. Vitale, M.D., et al.                      Superior County of New Jersey, Law Division:            L-7014-16                 Lynch Lynch Held Rosenberg,        11-07-2018
                                                               Bergen County                                                                     Hasbrouck Heights, NJ


     Lloyd/Watson v. Cumberland County,            et al.      United States District Court for the District of        1:16-cv-03503 JBS-AMD     Benedetto Law Office,              11-06-2018
                                                               New Jersev, Camden VicinHe                                                        Philadelohia, PA
     Hennis v. Cumberland County,        et al.                United States District Court for the District of        1:16-cv-03503 JBS-AMD     Benedetto Law Office,              11-06-2018
                                                               New Jersev, Camden VicinHe                                                        Philadelohia, PA
     Wilson/Lewis v. Cumberland County, et al.                 United States District Court for the District of        1:16-cv-03503 JBS-AMD     Benedetto Law Office,              11-06-2018
                                                               New Jersev, Camden VicinHe                                                        Philadelohia, PA




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                            Case Name                                                  Court                                  Case Number                 Law Firm                  Date
     Sanchez v. Samrith, et al.                                 District Court, Clark County, Nevada                  A-17-751126-C, Dept No.   Powell Law Firm, Las Vegas,       11-05-2018
                                                                                                                      XXX                       NV
     Orr, Jr. v. T. Burns, Ltd., et al.                         Circuit Court of Jackson County, Missouri at          1816-CV01412, Division    Langdon & Emison, Lexington,      11-05-2018
                                                                Kansas City                                           17                        MO
     Colon-Montoya v. Mahari, et al.                            District Court, Clark County, Nevada                  A-16-746156-C, Dept No.   Powell Law Firm, Las Vegas,       11-01-2018
                                                                                                                      XVIII                     NV
     Colvin, et al. v. Baptist Healthcare System, Inc., et al   Jefferson Circuit Court, Division Twelve              17-Cl-001894              Oldfather Law Firm, Louisville,   10-31-2018
                                                                                                                                                KY
     Ocampo-Trujillo/Nunez v. Ali, et al.                       District Court, Clark County, Nevada                  A-15-728995-C, Dept No.   Powell Law Firm, Las Vegas,       10-23-2018
                                                                                                                      I                         NV
     Stach v. Sid Harvey Industries, Inc. et al.                Circuit Court of Cook County, Illinois, County        2015 L 010602             Sinson Law Group, Chicago, IL     10-23-2018
                                                                Department - Law Division
     Bartels v. Silver Cross Hospital and Medical Centers,      Circuit Court of the Twelfth Judicial Circuit, Will   2018 L 000328             McNabola Law Group,               10-22-2018
     et al.                                                     County, Illinois                                                                Chicago, IL
     Quinlan v. Alvarez, et al.                                 District Court, Clark County, Nevada                  A-17-754682-C, Dept No.   Naqvi Injury Law, Las Vegas,      10-22-2018
                                                                                                                      xv                        NV
     Johnson/Toth v. White River Health System Inc., et         Circuit Court of Independence County, Arkansas,       CV-2012-026-2             Wilcox Lacy, Jonesboro\AR         10-19-2018
     al.                                                        Civil Division
     Bartolo v. Whole Foods Market, Inc.                        United States District Court for the District of      17-cv-14S3 (APM)          Branch & Associates,              10-18-2018
                                                                Columbia                                                                        Washington, DC
     Lilley/Zeches v. Ek Lian Tan, et al.                       District Court, Clark County, Nevada                  A-17-749596-C, Dept No.   Powell Law Firm, Las Vegas,       10-17-2018
                                                                                                                      XVIII                     NV
     Hinojosa v. United Parcel Service, Inc.                    Circuit Court of Cook County, Illinois, County        13 L 7549                 Bashford Law Group,               10-16-2018
                                                                Department - Law Division                                                       Glenview, IL
     Allenson v. Starbucks Corporation                          Circuit Court of Cook County, Illinois, County        16 L4034                  Cogan & Power, Chicago, IL        10-15-2018
                                                                Department - Law Division
     Nichols v. Staley, et al.                                  Circuit Court of Cook County, Illinois, County        2016 L6671                Dinizulu Law Group, Chicago,      10-11-2018
                                                                Department - Law Division                                                       IL
     Aye/Hnin v. Ford Motor Company, et al.                     Missouri Circuit Court, Sixth Judicial Circuit, Platte 17AE-CC00422             Langdon & Emison, Lexington,      10-11-2018
                                                                County                                                                          MO
     Malone, et al. v. Moe, et al.                              Eighth Judicial District Court, Clark County,         A-16-734167-C, Dept No.   Bighorn Law, Las Vegas, NV        10-09-2018
                                                                Nevada                                                XXI
     Taylorv. Berger, M.D., et al.                              Circuit Court of Cook County, State of Illinois,      lS L 9086                 Motherway & Napleton,             10-09-2018
                                                                County Department - Law Division                                                Chicago\lL
     Vaseemuddin v. County of Cook, et al.                      United States District Court, Northern District of    14 C 2995                 Kreamer Law Office,               10-03-2018
                                                                Illinois, Eastern Division                                                      Naperville\lL
     Snyder v. Bank of America, N.A., et al.                    United States District Court, Northern District of    15-cv-042228-EDL          Pamela Snyder Pro Se, San         10-01-2018
                                                                California                                                                      Francisco, CA
     Farmer, et al. v. Las Vegas Metropolitan Police            United States District Court, District of Nevada      2:17-cv-01946-JCM-PAL     Marquis Aurbach Coffing• Las      09-28-2018
     Department, et al.                                                                                                                         Vegas, NV
     Cavazos v. Paschal Enterprises LLC, et al.                 88th Judicial District Court of Hardin County,        57455                     Grossman Law Offices, Dallas,     09-28-2018
                                                                Texas                                                                           TX
     Chappell v. Joey's Inc., et al.                            District Court, Clark County, Nevada                  A-17-752231-C, Dept No.   Eglet Prince, Las Vegas, NV       09-27-2018
                                                                                                                      XXX
     Confessore v. AGCO Corporation, et al.                     Superior Court of New Jersey, Law Division -          MON-L-797-14              Gill & Chamas, Perth              09-26-2018
                                                                Monmouth County                                                                 Amboy\NJ
     Romero v. Club 390 Corp, et al.                            Circuit Court of Cook County, Illinois, County        2016-L-006872             Cochran Firm, Chicago, IL         09-24-2018
                                                                Department - Law Division
     Tran v. NDL Group, Inc., et al.                            Eighth Judicial District Court, Clark County,         A-16-740978-C, Dept X     Nguyen & Associates, Las          09-21-2018
                                                                Nevada                                                                          Vegas, NV
     Ballard/Chapman v. Swartz, M. D., et al.                   Superior Court of New Jersey, Law Division -          OCN-L-761-16              Escandon Fernicola Anderson       09-19-2018
                                                                Ocean County                                                                    & Covelli, Allenhurst, NJ

     Trahanas v. Northwestern University, et al.                United States District Court for the Northern         1:15-cv-11192             DeRose & Associates,              09-17-2018
                                                                District of Illinois, Eastern Division                                          Hinsdale, IL
     Tracy v. Lake County Neurosurgery, et al.                  Circuit Court of Cook County, Illinois, County        09 L 14156                McNabola Law Group,               09-17-2018
                                                                Department - Law Division                                                       Chicago\lL
     Garcia-Alvarez v. Lopez-Acosta, et al.                     Eighth Judicial District Court, Clark County,         A-16-743595-C, Dept No.   Lerner Injury Attorneys, Las      09-14-2018
                                                                Nevada                                                I                         Vegas, NV
     Ayala v. Young, et al.                                     District Court, Clark County, Nevada                  A-16-747753-C, Dept No.   Powell Law Firm, Las Vegas,       09-14-2018
                                                                                                                      IV                        NV
     Briggs v. IAP Worldwide Services, Inc., et al.             United States District Court for the Eastern          18-cv-00982-AJT-TCB       Jarrard Law Office, Spokane,      09-13-2018
                                                                District of Virginia, Alexandria Division                                       WA
     Lessert v. BNSF Railway Company                            United States District Court, District of South       5:17-cv-5030-JLV          Hubbell Law Firm, Kansas City,    09-11-2018
                                                                Dakota, Western Division                                                        MO
     Sanchez-Tolentino v. Vasquez Ill, et al.                   District Court, Clark County, Nevada                  A-16-746-163-C, Dept No. Powell Law Firm, Las Vegas,        09-10-2018
                                                                                                                      XIII                      NV
     Whitstone v. Elizalde, et al.                              District Court, Clark County, Nevada                  A-17-749-640-C, Dept No. Powell Law Firm, Las Vegas,        09-07-2018
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                             Case Name                                                 Court                              Case Number                   Law Firm                Date
     King v. Desert Palace, Inc., et al.                     District Court, Clark County, Nevada                 A-13-691609-C, Dept No.   Gentile Cristalli Miller Armeni   09-06-2018
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     Rodriguez v. Wong, et al.                               District Court, Clark County, Nevada                 A-16-740806-C, Dept No.   Powell Law Firm, Las Vegas,       09-05-2018
                                                                                                                  XXIII                     NV
     Jordan/Lee v. Silver Cross Hospital and Medical         Circuit Court of Cook County, Illinois, County       2015 L 002103             Cogan & Power, Chicago, IL        08-31-2018
     Centers, et al.                                         Department - Law Division
     Pomazal v. Grodoski                                     Circuit Court of the Eighteenth Judicial Circuit,    2013 L879                 Nemeroff Law Office,              08-31-2018
                                                             DuPage County, Illinois                                                        Chicago\lL
     Dieken v. Clark, M.D.                                   Circuit Court of Will County, Illinois               14 L01012                 Paris Law Firm, Chicago\lL        08-30-2018
     Oates v. Shiver, et al.                                 District Court, Clark County, Nevada                 A-16-747820-C, Dept No.   Powell Law Firm, Las Vegas,       08-24-2018
                                                                                                                  I                         NV
     Thompson v. Methodist Healthcare System of San          District Court, 37th Judicial District, Bexar County, 2016Cl21754              Krebs Law Office, Austin, TX      08-24-2018
     Antonio, LTD., et al.                                   Texas
     Bonno/Moreno v. Sanford Clinic North, et al.            United States District Court, District of North      3:16-cv-00114-ARS         Grant & Eisenhofer, Chicago,      08-22-2018
                                                             Dakota, Eastern Division                                                       IL
     Murillo/Young v. United States of America               United States District Court, Northern District of   17 C 1279                 Mitchell Hoffman & Wolf,          08-22-2018
                                                             Illinois, Eastern Division                                                     Chicago, IL
     Adams, et al. v. Trinity Industries, Inc., et al.       Circuit Court for the City of St. Louis, Missouri    1522-CC11395              Langdon & Emison, Lexington,      08-20-2018
                                                                                                                                            MO
     George v. Buckeye Diamond Logistics, Inc., et al.       Court of Common Please of Madison County,            eve 20110141              Willis & Willis, Hilliard, OH     08-17-2018
                                                             Ohio
     Lopez/Finnical v. Presbyterian Healthcare Services,     State of New Mexico, County of Santa Fe, First       D-101-CV-2017-00654       Salazar Sullivan Jasionowski,     08-16-2018
     Inc.                                                    Judicial District Court                                                        Albuquerque, NM


     Advanced Packaging Technology Laboratories, Inc. v. Circuit Court of Cook County, Illinois, County           2014 CH 00143             Kulinsky & Associates,            08-16-2018
     Phelan, et al.                                      Department - Chancery Division                                                     Wheeling\lL
     Advanced Packaging Technology Laboratories, Inc. v. Circuit Court of Cook County, Illinois, County           2014 CH 00143             Kulinsky & Associates,            08-15-2018
     Phelan, et al.                                      Department - Chancery Division                                                     Wheeling\lL
     Weir v. Coning, et al.                                  State of Indiana, County of Vigo, In the Vigo        84D06-1701-CT-0154        McNeely Stephenson Thopy &        08-15-2018
                                                             County Superior Court                                                          Harrold, Shelbyville, IN


     Brickner v. Johnson, et al.                             District Court, Clark County, Nevada                 A-16-737497-C, Dept No. Ayon Burk, Las Vegas, NV            08-14-2018
                                                                                                                  XXX
     Townsend v. Rush University Medical Center, et al.      Circuit Court of Cook County, Illinois, County       15 L006635                Spearman Firm, Chicago, IL        08-13-2018
                                                             Department - Law Division
     Blevins v. Holzhauer, M.D.                              Circuit Court of Lowndes County, Mississippi         2016-0027-VlK             Merkel & Cocke, Clarksdale,       08-10-2018
                                                                                                                                            MS
     McNeeley v. Banner Health, et al.                       Superior Court of Arizona, Gila County               CV201700118               Lloyd Law Group, Payson, AZ.      08-10-2018


     Bryant v. Wolf Electric Supply Company, et al.          Circuit Court of Cook County, Illinois, County       2014 L 009840             Gravlin Law Office, Chicago\lL    08-09-2018
                                                             Department - Law Division
     Mendoza v. Wal-Mart Stores East, et al.                 State of New Mexico, County of Grant, Sixth          D-608-CV-2014-00107       Cardenas Law Firm, Las            08-08-2018
                                                             Judicial District Court                                                        Cruces\NM
     Lavine, et al. v. Robertson, et al.                     Superior Court of the State of California, County    CIV 532372                Kastner Kim, Mountain             08-07-2018
                                                             of San Mateo                                                                   View\CA
     Griffo v. Oculus VR, Inc.,   et al.                     United States District Court, Central District of    8:15-cv-01228-DOC         Reich Law, Boston, MA             08-03-2018
                                                             California, Southern Division (Santa Ana)            (JCGx)
     Advanced Packaging Technology Laboratories, Inc. v. Circuit Court of Cook County, Illinois, County           2014 CH 00143             Kulinsky & Associates,            08-03-2018
     Phelan, et al.                                          Department - Chancery Division                                                 Wheeling, IL
     llczyszyn v. Southwest Airlines Co., et al.             Superior Court of California, County of Alameda      RG15766954                Balaban & Spielberger, Los        08-02-2018
                                                                                                                                            Angeles, CA
     Wynn v. BNSF Railway Company, et al.                    Circuit Court of Cass County, State of Missouri      15CA-CC00241, Divison 1 Davis Bethune & Jones,              08-01-2018
                                                                                                                                            Kansas Citv\MO
     Spaulding, et al. v. Islamic Republic of Iran, et al.   United States District Court, Northern District of   5:16-cv-1748              Choken Welling, Akron, OH         07-24-2018
                                                             Ohio, Eastern Division
     Levi/Mitchell v. Thomas                                 District Court, 17th Judicial District, Tarrant      017-287211-16             Washington Law Office,            07-11-2018
                                                             Countv, Texas                                                                  Dallas\TX
     Ogiego v. Leopardo Companies, Inc., et al.              Circuit Court of Cook County, Illinois, County       15 L001217                Allen Law Group, Chicago, IL      07-10-2018
                                                             Deoartment - Law Division
     Garcia v. ALAA AI-Nawfall, et al.                       District Court, Clark County, Nevada                 A-16-742054-C, Dept No.   Eglet Prince, Las Vegas, NV       07-10-2018
                                                                                                                  VIII
     Kaliniak v. Chang, et al.                               Circuit Court of Cook County, Illinois, County       2015 L 008829             Groszek Law Firm, Chicago, IL     07-09-2018
                                                             Deoartment - Law Division
     Lhotak v. Robertson, et al.                             State of Indiana, County of Porter In the Porter     64D02-1704-CT-3337        Allen Law Group, Chicago, IL      07-09-2018
                                                             Superior Court, Sitting at Valparaiso, Indiana


     Manchak v. St. Louis University, et al.                 Circuit Court of the City of St. Louis, State of     1322-CC09782              Gori Julian & Associates,         07-06-2018
                                                             Missouri                                                                       Edwardsville, IL




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                           Case Name                                                  Court                             Case Number                  Law Firm                   Date
     Varebrook v. Tisdall, M.D., et al.                     District Court of Bexar County, Texas, 225th          2017CI06007               Krebs Law Office, Austin, 1X      07-05-2018
                                                            Judicial District
     Knaack v. Knight Transportation, Inc., et al.          United States District Court, District of Nevada      3:17-cv-00172-LRH-WGC     Vannah & Vannah, Las Vegas,       07-03-2018
                                                                                                                                            NV
     Piggee v. Schaefer, M. D., et al.                      Circuit Court of Cook County, Illinois, County        2015 L 010611             Etherton and Associates,          07-02-2018
                                                            Department - Law Division                                                       Chicago, IL
     Burkey v. Hunter, et al.                               United States District Court for the Northern         4:17-cv-00338-BYP         Engler Law Firm, Warren, OH       06-29-2018
                                                            District of Ohio, Eastern Division
     Phillips v. Pangea Ventures, LLC, et al.               Circuit Court of Cook County, Illinois, County        2015 L 012092             Rittenberg Buffen                 06-29-2018
                                                            Department - Law Division                                                       Gulbrandsen Robinson & Saks,
                                                                                                                                            Chicago, IL
     Angelo v. Albertson's, et al.                          United States District Court, District of Nevada      2:17-CV-01246-APG-GWF Shook & Stone, Las Vegas, NV          06-28-2018


     Feazell-Daniels v. Quiroz, et al.                      District Court, Clark County, Nevada                  A-16-735198-C, Dept No.   Naqvi Injury Law, Las Vegas,      06-27-2018
                                                                                                                  XI                        NV
     Bryant v. Wolf Electric Supply Company, et al.         Circuit Court of Cook County, Illinois, County        2014 L 009840             Gravlin Law Office, Chicago, IL   06-27-2018
                                                            Department - Law Division
     Pierce v. Windmill Environmental, et al.               Circuit Court of Cook County, Illinois, County        15 L 11107                Goldberg Weisman & Cairo,         06-26-2018
                                                            Department - Law Division                                                       Chicago, IL
     McDaniels v. Wolverine World Wide, Inc., et al.        State of Indiana, County of Porter In the Porter      64D01-1510-CT-008639      Allen Law Group, Valparaiso,      06-25-2018
                                                            Superior Court, Sitting at Valparaiso, Indiana                                  IN

     Verdone v. Schulze and Burch Biscuit Co.               Circuit Court of Cook County, Illinois, County        15 L 5569                 O'Connor Law Group, Chicago,      06-22-2018
                                                            Department - Law Division                                                       IL
     Schmidt v. Robertson, et al.                           Lake Superior Court, Gary, Indiana                    4SD04-1702-CT-00042       Allen Law Group,                  06-21-2018
                                                                                                                                            Valparaiso\lN
     Nedrick v. County of Monmouth, et al.                  Superior Court of New Jersey, Law Division,           MON-L-1966-15             Wolf Law Office, Red Bank\NJ      06-20-2018
                                                            Monmouth County
     Mendoza v. Wal-Mart Stores East, et al.                State of New Mexico, County of Grant, Sixth           D-608-CV-2014-00107       Cardenas Law Firm, Las            06-18-2018
                                                            Judicial District Court                                                         Cruces, NM
     Lerma v. St. Alexius Medical Center                    Circuit Court of Cook County, Illinois, County        2016 L 000603             lndomenico & Associates,          06-15-2018
                                                            Department - Law Division                                                       Chicago\lL
     Hughes v. Randall-Hayes, M. D., et al.                 Circuit Court, Sixth Judicial Circuit, Champaign      2013-L-99                 Mossing & Navarre,                06-14-2018
                                                            County, State of Illinois                                                       Chicago\lL
     Kenu v. Belkin International, Inc. et al               United States District Court, Northern District of    3:14-cv-04327-JD          Troutman Sanders, San             06-13-2018
                                                            California, San Francisco Division                                              Francisco\CA
     Zeller v. CRST Lincoln Sales, Inc., et al.             United States District Court, Northern District of    16-cv-10140               Cogan & Power, Chicago, IL        06-11-2018
                                                            Illinois, Eastern Division
     Leoni v. Experian Information Solutions, Inc.          United States District Court, District of Nevada      2:17-cv-01408-RFB-VCF     Knepper & Clark, Las Vegas,       06-08-2018
                                                                                                                                            NV
     Streit v. Halverson                                    United States District Court for the Western          2:17-cv-4225              Langdon & Emison, Lexington,      06-07-2018
                                                            District of Missouri, Central Division at Jefferson                             MO
                                                            City
     Whitlock v. Nevada Capital Insurance Company, et al. District Court, Clark County, Nevada                    A-13-681608-C, Dept No.   Maier Gutierrez & Associates,     06-06-2018
                                                                                                                  XXIX                      Las Vegas, NV
     Hanna v. Trinity Industries, Inc., et al.              Circuit Court of Jackson County, Missouri at          1716-CV12173              Langdon & Emison, Lexington,      06-06-2018
                                                            Kansas City                                                                     MO
     Taylorv. Berger, M.D., et al.                          Circuit Court of Cook County, State of Illinois,      15 L9086                  Motherway & Napleton,             06-05-2018
                                                            County Department - Law Division                                                Chicago, IL
     Kolesar v. XPO Logistics Freight, l(nc.                Circuit Court of Cook County, State of Illinois,      2016-L-000686             Pullano Law Firm, Chicago, IL     06-04-2018
                                                            County Department - Law Division
     Heartwise, Inc. v. Nutrigold, Inc.                     United States District Court, District of Utah,       2:13-cv-00982-DAK         Workman Nydegger• Salt            06-01-2018
                                                            Central Division                                                                Lake City, UT
     Kim v. Byun, M.D.,    et al.                           United States District Court, Northern District of    1:16-cv-09138             Patterson Law Firm, Chicago,      05-31-2018
                                                            Illinois                                                                        IL
     Barnum, et al. v. Equifax Information Services, Inc.   United States District Court, District of Nevada      2: 16-cv-2866-RF B-NJ K   Knepper & Clark, Las Vegas,       05-30-2018
                                                                                                                                            NV
     Bulduk v. Walgreen Co.                                 Circuit Court of Cook County, State of Illinois,      17 L 1149                 Lane Kefli Law, Chicago, IL       05-25-2018
                                                            County Department - Law Division
     Mejia, et al. v. Lawyer Mechanical Services, et al.    District Court, Clark County, Nevada                  A-16-740817-C             Powell Law Firm, Las Vegas,       05-24-2018
                                                                                                                                            NV
     Petrocianpur,   et al. v. Grand Lux Cafe LLC, et al.   District Court, Clark County, Nevada                  A-15-719661-C, Dept No.   Naqvi Injury Law, Las Vegas,      05-23-2018
                                                                                                                  XIX                       NV
     Georgas v. Swedish Covenant Hospital, et al.           Circuit Court of Cook County, Illinois, County        2014L012688               Power Rogers & Smith,             05-22-2018
                                                            Department - Law Division                                                       Chicago, IL
     Cotton v. Lee, D.O., et al.                            State of Illinois in the Circuit Court of the Twelfth 14 L563                   Motherway & Napleton,             05-21-2018
                                                            Judicial Circuit, Will County                                                   Chicago, IL
     Lewis v. Agarwal, M.D.,        et al.                  Circuit Court of Cook County, Illinois, County        2015 L 008423             Phillips & Associates, Chicago,   05-17-2018
                                                            Department - Law Division                                                       IL




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                               Case Name                                                   Court                              Case Number                  Law Firm                   Date
     Urth Laguna Beach Development, et al. v. Farsakh, et Superior Court of the State of California, County             30-2016-00849787-CU-CR American Freedom Law                 05-16-2018
     al.                                                  of Orange                                                     CJC                    Center• Ann Arbor, Ml
     Holt/Cordova-Holt v. Ocwen Loan Servicing, et al.    Superior Court of the State of California in and              OLV 1600577               Christensen Law Office,           05-15-2018
                                                          for the County of Marin                                                                 Oakland, CA
     Carter/Collins v. Metropolitan Hospital, et al.      State of Michigan in the Circuit Court for the                17-06824-N H              Buchanan & Buchanan, Grand        05-10-2018
                                                          County of Kent                                                                          Rapids, Ml
     Vaseemuddin v. County of Cook, et al.                United States District Court, Northern District of            14 C 2995                 Kreamer Law Office,               05-08-2018
                                                          Illinois, Eastern Division                                                              Naperville, IL
     Robertshaw v. Maurer Truck Leasing, LLC, et al.      Circuit Court of Cook County, Illinois County                 2016 L2098                Shannon Law Group,                05-07-2018
                                                          Department - Law Division                                                               Woodridge, IL
     Haught v. Payson Healthcare Management, Inc. et al. Superior Court of the State of Arizona In and For              CV201300157               McGovern Law Offices,             05-04-2018
                                                                     the County of Gila                                                           Phoenix\AZ
     Walsh/Shane v. Koren, M.D., et al.                              Superior Court of New Jersey, Law Division:        CAM-L-1617-16             Lynch Lynch Held Rosenberg,       05-03-2018
                                                                     Camden County                                                                Hasbrouck Heights, NJ

     Simmons v. Richardson, M.D., et al.                             Commonwealth of Kentucky, Daviess Circuit          13-Cl-00395               Moore Malone & Safreed,           04-26-2018
                                                                     Court, Division II                                                           Owensboro, KV
     Slone v. Anesthesia Associates, PSC                             Commonwealth of Kentucky, Fayette Circuit          16-Cl-04089               Savage Law Firm, Lexington,       04-25-2018
                                                                     Court                                                                        KV
     Haak, et al. v. Reyniers, et al.                                United States District Court for the Eastern       17-C-128                  Lawton & Cates, Madison, WI       04-24-2018
                                                                     District of Wisconsin
     Ogiego v. Leopardo Companies, Inc., et al.                      Circuit Court of Cook County, Illinois, County     15 L001217                Allen Law Group, Valparaiso,      04-24-2018
                                                                     Department - Law Division                                                    IN
     Walker v. Macy's Merchandising Group, Inc.                      United States District Court for the Northern      1:14-cv-02513             Langdon & Emison, Lexington,      04-18-2018
                                                                     District of Illinois, Eastern Division                                       MO
     McMichael v. Spectrum Health Hospitals, et al.                  State of Michigan in the Circuit Court for the     17-01653-NH           Buchanan & Buchanan, Grand            04-12-2018
                                                                     County of Kent                                                           Rapids, Ml
     Klaisner v. Johanson                                            Circuit Court of Cook County, Illinois, County     16 L2993              Bashford Law Group,                   04-12-2018
                                                                     Department - Law Division                                                Glenview, IL
     McKenna v. Chesnoff, CHTD. P.C., et al.                         United States District Court, District of Nevada   2:14-CV-01773-JAD-CWH Bailey Kennedy, Las Vegas, NV         04-11-2018

     Ruettiger v. Lincoln-Way Area Special Education     Circuit Court of the Twelfth Judicial Circuit, Will 16 L0539                             Allen Law Group, Valparaiso,      04-06-2018
     District 843, et al.                                County, Illinois                                                                         IN
     Binkowski v. Grand Island Express, Inc., et al      State of Indiana, County of Porter, Porter County 64D02-1503-CT-2255                     Allen Law Group,                  04-05-2018
                                                         Superior Court 2                                                                         Valparaiso\lN
     Luedtke v. Northern Indiana Public Service Company, State of Indiana, County of Lake, in the Lake       45D10-1602-CT-27                     Allen Law Group, Valparaiso,      04-04-2018
     et al.                                              Superior Court Sitting at Crown Point, Indiana                                           IN

     McKay v. the City of St. Louis, Missouri, et al.                United States District Court for the Eastern       4: 15-cv-01315-JAR        Newton Barth, St. Louis, MO       03-29-2018
                                                                     District of Missouri, Eastern Division
     Stork v. Wenck                                                  Iowa District Court for Carroll County             LACV039736                Galligan & Reid, Des Moines,      03-28-2018
                                                                                                                                                  IA
     Hauslein v. Statham                                             Circuit Court of the Tenth Judicial Circuit of     15-L-2                    LeFante Law Offices, Peoria, IL   03-28-2018
                                                                     Illinois, Knox County
     Calianno v. Kaleb Crinite, et al.                               District Court, Clark County, Nevada               A-15-727749-C, Dept No.   Eglet Prince, Las Vegas, NV       03-27-2018
                                                                                                                        XXX
     Thompson, et al. v. Stonegate Insurance Co.                     Circuit Court of Cook County, County Department    12 CH 02774               Richert Law Office, Orland        03-26-2018
                                                                     - Chancery Division                                                          Park, IL
     Contreras v. Manning, et al.                                    Circuit Court of Cook County, Illinois, County     2015 L 7542               Espitia Law Office, Chicago, IL   03-23-2018
                                                                     Department - Law Division
     Estabrook v. Yamazaki Mazak Corporation, et al.                 United States District Court for the Northern      1:16-cv-0087-RL-SLC       Theisen & Associates, Fort        03-23-2018
                                                                     District of Indiana                                                          Wayne, IN
     Schreck v. Sanford Health, et al.                               Iowa District Court for Lyon County                LACV501613                Beattie Law Firm, Des Moines,     03-22-2018
                                                                                                                                                  IA
     Appleton v. Tahoe Nugget, Inc., et al.                          Second Judicial District Court of the State of CV17-00001, Dept No. 10 Titolo Law Office, Las Vegas,           03-21-2018
                                                                     Nevada, Countv of Washoe                                               NV
     Sarlan v. Proctor, DO, et al.                                   Commonwealth of Kentucky, Boone Circuit Court, 17-Cl-00227             Savage Law Firm, Lexington,             03-19-2018
                                                                     First Division                                                               KV
     Khlabanl/Barln      v.   Motor Coach Industries, Inc., et al.   District Court, Clark County, Nevada               A-17-755977-C             Weinberg Wheeler Hudgins          03-16-2018
                                                                                                                                                  Gunn & Dial• Las Vegas\NV


     Allen   v.   Regional Transportation Authority, et al.  Circuit Court of Cook County, Illinois, County             015L0000116               Deratany & Associates,            03-13-2018
                                                             Department - Law Division                                                            Chicago, IL
     Damor America v. Zurich International Italia S.P.A., et Circuit Court of Cook County, Illinois, County             2014 L 13340              Sinson Law Group, Chicago, IL     03-09-2018
     al.                                                     Department - Law Division
     Strosberg v. Englander, M.D., et al.                    Circuit Court of the Fifteenth Judicial Circuit, In        50 2014 CA                Roberts & Associates, West        03-08-2018
                                                             and For Palm Beach County, Florida                         012994XXXXMB AB           Palm Beach, FL
     Simpson v. General Motors, et al.                               State of Michigan in the Circuit Court for the     16-107103-NO              Darling Law Office, Plymouth,     03-07-2018
                                                                     Countv of Genesee                                                            Ml




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                            Case Name                                             Court                             Case Number                     Law Firm                 Date
     Smith v. Retail Project Managers, Inc., et al.       Circuit Court of Cook County of Illinois, County      15 L 1323                Riseborough Law Office, Lake      02-28-2018
                                                          Department - Law Division                                                      Bluft\lL
     Schlappi v. Finnestad                                Circuit Court of the Twenty-Third Judicial Circuit,   15 L 186                 Rigazio Law Office, Morris, IL    02-27-2018
                                                          Kendall County, Illinois
     Kenny, Jr. v. Superior Engineering, LLC., et al.     State of Indiana, County of Lake, Lake Superior       45D01-1411-CT-00261      Allen Law Group, Valparaiso,      02-22-2018
                                                          Court, Sitting at Hammond Indiana                                              IN
     Amiri v. Duncan, et al.                              United States District Court, Northern District of    3:15-cv-03994-JSC        Holl Law & Mediation, San         02-21-2018
                                                          California, San Francisco Division                                             Francisco, CA
     Robinson v. Eder, M.D., et al.                       Circuit Court for Baltimore City, Maryland            24-C-16-006431           Wais Vogelstein Forman &          02-16-2018
                                                                                                                                         Offutt, Baltimore, MD
     Foy v. Sherwin Williams Company                      United States District Court, Northern District of    15-CV-4652               O'Brien Law, Geneva, IL           02-13-2018
                                                          Illinois, Eastern Division
     Ruettiger v. Lincoln-Way Area Special Education      Circuit Court of the Twelfth Judicial Circuit, Will   16 L0539                 Allen Law Group, Valparaiso,      02-08-2018
     District 843, et al.                                 County, Illinois                                                               IN
     Nakhla v. Rite Aid of New Jersey, Inc., et al.       Superior Court of New Jersey, Law Division -          MON-L-2242-16            Escandon Fernicola Anderson       02-07-2018
                                                          Monmouth County                                                                & Covelli, Allenhurst, NJ

     Gurwood v. GCA Services Group, Inc., et al.          State of South Carolina, County of Charleston in      201S-CP-10-2191          Slotchiver & Slotchiver,          02-06-2018
                                                          the Court of Common Pleas for the Ninth Judicial                               Charleston, SC
                                                          Circuit
     Villanueva v. Payson Hospital Corporation, et al.    Superior Court of the State of Arizona, In and For CV 2016 00177               Lloyd Law Group, Payson, AZ       02-05-2018
                                                          the County of Gila
     Pomazal v. Grodoski                                  Circuit Court of the Eighteenth Judicial Circuit,     2013 L879                Nemeroff Law Office, Chicago,     02-02-2018
                                                          DuPage County, Illinois                                                        IL
     Pinkson v. Conway Two, LLC., et al.                  Circuit Court of Cook County, County Department 201SL007994                    Gary Williams Parenti Finney      02-01-2018
                                                          - Law Division                                                                 Watson & Gary, Stuart, FL


     Ross, Jr. v. Cattron-Theimeg, Inc., et al.           State of Indiana, County of Lake, Lake Superior       4SD04-1407-CT-129        Allen Law Group, Chicago, IL      02-01-2018
                                                          Court, Sitting at Gary, Indiana
     Thimmes v. Bakeris, D.C.                             Circuit Court of DeSoto County, Mississippi           CV-2014-203RCD           Merkel & Cocke, Clarksdale,       01-31-2018
                                                                                                                                         MS
     Rosol v. Elmhurst Memorial Hospital, et al.          Circuit Court of Cook County, County Department 14 L 1606                      McNabola & Associates,            01-31-2018
                                                          - Law Division                                                                 Chicago, IL
     Owens v. City of Chicago, et al.                     Circuit Court of Cook County, County Department 201S L 9132                    Curcio Law Offices, Chicago, IL   01-30-2018
                                                          - Law Division
     Lanham v. BNSF Railway Company                       District Court of Lancaster County, Nebraska          CL 17-106                Atwood Holsten Brown              01-30-2018
                                                                                                                                         Deaver & Spier, Lincoln, NE
     Komada v. Dove, et al.                               Circuit Court of Cook County, County Department 16 L527S                       Mitchell Hoffman & Wolf,          01-29-2018
                                                          - Law Division                                                                 Chicago, IL
     Beasley v. Shady Grove Adventist Hospital, et al.    Circuit Court for Prince Georges County,              CA46-30133               Wais Vogelstein Forman &          01-26-2018
                                                          Maryland                                                                       Offutt, Baltimore, MD
     Cardenas v. Northern Nevada Medical Center, et al.   Second Judicial District Court of the State of        CV13-00523, Dept No. 4   Durney & Brennan, Reno\NV         01-25-2018
                                                          Nevada, County of Washoe
     Gillman v. Zamora, et al.                            District Court, Clark County, Nevada                  A722327, Dept No. II     Paternoster Law Group, Las        01-24-2018
                                                                                                                                         Vegas, NV
     Metcalfe v. Loquerio Automotive, Inc., et al.        Circuit Court of Cook County, Illinois, County        lS L 12932               Chapekis Chapekis Kardas &        01-22-2018
                                                          Department - Law Division                                                      Schmidt, Chicago, IL
     Lefthand v. Taos Health Systems, Inc., et al.        Thirteenth Judicial District Court, County of         D-1314-CV-2016-00390     Salazar Sullivan Jasionowski,     01-22-2018
                                                          Valencia, State of New Mexico                                                  Albuquerque, NM


     Morgenstern, M.D. v. City of Highland Park, et al.   Circuit Court for the Nineteenth Judicial Circuit,    lS L 186                 Nolan Law Group, Chicago, IL      01-19-2018
                                                          Lake County, Illinois
     Commonwealth of Kentucky, et al. v. National         Commonwealth of Kentucky, Fayette Circuit             11-Cl-4922               Rose Grasch Camenisch             01-18-2018
     Colle11:e of Kentuckv, Inc.                          Court, Division 8                                                              Mains• LexinRton\KY
     Olek, Inc. v. RAR Development Associates, et al.     Superior Court of New Jersey, Law Division -          ESX-L-1780-15            Orr Law Office, Newark, NJ        01-17-2018
                                                          Essex Countv
     Rabadan/Sharp v. Mittapalli, M.D., et al.            Circuit Court of the Fourteenth Judicial Circuit,     2014 L 37 ST             Mertes & Mertes, Sterling, IL     01-16-2018
                                                          Whiteside Countv, Illinois
     Hays, Jr., et al. v. Tarullo, et al.                 Jefferson Circuit Court, Division One                 14-Cl-03296              Tobler Law Firm, New Orleans,     01-lS-2018
                                                                                                                                         LA
     Blue Book Services, Inc. v. Amerihua Produce, Inc.   United States District Court for the Northern         16-10495                 Schiller Law Group, New York,     01-11-2018
                                                          District of Illinois, Eastern Division                                         NV


     George v. CNS Transpro, et al.                       United States District Court of the Eastern District 4:16-cv-016S6-RWS         Langdon & Emison, Lexington,      01-10-2018
                                                          of Missouri at St. Louis, Missouri                                             MO
     Montague v. Vale University, et al.                  United States District Court, District of             3: 16-CV-00BBS-AVC       Todd & Weld, Boston, MA           01-09-2018
                                                          Connecticut




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     Cortese-Angelini v. Sangiovese, et al.                   District Court, Clark County, Nevada                   A-17-7S3796-C, Dept No. Gentile Cristalli Miller Armeni     01-08-2018
                                                                                                                     XXXI                      Savarese, Las Vegas, NV


     Brooks v. Avila, et al.                                  District Court, Clark County, Nevada                   A-16-737423-C, Dept No.   Powell Law Firm, Las Vegas,       01-05-2018
                                                                                                                     VII                       NV
     Mendoza v. Torres, et al.                                District Court, Clark County, Nevada                   A-16-733263-C, Dept No.   Eglet Prince, Las Vegas, NV       01-04-2018
                                                                                                                     XVI
     Ashford v. 99 Cents Only Store, et al.                   District Court, Clark County, Nevada                   A-16-736450-C, Dept No.   Powell Law Firm, Las Vegas,       01-04-2018
                                                                                                                     XXX                       NV
     Clinkscale v. Ruffin, et al.                             District Court, Clark County, Nevada                   A-15-729321-C, Dept No.   Powell Law Firm, Las Vegas,       01-03-2018
                                                                                                                     XVI                       NV
     Hays, Jr., et al. v. Tarullo, et al.                     Jefferson Circuit Court, Division One                  14-Cl-03296               Tobler Law Firm, New Orleans,     12-13-2017
                                                                                                                                               LA
     Marogil v. Sterbenz, et al.                              Circuit Court for the Eighteenth Judicial Circuit,     2015 L 784                Patterson Law Firm, Chicago,      12-12-2017
                                                              DuPage County, Illinois                                                          IL
     Lerma v. St. Alexius Medical Center                      Circuit Court of Cook County, Illinois, County         2016 L 000603             lndomenico & Associates,          12-11-2017
                                                              Department - Law Division                                                        Chicago, IL
     Johnson v. Shaw Transport, et al.                        State of Indiana, County of Marion, Marion             49D06-1603-CT-010096      Allen Law Group, Valparaiso,      12-08-2017
                                                              Superior Court #6                                                                IN
     Egan Marine Corporation v. ExxonMobil Oil                Circuit Court of Cook County, Illinois, County         15 L 6437                 Cronin & Co, Chicago, IL          12-07-2017
     Corporations, et al.                                     Department - Law Division
     Brooks v. Caterpillar Global Mining, LLC                 United States District Court, Western District of      4.14-CV-00022-JHM         Moore Malone & Safreed,           12-06-2017
                                                              Kentucky, Owensboro Division                                                     Owensboro\KY
     Siegfried v. Lopez, et al.                               Eighth Judicial District Court, Clark County,          A-15-722816-C, Dept No.   Powell Law Firm, Las Vegas,       12-05-2017
                                                              Nevada                                                 II                        NV
     Conner v. Robertson, et al.                              Lake Superior Circuit Court, Crown Point,              45C01-1501-CT-00011       Whalley & Associates,             12-05-2017
                                                              Indianan                                                                         Merrillville, IN
     Albert v. Gauthier, et al.                               Circuit Court of Cook County, Illinois, County         2015 L 002707             Woodruff Johnson & Evans,         12-04-2017
                                                              Department - Law Division                                                        Aurora, IL
     Guzman v. Dale, et al.                                   District Court, Clark County, Nevada                   A-16-746355-C, Dept No.   Lerner Injury Attorneys, Las      12-01-2017
                                                                                                                     30                        Vegas, NV
     Gonzalez/Cuevas v. Northshore University                 Circuit Court of Cook County, Illinois, County         2014 L 006113             Cogan & Power, Chicago, IL        12-01-2017
     Healthsystem, et al.                                     Department - Law Division
     Marin/Melvin v. The University of Chicago Medical        Circuit Court of Cook County, Illinois, County         14 L006886                Mossing & Navarre, Chicago,       11-30-2017
     Center                                                   Department - Law Division                                                        IL
     French, et al. v. Trinity Highway Products, et al.       Circuit Court for the City of St. Louis, Missouri      1522-CC11395              Fibich Leebron Copeland           11-28-2017
                                                                                                                                               Briggs, Houston, TX
     Gentry v. lntegritas Systems LLC, et al.                 State of Indiana, County of Marion, Marion             49D10-1602-CT-3929        Allen Law Group,                  11-15-2017
                                                              Superior Court, Sitting at Indianapolis, Indiana                                 Valparaiso\lN


     Schwab v. Surgical Associates of Louisville, et al.      Jefferson Circuit Court, Division Twelve (12)          lS-Cl-006423              Franklin Law Group, Louisville,   11-13-2017
                                                                                                                                               KY
     Main Street Power Mail, Inc., et al. v. Erie Insurance   State of Indiana, County of Hamilton, Hamilton         29C01-1S09-PL-7272        Parr Richey Obremskey             11-13-2017
     Exchange                                                 Circuit Court                                                                    Frandsen & Patterson,
                                                                                                                                               Indianapolis, IN
     Shaffer v. Affiliated Southwest Surgeons, P.C., et al.   Superior Court of the State of Arizona, In and For CV2015-005620                 McGovern Law Offices,             11-10-2017
                                                              the County of Maricopa                                                           Phoenix, AZ
     Russell v. Williams, et al.                              District Court, 429th Judicial District, Collin        429-04560-2016            Reed Law Group, Frisco, TX        11-10-2017
                                                              County, Texas
     White v. Independence Plus, Inc., et al                  Circuit Court of Cook County, County Department 13 L8014                         Wienold & Associates,             11-09-2017
                                                              - Law Division                                                                   Chicago, IL
     Dautrich v. Nationstar Mortgage LLC, et al.              United States District Court, District of New           1: 15-cv-08278-RM B-     Northeast Law Group,              11-09-2017
                                                              Jersey                                                 KMW                       Longmeadow, MA
     Jones v. Ullah, M.D., et al.                             Circuit Court, Twentieth Judicial Circuit, St. Clair   14-L-565                  Hopson Law Group, Chicago,        11-08-2017
                                                              County, Illinois                                                                 IL
     Vidaurri/Jones v. Sealy, et al.                          State of New Mexico, County of Lea, Fifth Judicial CV-2016-00842               Sawyers Law Group,                  11-07-2017
                                                              District                                                                       Hobbs\NM
     Ledesma v. Sheets, et al.                                District Court, Clark County, Nevada                   A-15-727686-C, Dept No. Ladah Law firm, Las Vegas, NV       11-06-2017
                                                                                                                     XXVIII
     Johnson v. Garceau                                       Second Judicial District Court In and For Weber        160905341 TA              Richards Law Office, Ogden,       11-06-2017
                                                              County, State of Utah                                                            UT
     Vidaurri/Jones v. Sealy, et al.                          State of New Mexico, County of Lea, Fifth Judicial CV-2016-00842                 Sawyers Law Group, Hobbs,         11-03-2017
                                                              District                                                                         NM
     Zarate v. Mendez, et al.                                 District Court, Clark County, Nevada                   A-16-737427-C, Dept No.   Eglet Prince, Las Vegas, NV       11-02-2017
                                                                                                                     VI
     Murdick v. Manbeck, M.D.                                 State of Indiana, County of St. Joseph, Circuit        71C01-1504-CT-000154      Pavich Law Group, Chicago, IL     11-02-2017
                                                              Court
     Vidaurri/Jones v. Sealy, et al.                          State of New Mexico, County of Lea, Fifth Judicial CV-2016-00842                 Sawyers Law Group, Hobbs,         11-01-2017
                                                              District                                                                         NM




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                             Case Name                                                   Court                               Case Number                    Law Firm              Date
     Morgenstern, M.D. v. City of Highland Park, et al.          Circuit Court for the Nineteenth Judicial Circuit,   15 L 186                  Nolan Law Group, Chicago, IL    10-31-2017
                                                                 Lake County, Illinois
     Paola, PhD. v. Howard University, et al.                    Superior Court of the District fa Columbia, Civil    2012 CA 000003            Branch & Associates,            10-27-2017
                                                                 Division                                                                       Washington, DC
     Hernandez v. Noun, et al.                                   Circuit Court of Cook County, Illinois, County       14 L5052                  Burns Cronauer & Brown,         10-26-2017
                                                                 Department - Law Division                                                      Sycamore, IL
     Jackson v. Turley, M.D., et al.                             Commonwealth of Kentucky, Madison Circuit            16-Cl-530                 Erdmann & Stumbo,               10-26-2017
                                                                 Court, Division 1                                                              Richmond, KY
     Blomgren v. Town Square Las Vegas, LLC, et al.              District Court, Clark County, Nevada                 A736230, Dept No. I       Lerner Injury Associates, Las   10-24-2017
                                                                                                                                                Vegas, NV
     Lopez v. Vazquez, M. D., et al.                             Superior Court of New Jersey, Law Division:          PAS-1-2196-15             Lynch Lynch Held Rosenberg,     10-23-2017
                                                                 Passaic County                                                                 Hasbrouck Heights, NJ


     Carreto-Silva v. Velcani                                    Circuit Court of Cook County, Illinois, County       14 L011515                Shim Law Office, Rolling        10-23-2017
                                                                 Department - Law Division                                                      Meadows\lL
     Damery v. McGrath, et al.                                   District Court, Clark County, Nevada                 A-10-620078               Eglet Prince, Las Vegas\NV      10-20-2017
     Honigsblum v. Next Door and Window Company, et              Circuit Court of Cook County, Illinois, County       2014 L 009884             O'Mara Gleason &                10-19-2017
     al.                                                         Department - Law Division                                                      O'Callaghan, Chicago\lL
     Oyugi v. Advocate Health and Hospitals Corporation,         Circuit Court of Cook County, Illinois, County       13 L 10038                McNabola & Associates,          10-18-2017
     et al.                                                      Department, Law Division                                                       Chicago, IL
     Flanagan/Allen v. The City of Dallas, Texas, et al.         United States District Court for the Northern        3:13-CV-4231              Washington Law Office,          10-17-2017
                                                                 District ofTexas, Dallas Division                                              Dallas\lX
     O'Sullivan v. O'Sullivan                                    Circuit Court of Cook County, Illinois, County       15-D-303                  Leving Law Office, Chicago\lL   10-16-2017
                                                                 Department - Domestic Relations Division
     Garcia-Morales, et al. v. Marshall Jr., et al.              District Court, Clark County, Nevada                 A-16-730891-C, Dept No.   Powell Law Firm, Las Vegas,     10-13-2017
                                                                                                                      XVI                       NV
     Smoot, et al. v. Mercy Medical Center, Inc., et al          Circuit Court for Baltimore City                     24-C-17-000216 MM         Wais Vogelstein Forman &        10-12-2017
                                                                                                                                                Offutt, Baltimore, MD
     Gonzalez/Gish v. Solid Platforms, Inc.                      State of Indiana, County of Porter, Porter           64D02-1511-CT-9806        Allen Law Group, Valparaiso,    10-11-2017
                                                                 Superior Court, Sitting at Valparaiso, Indiana                                 IN
     Simao v. Rish, et al.                                       District Court, Clark County, Nevada                 A539455                   Eglet Prince, Las Vegas, NV     10-10-2017
     Mohammed v. Kelly                                           Circuit Court of Cook County, Illinois, County       2015 L 010729             Wolfman Law Office, Chicago,    10-10-2017
                                                                 Department - Law Division                                                      IL
     Williams v. Douglas County, et al.                          United States District Court for the Northern        1:16-CV-02913-ODE         Jeffrey Scott, New York, NV     10-09-2017
                                                                 District fa Georgia, Atlanta Division
     Doe v. Board of Education of the City of Chicago            Circuit Court of Cook County, Illinois, County       2014 L 010388             Montgomery Law Firm,            10-06-2017
                                                                 Department                                                                     Chicago\lL
     Collier v. Norfolk Southern Railway Company                 Circuit Court of Clay County, Missouri               15CY-CV06848, Division    Barnes Law Firm, Kansas         10-04-2017
                                                                                                                      No.4                    City\MO
     Aye/Parke v. Venetian Casino Resort, LLC., et al.           District Court, Clark County, Nevada                 A-15-716380-C, Dept No. L.adah Law Firm, Las Vegas, NV    10-02-2017
                                                                                                                      XXVIII
     Hernandez v. Davis, et al.                                  District Court, Clark County, Nevada                 A-16-739703-C, Dept No.   Lerner Injury Attorneys, Las    09-27-2017
                                                                                                                      XXVI                      Vegas, NV
     Fowler v. Sonsungnuen, et al.                               District Court, Clark County, Nevada                 A-15-729006-C, Dept No.   Powell Law Firm, Las Vegas,     09-27-2017
                                                                                                                      XXVIII                    NV
     Czech v. Target Corporation, et al.                         United States District Court, District of Nevada     2:16-cv-01923-APG-GWF Shook & Stone, Las Vegas, NV        09-26-2017


     Clark v. Dixit, M.D., et al.                                Jefferson Circuit Court, Division Thirteen           15-CI 005753              Goldberg & Simpson,             09-26-2017
                                                                                                                                                Louisville, KY
     Seehoffer v. Illinois Farmers Insurance Company             State of Illinois, County of Cook                    1020183765-1-4* Policy    Burnes & Libman, Chicago, IL    09-25-2017
                                                                                                                      No. 0145698892
     Abeln/Kaufman, et al. v. Trinity Industries, Inc., et al.   Circuit Court for the City of St. Louis, Missouri    1522-CC11395              Langdon & Emison, Lexington,    09-25-2017
                                                                                                                                                MO
     Smith v. Retail Project Managers, Inc., et al.              Circuit Court of Cook County, llllnols, County       15 L 1323                 Rlseborough Law Office, Lake    09-22-2017
                                                                 Decartment - Law Division                                                      Bluff, IL
     Tremain v. Ferro, D.O., P.C., et al                         State of Michigan, Circuit Court for the County of 17-255-NH                   Buchanan & Buchanan, Grand      09-22-2017
                                                                 ln11ham                                                                        Raclds, Ml
     Meeks/Jones v. Dlssanayake, M.D.                            Circuit Court of Cook County, Illinois, County       15 L 11535                Leggans & Associates,           09-21-2017
                                                                 Decartment - Law Division                                                      ChlcHo, IL
     Binkowski v. Grand Island Express, Inc., et al              State of Indiana, County of Porter, Porter County 64D02-1503-CT-2255           Allen Law Group, Valparaiso,    09-21-2017
                                                                 Sucerlor Court 2                                                               IN
     Cotton v. Lee, D.O., et al.                                 State of Illinois In the Circuit Court of the Twelfth 14 LS63                  Motherway & Napleton,           09-20-2017
                                                                 Judicial Circuit, WIii Countv                                                  ChlcHo, IL
     Jones/Hortman, et al. v. Goodrich Corporation, et al.       United States District Court, District of            3:12-CV-02197-WWE         Baum Hedlund Arlstel &          09-20-2017
                                                                 Connecticut                                                                    Goldman, Los An11eles, CA
     Haught v. Payson Healthcare Management, Inc. et al. Superior Court of the State of Arizona and for the CV201300157                         McGovern Law Offices,           09-18-2017
                                                                 Countv of GIia                                                                 Phoenix, AZ
     Jones, et al. v. Mercy Medical Center, Inc., et al.         Circuit Court for Baltimore City, Maryland           24-C-16-005857            Wais Vogelsteln Froman &        09-14-2017
                                                                                                                                                Offutt, Baltimore, MD




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                               Case Name                                            Court                                  Case Number                    Law Firm               Date
     Scheibling v. Morris Heart Associates,   et al.         Superior Court of New Jersey, Law Division -            MRS-L-220S-14             Lomurro Law, Freehold\NJ        09-13-2017
                                                      Morris County
     Northland Products Company v. Ouelette Machinery Circuit Court of the County of St. Louis, State of             16SL-CC00784, Div. 18     Spooner Law• St. Louis\MO       09-12-2017
     Systems                                                 Missouri
     Sanchez/Miranda v. United States of America, et al.     United States District Court, District of New           2:1S-CV-07S09-KSH-CLW     Lynch Lynch Held Rosenberg,     09-11-2017
                                                             Jersey                                                                            Hasbrouck Heights, NJ


     Turner v. US Airbag, LLC., et al.                       State of Wisconsin, Circuit Court, Chippewa             14 CV 162                 Guelzow Law Offices, Eau        09-11-2017
                                                             County                                                                            Clair\WI
     Warshawsky v. Epstein, DMD, et al.                      Circuit Court for Cook County, Illinois, County         14 L010S7S                McNabola Law Group,             09-07-2017
                                                             Department - Law Division                                                         Chicago, IL
     Slavish, et al. v. Rock Island Tri-County Consortium,   Circuit Court of the Fourteenth Judicial Circuit,       14 L 7283                 Katz Nowinski, Moline, IL       09-07-2017
     et al.                                                  Rock Island County, Illinois, General Division


     Bolden v. Illinois Central Railroad Company             Circuit Court of Cook County, Illinois, County          09 L 1SS38                Lipkin & Higgins, Chicago, IL   09-06-2017
                                                             Department - Law Division
     Felts v. Illinois Central Railroad Company              Circuit Court of Cook County, Illinois, County          09 L009872                Lipkin & Higgins, Chicago, IL   09-06-2017
                                                             Department - Law Division
     Villaneuva v. Streamwood Behavioral Healthcare          Circuit Court of Cook County, Illinois, County          13 L008377                McNabola & Associates,          09-06-2017
     System, et al.                                   Department - Law Division                                                                Chicago, IL
     Northland Products Company v. Ouelette Machinery Circuit Court of the County of St. Louis, State of             16SL-CC00784, Div. 18     Spooner Law• St. Louis, MO      09-0S-2017
     Systems                                                 Missouri
     Robbins v. Medical Associates Clinic P.C., et al.       Iowa District Court, Clayton County                     LACV010091                Harding Law Office, Des         09-0S-2017
                                                                                                                                               Moines, IA
     Dieken v. Clark, M. D.                                  Circuit Court of Will County, Illinois                  14 L01012                 Paris Law Firm, Chicago, IL     08-31-2017
     Collier v. Norfolk Southern Railway Company             Circuit Court of Clay County, Missouri                  1SCY-CV06848, Division    Barnes Law Firm, Kansas City,   08-30-2017
                                                                                                                     No.4                      MO
     Allen v. American Capital Limited, et al.               United States District Court for the District of        CV-16-02876-PHX-JAT       Wagstaff & Cartmell, Kansas     08-28-2017
                                                             Arizona                                                                           City, MO
     Parker v. Derr, M.D., et al.                            Circuit Court of Alcorn County, MS                      CV1S-107PA                Merkel & Cocke,                 08-23-2017
                                                                                                                                               Clarksdale\MS
     Juzefyk v. Mallon                                       Superior Court of New Jersey, Union County -            UNN-L-0468-16             Javerbaum Wurgaft Hicks         08-22-2017
                                                             Law Division                                                                      Kahn Wikstrom & Sinins,
                                                                                                                                               Springfield, NJ
     Patzschke v. Northern Indiana Public Service            State of Indiana, County of Lake in the Lake            4SD04-1S08-CT-1Sl         Allen Law Group, Valparaiso,    08-18-2017
     Company, et al.                                         Superior Court Sitting in Gary, Indiana                                           IN
     Gough v. Mendez, et al.                                 District Court, Clark County, Nevada                    A-1S-726S94-C, Dept No.   Paternoster Law Group, Las      08-17-2017
                                                                                                                     XXI                       Vegas, NV
     Brooks v. Caterpillar Global Mining, LLC                United States District Court, Western District of       4.14-CV-00022-JHM         Moore Malone & Safreed,         08-17-2017
                                                             Kentucky, Owensboro Division                                                      Owensboro, KY
     Stollerv. Nissan Motor Company, LTD,        et al.      JAMS Arbitration, Chicago, IL                           1340013103                Kiss Law Office, Gurnee, IL     08-17-2017
     Paul v. BNSF Railway Company                            District Court of Lancaster County, Nebraska            Cl 14 lS0S                Perry Guthery Haase &           08-16-2017
                                                                                                                                               Gessford, Lincoln\NE
     Rohan v. Pepper Construction, Co., et al.               Circuit Court of Cook County, Illinois, County          14 L 7283                 Motherway & Napleton,           08-14-2017
                                                             Department - Law Division                                                         Chicago, IL
     Kieckhaefer v. Roscoe Township                          State of Illinois, Circuit Court of the 17th Judicial   14 L 194                  Klein Stoddard Buck Lewis,      08-14-2017
                                                             Circuit, Winnebago County                                                         Sycamore, IL
     Murillo v. Goad,    et al.                              United States District Court, District of Nevada        2:16-cv-02739-RFB-CWH     Mersch Law Office, Las Vegas,   08-10-2017
                                                                                                                                               NV
     Nemec v. Roberts Environmental Control Corp, et al.     Circuit Court of Cook County, Illinois, County          13 L 127S3                O'Connor Law Group,             07-24-2017
                                                             Department - Law Division                                                         Chicago\lL
     Edwards v. Dakota, Minnesota & Eastern Railroad         Circuit Court of the Twelfth Judicial Circuit, Will     2014 L 000421             Lipkin & Higgins, Chicago\lL    07-21-2017
     Corportation                                            County, Illinois
     AI-Nobani v. Cernov, et al.                             District Court, Clark County, Nevada                    A-14-700-517-C, Dept No. Ladah Law Firm, Las Vegas\NV     07-20-2017
                                                                                                                     I
     Honigsblum v. Next Door and Window Company, et          Circuit Court of Cook County, Illinois, County          2014 L 009884             O'Mara Gleason &                07-18-2017
     al.                                                     Department - Law Division                                                         O'Callaghan, Chicago, IL
     Somo,    et al. v. Advanced Custom Engineered Systems Circuit Court of Cook County, Illinois, County            13 L012720                Rittenberg Buffen               07-14-2017
     & Equiment Co., et al.                                  Department - Law Division                                                         Gulbrandsen Robinson & Saks,
                                                                                                                                               ChiCHO, IL
     Nagpal v. Tencer, DC, et al.                            Circuit Court of DeSoto County, Mississippi             CV 201S-176GCD            Merkel & Cocke, Clarksdale,     07-14-2017
                                                                                                                                               MS
     PIiarski, et al. v. University of Maryland Medical      Circuit Court for Baltimore City                        24-C-16-002677            Wais Vogelsteln Forman &        07-11-2017
     Center, LLC, et al.                                                                                                                       Offutt, Baltlmore\MD
     Friel v. MIiier, et al.                                 Circuit Court of Cook County, Illinois, County          2015-L-006664             Snorf Law Office• Chicago, IL   07-10-2017
                                                             Department - Law Division

     Smith v. BNSF Railway Company                           State of New Mexico, County of Valendcla,               D-1314-CV-2015-00606      Davis Bethune & Jones,          07-10-2017
                                                             Thirteenth Judicial District                                                      Kansas City, MO




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                            Case Name                                                   Court                                   Case Number                  Law Firm                   Date
     Miller v. Dunavant Farms Trucking, LLC., et al.             Circuit Court of St. Francis County, Arkansas           CV-2015-188-1             Langdon & Emison, Lexington,       07-06-2017
                                                                                                                                                   MO
     Carreto-Silva v. Velcani                                    Circuit Court of Cook County, Illinois, County          14 L011515                Shim Law Office, Rolling           06-30-2017
                                                                 Department - Law Division                                                         Meadows, IL
     Hedrick v. TJ Materials, LLC, et al.                        Lake Superior Court, Civil Division, Room Four,         45D04-1505-CT-00095       Allen Law Group, Valparaiso,       06-29-2017
                                                                 Sitting at Gary, Indiana                                                          IN
     Howze v. United States of America                           United States District Court, Eastern District of       2:16-0003 BRW             Peraica & Associates, Chicago,     06-28-2017
                                                                 Arkansas, Eastern Division                                                        IL
     Murdick v. Manbeck, M.D.                                    State of Indiana, County of St. Joseph, Circuit         71C01-1504-CT-000154      Pavich Law Group, Chicago, IL      06-27-2017
                                                                 Court
     Mapp v. Chen, M.D.                                          Circuit Court of Cook County, Illinois, County          16 L001998                Cogan & Power, Chicago, IL         06-27-2017
                                                                 Department - Law Division
     ACG Industries Inc., et al. v. Rollins Properties, et al.   Superior Court of the State of California for the       BC627525                  Klein Litigation, Beverly Hills,   06-26-2017
                                                                 County of Los Angeles, Central District                                           CA
     O'Sullivan v. O'Sullivan                                    Circuit Court of Cook County, Illinois, County          15-D-303                  Leving Law Office, Chicago, IL     06-23-2017
                                                                 Department - Domestic Relations Division
     Hopfer/O'Grady v. Advocate Health and Hospitals             Circuit Court of Cook County, Illinois, County          14 L 1744                 McNabola & Associates,             06-23-2017
     Corportation, et al.                                        Department - Law Division                                                         Chicago, IL
     Hood, Jr. v. D&L Steel Transport, Inc., et al.              Circuit Court of Cook County, Illinois, County          2015 L 008640             Lipkin & Higgins, Chicago, IL      06-22-2017
                                                                 Department - Law Division
     Ruch/Kazort v. Padgett, et al.                              State of Illinois, Circuit Court of the 17th Judicial   2015 L 315                Langdon & Emison, Lexington,       06-20-2017
                                                                 Circuit                                                                           MO
     Koch v. Scientific Image Center Management, Inc., et Superior Court of California, County of San                    CIV S13706                Kastner Kim, Mountain View,        06-19-2017
     al.                                                         Mateo                                                                             CA
     Wynn v. BNSF Railway Company, et al.                        Circuit Court of Cass County, State of Missouri         15CA-CC00241, Divison 1 Davis Bethune & Jones,               06-19-2017
                                                                                                                                                   Kansas City, MO
     Cramsie-Homan v. Blue Island Hospital Company,              Circuit Court of Cook County, Illinois, County          14 L 1017                 Motherway & Napleton,              06-15-2017
     LLC., et al.                                                Department - Law Division                                                         Chicago, IL
     Cline v. HEB Grocery Co., LP.                               District Court, Hildago County, Texas, 206th            C-2198-lS-D               Tummel & Casso, Edinburg, 1X       06-09-2017
                                                                 Judicial District
     Ragland v. Dr. Ahuja, et al.                                Circuit Court of the First Judicial Court,              15-LSl                    Wernick Law Firm,                  06-08-2017
                                                                 Williamson County, Illinois                                                       Carbondale, IL
     Nemec v. Roberts Environmental Control Corp, et al.         Circuit Court of Cook County, Illinois, County          13 L 12753                O'Connor Law Group, Chicago,       06-05-2017
                                                                 Department - Law Division                                                         IL
     Zohar/Noury v. Summerlin Hospital Medical Center,           District Court, Clark County, Nevada                    A-11-642383-C, Dept No.   Luh & Associates, Las Vegas,       06-02-2017
     et al.                                                                                                              XVII                      NV
     Sikora v. Manor Care of Elk Grove Village, LLC., et al.     Circuit Court of Cook County, Illinois, County          14 L8881                  Maiman & Associates,               06-02-2017
                                                                 Department - Law Division                                                         Chicago\lL
     Doe v. Board of Education of the City of Chicago            Circuit Court of Cook County, Illinois, County          2014 L 010388             Montgomery Law Firm,               06-01-2017
                                                                 Department - Law Division                                                         Chicago, IL
     Staton v. VHS San Antonio Partners, et al.                  District Court, 225th Judicial District, Bexar          2016-Cl-07398             Krebs Law Office, Austin, 1X       05-24-2017
                                                                 County, Texas
     Carter v. Mayo, Jr. M.D., et al                             Commonwealth of Kentucky, McCracken Circuit             12-CI-00S96               Moore Malone & Safreed,            05-23-2017
                                                                 Court, Division 1                                                                 Owensboro, KY
     Santiago v. Protechockey Ponds LLC, et al.                  Superior Court of New Jersey, Law Division -            SOM-L-381-15              Gill & Chamas, Perth Amboy,        05-16-2017
                                                                 Middlesex County                                                                  NJ
     Chatragadda v. Duquesne University                          United States District Court for the Western            15-l0Sl                   Praetorian Law Group,              05-12-2017
                                                                 District of Pennsylvania                                                          Pittsburgh\PA
     Starling, M.D. v. Banner Health, et al.                     United States District Court for the District of        CV-16-708-PHX-NVW         Willis & Willis, Hilliard, OH      0S-11-2017
                                                                 Arizona
     Lipari v. Shawmut Design and Construction, et al.           Circuit Court of Cook County, Illinois, County          2014 L 002825             Pullano Law Firm, Chicago\lL       05-11-2017
                                                                 Department - Law Division
     Kenu v. Belkin International, Inc. et al                    United States District Court, Northern District of      3:14-cv-04327-JD          Troutman Sanders, San              05-09-2017
                                                                 California, San Francisco Division                                                Francisco, CA
     Ragland v. Dr. Ahuja, et al.                                Circuit Court of the First Judicial Court,              15-LSl                    Wernick Law Firm,                  05-04-2017
                                                                 WIiiiamson Countv, Illinois                                                       Carbondale, IL
     Craig v. VIiiage Greene Phase IV Condominium Assn.          Circuit Court of Cook County, Illinois, County          14 L9567                  Curcio Law Offices, Chicago, IL    05-03-2017
     Bulldln11 B, et al.                                         Decartment, Law Division
     Zurawski v. Rezln Orthopedics and Sports Medicine,          Circuit Court for the 12th Judicial Circuit, WIii       10 L 196                  Tarpey Jones & Schroeder,          04-25-2017
     S.C., et al.                                                Countv, IL                                                                        ChlcHo\lL
     Johnson/Toth v. White River Health System Inc., et          Circuit Court of Independence County, Arkansas,         CV-2012-026-2             WIicox Lacy, Jonesboro, AR         04-21-2017
     al.                                                         Clvll Division
     Tyson Gonzales v. Navarro, et al.                           District Court, Clark County, Las Vegas, NV             A-15-728994-C, Dept No.   Powell Law Firm, Las Vegas,        04-20-2017
                                                                                                                         XXXI                      NV
     Kobes v. Bruning                                            State of Illinois In the Circuit Court of the 17th      13 L 239                  Rouleau Law Office, Rockford,      04-17-2017
                                                                 Judicial Circuit, Countv of WlnnebHo                                              IL
     Alvarez, et al. v. Ashley Furniture Industries, Inc., et    United States District Court, Central District of       CV 16-00630 MWF           Arias Sangulnettl Stahle           04-15-2017
     al.                                                         California                                              ICMRWxl                   Torrllos, Los An11eles, CA




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                                                              LIST OF CASES OVER THE LAST FOUR YEARS WHEREIN
                                                                 STAN V. SMITH HAS TESTIFIED AS OF 1/25/2021




                          Case Name                                                Court                              Case Number                     Law Firm                    Date
     Shenouda v. Touch, LLC, et al.                          District Court, Clark County, Nevada                 A-15-726567-C, Dept No.   Paternoster Law Group, Las          04-14-2017
                                                                                                                  II                        Vegas, NV
     Francis v. FedEx Freight, Inc., et al.                  State of Louisiana, Parish of Beauregard, Thirty-    C-2014-0200               Davis Bethune & Jones,              04-13-2017
                                                             Sixth Judicial District Court                                                  Kansas City, MO
     Simmons v. The City of Chicago, et al.                  United States District Court, Northern District of   14 C9042                  Hofeld Law Office, Chicago, IL      04-13-2017
                                                             Illinois, Eastern Division
     Tinnus Enterprises and Zuru Ltd. V. Telebrand Corp      United States District Court for the Eastern         6:16-cv-33                Dunlap Bennett & Ludwig,            04-12-2017
                                                             District ofTexas, Tyler Division                                               Richmond\VA
     Moradi v. Nevada Property                               District Court, Clark County, Nevada                 A-14-698824-C, Dept. 20   Cohen & Padda, Las Vegas\NV         04-04-2017


     Jones v. City of San Antonio, Texas, et al.             United States District Court, Western District of    5:14-cv-00328-FB-HJB      Washington Law Office,              03-31-2017
                                                             Texas, San Antonio Division                                                    Dallas\lX
     Baptist v. Ford Motor Company                           United States District Court for the Northern        1:13-cv-08974             Sinson Law Group, Chicago\lL        03-30-2017
                                                             District of Illinois, Eastern Division
     Pfeiffer v. Taylor, D.O.                                Iowa District Court for Webster County               LACV318680                Gibbs & Associates, Mason,          03-30-2017
                                                                                                                                            OH
     Bortle/Hyer v. Johns Hopkins Bayview Medical            Circuit Court for Baltimore City, Maryland           24C16003241MM             Wais Vogelstein Forman &            03-27-2017
     Center, Inc., et al.                                                                                                                   Offutt, Baltimore, MD
     Macisaac v. IGS Assoc., LLC, et al.                     Superior Court of New Jersey, Law Division -         L-1264-lS                 Chasan Leyner & Lamparello,         03-24-2017
                                                             Bergen County                                                               Secaucus\NJ
     Alfaro v. Frontier Logistic Services II, Inc.           State of Illinois, Human Rights Commission           Charge No. 2013CF13S7° Bellows & Bellows, Chicago\lL          03-22-2017
                                                                                                                  EEOC No. 21BA30407


     Okie v. Fullerton Surgery Center, LTD., et al.          Circuit Court of Cook County, Illinois, County       14 L008168                Peraica & Associates, Chicago,      03-21-2017
                                                             Department - Law Division                                                      IL
     Miller v. McCoy Elkhorn Coal Corporation                Commonwealth of Kentucky, Knott Circuit Court        13-Cl-00115               Collins Law Office, Salyersville,   03-17-2017
                                                                                                                                            KY
     Frulla v. Hyatt Corporation, et al.                     Circuit Court of Cook County, Illinois, County       2012L 001381              Sinson Law Office, Chicago\lL       03-17-2017
                                                             Department - Law Division
     Stoller v. Premier Capital, et al.                      Circuit Court of Cook County, Illinois, County       16 L008969                Kiss Law Office, Gurnee\lL          03-15-2017
                                                             Department - Law Division
     Hullum v. Dr. Anthony Daniels, et al.                   Circuit Court of Mississippi County, Arkansas,       CV-2016-118               Scholtens & Averitt,                03-14-2017
                                                             Chickasawba District, Civil Division                                           Jonesboro, AR
     Bokos v. Shepard, M. D., et al.                          Circuit Court of Cook County, County Department 13 L 11680                    Motherway & Napleton,               03-13-2017
                                                              - Law Division                                                                Chicago, IL
     Illiano, et al. v. Howard County General Hospital, Inc., Circuit Court for Howard County, Maryland       C-16-107400                   Wais Vogelstein Forman &            03-10-2017
     eta I.                                                                                                                                 Offutt, Baltimore, MD
     Tatka v. Overlook Hospital, et al.                       Superior Court of New Jersey, Union County, Law UNN-L-1748-13                 Lomurro Law, Freehold\NJ            03-09-2017
                                                             Division
     Cravatta v. Metra d/b/a Northeast Illinois Regional     Circuit Court of Cook County, Illinois, County       2014 L 006667             Langdon & Emison,                   03-01-2017
     Commuter Railroad Corporation                           Department - Law Division                                                      Lexington\MO
     Moskvine v. VHS Acquisition Subsidiary Number 3,        Circuit Court of Cook County, Illinois, County       13 L 8127                 Cogan & Power, Chicago\lL           03-01-2017
     Inc., et al.                                            Department - Law Division
     Parker v. Bill Melton Trucking, Inc., et al.            United States District Court, Northern District of   3:15-cv-02528-G           Pittman Law Firm, Dallas/TX         02-28-2017
                                                             Texas, Dallas Division
     Morgan v. Ferrante, MD, et al.                          Superior Court of New Jersey, Law Division,          PAS-L-741-14              Quinn Law Office, Red Bank,         02-27-2017
                                                             Passaic                                                                        NJ
     Jimenez v. Klabunde, et al.                             Circuit Court of Cook County, Illinois, County       13 L9280                  Dusky Law Office, Chicago, IL       02-27-2017
                                                             Department, Law Divison
     Pilarski, et al. v. University of Maryland Medical      Circuit Court for Baltimore City                     24-C-16-002677            Wais Vogelstein Forman &            02-24-2017
     Center, LLC, et al.                                                                                                                    Offutt, Baltimore, MD
     Lopez v. Vidljinovic, et al.                            United States District Court, Northern District of   12 C5751                  DeRose and Associates,              02-23-2017
                                                             Illinois, Eastern Division                                                     Hinsdale\lL
     Mclaughlin, et al. v. Andy's Coln Launderles, LLC, et   Court of Common Pleas of Hamilton County, Ohio A1600791                        Bleser Greer & Landis,              02-21-2017
     al.                                                                                                                                    Davton, OH
     Brumley v. Norton Hospitals, Inc., et al.               Jefferson Circuit Court, Division Ten (10)           14-Cl-006217              Franklin Law Group, Louisville,     02-21-2017
                                                                                                                                            KY
     Tatka v. Overlook Hospital, et al.                  Superior Court of New Jersey, Union County, Law          UNN-L-1748-13             Lomurro Law, Freehold, NJ           02-16-2017
                                                         Division
     Mikus v. Porter Gwaltney, et al.                    Circuit Court, Seventh Judicial Circuit, Sangamon        12-L-79                   Ryan Ryan & Landa, Chicago,         02-16-2017
                                                         Countv, Illinois                                                                   IL
     Macias/Ramirez v. Texas Taco Cabana                 District Court, 45th Judlcal District, Bexar County,     2014-Cl-08567             Grossman Law Offices, Dallas,       02-15-2017
                                                         Texas                                                                              1X
     Bauscher/Roblnson v. Freeport Memorial Hospital, et State of Illinois, Circuit Court of the 15th Judicial    2012 L 17                 Zinger Law Office, Chicago, IL      02-14-2017
     al.                                                 Circuit, Countv of Steohenson
     Powers v. Young Men's Christian Association of      Circuit Court, Twentieth Judicial Circuit, St. Clair     13-L-638                  Gori Julian & Associates,           02-14-2017
     Southwest Illinois                                  Countv, Illinois                                                                   Edwardsville, IL
     Strltzel v. Advocate Health and Hospitals           Circuit Cour of Cook County, Illinois, County            14 L009848                McNabola Law Group,                 02-13-2017
     Corooration, et al.                                 Deoartment - Law Division                                                          ChicHo, IL




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                         Case Name                                                   Court                            Case Number            Law Firm                 Date
     Deckard/Darling v. Trapp, et al.                          4th Judicial District Court, Rusk County, Texas     2016-070         Grossman Law Offices, Dallas,   02-13-2017
                                                                                                                                    lX
     Wallace v. Wondwossen Tegen Aragaw, et al.                Circuit Court of Cook County, Illinois, County      2013 L 011927    Woodruff Johnson & Palermo,     02-10-2017
                                                               Department- Law Division                                             Aurora, IL
     Carandang-Patrick, et al. v. The Johns Hopkins            Circuit Court for Baltimore City                    24-C-16-001959   Wais Vogelstein Forman &        02-10-2017
     Hospital, et al.                                                                                                               Offutt, Baltimore, MD
     Doe v. Marten, M.D., et al.                               Superior Court of the State of California for the   CPF-11-511337    Brownstone Law Group,           02-09-2017
                                                               County of San Francisco                                              Vista\CA
     Sikora v. Manor Care of Elk Grove Village, LLC., et al.   Circuit Court of Cook County, Illinois, County      14 L8881         Maiman & Associates,            02-07-2017
                                                               Department - Law Division                                            Chicago, IL




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                               EXHIBIT 9
                        Excerpts from Deposition of
                         Don Blankenship taken on
                              April 29, 2021




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                                         In the Matter Of:

                                        BLANKENSHIP vs
                                        FOX NEWS NETWORK




                                     DON BLANKENSHIP
                                           April 29, 2021




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                1                UNITED STATES DISTRICT COURT
                2             SOUTHERN DISTRICT OF WEST VIRGINIA

                3                      CHARLESTON DIVISION

                4    --------------------------x
                5    DON BLANKENSHIP,

                6                     Plaintiff,:         Case No.

                7          v.                             2:19-cv-00236

                8    FOX NEWS NETWORK LLC,

                9    et al.,

              10                      Defendants.:

              11     --------------------------x
              12

              13      REMOTE VIDEOTAPED STENOGRAPHIC DEPOSITION OF

              14                          DON BLANKENSHIP

              15                   Thursday, April 29, 2021

              16                              9:18 a.m.

              17

              18

              19

              20

              21     Job No.:     2021-788054

              22     Pages:     1 - 507

              23     STENOGRAPHICALLY REPORTED BY:

              24     GISELLE MITCHELL-MARGERUM, RPR, CRI, CCR, LCR, CSR


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                                                                                      2
         1                 Deposition of DON BLANKENSHIP, held remotely,

         2    via videoconference at:

         3

         4

         5                 VIA VIDEOCONFERENCE

         6

         7

         8

         9                 Pursuant to agreement, before Giselle

        10    Mitchell-Margerum, Registered Professional Reporter,

        11    Certified Reporting Instructor, Licensed Court Reporter

        12     (TN), Certified Court Reporter (GA), Certified Court

        13    Reporter (WA), Certified Shorthand Reporter (OR), and

        14    Notary Public (Washington, D.C.).

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                                                                                      3
         1                     A P P E A R A N C E S

         2    ON BEHALF OF PLAINTIFF:

         3                 JEREMY GRAY, ESQ.

         4                 SAAM TAKALOO, ESQ.

         5                 EARLY SULLIVAN WRIGHT GIZER          &   McRAE LLP

         6                 6420 Wilshire Boulevard, 17th Floor

         7                 Los Angeles, California 90048

         8                 323.301.4660

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        10                 JEFFREYS. SIMPKINS, ESQ.

        11                 SIMPKINS LAW OFFICE, PLLC

        12                 102 West 2nd Avenue

        13                 Williamson, West Virginia 25661

        14                 302.235.2735

        15

        16    ON BEHALF OF DEFENDANT NBCUNIVERSAL MEDIA, MSNBC,

        17    and CNBC:

        18                 JARED M. TULLY, ESQ.

        19                 FROST BROWN TODD LLC

        20                 United Bank Building

        21                 500 Virginia Street East, Suite 1100

        22                 304.348.2404

        23

        24



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                                                                                      4
         1    APPEARANCES (cont'd):

         2

         3    ON BEHALF OF DEFENDANT NBCUNIVERSAL MEDIA, MSNBC,

         4    and CNBC:

         5                 KEVIN SHOOK, ESQ.

         6                 FROST BROWN TODD LLC

         7                 One Columbus Center

         8                 10 West Broad Street, Suite 2300

         9                 Columbus, Ohio 43215

        10                 614.559.7214

        11

        12    FOR DEFENDANT FOX NEWS NETWORK, LLC:

        13                 SHAWN REGAN, ESQ.

        14                 SILVIA OSTROWER, ESQ.

        15                 HUNTON ANDREWS KURTH LLP

        16                 200 Park Avenue

        17                 New York, New York 10166

        18                 212.309.1204

        19

        20                 J. ZAK RITCHIE, ESQ.

        21                 HISSAM FORMAN DONOVAN RITCHIE

        22                 707 Virginia Street East, Suite 260

        23                 Charleston, WV 25301

        24



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                                                                                      5
         1    APPEARANCES (cont'd):

         2    FOR DEFENDANT AMERICAN BROADCASTING COMPANIES, HD

         3    MEDIA:

         4                 ERIC FEDER, ESQ.

         5                 DAVIS WRIGHT TREMAINE

         6                 920 Fifth Avenue, Suite 3300

         7                 Seattle, Washington 98104

         8                 206.757.8232

         9

        10    FOR DEFENDANT CABLE NEWS NETWORK, INC.,

        11    and WP COMPANY:

        12                 STEPHEN FUZESI, ESQ.

        13                 WILLIAMS    &   CONNOLLY LLP

        14                 725 Twelfth Street, Northwest

        15                 Washington, D.C. 20005

        16                 202.434.5181

        17

        18    ON BEHALF OF ELI LEHRER:

        19                 JENNIFER JACKMAN, ESQ.

        20                 BREIANNE VARNER REDD

        21                 DICKIE MCCAMEY

        22                 2001 MAIN STREET

        23                 SUITE 501

        24                 WHEELING, WV 26003



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                                                                                      6
         1    APPEARANCES (cont'd):

         2

         3    ALSO PRESENT:

         4                 MATTHEW HEINS

         5                 MINDY JOHNSON

         6                 JIM MCLAUGHLIN

         7                 ARON GOETZL

         8                 DAVID VIGILANTE

         9                 KELLY BLACK-HOLMES

        10                 SONA REWARI

        11                 ERIC EARLY

        12                 BARBIE SAMPLES

        13                 MICHAEL SPARKS

        14                 JAMES CAGLE

        15                 DAVE HENDRICKSON

        16                 SEAN MCGINLY, ESQ.

        17      RICK CHRISTIAN, Videographer

        18

        19

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                                                                                     12
         1                     P R O C E E D I N G S

         2                        THE VIDEOGRAPHER:       All right.

         3           Good morning.      We are now on the record.

         4           My name is Rick Christian.           I'm the

         5           videographer retained by Lexitas.

         6                 Today's date is April 29th 2021,

         7           and the video time is 9:18 a.m. Eastern.

         8           This deposition is in the matter of Don

         9           Blankenship v. Fox News Network LLC, et

        10           al.   The deponent is Don Blankenship.

        11                 Counsel will be noted on the

        12           stenographic record.

        13                 The court reporter is

        14           Giselle Mitchell, and will now swear in

        15           the witness.

        16                         DON BLANKENSHIP

        17    Having been duly sworn testified as follows:

        18                        MR. REGAN:     Giselle, do we need

        19           to take appearances of counsel and

        20           everyone who's on?

        21                        THE COURT REPORTER:        I can't

        22           see who's speaking.

        23                        MR. SIMPKINS:      Jeff Simpkins;

        24           Simpkins Law.



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         1    U.S. Senate.

         2           Q.      So, the Upper Big Branch tragedy

         3    impacted your interest in getting employment

         4    or your ability to obtain employment?

         5                          MR. SIMPKINS:     Objection as to

         6           form.

         7           A.      I don't think the tragedy had much

         8    impact.     The reporting on the tragedy had a

         9    lot of impact.

        10           Q.      So, the reporting on the Upper Big

        11    Branch tragedy impacted your ability to obtain

        12    employment after retirement?

        13                          MR. SIMPKINS:     Objection as t o

        14           form?

        15           A.      I think it's fair to say that the --

        16    the reporting -- the false reporting and the

        17    FBI activity and public statements all had an

        18    impact on my desire or likelihood of

        19    successfully seeking employment, so there were

        20    a lot of factors over that, I guess, about an

        21    eight-year period, seven-year period.

        22           Q.      And does that impact you still to

        23    this day?

        24           A.      I   don't know.   You know, I mean --



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         1                           MR. SIMPKINS:     Let me object as

         2           to form, and then go ahead and answer.

         3           Go ahead.

         4                           THE WITNESS:     Okay.

         5                   It still impacts today, but I think

         6           I    about had it beat when I          took the lead

         7           in the U.S. Senate race.

         8                   Because when I      started to run, I was

         9           probably 10 percent favorable, when,

        10           obviously, I was far more than 10 percent

        11           favorable, when I was in the lead

        12           post-May 1.

        13                   I couldn't have been in the lead of

        14           the Republican nomination, West Virginia,

        15           if I had 10 percent favorable rating.

        16                   But no doubt, the reporting on the

        17           explosion had a big impact.              Had the

        18           media told just two or three truths, it

        19           would not have had nearly the impact.

        20    BY MR. SHOOK:

        21           Q.      Okay.     And you said you thought you

        22    had it beat because you were ahead in the

        23    polls, at some point in your election.                Right?

        24                           MR. SIMPKINS:     Objection as to



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                                                                                   170
         1    probably summer of 2014.

         2            Q.      It was after you retired?

         3            A.      Yes.

         4            Q.      Did you make any money associated

         5    with the Regcession documentary?

         6                           MR. SIMPKINS:     Objection as to

         7            form.

         8            A.      I wasn't trying to make any money.

         9    I was trying to repair a reputation that might

        10    lead to both a more normal life and better

        11    emplovment opP.ortunities.

        12                    And to save coal miners• lives,

        13    which I think that if they watch it and look

        14    at the recommendations, it will save lives.

        15            Q.      What is Number 23 Inc.?

        16            A.      It is just my son's dirt track

        17    racing team, that they raced in a couple of

        18    series and one of the series is called the

        19    world of outlaws and one Lucas racing or

        20    something like that.

        21            Q.      What is your role with Number 23

        22    Inc.?

        23                           MR. SIMPKINS:     Objection as to

        24            form.



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                                                                                   194
         1    feel, themselves, that they should not impact

         2    shareholder value by associating with people

         3    that are under attack from the media or the

         4    Government.

         5           Q.    Tha t was true, February 2nd 2015,

         6    and that's c o ntinued right up until today .

         7    Right?

         8           A.    Yes.    To lesser degrees.          Of course,

         9    today, you guys have gone silent because you

        10    don't want to talk about the lies told before.

        11                 But, so, I don't know what's

        12    happening out there in the -- in the world of

        13    my reputation, but here in this period of

        14    time, there was a lot of publicity.               Like you

        15    said, I'd just been indicted a few months

        16    before.     I was facing trial.

        17                 You know, it was probably              other

        18    than just after the explosion, perhaps the

        19    worst time.

        20           Q.    Who is Chris Cline?            Or who was

        21    Chris Cline?

        22           A.    He was both a friend of mine and a

        23    business associate.        He ran Cline Resources.

        24    You might have seen the publicity, July, I



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                                                                                   369
         1    question I asked.        The question I asked --

         2           A.    I'm

         3           Q.    The question I asked -- I understand

         4    why you're an effective political debater.

         5    But, my question is much narrower.

         6                         It's just simply, that you

         7    believe that the reputational harm that

         8    resulted from your trial and conviction

         9    persists today.        Correct?

        10           A.    I   believe that it persists.         I

        11    believe that the needle had come down way down

        12    on unfavorables on May the 1st, and that Fox

        13    and MSNBC, and others, intentionally

        14    heightened the unfavorables, leading into the

        15    election.        Possibly even misled the President

        16    of the United States.         Hope to find out

        17    whether they misled the President's son.

        18                 But I think it's a horrible thing

        19    that your clients did.         And I think the best

        20    thing for them to do is to come clean, rather

        21    than -- and plea bargain, rather than to do

        22    what they are doing.         Because the trial's

        23    going to be very interesting.

        24                        MR. REGAN:      Let's take a moment



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                                                                                   427
         1           long as it takes.       You go right ahead and

         2           talk all night if you want.

         3                        MR. FUZESI:      Sounds good.

         4                        THE WITNESS:      Feels good just

         5           to tell you guys that you keep lying, you

         6           know, and what the truth is.

         7                 The truth is that the Government

         8           blew the coal mine up, killed people, and

         9           then I was about to correct that with

        10           winning the Republican Primary, and then

        11           the General Election.

        12                 And the establishment or whoever --

        13           whatever you call it -- could not stand

        14           it.   It's a -- it's a pretty simple

        15           story.

        16    BY MR. FUZESI:

        17           Q.    Let me ask, Mr. Blankenship, are you

        18    confident that if you had won the primary, you

        19    would have gone on to win the General

        20    Election?

        21           A.    I'm confident that I would have

        22    started off maybe 10 points down, as opposed

        23    to the 70 that I was probably down when I

        24    started this one.



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                                                                                   437
         1                   For example, you know, I think

         2    Donald Trump Junior has two misdemeanors.               I'm

         3    not sure.       But, you know, people with

         4    misdemeanors are in the millions, and they

         5    usually don't make that the headline story.

         6           Q.      But, Sir, you recognize, at least,

         7    that it was going to be a challenge that you

         8    had to overcome, during your campaign, that

         9    you had been convicted of a crime.             Right?

        10                        MR. SIMPKINS:      Objection as to

        11           form.

        12           A.      I knew that I had to overcome the

        13    media's bias and lies, and that they would

        14    continue to be repeated.

        15                   And that, therefore, when I saw us

        16    begin to slip, about the time of those text

        17    messages, I was more concerned, and

        18    questioning whether I could pull it off or

        19    not.

        20                   Because I knew from the beginning as

        21    you've said, that it was a challenge, and that

        22    it would be a major upset.

        23           Q.      And the time of those text messages,

        24    that is March 2018.        Correct?



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                                  Don Blankenship - April 29, 2021

                                                                                   456
         1                 I'm not in favor of blocking them,

         2    unless they are using profanity, or something.

         3    Because I'd rather respond to them.             So it's

         4    responsible that I did that, or said that.

         5            Q.   All right.      And you say:

         6                        "Still a lot of hate out there,

         7    despite our efforts to communicate the truth."

         8                        Do you see that?

         9            A.   Yes.

        10            Q.   And you said that on March 15th

        11    2018?

        12            A.   Yes.

        13            Q.   And when you said "still a lot of

        14    hate out there" on March 15th 2018, what

        15            you referring to, Sir?

        16            A.   Still a lot of people that were

        17    believing your lies.         And, therefore, still

        18    disliked me.

        19            Q.   When you say "your lies?"

        20            A.   Your clients, in general.          I don't

        21    mean yours.      But your clients and others.

        22            Q.   You are referring --

        23            A.   I don't recall what the famous

        24    saying is, but it's -- it's hard to refute



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                                                                                   484
         1    say that there were many times, over the

         2    course of your campaign, that you were highly

         3    critical of members of your campaign staff?

         4                             MR. SIMPKINS:     Objection as to

         5             form.

         6             A.      Yeah.     I'm sure that I would have

         7    been critical.            I'm critical of a lot of

         8    things.       So, yeah.       It wouldn't surprise me.

         9             Q.      You don't deny that you expressed

        10    criticism and frustration about the

        11    performance of            our campaign staff?

        12                             MR. SIMPKINS:     Objection as to

        13             form.

        14             A.      I   don't deny that I expressed

        15    frustration about a lot of things in my life.

        16    So ...

        17             Q.      Including the performance of your

        18    campaign staff?

        19                             MR. SIMPKINS:     Objection as to

        20             form.

        21             A.      And including the lies of your

        22    clients.         Yes.

        23             Q.      Sir, my question was, including the

        24    performance of your campaign staff?                 Correct?



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                                                                                   485
         1                        MR. SIMPKINS:      Same objection.

         2           A.    And including the lies of your

         3    clients_J

         4           Q.    You agree with me that you expressed

         5    criticism and frustration about the

         6    performance of your campaign staff.             Correct?

         7           A.    Yes.    And I think you agree with me

         8    that your clients should not be defaming

         9    Senate candidates in the election cycle.

        10           Q.    Sir, I couldn't agree -- I couldn't

        11    disagree more with your claims in this

        12    lawsuit.

        13                        I'm simply asking you questions

        14    as part of this discovery process.

        15                        MR. SIMPKINS:      I thought you

        16           were first agreeing.

        17                        THE WITNESS:      You couldn't

        18           disagree more with my claims in this

        19           lawsuit?     So you think that --

        20                        MR. SIMPKINS:      First, he

        21           agreed.

        22    BY MR. FUZESI:

        23           Q.    All right.      Let's -- let's keep

        24    going.



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                                                                                            505
         1                               REPORTER'S        CERTIFICATE

         2

         3         I, GISELLE MITCHELL-MARGERUM, the undersigned,
              a Registered Professional Reporter, Certified
         4    Reporting Instructor, Licensed Court Reporter, and
              Certified Court Reporter, do hereby certify:
         5
                   That the witness, DON BLANKENSHIP, before
         6    examination was remotely duly sworn to testify to
              the truth, the whole truth, and nothing but the
         7    truth.

         8         That the foregoing deposition was taken
              remotely stenographically by me on Thursday, April
         9    29, 2021, and thereafter was transcribed by me, and
              that the deposition is a full, true, and complete
        10    transcript of the testimony, including questions
              and answers, and objections, motions and exceptions
        11    made by counsel.

        12         That reading and signing was not requested;
              and that I am neither attorney nor counsel for, nor
        13    related to or employed by, any of the parties to
              the action in which this deposition was taken; and
        14    that I have no interest, financial or otherwise, in
              this case.
        15

        16              IN WITNESS WHEREOF, I have hereunto set
              my hand this 4th day of May       2021.
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                             IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                        AT CHARLESTON

         DON BLANKENSHIP,                         :
                                                  :
                       Plaintiff,                 :      Civil Action No. 2:19-cv-000236
                                                  :
               v.                                 :      Judge John T. Copenhaver, Jr.
                                                  :
         HONORABLE ANDREW NAPOLITANO,             :
         (RET.), et al.                           :
                                                  :
                       Defendants.                :

                    DEFENDANT MSNBC CABLE, LLC’S REPLY IN SUPPORT OF ITS
                             MOTION FOR SUMMARY JUDGMENT


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         I.     INTRODUCTION

                The First Amendment requires that Plaintiff Don Blankenship’s case be dismissed in the

         absence of clear and convincing evidence to support his claims. After months of discovery,

         Blankenship’s Opposition to Defendant MSNBC’s Motion for Summary Judgment (“Opposition,”

         ECF No. 911) fails to present any evidence that would support allowing this case to proceed to

         trial, let alone clear and convincing evidence. MSNBC has presented three independent reasons

         for dismissal. Any one of them, standing alone, establishes that this case should be dismissed.

                First, Blankenship cannot point to any evidence that the speakers of the challenged

         statements actually knew their statements were false when they were made or had a “high degree

         of awareness”—i.e., subjective doubts—about their truth. To the contrary, the undisputed

         evidence—including communications contemporaneous with the challenged statements—shows

         that the speakers did not act with actual malice. Lacking such evidence, Blankenship instead

         mischaracterizes the law, makes unfounded claims that MSNBC’s witnesses lack credibility, and

         constructs a chain of inferences unrelated to the challenged statements.

                Second, Blankenship fails to present clear and convincing evidence of material falsity.

         Unlike the motion to dismiss stage, Blankenship cannot rest on his pleadings. He must demonstrate

         that the gist or sting of “convicted felon” was materially different from the literal truth. The

         undisputed evidence establishes that the “gist” of the word “felon” simply conveys a serious crime.

         Blankenship’s Opposition asks this Court to ignore the evidence, emphasize a distinction of legal

         terminology in a way that no other court has done in a defamation case, and find that Blankenship’s

         crime of conspiracy to violate mine safety laws, at a mine that exploded killing 29 people, was not

         serious. Such a finding would defy not only the findings of the sentencing judge and undisputed

         evidence about the community’s view of Blankenship’s crime, but also the statements of




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         Blankenship and his own lawyers about the nature and perception of his offense.

                 Finally, the undisputed evidence shows that Blankenship cannot prove causation or

         damages, which are crucial elements of his claims. He provides only speculative assertions and

         cannot overcome the law that his damages cannot just be presumed. For this additional reason,

         summary judgment is proper in MSNBC’s favor on all of Blankenship’s claims.

         II.     ARGUMENT

                 A.       Blankenship Has No Clear and Convincing Evidence of Actual Malice.

                 The author of MSNBC’s challenged statements, Chris Hayes,1 clearly testified that he

         “strive[s] to be truthful,” and that he believed Blankenship “had been, in fact, convicted of a

         felony.” (Deposition of Chris Hayes (“Hayes Dep.”), excerpts attached as Exhibit 1, 45:17-46:15;

         117:13-16.) MSNBC has also produced irrebuttable, contemporaneous evidence establishing that

         Hayes believed the two challenged statements were true when they were made on April 23, 2018

         and May 9, 2018. First, MSNBC has produced an audio recording (and presented a transcript) of

         Hayes and his producer on April 23, 2018, preparing for the first All In show at issue, which

         establishes that Hayes believed Blankenship had been convicted of a felony when he called him a

         “convicted felon” later that evening on April 23. (Id. at 66:22-72:10.) MSNBC has also produced

         an email sent from Hayes on May 10, 2018 (a day after the May 9 broadcast), where Hayes makes

         clear that he did not learn that Blankenship was convicted of a misdemeanor until “after the show.”

         (Id. at 66:22-72:10 and Hayes Dep. Ex. 8.) Faced with this evidence, Blankenship has failed to

         present any clear and convincing evidence of actual malice and resorts to misstating the law.




         1
          MSNBC established that Joy Reid did not act with actual malice. (ECF No. 883 at p. 14.) The Opposition mentions
         Reid in passing, but does not offer anything to rebut MSNBC’s entitlement to summary judgment on his claims related
         her. He has thus waived any claim or argument with respect to Reid’s statement. Byndon v. Pugh, 350 F.Supp.3d 495,
         503 (N.D. W.Va. 2018) (finding claims plaintiff failed to address in response to summary judgment to be waived).



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                        1.      Blankenship Misstates His Burden of Proving Actual Malice.

                Blankenship’s exegesis of defamation case law is inaccurate. He notes that “[c]redibility

         determinations . . . are jury functions, not those of a judge,” yet he repeatedly asks the Court to

         weigh Hayes’ credibility and determine it was “undermined.” (ECF No. 911 at p. 11 (citing

         Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986)); id. at pp. 9, 16.) This is precisely what

         the U.S. Supreme Court has said is not sufficient in opposing summary judgment in a defamation

         action. A plaintiff cannot “defeat a defendant’s properly supported motion for summary judgment

         in a . . . libel case . . . by merely asserting that the jury might, and legally could, disbelieve the

         defendant’s denial . . . of legal malice.” Anderson, 477 U.S. at 256. Yet that is all Blankenship

         offers here: disbelief of Hayes’ declaration—under oath—that he had no reason to doubt the

         accuracy of the challenged statements at the time they were made. (Hayes Dep. 109:15-23 (“[A]t

         the time that we wrote the script and we . . . referred to him as a felon, I did think he had been

         convicted of a felony.”); see also ECF No. 882-5 at ¶ 8.)

                Blankenship’s other proffered authorities fare no better. Rather than directly address his

         burden to prove knowledge of a statement’s falsity, Blankenship attempts to mitigate this “very

         difficult standard,” Fitzgerald v. Penthouse Int’l, Ltd., 691 F.2d 666, 670 (4th Cir. 1982), by

         selectively quoting case law or divorcing it from context. For instance, Blankenship cites

         Hutchinson v. Proxmire, 443 U.S. 111, 120, n.9 (1979) for the proposition that the actual malice

         standard does not lend itself to summary judgment because it implicates the defendant’s mental

         state. (ECF No. 911 at p. 11.) But that is not accurate. Anderson clarified that Hutchinson’s

         footnote “was simply an acknowledgment of [the Court’s] general reluctance ‘to grant special

         procedural protections to defendants in libel and defamation actions in addition to the

         constitutional protections.’” Anderson, 477 U.S. at 256, n.7 (quoting Calder v. Jones, 465 U.S.

         783, 790–791 (1984)). The Court later affirmed that proof of actual malice is readily susceptible


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         to summary judgment. Harte-Hanks Communications, Inc. v. Connaughton, 491 U.S. 657, 685

         (1989) (“The question whether the evidence in the record in a defamation case is sufficient to

         support a finding of actual malice is a question of law.”). As set forth in MSNBC’s initial motion

         and discussed below, the evidence here cannot support a finding of actual malice by clear and

         convincing evidence, so summary judgment is proper.2

                 Likewise, Blankenship’s admonition of “caution” as to granting summary judgment on

         actual malice in National Life Ins. Co. v. Phillips Publishing, Inc. is belied by the actual holdings

         of that case. There, the court held, “Defendants’ arguments that Plaintiff cannot demonstrate that

         Defendants acted with malice, are appropriate for Court review,” that malice was an “appropriate

         question[] of law for the Court’s consideration,” and that plaintiff’s allegations of lack of research

         into the story plus the failure to publish a correction were legally insufficient to meet the Supreme

         Court’s standard and survive summary judgment. Nat’l Life Ins. Co. v. Phillips Pub., Inc., 793

         F.Supp. 627, 632–33 (D. Md. 1992) (emphasis added).

                 The same is true of many of Blankenship’s other proffered authorities. See, e.g., Henry v.

         Nat’l Ass’n of Air Traffic Specialists, Inc., 836 F.Supp. 1204, 1211 (D. Md. 1993) (“[I]f the

         plaintiffs in this case cannot produce ‘clear and convincing evidence’ of actual malice . . . this

         Court will grant defendants’ summary judgment motion.”) (holding that none of statements at issue

         were made with actual malice). Others are inapplicable to or readily distinguishable from the

         present case. See, e.g., Denny v. Seaboard Lacquer, Inc., 487 F.2d 485 (4th Cir. 1973) (wrongful

         death action arising under Alabama law and citing antitrust precedent in analysis of “wanton or

         willful misconduct” under state law); Tharp v. Media Gen., Inc., 987 F.Supp.2d 673, 681 (D.S.C.


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           Blankenship effectively provides no response to MSNBC’s demonstration of the absence of evidence of an intent to
         injure Blankenship, which is required by Syl. Pt. 1, Sprouse v. Clay Commc’n, Inc., 211 S.E.2d 674, 679 (W. Va.
         1975). (ECF No. 911 at pp. 18-19.) Blankenship offers no more than his own bare conclusions that contradict
         Sprouse’s requirement and no binding or apposite authority to support his views. (See id.)


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         2013) (private figure case in which New York Times actual malice standard was held “inapplicable”

         and South Carolina state law applied); Tomblin v. WCHS-TV8, 434 F.App’x 205, 211 (4th Cir.

         2011) (proof that defendant decided to air story despite having information it was false at the time

         of the broadcast was sufficient to survive summary judgment). Unlike Tomblin, the

         contemporaneous evidence—the recording of Hayes and his May 10 email to a viewer—show that

         Hayes believed that Blankenship was convicted of a felony at the time he made the statements on

         All In. (Hayes Dep. 66:22-72:10; Hayes Dep. Ex. 8.) Blankenship’s obligation to present clear and

         convincing evidence of actual malice is not diminished by any of the law cited in his brief.

                        2.      Blankenship’s Unsupported Doubt About Hayes’ Credibility Is Not
                                Sufficient to Create a Dispute of Fact and Survive Summary Judgment.

                Blankenship urges the Court to deny summary judgment based solely upon unsupported

         conclusions that Hayes’ credibility is at stake. But the demanding standard of constitutional malice

         cannot be met by ginning up an unsupported “general controversy surrounding [the author’s]

         credibility.” See McFarlane v. Sheridan Square Press, Inc., 91 F.3d 1501, 1515 (D.D.C. 1996)

         (affirming summary judgment based on lack of actual malice). The law requires Blankenship to

         produce clear and convincing evidence that Hayes knew his statements were false when he made

         them, or that he had a “high degree of awareness of probable falsity” of the statement or entertained

         “serious doubts” about its truth. Harte-Hanks, 491 U.S. at 667 (alteration and internal quotation

         marks omitted). Despite Hayes’ clear testimony that he believed that Blankenship “had been, in

         fact, convicted of a felony,” Blankenship asks this Court to hold a trial on Hayes’ credibility.

         (Hayes Dep. at 45:17-46:15; 117:13-16.) The Opposition baldly posits that Hayes’ straightforward

         statements are “so farfetched that they must be presented to a jury to weigh his credibility.” (ECF

         No. 911 at p. 16.) But that is not the type of concrete evidence the law requires. Anderson, 477

         U.S. at 256 (plaintiff cannot defeat summary judgment “by merely asserting that the jury might,



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        and legally could, disbelieve the defendant’s denial . . . of legal malice”). Cf., Pritt v. Republican

        Nat. Committee, 557 S.E. 2d 853, 860–61 (W.Va. 2001) (finding triable issue where there was a

        repeated and “ongoing factual dispute”).

                This is not a case where a reporter “fabricated” a story by the “production of . . .

        imagination,” or “based wholly on an unverified anonymous telephone call.” See St. Amant v.

        Thompson, 390 U.S. 727, 732 (1968) (hypothesizing that an inference of actual malice could exist

        in these extreme circumstances). Here, there is no factual dispute—just Blankenship’s unsupported

        refusal to accept Hayes’ testimony. Nor is this case analogous to Fitzgerald, 691 F.2d at 670–71

        (finding triable issue of fact where Penthouse relied on a single source despite obvious reasons to

        doubt it). Here, the undisputed testimony establishes that when Hayes made the challenged

        statements—the same statements made about Blankenship by dozens of other news outlets during

        Blankenship’s Senate run—he believed them to be true. (ECF No. 882-5, Hayes Decl., ¶¶ 8-9;

        Hayes Dep. at 90:25-92:8; 104:8-24; 109:15-110:4.)

                The pre-show, “back-office recording,” during which Hayes had no reason to be anything

        other than candid with his segment producer, Brian Montopoli, is irrefutable evidence that just

        hours before the show, Hayes believed Blankenship had been convicted of a felony. (Hayes Dep.

        66:22-72:10 (in the recording, Hayes states: “that is like convicted felon. . . Don Blankenship. . .

        a man who was found, uh, you know, to have criminally violated the law in the mine that he owned

        that killed, you know, all those miners.”).) Blankenship argues that Montopoli’s reference to

        Blankenship (who had been a guest on All In four years earlier (id. at 125:5-15)) as an “old buddy”

        during the conversation is somehow evidence of a high degree of awareness that Blankenship was

        convicted of a misdemeanor, not a felony. It is not.3 Even if one adopts Blankenship’s


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         Blankenship chose not to depose Montopoli and has no evidence that Montopoli had a high degree of awareness that
        Blankenship was not a felon.


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        characterization of their tone as contemptuous, that is not evidence of actual malice. Masson v.

        New Yorker Magazine, Inc., 501 U.S. 496, 510 (1991) (“Actual malice . . . should not be confused

        with the concept of malice as an evil intent or a motive arising from spite or ill will.”).

               Blankenship’s attempt to mischaracterize Hayes’ response to the viewer email he received

        on May 10, 2018, likewise does not support a finding of actual malice. (ECF No. 911 at p. 17.)

        The email—sent a day after the final broadcast at issue and at a time when Hayes had no reason to

        be anything but honest—expressly confirms that Hayes did not realize until “after the show,” that

        Blankenship had been convicted of a misdemeanor. (Hayes Dep. Ex. 8.) Contrary to Blankenship’s

        contention, the fact that Hayes learned this information after the show does not “contradict” his

        testimony that there is no formal post-show review process because one can “catch” a misstatement

        after the fact without a formalized process. (Hayes Dep. at 38:18-25.) Finally, the Court has already

        held that MSNBC and Hayes were not obligated to do anything with that later-acquired knowledge.

        Blankenship v. Napolitano, 451 F.Supp.3d 596, 619 (S.D. W.Va. 2020) (“Actual malice cannot be

        inferred from a failure to retract or correct a statement once the publisher learns that the statement

        is false.”). Blankenship’s attempt to gin up an unsupported credibility controversy is not sufficient

        to survive summary judgment as a matter of law.

                       3.      Blankenship Cannot Circumvent the Actual Malice Standard by
                               Distorting Hayes’ Testimony.

               Blankenship’s Opposition also relies on selective quotations and many adverbs in an effort

        to make it seem like Hayes prevaricated. (ECF No. 911 at pp. 9, 15-16.) But Hayes’ testimony

        was clear, unequivocal, and consistent. Hayes said that at the time he made the challenged

        statements, “I thought that [Blankenship] had been convicted of a felony.” (Hayes Dep. at 104:17-

        18.) Hayes explained: “I knew he had done a year in federal prison, and I just thought that meant

        he had been convicted of a felony.” (Id. at 104:22-24; see also id. at 109:15-110:4.)



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                Blankenship argues that Hayes “refused to flatly agree that accuracy is a fundamental

        principal of journalism. . . .” (ECF No. 911 at p. 8.) But this misrepresents the testimony, which

        actually stated:

                Q. ·    Do you agree that accuracy is a fundamental principle of journalism?
                A.      Yeah, I agree accuracy is fundamental– a fundamental principle of journalism, sure.
                Q.      And do you believe that accuracy is required of you as a matter of MSNBC policy?
                A.      As a -- yes, as a goal to strive towards, absolutely.

        (Hayes Dep. at 51:14-23 (objection omitted).) This response is not evasive. And while Blankenship

        tries to make something of Hayes’ acknowledgment that his description of Blankenship as a

        convicted felon was imprecise, the actual testimony was straightforward:

                Q.      And did you accurately report the fact of Mr. Blankenship's conviction when you
                        said he was a “convicted felon,” in your May 9th broadcast?
                A.      I think we were imprecise in that. I think that at the time I believed he had been
                        convicted of a felony, and I think the statement was imprecise.

        (Id. at 120:2-9.) Blankenship’s argument that Hayes’ “dubious views of ‘accuracy’ could easily

        prompt a jury to doubt his veracity” (ECF No. 911 at p. 2) does not comport with the testimony.

                Second, Blankenship argues that “Hayes views of ‘fairness’ significantly undermine his

        credibility” because he offered a “startling response” that the concept of fairness is subjective. (Id.

        at p. 9.) Blankenship further represents that Hayes “vigorously disagreed that he must be fair to

        Mr. Blankenship because the concept of fairness is ‘radically subjective.’” (Id. at p. 2.) This is also

        false. Hayes actually testified as follows:

                Q.      Do you believe you have any obligation to be fair to Mr. Blankenship?
                A.      I believe we have an obligation to be fair to everyone. But, again, as I said before,
                        the understanding of what is fair tends to be fairly radically subjective.

        (Hayes Dep. at 80:23-81:4 (objection omitted).) Hayes clearly testified that he believed MSNBC

        does have an obligation to be fair to everyone (including Blankenship), and qualified that fairness

        is subjective in the context of an opinion show such as All In. (Id. at 45:3-48:6.) This is not startling;




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        frankly, it is obvious. Hayes did not “vigorously disagree” that he must be fair to Blankenship. It

        is Blankenship’s misrepresentation of Hayes’ testimony that is startling.

               In short, Hayes’ testimony does not give rise to a credibility question, and certainly does

        not get Blankenship past the daunting actual malice standard. Rather, where the “the record

        contains substantial evidence” that the speaker “actually believed” his statement, summary

        judgment is proper. Hatfill v. N.Y. Times Company, 532 F.3d 312, 324–25 (4th Cir. 2008). Hayes

        testified that he believed Blankenship was convicted of a felony because he spent a year in jail: “I

        knew he had done a year in federal prison and I just thought that meant he had been convicted of

        a felony” and “honestly, those terms pale in comparison to just saying, ‘He did a year in prison,’ .

        . . I was trying to accurately convey the seriousness of the crime. . . .” (Hayes Dep. at 105:4-11.)

               Blankenship’s reliance on communications years or months before the challenged

        statements fails as well. Hayes’ interview of Blankenship in 2014, before he was even indicted for

        the crime at issue, is irrelevant. (ECF No. 911 at p. 6.) Blankenship does not—and cannot—claim

        the discussion of his documentary during that interview has anything to do with correctly

        describing his later criminal conviction. The April 2016 email from a producer to Hayes likewise

        provides no evidence of actual malice. (Deposition of Denis Horgan (“Horgan Dep.”), cited

        excerpts attached hereto as Exhibit 2, at Ex. 3 thereto.) The email does not mention the nature of

        Blankenship’s conviction and merely references his sentence. So, too, for Joy Reid’s January 9,

        2018 broadcast of All In. (Deposition of Joy Reid (“Reid Dep.”), cited excerpts attached hereto as

        Exhibit 3, at Ex. 2 thereto.) That broadcast referenced Blankenship’s criminal conviction, but it

        never discussed the nature of his conviction or said it was a misdemeanor. (Id.; ECF No. 911 at p.

        7.) In any case, that show—which Hayes did not even host—is not proof of Hayes’ subjective

        knowledge in April-May 2018.




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               As set forth in MSNBC’s opening Memorandum (ECF No. 883 at p. 17), it is true that, in

        2015, Hayes learned Blankenship was convicted of a misdemeanor. (ECF No. 911 at p. 14.) But

        that was three years and 500 All In shows before Hayes referred to Blankenship as a “convicted

        felon” in a show discussing his Senate campaign. It is not at all incredulous—as Blankenship

        posits—that Hayes would forget this brief and inconsequential exchange after several years, and

        “[t]he mere presence of news stories in a newspaper’s files . . . that contradicts an allegedly

        defamatory statement . . . is insufficient to establish actual malice.” Jackson v. Hartig, 645 S.E.2d

        303, 309 (Va. 2007). Blankenship’s attempt to create a controversy about Hayes’ credibility” based

        on this three-year-old communication is not enough to survive summary judgment, particularly

        where contemporaneous communications directly contradict a finding of actual malice. See

        McFarlane, 91 F.3d at 1509.

               Blankenship’s reliance on two headlines displayed during a November 29, 2017 All In

        segment is not clear and convincing evidence of actual malice either. The November 29 broadcast

        merely used the articles as sources for graphics of their headlines: “Former Massey Energy CEO

        Don Blankenship to Run for Senate” and “West Virginia King of Coal is Guilty.” (Horgan Dep. at

        38:9-41:24 and Ex. 4.) The headlines do not explain Blankenship’s conviction and the segment

        did not discuss whether Blankenship was convicted of a felony or misdemeanor. Moreover, there

        is no evidence Hayes read either article; Hayes was never asked about it during his deposition.

        Even if Hayes had read the articles in 2017, five months before the challenged statements aired,

        that would not be enough. Blankenship, 451 F.Supp.3d at 619 (“[K]knowledge based on previous

        articles or reporting do not alone support a plausible inference of actual malice.”).

                       4.      MSNBC’s Policies Do Not Create a Dispute of Fact.

               MSNBC’s internal policies also do not advance Blankenship’s burden of proving actual

        malice by clear and convincing evidence. Blankenship refers to the policy’s foreword, which states


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        that MSNBC “stands for accuracy, fairness, independence, and integrity.” (Deposition of Marian

        Porges (“Porges Dep.”), cited excerpts attached as Exhibit 4, at Ex. 1, p. 5.) This aspirational

        principle does not mean that any inaccuracy would “violate” MSNBC’s policies. As MSNBC’s

        corporate representative, Marian Porges, testified, accuracy and fairness are goals MSNBC strives

        to achieve. (Porges Dep. at 25:17-18; 26:10-13.) Further, Hayes did not violate MSNBC’s policies.

        Porges testified that Hayes’ use of the term “felon” for Blankenship, while technically imprecise,

        did not violate any policy. (Porges Dep. at 51:9-21; see also Hayes Dep. at 92:3-8.) Finally, even

        if Hayes had violated an MSNBC policy—which he did not—that would not be enough because

        “a public figure plaintiff must prove more than an extreme departure from professional standards”

        to survive summary judgment. Harte-Hanks, 491 U.S. at 665 (emphasis added). Blankenship has

        no evidence of any departure from professional standards, let alone more than an extreme one.

                       5.     The All In Staff Communications Are Also Irrelevant.

               Blankenship’s reliance on internal communications among All In staff also fails. (ECF No.

        911 at pp. 17-18.) As noted above, Hayes’ December 2015 email that referred to Blankenship’s

        misdemeanor conviction and predated Blankenship being sent to prison for a year, does not create

        a triable issue of fact as to Hayes’ knowledge in April or May 2018. Nor can the April 2016 email

        about Blankenship’s jail sentence. See Reuber v. Food Chem. News, Inc., 925 F.2d 703, 718 (4th

        Cir. 1991) (holding a failure to analyze inconsistencies in document is not evidence of actual

        malice). Moreover, the responses of All In staff members to these emails are irrelevant. Whether

        staff members read the underlying New York Times article or knew of Blankenship’s misdemeanor

        conviction in 2015 does not prove Hayes’ knowledge in 2018. New York Times Co. v. Sullivan,

        376 U.S. 254, 287 (1964).

               Blankenship relies on Zerangue, but that case actually supports summary judgment in

        MSNBC’s favor. (ECF No. 911 at p. 17 (citing Zerangue v. TSP Newspapers, Inc., 814 F.2d 1066


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        (5th Cir. 1987).) In Zerangue, the court held that plaintiff failed to establish actual malice as to an

        article that incorrectly reported about crimes for which plaintiff had not been convicted or even

        indicted, even though the reporter failed to investigate and may have been negligent in relying on

        his own memory. Id. at 1071. The court allowed plaintiff’s claim to proceed only as to a second

        article that contained the same false statement and was published within 30 days after the defendant

        published and retracted the first article. Contemporaneous evidence showed the editors and author

        of the second story had reason to doubt it when it was written: the editors “knew of the . . .

        retraction” and the author likely attended a meeting about the retraction and reviewed the

        newspaper’s files containing the retracted shortly before writing the second article. Id. at 1072.

        Here, Hayes’ statements were not broadcast after MSNBC had retracted a previous incorrect

        statement, and Blankenship relies on emails from years—not weeks—before Hayes’ challenged

        statements. Further, as discussed above at page 6, the contemporaneous evidence—the Montopoli

        recording and Hayes’ email response to a viewer—demonstrate the absence, not the presence, of

        actual malice. This case falls squarely under the principle that “[t]he Constitution provides the

        press with a shield whereby it may be wrong when commenting on acts of a public figure, as long

        as it is not intentionally or recklessly so.” Carr v. Forbes, Inc., 259 F.3d 273, 283 (4th Cir. 2001).

               B.      Blankenship Has Failed to Meet His Burden of Establishing Material Falsity.

               Blankenship concedes that it is his burden to prove material falsity by clear and convincing

        evidence. Philadelphia Newspapers, Inc. v. Hepps, 475 U.S. 767, 775–76 (1986); Hinerman v.

        Daily Gazette Co., Inc., 423 S.E.2d 560, 571–72 (W. Va. 1992). Yet Blankenship’s opposition

        presents no evidence—let alone clear and convincing evidence—to carry that burden.

               Blankenship’s argument that he has established material falsity rests entirely upon the

        Court’s prior decision at the motion to dismiss stage, which was made without the benefit of

        discovery and when the Court was required to accept all of Blankenship’s allegations as true. On


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        summary judgment, Blankenship “may not rest upon the mere allegations or denials of his

        pleading, but . . . must set forth specific facts showing that there is a genuine issue for trial.”

        Anderson, 477 U.S. at 248 (citation omitted).

                 When analyzing material falsity, the law requires the Court to determine, based on the

        evidence in this case, whether “the gist” or “sting” of MSNBC’s description of Blankenship as a

        “convicted felon” was more harmful than the literal truth. Masson, 501 U.S. at 517; Syl. Pt. 4,

        Suriano v. Gaughan, 480 S.E.2d 548 (1996); Brokers Choice of America, Inc. v. NBCUniversal,

        Inc., 861 F.3d 1081, 1108-1130 (10th Cir. 2017) (affirming dismissal for lack of material falsity

        of an investigative report about an insurance seminar after analyzing the recording of the actual

        seminar) (noting the court’s analysis “requires examination of the published statements in context,

        not in isolation”).4

                 Blankenship urges the Court to ignore the evidence and simply reaffirm its prior reasoning

        that “society at large views a ‘felon’ far differently than a person who committed an offense

        resulting in a misdemeanor conviction.” Blankenship, 451 F.Supp.3d at 618. MSNBC has

        presented evidence establishing that a reasonable reader would view the gist of MSNBC’s

        statements to be the same as the literal truth. The evidence presented by MSNBC includes the

        perceptions of the authors of the challenged statements, Blankenship’s sentencing judge,

        Blankenship’s criminal lawyers, the prospective jurors at his trial, the community in general, and



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          In Zerangue, a case upon which Blankenship relies, the Fifth Circuit collected cases where defendants “reported the
        substance of the criminal proceedings, but erred in the use of legal terminology,” and prevailed on substantial truth.
        814 F.2d at 1073–74. The Fifth Circuit distinguished those cases from the facts in Zerangue because in Zerangue, the
        defendant newspaper’s error was “more than the difference between a misdemeanor and a felony.” Id. at 1073
        (emphasis added). This case is just like all the cases cited in Zerangue that were dismissed on substantial truth: Hayes
        correctly reported the substance of Blankenship’s criminal proceedings by referring to him as, e.g., “the former coal
        company executive who was released from prison last year after serving a year for mine safety violations connected
        to an explosion that killed 29 people,” (Hayes Dep. at 87:2-6 and Ex. 6 thereto), and merely erred in legal terminology
        by using the word “felon.”



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        Blankenship himself. (ECF No. 883 at pp. 19-23.) With no explanation, Blankenship discounts all

        this evidence as irrelevant.

                 As the undisputed evidence makes clear, Blankenship is not a run-of-the-mill

        misdemeanant. He was convicted of conspiracy to violate mine safety standards at a mine that

        exploded killing 29 people. (Apr. 29 Dep. 319:21-24.)5 His trial was “broadly understood in the

        community” to concern “the UBB disaster and the deaths in it,” and was “seen as the equivalent

        of a murder or manslaughter trial.” (Apr. 30 Dep. 219:13-221:18.) He served a year in prison for

        this crime—just one day less than the time required to be designated a felony. (Apr. 29 Dep. at

        331:1-8.) This is the literal truth within which the Court must analyze the gist or sting of MSNBC’s

        reference to Blankenship as a “convicted felon.”

                 Blankenship cites this Court’s finding: “[w]hile most persons would be unable to give a

        precise legal definition of the terms “misdemeanor” or “felony,” we have no doubt that the

        prevailing view would be that a misdemeanor is a minor offense and a felony is a serious crime.”

        (ECF No. 911 at p. 20) (emphasis added). This only further supports MSNBC’s position. The

        “sting” of referring to Blankenship as a “convicted felon” merely conveys something that is true—

        Blankenship was convicted of a serious offense. Blankenship even admits that his conviction of

        conspiracy to violate mine safety laws “sounds horrible.” (Apr. 29 Dep. 340:17-21; ECF No. 911

        at p. 24.) He claims this testimony “proves nothing,” but if Blankenship thinks his crime sounds

        horrible, it stands to reason that the average reader would agree with him.

                 Blankenship also asks the Court to dismiss the words of his lawyers who sought to change

        the venue of his criminal trial because the public perceived it to be a murder case (ECF No. 911 at



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         Cited excerpts from Blankenship’s April 29 and April 30, 2021 deposition in this case are attached hereto as Exhibits
        5 and 6, respectively (“Apr. 29 Dep.” and “Apr. 30 Dep.”). Cited excerpts from Mr. Blankenship’s deposition in
        Blankenship v. McLaughlin, E.D. Va. No. 1:20-cv-00429 (filed Apr. 17, 2020) are attached hereto as Exhibit 7.


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        p. 24); and he urges the Court to disregard the statements made by the sentencing judge who

        repeatedly stressed the “seriousness of the offense.” (Apr. 29 Dep. 338:1-19.) Blankenship argues

        this is all irrelevant because he “was not convicted of a felony.” (ECF No. 911 at p. 24.) But the

        law requires a review of the sting of the challenged statement—it does not place legal terminology

        above all else and impose absolute liability for failure to state the literal truth. See Brokers Choice

        of America, 861 F.3d at 1113-1130.

                The evidence also establishes that the authors of MSNBC’s challenged statements believed

        the gist of the words “convicted felon” to be no worse than the literal truth. Joy Reid testified: “I

        think to the layperson hearing “convicted criminal” or “ex-convict” or “convicted felon,” I think

        they convey the same thing.” (Reid Dep. at 60:16-19.) Similarly, Chris Hayes testified: “I knew

        he had done a year in federal prison and I just thought that meant he had been convicted of a

        felony” and “honestly, those terms pale in comparison to just saying, ‘He did a year in prison,’ . .

        . I was trying to accurately convey the seriousness of the crime. . . .” (Hayes Dep. at 105:4-11.)

                In short, the undisputed evidence establishes that the “gist” of the word “felon” simply

        conveys a serious crime.6 Faced with this evidence, Blankenship is essentially asking the Court to

        find that his crime of conspiracy to violate mine safety laws, at a mine that exploded killing 29

        people, was not serious. Any such ruling would defy not just common sense, but the undisputed

        evidence of how Blankenship’s crime was perceived by the authors of the challenged statements,

        Blankenship’s lawyers, people in the community, the sentencing judge and Blankenship himself.

                Blankenship also argues that material falsity is a question that should be submitted to a

        jury. But, when “underlying facts as to the gist or sting are undisputed, substantial truth may be

        determined as a matter of law.” Brokers Choice of America, 861 F.3d at 1113-1130. In fact, courts


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         The dictionary definition of “felon” is also consistent with the sting of Blankenship’s crime. See, e.g., Webster’s
        New World College Dictionary (5th ed. 2014) (defining “felon” as “a person guilty of a major crime”).


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        routinely dismiss defamation claims where the plaintiff fails to establish material falsity. Hatfill v.

        New York Times Co., 488 F.Supp.2d 522, 533–534 (E.D. Va. 2007) (“Plaintiff cannot carry his

        burden of proving material falsity of any of these statements as a matter of law.”), aff’d, 532 F.3d

        312 (4th Cir. 2008); Ballengee v. CBS Broadcasting, Inc., 331 F.Supp.3d 533, 547 (S.D. W. Va.

        2018) (finding, based on the undisputed evidence, that the broadcast statement would not have a

        different effect on the mind of the reader); Hagler v. WSAZ NewsChannel 3, No. 3:19-cv-45, 2020

        WL 1613430, *5-6 (S.D. W. Va. Jan. 15, 2020) (“Plaintiff fails to establish falsity as a matter of

        law. . . .”).

                 Blankenship selectively quotes Bustos v. A & E Television Networks, 646 F.3d 762, 767

        (10th Cir. 2011) (Gorsuch, J.): “Unsurprisingly, deciding the materiality of a falsehood often

        requires a jury.” Blankenship omits the next line: “But like nearly any other element of a tort this

        one is amenable to resolution at summary judgment . . . .” Id. (emphasis added). In fact, Bustos

        affirmed the dismissal of defamation claims because the plaintiff failed to prove material falsity:

                 We don’t doubt that the public thinks worse of Aryan Brotherhood prison gang
                 members than standard-issue prisoners. But that only means A & E’s statement. . .
                 that Mr. Bustos is a member of the Aryan Brotherhood—is defamatory or hurtful
                 to his public reputation. We must still compare A & E’s statement against the truth
                 of the matter. And on that score the facts reveal that, while Mr. Bustos isn’t formally
                 a member of the Brotherhood, he surely did affiliate with the organization.

        Id. (emphasis in original). The Bustos decision stands for the exact opposite proposition that

        Blankenship asserts. The court found, as a matter of law, that while the words “member of the

        Aryan Brotherhood” generally might carry a gist that was more damaging than the literal truth, the

        gist was the same when taking into consideration the history and context of the plaintiff in that

        case. The Court should do the same here. Blankenship has failed to meet his burden of establishing

        material falsity with clear and convincing evidence and his claims should be dismissed.




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               C.      Blankenship Cannot Prove Causation or Actual Damages as a Matter of Law.

               Blankenship’s Memorandum failed to proffer any evidence that he suffered any actual

        harm that was caused by MSNBC. MSNBC’s motion for summary judgment established, based

        on Blankenship’s own admissions, that Blankenship has no evidence that anyone thinks less of

        him as a result of MSNBC’s statements, or that he lost any business opportunities due to MSNBC’s

        statements. (ECF No. 883 at p. 23 (citing Plaintiff’s Second Am. Resp. to MSNBC Interrog., at

        pp. 2 and 4-5, Nos. 6 and 12).) The Motion further established that Blankenship was retired when

        the challenged statements were made and did not seek employment either before or after the

        challenged statements. (See, e.g., Apr. 29 Dep. 154:13-155:24; 156:10-21.)

               Blankenship responds that West Virginia permits the recovery of nominal damages if a

        plaintiff proves false light invasion of privacy. (ECF No. 911 at p. 27.) He thus concedes that, even

        if he could establish actual malice and material falsity—which he cannot—his recovery would be

        limited to nominal damages on only his false light claim. Further, Blankenship cannot rest on a

        bare assertion of nominal damages, which he did not plead in his complaint, to maintain his claims

        here. See Foodbuy, LLC v. Gregory Packaging, Inc., 987 F.3d 102, 116 (4th Cir. 2021) (holding

        that failure to plead entitlement to nominal damages waives them and that “boilerplate” request

        for “other and further relief” does not preserve them) (citations and internal quotations omitted).

               Blankenship claims he can prove damages “through his own testimony.” (ECF No. 911 at

        p. 27.) Any such testimony would contradict his sworn interrogatory answers and is not a viable

        counter to summary judgment. It also misrepresents the record: Blankenship testified that

        companies would not hire him as a board member or executive officer before any of the statements

        at issue due to his tarnished reputation from the UBB disaster and that he did not seriously seek

        employment from 2010 (the UBB disaster and his retirement) through 2015 (his conviction) and

        until 2018 (the Senate campaign). (Apr. 29 Dep. 154:13-155:24; 156:10-21.)


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               Further, despite failing to identify any person who thinks less of him or any lost business

        opportunity, Blankenship asks the Court to believe that MSNBC’s statements rendered ineffective

        his pre-election expenditure of funds (presumably intended to rehabilitate his reputation after the

        UBB disaster). (ECF No. 911 at p. 28.) This bare assertion is not enough under Rule 56. For the

        same reason, his reliance on his expert’s report falls short. (Id.) The report is merely a series of

        calculations based on Blankenship’s beliefs about job opportunities he could have sought; it offers

        nothing about the validity of those alleged losses or a tangible basis for the calculations.

        Blankenship’s expert also provided no opinion about causation, let alone MSNBC’s alleged role

        in Blankenship’s supposed losses. (ECF No. 911-8.)

               In response to the well-established rule that election losses are not recoverable (ECF No.

        883 at pp. 24-25), Blankenship cites only an Ohio case that permitted damages following an

        election loss to proceed to a jury. (ECF No. 911 at p. 28 (citing Robb v. Lincoln Publ’g (Ohio),

        Inc., 683 N.E.2d 823, 841 (Ohio 1996).) But in Robb, the plaintiff offered evidence that he would

        have won the election but for the alleged defamation. Robb, 683 N.E.2d at 841. Blankenship offers

        no such evidence here—he has no evidence he would have won the primary, let alone the general

        election. He publicly blamed former President Trump—not MSNBC—for his loss. (Apr. 30 Dep.

        68:3-69:5.) Also, unlike the Robb plaintiff, Blankenship also has not pled or offered evidence of

        special damages stemming from his loss, such as a salary or other benefits. Robb, 683 N.E.2d at

        841.

               Blankenship’s arguments that he can recover emotional distress and presumed damages

        also fail. Blankenship cannot recover for emotional distress when he has no evidence of

        reputational harm. Little Rock Newspapers, Inc. v. Dodrill, 660 S.W.2d 933, 935 (Ark. 1983) (“An

        action for defamation has always required this concept of reputational injury and recovery for




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        mental suffering alone has not been allowed.”) (citing 53 C.J.S. Libel and Slander, § 243). Even

        on the merits, the testimony he offers in support of his alleged emotional distress does not provide

        the support he seeks. (See, e.g., Apr. 29 Dep. 156:10-21 (“I think it’s fair to say that the . . . the

        false reporting and the FBI activity and public statements all had an impact on my desire or

        likelihood of successfully seeking employment, so there were a lot of factors over that, I guess,

        about an eight-year period . . . .”) (emphasis added); id. at 170:4-11.)

               As for presumed damages, Blankenship baldly disputes the weight of the case law cited in

        MSNBC’s brief, but fails to refute the core proposition that he cannot recover presumed damages

        as a public figure. (ECF No. 911 at p. 29.) The authority compiled in Riggs merely notes that

        presumed damages are generally permitted in cases that do --
                                                                  not involve matters of public concern.

        MacDonald v. Riggs, 166 P.3d 12, 18, n.20 (Alaska 2007).

               Blankenship also fails to rebut that: (1) in cases involving “an issue of public . . . concern”

        the “common law presumptions” of malice or that “the plaintiff suffered general damages do not

        apply,” Erickson v. Jones St. Publishers, LLC, 629 S.E.2d 653, 665 (S.C. 2006) and (2) the law

        does “not permit presumed damages in [public figure] defamation cases and that [p]laintiff must

        prove actual damages,” Cobb v. Time Inc., No. 3:94–0836 1999 WL 1027044, *1 (M.D. Tenn.

        Feb. 17, 1999). Blankenship is not entitled to presumed damages.

               His reference to Milan v. Long misses the mark because that case, besides involving a

        clearly private figure, predated the higher constitutional and state law requirements for public

        figures and says nothing about a public figure’s ability to recover presumed damages. Milan v.

        Long, 88 S.E. 618 (1916). However, Milan’s general pronouncement of a high bar for special

        damages in any defamation case remains valid. Id. at the Syllabus (“Special damages cannot be

        recovered in such case without an allegation and proof of loss or damages as a consequence of the




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        publication.”). Blankenship’s other authorities are similarly inapposite. Hancock v. Mitchell,

        decided more than a century ago, axiomatically affirmed a public official’s ability to recover

        presumed damages for defamatory statements accusing one of “improper conduct in his office,”

        “incompetence to discharge” official duties, or “incapacity in his trade or profession,” none of

        which MSNBC’s statements did here. Syl., Hancock v. Mitchell, 98 S.E. 65 (W. Va. 1919); see

        also Kinney v. Daniels, 574 F.Supp. 542, 545–47 (S.D.W. Va. 1983) (granting summary judgment

        to defendants in private-figure case involving substantially true accusations about propriety of

        doctor’s medical treatment).

               Finally, Blankenship spends a paragraph arguing that he need not prove causation because

        “apportionment” is a jury issue. But these are separate concepts. Causation is an element of his

        claims. Crump, 320 S.E.2d at 74 (holding that injury must “result” from allegedly defamatory

        statement); Rohrbaugh, 572 S.E.2d at 888 (false light). Blankenship cannot tie MSNBC’s

        statements to any compensable loss he allegedly suffered. The Court should not excuse this

        element of his claim simply because he has alleged “it is difficult to quantify the precise harm

        caused by MSNBC because multiple others”—dozens, according to his suit—“perpetrated the

        same defamation.” (ECF No. 911 at p. 30.) His mere belief that others will not hire him due to all

        the defendants’ challenged statements is insufficient. (McLaughlin Dep. 269:25-270:11.)

        Blankenship simply has no evidence that MSNBC’s challenged statements caused him any specific

        actual harm. For this additional reason, all of his claims against MSNBC should be dismissed.

        III.   CONCLUSION

               For these three independent reasons, each of which is sufficient ground for dismissal, the

        Court should grant MSNBC summary judgment on all of Blankenship’s claims.




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                                IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                           AT CHARLESTON

        DON BLANKENSHIP,                                   :
                                                           :
                          Plaintiff,                       :      Civil Action No. 2:19-cv-000236
                                                           :
                 v.                                        :      Judge John T. Copenhaver, Jr.
                                                           :
        HONORABLE ANDREW NAPOLITANO,                       :
        (RET.), et al.                                     :
                                                           :
                          Defendants.                      :


                                            CERTIFICATE OF SERVICE

                 I, Jared M. Tully, do hereby certify that I have served the Defendant MSNBC Cable,

        LLC’s Reply in Support of Its Motion for Summary Judgment upon counsel for each party by

        electronic mail, this 14th day of June, 2021.



                                                        /s/ Jared M. Tully
                                                        Jared M. Tully (WV Bar No. 9444)




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                           EXHIBIT 1




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                                           In the Matter Of:

                                            Blankenship vs
                                          Fox News Network LLC




                            CHRISTOPHER LOFFREDO HAYES
                                           Jvlarch 02, 2021




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             1                       UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF WEST VIRGINIA
             2                            CHARLESTON DIVISION

              3     DON BLANKENSHIP,                        §
                                                            §
             4                      Plaintiff,              §
                                                            §   CASE NO. :
             5     vs .                                     §
                                                            §   2:19-cv-00236
              6    FOX NEWS NETWORK LLC,                    §
                   et al . ,                                §
             7                                              §
                                    Defendants .            §
             8

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            10            *******************************************

            11                                 CONFIDENTIAL

            12                   REMOTE VIDEOCONFERENCED DEPOSITION OF

            13                        CHRISTOPHER LOFFREDO HAYES

            14                                 MARCH 2, 2021

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                                                                                        2
              1                    REMOTE VIDEOCONFERENCE DEPOSITION OF

              2    CHRISTOPHER LOFFREDO HAYES, produced as a witness at

              3     the instance of the Plaintiff, and remotely duly

              4     sworn by agreement of all counsel, was taken in the

              5    above - styled and numbered cause on March 2, 2021,

              6     from 10 : 02 a.m. to 1:19 p . m., before Karen L . D.

              7    Schoeve, RDR,      CRR, reported remotely by computerized

              8    machine shorthand, pursuant to the Federal Rules of

              9    Civil Procedure and the provisions stated on the

            10     record or attached hereto .

            11                     This deposition is being conducted

            12      remotely in accordance with the current Emergency

            13     Order regarding the COVID-19 State of Disaster of

            14      the World.

            15

            16             REPORTER'S NOTE:        Please be advised that an

            17     UNCERTIFIED ROUGH DRAFT version of this transcript

            18     exists .      If you are in possession of said rough

            19     draft, please replace it immediately with this

            20     CERTIFIED FINAL TRANSCRIPT .

            21             Please note that the quality of a Zoom

            22     videoconference and transmission of data and

            23      overspeaking causes audio distortion which disrupts

            24      the process of preparing a videoconference

            25      transcript .



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                                                                                       3
             1                         A P P E A R A N C E S

             2

             3          **********************************************

             4                      ALL PARTIES APPEARED REMOTELY

             5                         WITH LEGALVIEW VIA ZOOM

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              1                  APPEARANCES                 (Continued)

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            15
                         Karen L. D. Schoeve
            16           Certified Realtime Reporter
                         Registered Diplomate Reporter
            17           Realtime Systems Administrator

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                                                                                    38
           1                      MR. BIERBAUER:       Ob jection to form.

           2           A.     I don't think there's a definitive answer

           3     for that .    I know you've asked me this -- I don't

           4     know the definitive answer because it has not been

           5     tested.

           6           Q.     (BY MR. GRAY)     As the host with your name

           7    on the show, do you have ultimate responsibility for

           8     the content of the show?

           9                      MR. BIERBAUER:       Objection to form.

          10           A.     I think your question implies there's a

          11     reputational responsibility that is inescapable, and

          12     I would agree with that.

          13           Q.     (BY MR. GRAY)     Let's start with today.

          14     I'll ask the question about the current operation of

          15     the show, and then we can move back and find out

          16    whether your answer would change for the time period

          17    April/May of 2018.

          18                      Do you have any after-action process

          19    with the show, meaning is there any -- does anyone

          20    watch the show and then develop some review of what

          21    happened?      Is there any process in any way, shape,

          22    or form like that for the show?

          23           A.     There's no formal after -a ction process.

          24           Q.     How about an in formal one?

          25           A.     Not really.     Obviously, e veryon e watches



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           1            A.      Yes .     I recall in - - in meetings on this

           2     topic,      I would of t en bring it up.

           3            Q.      It's your understanding that in your ro l e

           4     as the, quote/unquote,           "host" of the show that you

           5    have,     that you are permitted to express opinions?

           6            A.      Correct .

           7            Q.      Does the fact that you're allowed t o

           8    express op i n i ons,       in your mind,      in any way diminish

           9     your obligation to be accurate in your reporting?

         10                             MR . BIERBAUER :   Objection to form.

         11             A.      I would say that accuracy is important and

         12     also that,       in the context of an opinion show,            there

         13     are certain kinds of rhetorical flourishes, methods

         14     and modes of communication that are going to be

         15     distinct from what's on, say,              the nightly news,       and

         16      that that's okay .

         17             Q.      (BY MR . GRAY)      So does that mean you can

         18      report things inaccurately?

         19             A.      No .

         20                             MR . BIERBAUER :   Object i on to form .

         21             Q.      (BY MR . GRAY)      Does it mean that you can

         22      lie?

         23                             MR . BIERBAUER :   Objection to form .

         24             A.      No .     Lying i s bad .

         25             Q.      (BY MR . GRAY)      Does the fact that you're



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                                                                                   46
           1     allowed to express opinions diminish your obligation

           2     to be fair in your reporting?

           3                       MR. BIERBAUER:       Objection to form .

           4             A.    It -- I would say that fairness is a

           5     radically subjective metric,          and so the conception

           6     of what that would mean is gonna vary depending on

           7     all sorts of circumstances.           We always strive to be

           8     fair.

           9             Q.    (BY MR. GRAY)    Does the fact that you're

          10     allowed to express opinions permit you to broadcast

          11     falsehoods?

          12                       MR. BIERBAUER :      Objection to form.

          13             A.    "Permit" I don't think is a -- a sort of a

          14    germane characterization here.             We strive to be

          15     truthful .

          16             Q.    (BY MR . GRAY)   Well,      I'm gonna    I'm

          17     gonna push back on that, because I think it is.

          18                       Your -- my understanding, and cor rect

          19    me if I'm wrong,      is that your view is that because

          20     you can express opinions,       you have some greater

          21     leeway.      And I'm trying to put parameters around

          22     that.

          23                       So my question is:         Does the fact that

          24     you're allowed to express opinions in any way permit

          25     you to broadcast something t ha t 's false?



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                                                                                   47
           1                      MR. BIERBAUER:       Objection to form.

           2           A.     We are -- whatever work we're doing

           3     on-air, whether opinion or news, we strive to be

           4     truthful and fair to the extent possible.

           5           Q.     (BY MR. GRAY)     So is the answer to my

           6     question that the fact that you're allowed to

           7     express opinions, it doesn't limit your obligation

           8     to be -- to not be false --

           9                      MR. BIERBAUER:       Objection to form.

          10           Q.     (BY MR. GRAY)     -- is that a fair

          11     statement?

          12           A.     We strive to be truthful in all of our

         13     broadcasts.

         14            Q.     I'm not asking what you strive to, sir.

         15      I'm asking you -- I'm trying to understand what you

         16     mean when you discuss the fact that you have greater

         17      leeway because you're allowed to express opinions.

         18                       And my question is:        Do you understand

         19      that because -- let me ask the question again.

         20                       Is it       is it your view that because

         21     your show allows you to express opinions, that that

         22     somehow modifies or limits your obligation to tell

         23     the truth?

         24                       MR. BIERBAUER:       Objection to form.

         25            A.     No, it's not my understanding.


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                                                                                        48
           1                 Q.   (BY MR. GRAY)     I'm sorry, what was the --

           2     II no II?

           3                            I didn't hear what you said after

           4     that.

           5                 A.   No,   that's not my understanding,       that it

           6    modifies or limits .

           7                            MR. GRAY:   We've been going for about

           8     an hour.         Why don't we take 10 minutes.

           9                            THE WITNESS:     Okay.

         10                             THE VIDEOGRAPHER:        Time is 11:01 a.m.

         11     We are going off the video record.

         12                             (A recess was taken from 11:01 a.m. to

         13       11:13 a.m.)

         14                             THE VIDEOGRAPHER:        Time is 11:13 a .m.

         15     We are now back on the video record.

         16                             MR. BIERBAUER:     As we just discussed

         17     during the break,           I am going to ask that this

         18     deposition be designated confidential under the

         19     Court's protective order .             I note that the document

         20     marked as Exhibit 2 was designated as confidential

         21     under the protective order .

         22                             MR. GRAY:   No objection.

         23                  Q.   (BY MR. GRAY)     I want to go back to the

         24     discussions that you said you had about the Policies

         25     and Guidelines.


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                                                                                      51
           1     not the staff of your "All In" show attended

           2     these -- one or more of these training sessions?

           3           A.     Staff did attend, yes .

           4           Q.     Other than whatever training sessions that

           5     you've attended regarding the policies and

           6    procedures set forth in Exhibit 2, prior to joining

           7    MSNBC, have you ever received any coursework on

           8     journalistic ethics?

           9           A.     I have not .

          10           Q.     Any training at any of the other prior

          11    publications that you worked with or for prior to

          12    MSNBC on the topic of journalistic ethics?

          13           A.     Not that I can recall.

          14           Q.     Do you agree that accuracy is a

          15     fundamental principle of journalism?

          16                        MR . BIERBAUER :     Objection to form .

          17           A.     Yeah,   I agree accuracy is fundamental             a

          18     fundame n tal principle of journalism, sure .

          19           Q.     (BY MR . GRAY)      And do you believe that

          20     a cc u rac y i s required of you as a matter of MSNBC

          21    poli c y?

          22           A.     As a -- yes, a s a goal to strive towards,

          23     absolutely .

          24           Q.     Do you agree that fairness is a

          25     fundamental pr i nciple of journalism?



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              1            e-mail coverage and the Podesta -- and the

              2            hacked e-mails.

              3                        AMY CHOZICK :       Right.

              4                        CHRIS HAYES :       What kind of        in

              5            retrospect, what do you think about the way

              6            the -- the hacked e-mails are playing out?

              7                        (End of video clip . )

              8                        THE VIDEOGRAPHER:           Do we have t he time

              9      the clip e n ded?

            10                         MR . GRAY :    Yeah.       Saam, can you let us

            11       know where it ended?

            12                         MR . TAKALOO :      Yes.     It ended at 38

            13      minutes .

            14                         MR. GRAY:      I'm sorry, say t hat again.

            15                         MR. TAKALOO:        38 minutes .

            16                         MR . BIERBAUER :        Just for the record,

            17       that is not the complete segment.

            18                         MR. GRAY:      That's correct.

            19             Q.     (BY MR. GRAY)       So that was broadcast on

            /, 0     you r te levision show?

            21             A.     I t was .

            22             Q.     Okay.       All right.    So now I want to play

            23       an audio clip.

            24                         MR. GRAY:      Sa am,    can you play t h e

            25      audio clip .



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           1                       (Deposition Exhibit 5 marked for

           2      identification.)

            3                      (Audio clip playing:)

           4                      BRIAN MONTOPOLI :         The next block --

           5           and Diane's gonna come in shortly,            I think .

            6          But my suggestion is we bump in with our old

           7           buddy Don Blankenship's ad .

            8                     "We need to arrest Hillary             we don't

            9          need to investigate our president.            We need to

          10           arrest Hillary .     Lock her up . "

          11                      CHRIS HAYES :     Holy fucking shit, Dude .

          12                      BRIAN MONTOPOLI :         Yeah .

          13                      CHRIS HAYES:      This is -- that is,

          14           like, convicted felon

          15                      BRIAN MONTOPOLI:          Yeah .

          16                      CHRIS HAYES :          Don Blankenship

          17                      BRIAN MONTOPOLI :         Yeah.

          18                      CHRIS HAYES :          the man who was

          19           found,   you know, to have criminally violated

          20           the law in the mine that he owned that killed,

          21           you know, all those miners.

          22                      BRIAN MONTOPOLI:          Yeah .

          23                      CHRIS HAYES:      But, like, you know, the

          24           AP says this is a theme .         Like --

          25                      BRIAN MONTOPOLI:          Yeah .



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                                                                                        68
              1                  CHRIS HAYES:     -- having, you know,

              2     the --

              3                  BRIAN MONTOPOLI:        Yeah.      There's two

              4     sort of themes .      There's the theme of sort of

              5     echoing Trump .

              6                  CHRIS HAYES:     Right .

              7                  BRIAN MONTOPOLI :       But, of course, part

              8     of echoing Trump --

              9                  CHRIS HAYES :    Yeah, right .

            10                   BRIAN MONTOPOLI:        -- is going after

            11      Hillary .

            12                   And, you know, maybe we don't get into

            13      the      sort of the tax -- do we want to say in

            14      the intro, like, "Tax cuts were supposed to be

            15      the message, but Republicans are increasingly

            16      learning that, like, that's not working, so

            17      instead they're targeting Hillary" --

            18                   CHRIS HAYES :    I think that --

            19                   BRIAN MONTOPOLI :       -- or that just

            20      comes out in the conversation?

            21                   CHRIS HAYES:     No,     I think       no.

            22      Because that's not really the -- what the

            23      conversation with Chozick's going to -- really

            24      going to be.

            25                   BRIAN MONTOPOLI :       Okay.


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                                                                                         69
           1                          CHRIS HAYES :   You know what I mean?

           2                          BRIAN MONTOPOLI :      Okay .

           3                          CHRIS HAYES :   So I think that's

           4           worth --

           5                          BRIAN MONTOPOLI :     Okay.

           6                          CHRIS HAYES:          showing that .      And I

           7           think you can still do this very short.

           8           Just -- you know .

           9                          BRIAN MONTOPOLI :     Okay .    Yeah .    That

          10           sounds good .

          11                          (End of audio clip . )

          12           Q.     (BY MR. GRAY)       So, Mr . Hayes, that was an

          13    audio clip that your lawyer supplied to us .                   Do you

          14     know t he circumstances under which that recording

          15    was made?

          16           A.     So my understanding -- I don't have any

          17     special insight to it .         My understanding is that it

          18     is a recording from Brian Montopoli, who is the

          19    other voice you hear on that, who was the segment

          20    producer for the segment that featured Amy Chozick

          21     that you just showed us .

          22           Q.     And this was a recording of the two of you

          23    speaking?      The other voice was yours?

          24           A.     Yes .

          25           Q.     So the two voices we heard were Br i an and



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                                                                                     70
           1     you?

           2            A.    Correct.

           3            Q.    And this was a recording of a conversation

           4     that took place before the April 23rd, 2018, show

           5    aired?

           6            A.    That's my understanding, yes.

           7            Q.    And do you have any doubt as to the

           8     accuracy of that recording?

           9            A.    I have no reason to doubt the accuracy of

          10     that recording.

          11            Q.    And do you know where that was recorded?

          12    Meaning was that

          13            A.    I have no idea .      I honestly -- I

          14    presume -- presumably in my office, but I just

          15     couldn't tell you.

          16            Q.    I'm sorry, that was -- that was a bad

          17     question.

          18                        On what -- on what medium was that

          19     recorded?

          20            A.    Oh,   I --
          21                        MR. BIERBAUER :     Objection to form.

          22            A.    That, I don't know.           My segment producers

          23     use different tools to record meetings sometimes, so

          24     I -- I don't know .

          25            Q.    (BY MR. GRAY)      So is it a practice in the



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           1    production of the "All In" television shows for

           2     certain conversations to be recorded?

           3                       MR. BIERBAUER:      Objection to form .

           4           A.      Sometimes, yes, to help producers

           5     transcribe my words as,       you know, dictated in the

           6    meeting .

           7           Q.      (BY MR. GRAY)     Typically, do people record

           8     things on their -- on their phones, or is there some

           9    other recording equipment that's used?

          10                       MR. BIERBAUER:      Objection; form .

          11           A.      Yeah,   I don't -- I don't really pay close

          12    attention to that .        I know that sometimes people use

          13    phones.       They may use other devices, too.

          14           Q.      (BY MR. GRAY)     Are these recordings for

          15    audio that will be used on the show or for

          16    generating scripts?

          17           A.     No, this is completely confidential, you

          18     know, internal editorial deliberation for -- for the

          19    generation of a script.

          20           Q.     When was the first time you heard this

          21     recording?

          22           A.     At some point in the course of this

          23     litigation, fairly recently, when it was brought to

          24    my attention .

          25           Q.     What was your reaction to hearing it?



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                                                                                     72
           1                        MR . BIERBAUER:      Objection to form .

           2            A.     Mostly that I -- I couldn't believe

           3     that         it's always weird to hear yourself in            in

           4     the process of working when removed from it as long

           5     as I have been .

           6            Q.      (BY MR. GRAY)     Did you have any reaction

           7     to what you said about Mr . Blankenship?

           8            A.     My reaction was that I called him a

           9     convicted felon in the conversation because I

          10     thought he was a convicted felon,           clearly .

          11            Q.     What about your comment that he was

          12     "responsible for killing all those miners"?               Is that

          13     something you believe then and now?

          14            A.      I don't think that's the specific way that

          15     it was articulated .

          16                        (Audio clip played . )

          17                        MR . GRAY :   I'm sorry, what -- what

          18     happened just now?

          19                        Saam, are you gonna -- can you play it

          20     again so we can hear it again?

          21                        MR . TAKALOO :    (Complied . )

          22                        (Audio clip played . )

          23            A.      So I didn't say, "responsible . "        I said,

          24     "a man who was found to have criminally violated the

          25     law in t he mine he owned that killed all those


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                                                                                        80
           1    misdemeanor conviction be set aside ?

           2                        MR . BIERBAUER:    Objection to form.

           3             A.   I don't recall.

           4                        Just for my own awareness , that

           5     conviction has not been set aside or vacat e d,               right?

           6             Q.   (BY MR . GRAY)     It has not .

           7                        Have you reported on it at all , the

           8     fac t   tha t -- the fact that Mr. Blankenship's

           9    misdemeanor conviction is -- there's been a

          10     recommendation tha t     it be set aside, that that issue

          11     is currently before the First             Fourth Circuit?         Is

          12    anything -- have you reported on any of tha t?

          13             A.   Again,   I don't recall that we have.

          14             Q.   Given you r prior statements about

          15    Mr. Blankenship, do you think that fairness would

          16     require that you do some reporting on those matters?

          17                        MR. BIERBAUER:     Obj ecti on to form.

          18             A.   What prior statements do you mean?

          19             Q.   (BY MR . GRAY)     The statements that he's a

          20     convicted felon,      et cetera?

          21                        MR. BIERBAUER:     Objection to form.

          22             A.   No,   I don't.

          23             Q.   (BY MR. GRAY)      Do you believe you have any

          24    obligation to be fair to Mr . Blankenship?

          25                        MR. BIERBAUER:     Objection to for m.



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                                                                                     81
           1           A.       I believe we have an obligation to be fair

           2     to everyone .          But, again, as I said before, the

           3    understanding of what is fair tends to be fairly

           4     radically subjective .

           5           Q.       (BY MR . GRAY)      Do you believe you're

           6    entitled to be less fair to Mr . Blankenship because

           7    he was an executive in the coal industry?

           8                            MR . BIERBAUER :   Objection to form .

           9           A.       No .

          10           Q.       (BY MR . GRAY)      Have you ever -- let's go

          11    back to before you were at MSNBC .

          12                            During the time you were engaging in

          13     freelance writing and working for the various

          14    publications we've talked about, did you ever do any

          15     reporting on the coal industry?

          16           A.       I think the answer to that is I probably

          17     did but don't have specific recollections .              But most

          18     likely,      I did .

          19           Q.       Have you ever visited the coal country to

          20     report?

          21           A.       I have, yes.

          22           Q.       Where have you gone?

          23           A.       I have spent some time in Harlan County .

          24     I've been in other parts of -- I don't recall

          25     specifically, but around Knoxville, Tennessee, and



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                                                                                    87
           1     career of Don Blankenship, at least for now.

           2     He is, of course, the former coal company

           3    executive who was released from prison last

           4     year after serving a year for mine safety

           5    violations connected to an explosion that

           6     killed 29 people.        He then ran for U. S . Senate

           7     and talked about "China people."

           8                  (Video clip played:)

           9                  DON BLANKENSHIP:      "This idea that

         10     calling somebody a 'China person' -- I mean,

         11      I'm an 'American person.'          I don't see this

         12      insinuation by the press that there's something

         13      racist about saying a 'China person.'             Some

         14     people are 'Korean persons,' and some of them

         15     are 'African persons.'"

         16                   CHRIS HAYES:     He also began referring

         17     to Majority Leader of the Senate as "Cocaine

         18     Mitch," making a bizarre connection to a report

         19      that a shipping vessel owned by Mitch

         20     McConnell's father-in-law was discovered to

         21     have drugs onboard in 2014.

         22                   (Video clip played:)

         23                   DON BLANKENSHIP:      "One of my goals as

         24     U.S. Senator will be to ditch 'Cocaine Mitch.'

         25                   "I will beat Joe Manchin and ditch


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                                                                                              90
           1              silver lining.      At midnight,          just hours after

           2              he came in a distant third in the Republican

           3              Senate Primary, Don Blankenship's year-long

           4              probation came to an end.            And he has plans.

           5                           (Video clip played : )

            6                          DON BLANKENSHIP :       II      •   go on

           7              vacation .     You know,    I' m off of probation

            8             tonight at midnight .        I've not been able to go

            9             places I like to go for three years now .                  And

          10              I'll get my guns back in a day or two, so I'm

          11              gonna win either way tonight . "

          12                           (End of video clip.)

          13              Q.    (BY MR . GRAY)       So first let me ask you,

          14     Mr . Hayes, is that an excerpt from your television

          15     program that was broadcast on MSNBC on May 9th,

          16      2018?

          17              A.   Yes, that is my understanding .

          18              Q.   So I heard you say there that

          19      "Mr. Blankenship is the former coal company

          20     executive who was released from prison last year

          21     after serving a year for mine safety violations

          22      connected to an explosion that killed 29 people . "

          23                           Did you h ea r yourself say that?

          24              A.   I did .

          25              Q.   And what's the basis for your statement



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              1     that his prison term was connected to the explosion?

              2                         MR . BIERBAUER:     Objection to form.

              3             A.      I don't recall my -- the process by which

              4     that script was written.          My understanding is that

              5     the mine safety violations for which he was

              6     convicted and did a year in prison were in the mine

              7     that was the site of one of the worst, most deadly

              8     mining accidents in generations .             And I think

              9     "connected" there seems like a perfectly defensible

            10      word choice .

            11              Q.      (BY MR. GRAY)    So you mean to say by the

            12      word "connected" that the safety violations were in

            13      some way responsible for the explosion?

            14                          MR. BIERBAUER:      Objection to form.

            15              A.      Yeah,   I didn't -- I didn't say

            16      "responsible."

            17              Q.      (BY MR. GRAY)    I'm just asking what you

            18      mean by "connected . "

            19              A.     Connected in that he was -- if I'm not

            20      mistaken,       I think it was convicted and did a year in

            21      federal prison for conspiracy to evade mine safety

            22      laws.        Obviously, mining is a very regulated

            23      enterprise .       Mine safety laws,        I think, are quite

            24      important .       And the site of the mine where he was

            25      convicted of trying to evade those laws is also the



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                                                                                      92
             1    place where the worst mining disaster in generat i ons

             2     that killed 29 people happened .

             3           Q.      So do you believe that this statement is

             4     an accurate description of what he was convicted of?

             5                       MR . BIERBAUER :     Objection to form .

             6           A.      I believe it's accurate, yes.          Certainly

             7    at the best of my understanding then and my -- best

             8     of my understanding now .

             9           Q.      (BY MR. GRAY)     Has Mr . Blankenship ever

            10    be e n convicted of a felony?

            11                       MR. BIERBAUER :      Objection .

            12           A.     My understanding is that he was convicted

            13     of a s e rious crime for which he did a year in

            14    prison .

            15           Q.      (BY MR . GRAY)    Has Mr. Blanke n s hip ever

            16    been convicted of a felony?

            17           A.      I -- I actually don't know the answer to

            18     that as regards the -- I don't know his crimina l

            19     record .     As regards,   I think, what is at issue here,

            20    my u nde r s tanding subs e quently, having rev i ewe d i t,

            21     is that he was convicted of a misdemeanor for whi c h

            22     he was senten c ed to a year in f ederal - - federal

            23    prison .

            24           Q.      You knew that in 2 015, right ?

            25                       MR . BIERBAUER :     Objection.



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           1    mine where the worst mining accident in generations

           2    happened, and 29 people lost their lives.

           3           Q.      (BY MR . GRAY)   It's your understanding

           4     that Mr . Blankenship personally owned that mine?

           5           A.      It's -- my understanding is it's a little

           6    complicated, but he was an executive there .             I don't

           7     know the ownership structure specifically .

           8           Q.     When you referred to Mr. Blankenship as a

           9    convicted felon,       you understood that that would make

          10    him sound worse than just calling him a

          11    misdemeanant, right?

          12                        MR. BIERBAUER :    Objection to form .

          13           A.     No,   I don't -- I don't know what I

          14    understood at the time .

          15                        I mean, at the time it was my

          16    understanding when we put -- the time in question,

          17    of the shows you're referring t o,          I thought that he

          18    had been convicted of a felony .           And I think that

          19    that view, which comes from me ex nihilo, out of

          20    nowhere,      just -- I generated in that audio

          21    conversation as -- as sort of evidence of that fact,

          22    was borne of the fact that he had -- I knew he had

          23    done a year in federal prison, and I just t hought

          24    that meant he had been convicted of a felony.

          25           Q.      (BY MR . GRAY)   But you knew that calling



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               Confidential      Christopher Loffredo Hayes - March 02, 2021

                                                                                    105
           1     him a convicted felon would make him sound worse

           2     than just calling him a misdemeanant .

           3                          MR. BIERBAUER:     Objection to form .

           4           A.       I think those terms          honestly,   those

           5     terms pale in comparison to just saying,             "He did a

           6     year in prison . "       To the extent "convicted felon"

           7    was essentially a shorthand -- or a technically

           8     imprecise shorthand for that,           I was trying to

           9     accurately convey the seriousness of the crime in

          10     the estimation of a jury that convicted him and a

          11     judge that sentenced him .

          12           Q.       (BY MR . GRAY)    If you had been called a

          13     felon and you were not, would you be satisfied that

          14     you'd been treated fairly?

          15                          MR . BIERBAUER :   Objection to form.

          16           A.       If I was - - if I had done a year in

          17    prison,       yeah.

          18           Q.       (BY MR . GRAY)    At any time prior to the

          19     filing of this lawsuit, did you recognize that you

          20     had called Mr . Blankenship a felon when he was not?

          21                          MR . BIERBAUER:    Objection to form .

          22           A.       I think       I have no direct recollection

          23     of this, but I think there's an e - mail indicating

          24     that -- that a viewer had notified me to that

          25     technical distinction .



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             1                      Do you see that?

             2           A.     I do see that,    yep.

             3           Q.     And then you respond to that at the top of

             4    Exhibit 8 .     And can you read what you write?

             5           A.     I said, "yes!    Caught that after the show,

             6    but you're right."

             7           Q.     How did you catch that you had mistakenly

             8    called Mr. Blankenship a felon after the show?

             9           A.     I have --

            10                      MR. BIERBAUER:       Objection to form .

            11           A.     I have honestly no idea.        I have no --

            12     literally no recollection of this entire exchange,

            13    which was, you know, close to three years ago.               So I

            14    couldn't say.

            15           Q.     (BY MR. GRAY)     Do you believe that you

            16    were being truthful when you said to Miss Schaffer

            17    that you caught that after the show?

            18           A.     I do.   And I think what it reflects there

            19     is that at the time that we wrote the script and we,

            20    you know, broadcast those -- that show in which we

            21    referred to him as a felon,        I did think he had been

            22    convicted of a felony.         I mean,    I -- that is what --

            23     I was under the impression .

            24                      I think that was colored by the fact

            25     Uw t I -- that I knew that he did a year in prison.



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             1      So that's an acknowledgment of the fact that my

             2      state of mind then, as,          I think,    also reflected in

             3      that video recording - - that audio recording you

             4     played, was that he had been convicted of a felony .

             5            Q.       And you believe that you realized that

              6    before you received Miss Schaffer's e - mail, meaning

             7      that you had called Mr . Blankenship a felon when he

             8     was not?

              9           A.       Again,    I don't know when I realized what.

            10     What I say there is that I caught that this -- I

            11      caught this technical imprecision at some point

            12      after the show .

            13            Q.       And you believe that's true?

            14                            MR . BIERBAUER :   Objection to form .

            15            A.       I'm sorry .     I didn't understand the

            16      question .      You believe th a t what I said there

            17            Q.       (BY MR. GRAY)      Neve r mind .   I withdr a w the

            18      ques ti on .

            19                            Do you recall discu s sing with anyone

            20      the fact that you had caught that you had called

            21     Mr . Blankenship a felon wh e n he wa s not?

            22                            MR. BIERBAUER:     Objection to fo r m.

            23            A.       No .    I have no - - I have no recollection

            24      eith e r wa y, whether I did or d id not .

            25            Q.       (BY MR . GRAY)     Ha v e y o u or MSNBC ever



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                                                                                     114
             1              Q.   (BY MR. GRAY)     Your understanding is that

             2      someone can be acquitted of a felony and still be a

             3      felon?

              4             A.   My understanding is that a person who does

              5     a full year -- if I'm not mistaken, 365 entire days

              6     in prison in a federal facility -- has been

              7     adjudicated by a judge for doing something quite

              8     serious, and the seriousness of that, as commonly

              9     understood, equates to felony in -- in the common

            10      understanding .

            11              Q.   People can serve a year in prison for a

            12     misdemeanor, true?

            13              A.   Apparently .     I literally have only learned

            14      of that in the case of Mr . Blankenship .

            15              Q.   Whether or not -- but the question of

            16      whether or not he is convicted of a felony is a

            17      matter of fact that can be resolved, right?

            18                        MR . BIERBAUER:     Objection to form .

            19              A.   Yes, whether he was con - -- the sentence,

            20      "He was convicted of a felony," yes,          is a matter of

            21      fact.

            22              Q.   (BY MR . GRAY)    Right .    That's something

            23      that you,    as a reporter, can ascertain the answer

            24      to?

            25              A.   Correct .   My understanding is t hat I never



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                                                                                      117
              1            Q.    (BY MR. GRAY)     Mr. Hayes,    you agree

              2     someone is either convicted of a felony or they are

              3     not?

              4            A.    Someone is either convicted of -- well,          I

              5    mean, there's lots of other ways that a case can

              6     resolve, right?       Charges could be dropped; they

              7     could be

              8                      So, again,    in the specific reference

              9     to Don Blankenship, he was            as the record

            10      reflects, he was acquitted of a felony and convicted

            11     of a misdemeanor.

            12             Q.    Right.   And that -- you --

            13             A.    I would say -- let me -- let me also say I

            14     believed at the time that I referred to him as a

            15     convicted felon that he had been, in fact,             convicted

            16     of a felony.

            17                       MR. GRAY:     I'll move the last part

            18     move to strike the last part as nonresponsive.

            19                       MR . BIERBAUER:      It was perfectly

            20      responsive, Jeremy.

            21                       MR. GRAY:     We'll resolve that later.

            22                       Madame Court Reporter,       can you read

            23     back the last answer for me.           Last question and

            24     answer, please.

            25                       THE COURT REPORTER:        One moment,


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                                                                                   120
        ·1    · · ·A.· ·I don't, no.

        ·2    · · ·Q.· ·And did you accurately report the fact of

        ·3    Mr. Blankenship's conviction when you said he was a

        ·4    "convicted felon," in your May 9th broadcast?

        ·5    · · · · · · · MR. BIERBAUER:· Objection to form.

        ·6    · · ·A.· ·I think we were imprecise in that.                I

        ·7    think that at the time I believed he had been

        ·8    convicted of a felony, and I think the statement was

        ·9    imprecise.

        10    · · ·Q.· ·(BY MR. GRAY)· Is it inaccurate?

        11    · · · · · · · MR. BIERBAUER:· Objection to form.

        12    · · ·Q.· ·(BY MR. GRAY)· Is the statement

        13    inaccurate?

        14    · · ·A.· ·Again, I think it's -- no, it's in a gray

        15    area, honestly.

        16    · · ·Q.· ·Well, the question of whether or not he

        17    was convicted of a felony we've established is --

        18    · · ·A.· ·I didn't say he was convicted of a --

        19    · · ·Q.· ·-- a question of fact.

        20    · · ·A.· ·I didn't say he was convicted of a felony.

        21    · · ·Q.· ·I'm not saying you did.· I'm just backing

        22    up to -- to make sure you and I are on the same

        23    page.

        24    · · · · · · · You have agreed with me, I think, that

        25    whether or not someone is convicted of a felony is a


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                                                                                        125
           1    April 6th,         2016.

           2            Q.        (BY MR . GRAY)    Do you have Exhibit 9 in

           3     front of you,         sir?

           4            A.        I do .

           5            Q.        I see in the "Subject" line a referen ce to

           6     "our old friend Don Blankenship."

           7                           Do you see that?

           8            A.        I do .

           9            Q.        You understood that was meant

          10     sarcastically?

          11                           MR. BIERBAUER:       Ob jection .

          12            A.        I don't know if sarcas t ically .        I think it

          13    was a sort of playful reference to the fact that he

          14    had actually come to our studio and been interviewed

          15     i n - studio .

          16            Q.        (BY MR . GRAY)    Well,      you hold

          17    Mr. Blanke nship in some disdain, do you no t ?

          18                           MR. BIERBAUER:       Ob jection .

          19            A.        I would d isagree with that

          20     characterization.

          21            Q.        (BY MR. GRAY)     Well, what's your genera l

          22     o pinion of the coal industry?

          23                           MR. BIERBAUER :      Objection .

          24            A.        I don't know.     I don't really have a

          25    ge ne ral opinion of th e coal industr y .



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           1                    Subscribed and sworn t o on this the 7th

           2    day of March, 2021 .

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           6
                Karen L . D. Schoeve, RDR, CRR
           7    Realtime Systems Administrator
                NCRA Exp . Date :  09 - 30-21
           8    Lexitas Legal
                Firm Registration #736
           9    999 Old Eagle School Road, Suite 118
                Wayne, Pennsylvania 19087
         10     215-494 - 7650

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          "Schaffer, Gia P"

          From:   Christopher Hayes
          Sent:   Thu 5/10/2018 8:47 PM (GMT-04:00)
          To:     "Schaffer, Gia P"
          Cc:
          Bee:
          Subject: Re: Blankenship felon


          yes! Caught that after the show, but you're rght.

          -c


          On Thu, May 10, 2018 at 8:45 PM, Schaffer, Gia P
          wrote:

           First, I love your show. I watch you and Rachel every evening. I live in WV, I need it!!



           You mentioned that Blankenship was a Felon on your Thing I/2 Seg ment. Unfortunately it was
           a misdemeanor



           Go figure!



           Keep up the good work!



           Gia Schaffer

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                                                                                                                  MSNBC 001287
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                                          In the Matter Of:

                                            Blankenship vs
                                            Fox News Network




                                         DENIS HORGAN
                                           April 23, 2021




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                Blankenship vs                                                 Denis Horgan
                Fox News Network                  Confidential                 April 23, 2021

                                                                                       1
           1                         UNITED STATES DISTRICT COURT

           2                    SOUTHERN DISTRICT OF WEST VIRGINIA

           3                              CHARLESTON DIVISION

           4      DON BLANKENSHIP

           5                       Plaintiff,

            6           vs.                            Case No.:   2:19-cv-00236

           7      FOX NEWS NETWORK LLC, et al.,

            8                      Defendants.
                  ------------------------------ /
            9

          10

          11                               **CONFIDENTIAL**

          12                               REMOTELY CONDUCTED

          13                  VIDEOTAPED DEPOSITION OF DENIS HORGAN

          14                            Friday, April 23, 2021

          15

          16

          17

          18

          19

          20

          21      Stenographically reported by:
                  LORRIE L. MARCHANT, RMR, CRR, CCRR, CRC
          22      California CSR No . 10523
                  Washington CSR No . 3318
          23      Oregon CSR No . 19 - 0458
                  Texas CSR No . 11318
          24

          25      J ob No . :      2021-788039


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                Blankenship vs                                                Denis Horgan
                Fox News Network                   Confidential               April 23, 2021

                                                                                      2
           1                            A P P E A R A N C E S

           2                  (All appearances remotely via Zoom)

           3      Appearing as counsel on behalf of the Plaintiff:

           4                       SIMPKINS LAW
                                   BY : JEFFREYS . SIMPKINS, ESQ.
           5                       1 02 E. 2nd Avenue
                                   Williamson, WV 25661
            6                      (304) 235-2735
                                   simpkinslawoffice@gmail . com
           7
                  Appearing as counsel on behalf of the Defendants :
           8
                                   FROST BROWN TODD, LLC
           9                       BY : KEVIN T . SHOOK, ESQ .
                                        ALEX ZURBUCH, ESQ.
          10                       One Columbus Center
                                   10 West Broad Street
          11                       Columbus, OH 43215
                                   (614) 464-1211
          12                       kshook@fbtlaw . com
                                   azurbuch@ftblaw . com
          13
                  Also present :
          14
                                   Don Blankenship
          15                       Erik Bierbauer, in - house counsel for MSNBC
                                   Gail Gove, in - house counsel for MSNBC
          16                       Marie Schuetze, stenographic intern
                                   Mitch Reisbord, legal video special is t
          17

          18                                   --- 000-- -

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            1                                  I N D E X

            2                            INDEX OF EXAMINATION

            3     EXAMINATION BY                                               PAGE

            4      MR . SIMPKINS                                                  5

            5                                  --- 000---

            6           INDEX OF EXHIBITS MARKED FOR IDENTIFICATION

            7        EXHIBIT            DESCRIPTION                          PAGE

            8        Exhibit 1          NBCUniversal News Group Policies        13
                                        and Guidelines, December
            9                           2014 {S} {TR : 1} { P}

          10         Ex hibi t 2        e-mail correspondence, dated            19
                                        12/3/2015, subject : RE: Shared
          11                            from Twitter : Former Massey
                                        Energy CEO Guilty of Deadly Coal
          12                            Mine Blast - NYTimes.com

          13         Exhibit 3          e-mail correspondence, dated            33
                                        4/6/2016, subject : our old
          14                            friend Don Blankenship going to
                                        the cooler for a year
          15
                     Exhibit 4          Video/audio clip from All In            37
          16                            with Chris Hayes show

          17         Exhibit 5          News article entitled "Former           37
                                        Massey Energy CEO Don
          18                            Blankenship to run for U . S .
                                        Senate"
          19
                     Exhibit 6          Article by Evan Osnos, dated            41
          20                            12/3 / 2015 entitled "Don
                                        Blankenship, West Virginia's
          21                            'King of Coal, ' is Guilty"

          22         Exhibit 7          Printout of tweet by Chris Hayes        43

          23                                   ---000---

          24

          25


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                Blankenship vs                                                             Denis Horgan
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                                                                                                 38
           1      prior to today's deposition?

           2            A.     I reviewed it when it was pres ente d as an

            3     exhibit.

            4           Q.     Okay.      And Ex hib it No . 5 is an article from

            5     wc hs tv.com titled "Former Massey Energ y CEO

            6     Don Blankenship to run for U.S . Senate."

            7                  Do you see that?

            8           A.     Yes.      That's the headline.

            9           Q.     And Chris Hayes referred to this article as

          10      "a source" during the telecaster segment; is that

          11      correct?

          12            A.     Correct.

          13                   MR. SHOOK :      Objection .

          14                   THE WI TNESS :     Sorry.

          15                   BY MR . SIMPKINS :

          16            Q.     Sorry .     If you want to al low a brief moment

          17      of pause before so Kevin Shook can get his

          18      objection,       that would be fine,              if you don ' t mind.

          19                   MR . SIMPKINS :      So, Kevin , do you have an

          20      objection ?

          21                   MR. SHOOK :      Yea h .      I objected.

          22                   MR. SIMPKI NS:       Okay .

          23                   BY MR. SIMPKINS :

          24            Q.     Th e article was als o u sed as a graphic

          25      during the segment or telecast; correc t ?


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                                                                                               39
           1            A.     Correct .

           2                   MR . SHOOK :    Objection .

           3                   THE WITNESS :     We have a real delay here .

           4      Sorry.

           5                   BY MR . SIMPKINS :

            6           Q.     The article alludes to Don Blankenship's

           7      misdemeanor conviction in the third full paragraph

           8      on page 2.

            9                  Do you see that?         It starts:

          10                         "Blankenship's misdemeanor conviction

          11                   came after 24 days of testimony in

          12                   connection with his involvement in the

          13                   Upper Big Branch explosion that killed 29

          14                   men in 2010 . "

          15                   Do you see that?

          16            A.     Not on page 2.       I have -- t hat's page 3.              I

          17      see that on page 3.

          18            Q.     Page 3 ends:

          19                         "The AP contributed to the story . "

          20                    I'm talking about pag e 2 of Exhibit No.              5.

          21      The first page is a picture of Don Blankenship.

          22            A.     This is my first page            (witness showing page

          23      to camera)

          24            Q.     Where is your second page?

          25            A.     Th i s is my second page            (witness showing


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                Blankenship vs                                                       Denis Horgan
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                                                                                           40
           1      page to camera) .

           2             Q.      Okay.       Maybe it is your third page, but

           3      it's my second page .

           4             A.       This is my third page (witness showing page

           5      to camera) .

            6            Q.       Do you see the paragraph --

           7             A.      This is the fourth page (witness showing

           8      page to camera).

            9            Q.      Okay.        Do you see the paragraph that

          10      states:

          11                             "Blankenship's misdemeanor conviction

          12                      came after 24 days of testimony"?

          13                      Do you see that within the article?

          14             A.       I see it on page 3, yes.

          15             Q.      Okay.        Is Exhibit No . 5 a true and accurate

          16      depiction of the wchstv.com article used as a

          17      graphic during the telecast of All In with

          18      Chris Hayes?

          19                     MR. SHOOK :       Objection.

          20                      Go ahead and answer if you know.

          21                      THE WITNESS:       I have no r e ason to b e lieve

          22      that it's not.

          23                      BY MR. SIMPKINS:

          24             Q.      Okay.        Do yo u know who chooses the g raphics

          25      to be us e d during t h e telecas t o f All In wi t h


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                                                                                       41
           1      Chris Hayes?

           2            A.     Generally the segment producer will choose

           3      the graphics.

           4            Q.     And who was the segment producer for

           5      this -- for the video segment, Exhibit No . 4?           If

            6     you recall .

           7            A.      I don't know.       I don't recall.

           8            Q.     Okay .     If you would, go to Exhibit No . 6 .

            9                   (Marked for identification purposes,

          10                       Exhibit 6.)

          11                   THE WITNESS:        Okay.

          12                   BY MR. SIMPKINS:

          13            Q.     Do you have it in front of you?

          14            A.      I do.

          15            Q.     Now, Exhibit No . 6 is an article from The

          16      New Yorker titled "Don Blankenship, West Virginia's

          17      'King of Coal, ' is Guilty."

          18                   Do you see that?

          19            A.      I do.

          20            Q.     Yeah.      And Chris Hayes referred to this

          21      article as a source dur ing the segment or telecast;

          22      is that correct?

          23                   MR. SHOOK:        Objection .

          24                   THE WITNESS:        He did.

          25      Ill


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               Blankenship vs                                                   Denis Horgan
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                                                                                      79
           1                         STENOGRAPHER'S CERTIFICATE

           2                      I, LORRIE L . MARCHANT, Certified Shorthand

           3     Reporter, Certificate No . 10523, for the State of

           4     California, hereby certify that DENIS HORGAN was by

           5     me duly sworn/affirmed to testify to the truth,              th e

           6     whole truth and nothing but the truth in the

           7     within-entitled cause; that said deposition was

           8     taken at the time and place herein named; that the

           9     deposition is a true record of the witness's

          10     testimony as reported to the best of my ability by

          11     me, a duly certified shorthand reporter and a

          12     disinterested person, and was thereafter transcribed

          13     under my direction into typewriting by computer;

          14     that request [ X] was [           ] was not made to read and

          15     correct said deposition .

          16                      I further certify that I am not interested

          17     in the outcome of said action, nor connected with,

          18     nor related to any of the parties in said action,

          19     nor to their respective counsel.

          20                      IN WITNESS WHEREOF,     I ha ve hereunto set my

          21     hand t his 6th day of May, 2021.

          22

          23                             !'ikM4.1V/,Mcli.tiA-;{;
                             LORRIE L . MARCHANT, RMR, CRR, CCRR , CRC
          24           Stenographic Certified Shorthand Reporter #10523

          25


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                             EXHIBIT #3
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                                                                     30712 PageID #: 15702




          From:    O'Melia, Brendan (NBCUniversal, MSNBC)
          Sent     Wed 4/06/2016 12:39 PM (GMT-04:00)
          To:      "allin_everyone@nbcuni.com" <"@NBC UNI All In Everyone>, "Chris
                   Hayes<clhprivate@gmail.com" <clhprivate@gmail.com>
           Cc:
           Bee:
           Subject: our old friend Don Blankenship going to the cooler for a year




           Former Massey Energy CEO Don
           Blankenship receives maximum sentence
           http://www. wsaz. com/content/news/Former-Massey-Energy-CEO-Don-Blankenship-to-be-sentenced-
           Wednesday-374701101.htm I




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                           EXHIBIT 3




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                                          In the Matter Of:

                                         Don Blankenship vs
                                            Fox News Network




                                   JOY-ANN LOMENA -REID
                                            April 19, 2021




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                 Don Blankenship vs                                              Joy-Ann Lomena-Reid
                 Fox News Network                    Confidential                        April 19, 2021

                                                                                                 1
             1                           UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF WEST VIRGINIA
             2                               CHARLESTON DIVISION

             3     DON BLANKENSHIP,             §
                                                §
             4             Plaintiff,           §
                                                §
             5     v.                           § Case No .:        2:19-cv-00236
                                                §
             6     FOX NEWS NETWORK,            §
                   L . L.C ., et al.            §
             7                                  §
                           Defendants.          §
             8
                   * * * * * * * * * * * * * * * * * * * * * * * * * *                       *
             9
                                REMOTE VIDEOTAPED ORAL DEPOSITION OF
            10                         JOY-ANN LOMENA-REID
                                  Designated as "Confidential"
            11                           April 19, 2021
                   * * *    * * * * * * * * * * * * * * * * * * * * * * *                    *
            12

            13             REMOTE VIDEOTAPED ORAL DEPOSITION OF JOY-ANN

            14     LOMENA- REID, produced as a witness and duly sworn, was

            15     taken in the above-styled and numbered cause on April

            16     19, 2021,      from 10:01 a.m. until 12:12             p.m.   (Eastern

            17     Time), before Suzanne Kelly, RDR, CRR,                 in and for the

            18     State of Texas, reported by stenographic method with

            19     all participants appearing remotely from separate

            20     locations pursuant to emergency orders related to the

            21     COVID- 19 pandemic.

            22

            23     Repor ted by:        Suzanne Kelly, CSR, RDR, CRR

            24     Job Number:        2021-785595

            25


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                 Don Blankenship vs                                    Joy-Ann Lomena-Reid
                 Fox News Network                 Confidential                April 19, 2021

                                                                                       2
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             2     FOR THE PLAINTIFF:

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                          - and-
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            18

            19     FOR ABC:

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            22     Seattle, Washington 98104
                   206.757 . 8282
            23     caesarkalinowski@dwt.com

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            25


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                 Don Blankenship vs                                          Joy-Ann Lomena-Reid
                 Fox News Network                 Confidential                       April 19, 2021

                                                                                            60
             1                          But the point of the segment was

             2     his candidacy, not the specifics of what he was

             3     convicted of.

             4                          So, we were attempting to convey,

             5     you know, perhaps imprecisely, that this is

             6     somebody who is a convicted criminal.

             7            Q.     Do you think describing someone as "a

             8     convicted criminal" and "a convicted felon" as

             9     equivalent?

            10            A.     I think in the shorthand, I think that

            11     if the point is to convey that somebody has been

            12     convicted of a very serious crime and, in fact,

            13     you know, was on probation, spent a year in

            14     federal prison to convey the seriousness of that

            15     crime.

            16                          I think to the layperson hearing

            17     "convicted criminal" or "ex-convict" or

            18     "convicted felon," I think they convey the same

            19     thing.

            20                          So I think the end result is this

            21     conveying the exact same thing,               I mean one is

            22     sort of shorthand for the other.              It's sort of

            23     layman's shorthand.

            24            Q.     Can you tell me any other occasions in

            25     your broadcast career where you used the word


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               Fox News Network                    Confidential                  April 19, 2021

                                                                                        92
           1           I further certify that I am neither counsel for,
                 related to , no r employed by any of the parties or
           2     attorneys in the action in which this proceeding was
                 taken, a nd further that I am not fi nancially or
           3     otherwise interested in the outcome of the action.
           4

           5
           6
                 name on t his        -SiJcuuu
                      In witness whereof, I have this da te subscribed my

                                                            ~~
           7
           8                             Suzanne Kelly, RDR, CRR
                                         Expiration Date : 12 - 31 -18
           9                             LEXITAS
                                         Firm Registration No. 736
         10                              Suite 118
                                         999 Old Eagle School Road
         11                              Wayne, Pennsylvania 19 087 -17 07
                                         215.494.7650
          12
                 JOB NO.;        2021-78559584
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                                EXHIBIT #2

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              <Show: ALL IN with CHRIS HAYES>
              <Date: January 9, 2018>
              <Time: 20:00>
              <Tran: 01090lcb.478>
              <Type: Show>
              <Head: ALL IN WITH CHRIS HAYES for January 9, 2018, on MSNBC>
              <Sect: News; International>
              <Byline: Joy Reid>
              <Guest: Jason Johnson, Rick Wilson, Mazie Hirono, Evan McMullin, Kurt
              Bardella >
              <High:>
              <Spec: Politics; Immigration; DACA; Congress; Donald Trump>

              CHRIS MATTHEWS, MSNBC HOST:. Thanks for being with us. "ALL IN" with
              Chris Hayes starts right now.

              (BEGIN VIDEO CLIP)

              JOY REID, MSNBC HOST: Tonight on ALL TN.

              DONALD TRUMP, PRESIDENT OF THE UNITED STATES: Well, I think it's veiy sad
              what they've done with this fake dossier.

              REID: Democrats release the Fusion GPS transcripts.

              TRUMP: But I th.ink ifs a disgrace.

              REID: Tonight, explosive new details about the Steele dossier, including
              fems that Tnnnp was blackmailed. And that a human source from inside the
              Trump organization led to the FBI' s investigation. Then --

              STEVE BANNON, FORMER CHIEF STRATEGIST, WHITE HOUSE: This is what they
              think about President Tmmp behind closed doors.

              REID: Steve Bannon bounced from Breitbart as his epic collapse continues.

              TRUMP: That's why sloppy Steve is now looking for ajob.

              REID: And the self-proclaimed veiy stable genius holds court on
              immigration --

              TRUMP: My positions are going to be what the people in this room come up
              with.

              REID: -- and plays chicken with DACA and the wall.

              TRUMP: I think that's what she's saying.

              REID: ALL IN starts now.

              (END VIDEO CLIP)

              REID: Good evening from New York, r 111 Joy Reid in for Chris Hayes.
              Republicans did not want the public to see secret testimony related to the
              infamous Trump dossier. But today democratic Senator Dianne Feinstein went
              ahead and released the testimony anyway. And now that we've seen it, it's




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              clear why the Republicans didn't want it to get out because this testimony
              destroys the conspiracy theory being peddled on the right to undermine
              Special Counsel Robert Mueller's Russia investigation. According to that
              theory, the dossier was co-opted by t11e FBI in 2016 as part of a Democratic
              plot to tarnish Donald Trump.

              (BEGIN VIDEO CLIP)

              REP. JIM JORDAN (R), OIDO: The Clinton campaign and the DNC, now we know
              those are one and the same, paid the law firm who paid Fusion GPS who paid
              Christopher Steele who paid Russians to give him this dossier and get this
              dossier that was we tllink taken to the FISA court and was the basis for
              securing warrant to spy on American --

              UNIDENTIFIED MALE: Congressman -- lhe Clinton campaign --if you lei me, I
              will get to tllis, I will get to this --

              (END VIDEO CLIP)

              REID: The testimony released today blows t11osc claims out of tl1c water and
              the two Republican Senators blocking its release, Chuck Grassley, and
              Lindsey Graliam knew that. They knew the narrative being pushed on Fox News
              and Capitol Hill was baloney. But instead of correcting that narrative,
              they chose to perpetuate it calling for a second special counsel to
              investigate so-called FBI bias and referring the author of the dossier,
              former British spy Christopher Steele, for a crinlinal investigation. Ifs
              all part of a concerted drive by the President's allies to muddy the waters
              of the Russia investigation and discredit the dossier, which outlines
              alleged Russian collusion wilh 1he Tmmp campaign in 2016. According 10
              the testimony released today, the reports in that dossier were "really
              serious and really credible." And their author Steele was an experienced
              intelligence professional who used to be the top Russia expert at MI6.

              The testimony was given by Glenn Simpson, Co-Founder of the research firm
              Fusion GPS, which hired Steele to investigate Donald Trump during the
              campaign. The research by Fusion GPS, in turn, was originally funded by
              the Washington Free Beacon, a conservative Web site and later by a lawyer
              representing the DNC and the Clinton campaign. Simpson was interviewed in
              August for about ten hours by investigators on the Senate Judiciary
              Committee. And more recently, at his firm's work has taken center stage in
              right-wing conspiracy theories, he's been calling on tl1e comnlittee's senior
              Republicans, Grossley and Graham, to release his testimony. Well, today
              the lop-ranking Democrat on Judiciary, Dianne Feinstein, got tired of
              waiting.

              (BEGIN VIDEO CLIP)

              SEN. DIANNE FEINSTEIN (D), CALIFORNIA: I tllink the people arc entitled to
              know what was said and the lawyers also wanted it released. I see no
              problem with releasing.

              (END VIDEO CLIP)

              REID: A spokesman for Grnssley slammed Feinstein's move in a written
              statement claiming that it "undemlines the integrity oftl1e comnlittee·s
              oversight work and jeopardizes its ability to secure candid. voluntary




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              testimony related to the independent recollections of future witnesses."
              But Grassley may have had other reasons to object. According to the
              testimony, Christopher Steele approached the FBI in the Summer of 2016, not
              as part of some shadowy Democratic plot, but because he was deeply troubled
              by Iris findings in the dossier. "He said he thought we were obligated to
              tell someone in government about this infonnation. He thought from his
              perspective there was an issue, a security issue, about whether a
              presidential candidate was being blackmailed." When Steele finally did get
              in contact with the FBI, it turned out he was not the first person to do so
              according to tlris testimony. "They believed Chris' infonnation might be
              credible because they had other intelligence that indicated the same thing.

              One of those pieces of intelligence was a human source from inside the
              Trump organization." rm joined now by two people who know a tlring or two
              about the Department of Justice, MSNBC Justice Analyst Mall Miller, who was
              Chief Spokesman at the DOJ under President Obama and NBC News National
              Security Contributor Frank Figliuzzi, former Assistant Director for
              Counterintelligence at the FBI, under then-Director Robert Mueller. And
              Frank, rn start with you first. There are questions about who this other
              intelligence source inside the Trump campaign might have been and whether
              it might be George Papadopoulos, tl1e same person who's pleaded guilty to a
              crime, tlle same person who allegedly on a drunken night told Australian
              officials who then relayed to American intelligence officials that there
              might be some attempted contact with the Trump campaign by the Russians.
              Would it surprise you if George Papadopoulos was the inside man, so to
              speak?

              FRANK FIGLIUZZI, NBC NEWS NATIONAL SECURITY CONTRIBUTOR: No, tllat could
              very well be the case. We k11ow that he had a conversation with the Aussies
              in May 2016. We know that Christopher Steele approached the FBI in July
              2016 so this could be consistent. But ru tel1 you somethlng, if it's not
              George Papadopoulos, then we' ve got a mystery person inside the Trump
              can1paign who theoretically could stiJl be in place. And if in fact that's
              been compromised or jeopardized, rm sure that the Mueller team is kind of
              scratching their heads tonight.

              REID: Yes, and you know, I think probably the tlring tl1at's the most
              maddening when you look at this new piece of infonnation that Republicans
              tried to stop us from seeing but that we can now see, is that you had t11e
              FBI being approached now by at least two people, someone inside the
              campaign, as well as tlris fonner MI6 top Russia expert and raising the
              alanns tlmt one of the two candidates for President of the United States
              could be being blackmailed. And there's this piece from Gleim Simpson's
              testimony to Congress that Steele was concerned. He said, "I understand
              Chris severed his relationship with the FBI out of concern that he did not
              know what was happening inside the FBI and there was a concern that the FBI
              was being manjpulated for political ends by the Tmmp people." That's
              referring to the fact that the FBI was denying that it was investigating
              the Trump campaign while it was acknowledging that it was investigating
              Hillary Clinton's e-mails. Is that a scandal, a new scandal upon the FBI?

              MATT MILLER, MS NBC JUSTICE ANALYST: I think it's a tough thing to explain.
              Look, I think --

              REID: Matt first.




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              MILLER: I think what -- I think why Cluistopher Steele severed his ties
              was after that story in The New York Times ran October 31st when they said
              that you know, the FBI's been investigating this and so far had found no
              clear ties. And of course, Chris Steele was talking to FBI agents and had
              his own infonnation he was supplying them that showed that wasn't the case.
              And that happened after two other events. One, Director Comey having sent
              -- having sent that letter up to the Hill, and then two, a Wall Street
              Journal story that had a number of leaks from the FBI, very hannful to the
              Clinton campaign about attempts by FBI agents to investigate the Clinton
              Foundation.

              So I think he was very concerned when he saw that story. And I think we
              still haven't ever gotten a good explanation from the bureau about why they
              did knock that down It may be very well that they didn't want --- that
              they didn' l want the Trump campaign, people they plalllled lo approach lo
              know how serious they were conducting this investigation. In fact, that
              would be a legitimate tiring for them to do. They aren't supposed to be
              confirming investigations appropriately, it only seems odd because they
              acted so differently in the Clinton case.

              REID: Yes. And Frank, I mean, that -- I guess -- I guess that would be
              sort of the only rational explanation why the FBI would then prompt the New
              York Times to publish tlus story that essentially knocks down the idea that
              the Trump campaign was being investigated while they were confinning that
              Hillary Clinton was. Doesn't this also explode this idea on the right that
              somehow the FBI was this hotbed of libernlism that was trying to help
              Hillary Clinton?

              FTGLTUZZT: Yes, T think it does. And we know now that the FBT was being
              very circumspect. And I think as Matt said, they were in the nudst of
              figuring out what tl1ey had with Trump, a candidate, very early stages
              perhaps, and just were circmnspect to come out with it. But I also want to
              add sometlung here, because we're talking about Chris Steele as a British
              Intelligence. professional, who knows Russia, came forward, called time-
              out, went to the FBI. I also want to point out anotl1er intelligence
              professional here, and that's Dianne Feinstein. Don't forget she Chairs
              the Senate Intelligence Collllnittee. I personally as AD. at FBI had met
              with her personally, briefed the committee, briefed her. She gets the
              intelligence from Russia and I think in part tl1e reason why she released
              tlus transcript was because she knows how deeply damaging the Russian
              threat can be. She needs the public to see it and she was extremely
              frustrated with her colleagues in not being able to release it.

              REID: Yes, absolutely. And I tlunk you know, she of all people would
              understand that according to Glenn Simpson's lawyer, somebody's already
              been killed as a result of tl1e publication of this dossier and those
              involved didn't want to see harm come to anyone else. You know, she also
              met witl1 dealing witl1 a colleague on the other side of the aisle that doing
              were tilings like Lindsey Graham did tlus weekend on "MEET THE PRESS." This
              is Lindsey Graham again reiterating who he wants investigated.

              (BEGIN VIDEO CLIP)

              SEN. LINDSEY GRAHAM (R), SOUTH CAROLINA: I want a special counsel to look
              at not only how Mr. Steele conducted himself, what the FBI did with tl1e
              dossier, whether Mr. Orr, whose wife ,vorked for Fusion GPS alongside Mr.




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              Steele, what involvement did he have in the dossier, and I want to find out
              if the lead investigator of the Clinton e-mail investigation had a
              political bias against Trump for Clinton to the point that it was a sham
              investigation. I don't know all these things, but I can tell you somebody
              needs to look. If you believe Robert Mueller should be looking at the
              Trump campaign, count me in. But if you ignore all this stuff, you're
              blind.

              (END VIDEO CLIP)

              REID: Matt, what does it say to you or how do you feel about it when you
              hear -- when you hear Lindsey Graham saying that, knowing that he heard the
              exact same testimony Diane Feinstein did, that he knew what was in these
              transcripts and yet he still demonize -- he's still demonizing Mr. Steele,
              still demonizing Fusion GPS, and he knew belier?

              MILLER: You know, one of the things that's most stark when you read this
              transcript is the behavior of Christopher Steele versus that of Lindsey
              Graham, Chuck Grassley, and everyone in the Tmmp orbit. Look, Christopher
              Steele is not an American citizen, he's a British citizen, someone who's
              worked with American intelligence agencies and national security agencies
              for years. But he was so concerned by what he saw and cared so much about
              America's national security, that he took it upon himself to call the FBI.
              Contrast that with Donald Trump Jr. who saw that the Russians want to
              interfere with the selection and said, I love it. Contrast it with Jared
              Kushner, who got an e-mail saying the same thing, and went to a meeting.
              And contrast that with Lindsey Graham and Chuck Grossley, who seeing
              Christopher Steele tried to blow the whistle, and refer him for criminal
              charges, II)' to have him prosecuted and sent to jail. 1t really is, T
              would say a shameful moment for those two members of the Senate.

              REID: Yes, well said. Matt Miller, Frank Figliuzzi, thank you, both. I
              appreciate it. And for more on Russian efforts to block the dossier
              testimony from being released -- from being released, let's bring in MSNBC
              Contributor Jennifer Rubin, Conseivative Columnist for The Washington Post
              and Evan MeMullin, Independent Presidential Candidate in 2016, who's also
              happens to be a former CIA officer. And actually, I'm going to start with
              you, Evan. What do you make of this? You just heard you know, Lindsey
              Graham again demonizing Christopher Steele, who made it his business, he's
              not even an American citizen as Matt just pointed out, to try to inform the
              FBI that he thought there could be blackmail happening against an American
              presidential candidate and tl1en finding out there was an insider in the
              Tnnnp campaign that was saying the same tiring. What does it -- whal do you
              make of the idea that Republicans have been trying to get Fusion GPS and
              Christopher Steele investigated?

             EVEN MCMULLIN, FORMER INDEPENDENT PRESIDENTIAL CANDIDATE: Well, I think it
             goes to show how far this extreme partisanship with many Republicans in
             Congress has gone. Ifs gone so far that they' re willing to attack people
             who are standing up for American and for western national security, meaning
             our allies in Europe, in the U.K. , elsewhere, and of course here at home.
             I mean. this is what they' re doing. They're attacking even the people that
             serve our country's interests, our country's most vital interests including
             the integrity of our elections. I find (AUDIO GAP) Grnssley ' s attack,
             especially the criminal referral to the DOJ on Christopher Steele, to be
             just disgusting and very disappointing. I mean, this is -- this is -- they




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              are not serving the public interest. What they did is completely
              disingenuous.

              Keep in mind, they took infonnation that they had received from the FBI and
              then wrote a criminal referral back to the Department of Justice about
              infonnation that the FBI had given them. Think about how ridiculous that
              is. That's infonnation the DOJ already has. And these guys, in a
              political stunt, send it back to DOJ and said, we're going to give you a
              criminal referral on this. Ifs absolutely absurd. Christopher Steele is
              a patriotic Brit. He's somebody who cares about our security too. He's
              been a partner in a variety of forms with our national security and law
              enforcement officials. He did what any intelligence or any law enforcement
              self-respecting officer would do, and that is alerted t11e appropriate
              authorities about a serious national security risk.

              REID: Yes, and Jennifer, you know, you have the Australians alerting the
              United States about t11eir alanns about what was going on between t11e
              Kremlin and the Trump campaign. You have Christopher Steele, who's a
              British citizen, MT6 Russia expert, alerting them . They' re being alerted
              by the FBI, they're being investigated by the FBI. How under those
              circumstances, knowing what they knew before we did, can Lindsey Gral1am,
              best friend of John McCain, possibly justify turning this around and
              demonizing Christopher Steele and Fusion GPS?

              JENNIFER RUBIN, MSNBC CONTRIBUTOR: Well, you ask the same question that I
              have been asking, which is, remember, how did the FBI and Steele kind of
              get together? And that was through John McCain, one of the closest friends
              and colleagues tlmt Lindsey Graham has in the Senate. But instead, as you
              say, he's off on this wild goose chase. And the Republicans can understand
              didn't want us to learn lots of things tlmt were in tlris testimony. I
              didn't know, for example, that they detennined that, for example, Donald
              Trump was doing business in fonner Soviet States. Donald Trump kept
              denying he did business in Russia but he didn't say anytlring about Georgia
              and Azerbaijan, two places tl1at apparently still figured out he was active
              in. He talked about ties witl1 people connected to the Russian mob. He
              talked about, as you have said, other people within the Trump campaign who
              had tlris concern he was being blackmailed. So tl1ere' s a lot of substantive
              material in here.

              But the picture that you get is someone, both Mr. Simpson and Mr. Steele,
              who are professionals, who are handling material in tl1e appropriate way,
              who didn't go in with the agenda that they wanted to find tlris or that or
              they wanted lo nmke stuff up but they wanted lo find out was out there.
              You know, Republicans don't want to find out what's out there, and they're
              completely just interested frankly in finding out tl1e truth here. The name
              of the game for them toss circle the wagons around Donald Tnunp, threw up
              enough dust and enough distraction that we all get lost in the weeds and
              hope that somehow they stumble through 2018. But instead tl1cy'rc making
              themselves accessories to this cover-up, they're making themselves
              complicit in an effort to mislead the American people and to really conceal
              Donald Trump's own wrongdoings.

              REID: Yes, and everytlring you have now . there· s -- a piece of Spencer
              Ackem1an is reportingjust tonight in The Daily Beast that even after the
              election, an acolyte of Miclmel Flynn and Peter Tlriel was floating the idea
              ofwit11drawing U.S. forces from parts of Europe that the United States has




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              been defending since the Cold War, just to please Vladimir Putin. The
              evidence is mounting that this administration is attempting to appease
              Putin. And so when you couple that with these ties before the election,
              does it -- I mean, you ran for President of the United States. Can you
              imagine why somebody like Lindsey Graham, who used to be a hawk, could
              possibly not be interested in exploring that further?

              MCMULLIN: No, and he has been. Ifs --Lindsey Graham's behavior over the
              past month or two has been absolutely bewildering. I'm somebody who has
              had a great deal of respect for him. l just don· t understand it. l
              absolutely don' t understand it. The Russian interfered in our election,
              they would like to deprive the American people of unimpeded power to choose
              their own leaders. The Russians want to have a say in that. They had a
              say in that in 2016. It's a huge national security problem. Lindsey
              Graham knows il. Why he would behave in this manner is just -- I just
              can't explain it.

              REID: Yes, and I think a lot of people are baffled. Jennifer Rubin and
              Evan McMullin, thank yon so much for your time tonight.

              RUBIN: Thanks.

              MCMULLIN: Thank you.

              REID: Thank you. And next, two --what two-shirted strategic genius Steve
              Bannon Loses two jobs in one day. The epic demise of Steve Bannon in two
              1ninutes.

              (COMMERCIAL BREAK)

              (BEGIN AUDIO CLIP)

              BANNON: You've got this miracle. You don't think that that's going to
              resonate. When you say he's created this kind of Oprah thing to set up to
              run against him in 2020, because of just his tweets or maybe his -- the way
              he comports himself, isn' t his actions, whether ifs destroying ISIS in the
              Middle East, or rebuilding the economy here, and unlocking the animal
              spirits of the American people, don't you think those actions go a lot
              farther than your quiet professionalism?

              (END AUDIO CLIP)

              REID: Well, the groveling didn't work. Steve Bannon is out of a job
              tonight. Two jobs, in fact. He has stepped down as Executive Chaim1an of
              Breitbart News and will no longer host the Breitbart radio show on Sirius
              XM. Bannon attacked Donald Trump· s family in the new book Fire and Fury,
              going after Ivanka and Donald Jr. and angering the President in the
              process. After the book came out, Trump said Bannon had "lost his mind"
              and said his one-time campaign chief executive and fired chief strategist
              "has nothing to do with me or my presidency ." That in tum lost Bannon the
              support of Rebecca Mercer and her father Robert, the billionaire backers of
              the Breitbart media site where he served as Executive Chainnan since 2012.

              Well, tonight The New York Times broke the news that Bannon is out at
              Breitbart. His departure forced by Rebecca Mercer herself. MSNBC
              Political Analyst Robert Costa, National Reporter for the Washington Post,




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              has been repo1ting on Bannon' s exit today and Kmt Bardella is a former
              Spokesperson for Breitbart News. I'll start with you on this Robert. Give
              us the play by play of how Bannon lost his gig.

              ROBERT COSTA, MS NBC POLITICAL ANALYST: It came sudden today at Breitbart' s
              headquarters. People were preparing for radio inteiviews, Bannon himself
              was sharing the Web site and the editorial coverage. But the decision in a
              way also had been in the works for weeks. Rebecca Mercer, the billionaire
              donor who's a stakeholder in the site and others in the Breitbart
              leadership were looking to push him. They wanted to move away from Bannon
              as being this omnipresent person nmning the whole operation.

              REJD: And you reported or you tweeted out earlier today that poor people
              close to Bannon, his wistful, but has referenced Thomas Cromwell in recent
              days, during Cromwell guided a king but it never last and Cromwell was
              eventually sent to the tower.

              COSTA: And executed.

              REID: What is that about?

              COSTA: Well, when I was doing my reporting today with my colleagues Josh
              Dawsey and Paul Farin, we're trying to really get a sense of what's
              happening inside of the whole Breitbart world today as tlus drama unfolds,
              tlus battle with the White House. And people say Bannon keeps talking
              about lustory, he mentioned Thomas Cromwell, who was an adviser to a
              British king and he eventually was sent to the tower of London and
              executed. And Bannon' s reason for that, they tell us, is that he sees
              himself as a revolutionary figure who guided a president, but he never
              really saw it as something that would last.

              REID : Well, he tlunks quite highly of himself. Does he have to move out
              of the Breitbart residence where he lives?

              COSTA: We've been looking into that, and it's hard to say exactly what
              Bannon's next step will be. He does runs a political operation, a C4 group
              and he's going to try to perhaps move forward in 2018. But it's going to
              be a real challenge Joy, to see if Steve Bannon can have a presence in the
              Republican Party because President Trump is such a dominant force and he
              doesn't want Bannon there.

              REID: Yes, and so Kurt, you know, we have come to know, you know, over tl1e
              past 18 months or two years, Steve Bannon as this very haughty figure,
              thinks highly of himself and likes to talk into a tough-guy terms. This is
              Bannon from the Weekly Standard just back on August 18th after his White
              House exit. This is just after he left, and he said, I feel jacked up.
              Now I'm free . I've got my hands back on the weapon. Someone said, ifs
              Bannon the barbarian, I'm definitely going to crush the opposition, there's
              no doubt. 1 built an F-ing machine at Breitbart. Now that I'm about to go
              back, knowing what I know, and we' re about to rev that machine up and rev
              it up we will do ." Is that a person that's capable of being deflated? Do
              you think that Iris ego has been checked?

              KURT BARDELLA, FORMER SPOKESPERSON FOR BREITBART NEWS: No, I think Steve,
              much like his fom1er boss, Donald Trump, is a textbook narcissist. And he
              believes that the more that they punch at him, the more that he goes down,




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              the harder he' II fight to come back. He is kind of that street fighter.
              And he talks about the how he built at Breitbart the so-called fight club.
              That's what they'd refer to themselves as. So I don't think Steve will go
              quietly. Now, t11e question is, is it viable for him to make a return,
              really that hinges on his relationship witl1 Trump right now. Trump is tl1e
              Republican Party, he is the gateway to donors, to supporters, to that
              audience. If Bannon can try to find his way back into Trump's good graces,
              he might have a second, third, fourth lease on life. But that's really tlle
              ultimate question.

              REID: And do you -- how could he possibly think he could do that? I mean,
              he accused Donald Trump's son of treason. He went on tlle record, according
              to multiple people who have spoken about how tlley came to speak to Michael
              Wolff, they said Bannon was the guy who said, go ahead and talk to him.
              Whal way, whal method would he use Kurl, lo lry lo gel back in Trnmp's good
              graces'!

              BARDELLA: I tlrink that for Steve to succeed, he needs Trump to fail. At
              the end of the day, Tmmp is all about instant gratification in that
              moment. And that's why he's so unpredictable. He can watch one segment
              and see one tiring he doesn't like, and all of a sudden tweet sometlring
              crazy and fly off the handle. The Mueller investigation is a dark cloud
              that really is hanging over tlris Presidency. And as that cloud continues
              to darken and unfold, tliat can create a lot of chaos and instability in the
              Donald Trump world and he can become very disenchanted very quickly with
              this current cast of advisers, start reaching out to outside people outside
              the Wlrite House, and I suspect ilia! Steve Bannon will be right there
              wlrisper -- trying to wlrisper in Trump's ear telling !rim, this is what
              people are serving you right now. This is what they're doing wrong, here's
              what you should be doing and try to use the chaos of failure that can be
              around Trump in tlle Mueller investigation to get back into Iris good graces.

              REID: And Robert, there's been some reporting that part of tlle reason that
              Steve Bannon' s felt c01nfortablc going on the record with Michael Wolff, is
              that he assumed tllat Roy Moore was going to win, tllat Iris candidates would
              actually win and that would give !rim leverage because Trump would need him
              and feel like he need lrim in 2018. Can you -- can you confinn tl1at?

              COSTA: Joy, you're putting your finger on the Alabama senate race which
              was a huge factor in this entire unrnveling of the relationslrip between the
              Wlrite House and Steve Bannon. He was confident tllat Roy Moore would win
              that race. And when Democrat Doug Jones won, he saw Iris political capital
              and his relalionship wilh lhe While House suddenly tum The White House
              was pointing a finger at Bannon and saying, you' re responsible for tlris.
              You made tlris happen in Alabama. And Senate Majority Leader Mitch
              McConnell was only happy to cheer along tliat conclusion by the President.

              REID: Yes, we saw that happy tweet by Mitch McConnell's office. I'm sure
              he· s quite glad to see !rim gone. Robert Costa, Kurt Bardella, thank you,
              guys. I appreciate it.

              COSTA: Thank you.

              REID: Thank you. And next, the President who calls himself a very stable
              genius decided to put on a show for the cameras today and displayed a very
              loose grasp of what he was talking about. We'll show you what happened




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              right after this

              (COMMERCIAL BREAK)

              REID: There are two competing conceptions of Donald Trump as President.
              The version in Michael Wolff s new book, of a man seen by everyone as an
              inattentive and incurious child who is utterly unfit for the job and the
              version being pushed by Trump himself, of a "very stable genius." Today,
              the President got a chance to make his case when he allowed cameras to roll
              for nearly an hour as he presided over a bipartisan negotiating session on
              immigration. One issue on the table, whether to pass a standalone bill to
              protect DREAMers from deportation as Democrats want.

              (BEGIN VIDEO CLIP)

              SEN. DIANNE FEINSTEIN (D), CALIFORNIA: What about a clean DACA bill now,
              and with a commitment that we go into a comprehensive immigration refom1
              procedure --

              1RUMP: I have no problem. I think that's basically what Dick is saying.
              We' re going to come up with DACA, we're going to do DACA, and then we can
              start immediately on the phase two which would be comprehensive --

              FEINSTEIN: Would you be agreeable to that?

              1RUMP: Yes, I would like that. I think a lot of people would like to see
              that. But I think we have to do DACA first.

              REP. KEVIN MCCARTHY (R-CA), HOUSE MAJORITY LEADER: Mr. President, you need
              to be clear though. I think what Senator Feinstein is asking here, when we
              talk about just DACA, we don't want to be back here two years later. You
              have to have security as the secretary would tell you.

              1RUMP: But I think that's what she's saying.

              (CROSSTALK)

              MCCARTHY: No, I think she's saying something different.

              (END VIDEO CLIP)

              REID: She was saying something different. Trump just didn' t seem to
              understand what ii was. Bui Donald Tnnnp has never been one lo gel bogged
              down in policy details. Indeed he told lawmakers today to just send him
              something, anything and he' II sign it.

              (BEGIN VIDEO CLIP)

              1RUMP: When this group comes back, hopefully with an agreement, this group
              and others from the Senate, from the House, comes back with an agreement,
              rm signing it. I mean, I will be signing it. I' m not going to say, oh,
              gee. I want this, I want that. r 11 be signing it.

              (END VIDEO CLIP)

              REID: Art of the deal. What it's like to try and to negotiate with this




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              President from a Senator who was in that meeting next.

              (COMMERCIAL BREAK)

              (BEGIN VIDEO CLIP)

              SEN. MAZIE HIRONO, (D) HA WAil: As the only inunigrant serving in the United
              States Senate right now, I would like nothing better than for us to get to
              comprehensive inunigration refonn, but what I'm hearing around the table
              right now is a conunitment to resolving the DACA situation, because there is
              a sense of urgency. Now, you have put it out there that you are $18
              billion for a wall,
              or else there will be no DACA. ls that still your position?

              TRUMP: Yeah. I can build ii for less, by the way.

              HIRONO: But you are --

              TR UMP: 1 must tell you, I'm looking at these prices, somebody said $42
              billion. This is like the aircraft carrier, started off at $1 .5 billion,
              now at $18 billion. No. We can do it for less.

              We can do a great job. We can do a great wall, but you need the wall. And
              I'm now getting involved. I like to build under budget, OK? I like to go
              under budget, ahead of schedule.

              (END VIDEO CLIP)

              REID: That was the scene at today's bipartisan negotiating session on
              inunigration, andjoining me now is the senator you just saw in that clip,
              Democrat Mazie Hirono of Hawaii.

              And, senator, let's talk about that last bit, the wall. Donald Trump said
              in response to Dianne Feinstein, when she asked about a clean DACA bill,
              yes, Put that in front of me and I' II sign it. But then he said to you
              that ifs contingent on his wall. Did you come out of this negotiating --
              negotiation
              understanding which of those two tirings is Iris position?

              HIRONO: He repeated several times that DACA, he would like to resolve, but
              that the border
              security would be part of that resolution. So we actually have bipartisan
              support for the DREAMers in
              the senate, and I understand there were enough votes to pass a sinrilar bill
              in tl1e House, maybe not with the Freedom Caucus, but nonetheless going
              forward. But as you know, Joy, two days ago, he said, I need $18 billion
              for a wall or there will be no DACA, and that is why I wanted to ask him
              whether that's still Iris position. And you notice that he did not answer
              that question.

              Now I would have appreciated if he had clarified and just said, oh, yeah,
              that's my still position. Then we would have that understanding. But tl1cn
              he kind of went all over the place. I asked lrim how many miles this wall
              would be and he didn't respond.

              So he wants sometlring tl1at he can call border security, sometlring he can




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              call a wall, but to me the fact that he didn' t come out and say, something
              that I said two days ago, $18 billion for a wall or no DACA, he didn't do
              that. So I say maybe that he's open to something that's more reasonable.

              I don't know, because with the president, you don't know what he's going to
              say tomorrow.

              REID: Yeah.

              And would you and your Democratic colleagues vote for a bill that included
              building this wall of Donald Tmmp's?

              HlRONO: We already know that building a massive wall that goes on for
              hundreds and hundreds of miles is not going to have much of an impact, and
              so that's a waste of money. You know, $18 billion, which is just a down
              payment for a wall, could pay for a whole year of health care for 9 million
              children. So I am hopeful that if the House and Senate negotiators were
              left to our own devices, that we might be able to better come up with a
              compromise. But it's the president interjecting himself at the last
              minute, throwing a wrench into the works that could foul tirings up.

              And there's no question tl1at as long as border security is on the table,
              that's going to be a challenge as it is. The Democrats are open to
              reasonable border security measures.

              REID: But would you refuse to vote for a bill if it included the wall in
              it?

              HTRONO: H depends 011 what the wall is. Because he said things such as
              originally you tlrink it's 2,000 miles, oh, no, it's not 2,000 miles. And
              of course there are mountains and rivers and vaHeys. And so we' re not
              sure quite he means. He wants something that he can call a wall for his
              base, I suppose, but that's going to be the challenging part of the
              negotiations.

              As I said, we already have bipartisan agreement to support t11e dreamers in
              botl1 ilie House and the Senate, particularly in the Senate, so why can't we
              just go ahead with iliat? That was Dianne' s question and he did not provide
              a yes or no response to that.

              REID: I want to play you a little bit more sound. This is Donald Trump
              talking about something it didn't seem he was for the entire time he was
              nmning for president, and that's comprehensive immigration refonn. Th.is
              is Donald Trump today.

              (BEGIN VIDEO CLIP)

              TRUMP: When you talk about comprehensive i1mnigration reform, which is
              where I would like to get to eventually , if we do the right bill here, we
              are not vety far away. We've done most of it.

              You want to know the truth there, kid, we do this properly, DACA, you're
              not so far away from
              comprehensive immigrntion refonn. And if you want to take it that further
              step, I' 11 take the heat, I don't care.




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              (END VIDEO CLIP)

              REID: Did it surprise you to hear Donald Trump say he· s for comprehensive
              inunigration refonn?

              HIRONO: Well, that's what he said today. And I'm all for comprehensive
              inunigration refonn because we passed such a bill in 2013 in tl1e Senate.
              And I was very involved in that as a member of the judiciary committee.
              That's what he's saying today. He didn't really talk about that during the
              campaign. So one never knows.

              Now, I care very much about dealing with DACA and the 800,000 young people
              who are subject to deportation. And l have to say that one of the most
              astounding things t11at came out today was his homeland security secretary
              saying that no DACA participants had lost status. Is she not aware over
              10,000 DACA participants have already lost their DACA status? That was an
              astounding tiring. And I expect the homeland security secretary to know her
              facts better.

              Ycah, indeed. Senator Mazie Hirono, thank you so much for your time
              tonight. Appreciate it. Thank you.

              And still ahead, Joe Arpaio is a man of many titles -- fom1er sheriff,
              Obama birther, convicted criminal. And now he wants to add senator to t11e
              list. That story coming up.

              And the case for making sure every president from here on in is a stable
              genius in tonight's Thing One, Thing Two next.

              (COMMERCIAL BREAK)

              REID: Thing One tonight, Donald Trump is just tllree days away from his
              first physical since taking office. Now, we know two things about the 71-
              year-old's healt11. During the campaign, Trump's
              long-time doctor, Harold Bornstein, wrote a letter calling Trump's health
              astonislringly excellent and stated unequivocally Trump will be the
              healtlriest individual ever elected to the presidency."

              (BEGIN VIDEO CLIP)

              HAROLD BORNSTEIN, TRUMP DOCTOR: I tl1ought about it all day. And at U1e
              end -- I get rushed and I get anxious when I get rushed. So I try to get
              four or five lines done as fas! as possible lhal l11ey would be happy with.

              (END VIDEO CLIP)

              REID: The other thing we know about Trump's health is !hat he really likes
              fasl food even as president, and so much so tl1at according to Michael
              Wolff s reporting for Fire and Fury , the president
              of the United States takes his cheeseburgers to bed with him.

              Wolff s book has also brought to the forefront something we don't have
              medical analysis of: Trump' s mental fitness. Yesterday, a White House
              spokesman said a psychiatric exam would not be part of his physical on
              Friday.




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              But one lawmaker is ttying to change that. And that's Thing Two in 60
              seconds.

              (COMMERCIAL BREAK)

              REID: Pennsylvania Democrat Brendan Boyle introduced a bill in the House
              this morning which would require all presidential candidates to undergo a
              mental health exam with the secretary
              of the navy. The bill is called The Stable Genius Act. And ifs not a
              joke. It's aimed to avoid a situation like we have now.

              All we know about the mental fitness of the man in the White House is his
              own self-diagnosis.

              (BEGIN VIDEO CLIP)

              1RUMP: Is Donald Trump an intellectual? Trust me, rm like a smart
              person.

              I went to the best colleges -- or college.

              I went to Wharton.

              I had a situation where I was a very excellent student.

              I'm a person that very strongly believes in academics.

              I was a nice student.

              I have a very good brain and I've said a lot of tirings.

              I understand tirings. I comprehend very well, better than I tlrink almost
              anybody.

              rm very highly educated. I know words. I have tl1e best words.

              rm like a very smart person.

              Like a smart person.

              I'm a very smart person.

              11' s like rm a smart person.

              Very intelligent person.

              Like a lot of us are really smart.

              rm really smart.

              We're going to have smartness.

              (END VIDEO CLIP)

              (COMMERCIAL BREAK)




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              (BEGIN VIDEO CLIP)

              TRUMP: Was Sheriff Joe convicted for doing his job? That's what -- he
              should have had a jury, but you know what, I' 11 make a prediction, I think
              he's going to be just fine, OK?

              (END VIDEO CLIP)

              REID: After being convicted last July of criminal contempt for violating a
              judge·s order, and
              pardoned by the president in a tweet a month later, former Sheriff Joe
              Arpaio is now running for U.S. Senate.

              Arpaio thanked Donald Trump in a tweet of his own, quote, "for seeing my
              conviction for
              what it is, a political witch hunt by holdovers in the Obama Justice
              Department."

              Yet the Associated Press repo11s that the judge in Arpaio's case has said
              pardons moot punishments in criminal cases, but don' t erase convictions,
              meaning that Arpaio is still an 85-year-old convicted criminal, which makes
              him the third convicted criminal running for office as a Republican this
              year joining Don Blankenship who is running for a senate seat in West
              Virginia after serving a year in federal prison for ignoring safety
              regulations in a mining explosion in 20 l Othat killed 29 men.

              Blankenship will actually still be on probation at the time of the
              Republican primary .

              And here in New York, ex-con Michael Grimm is running to reclaim his old
              congressional
              seat after he was forced to resign in 2014 and served seven months in
              prison for felony tax fraud.

              Interestingly enough, a convicted felon isn't prohibited from running for
              federal office at all.

              Next, what happens when you elect a reality show star who hates to study to
              play the role
              of president. Well, he doesn't always understand the nuances of party
              policies or even the broad strokes. More on that next.

              (COMMERCIAL BREAK)

              (BEGIN VIDEO CLIP)

               REP. PAUL RYAN, (R) WISCONSIN: Something this big, something this
              generational, something this profound could not have been done without
              presidential leadership. Mr. President, thank you for getting us over the
              finish line.

              (END VIDEO CLIP)

              REID: House Speaker Paul Ryan was effusive in prnising the dear leader
              Donald Trump after Republicans rmmned their tax cuts for corporations and
              the I percent through congress. Ryan even coined a phrase that may come




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              back to haunt him: exquisite leadership.

              But one of the points in Michael Wolff's Fire and Fury is that Donald Trump
              doesn't really know Republican orthodoxy. That seems to be how he stumbled
              into agreeing, at least in principle, to comprehensive immigration refom1
              today when he met with a bipartisan group oflawmakers.

              (BEGIN VIDEO CLIP)

              UNlDENTIFlED MALE: Mr. President, comprehensive means comprehensive.

              TRUMP: No, we are talking about comprehensive, now we are talking --

              UNIDENTIFIED MALE: No, we are talking comprehensive -

              TRUMP: If you want to go there, ifs OK, because you're not that faraway.

              UNIDENTIFIED MALE: Mr. President --

              TRUMP: When this group comes back, hopefully with an agreement, this group
              and others, from tl1e Senate, from the House comes back with an agreement,
              rm signing it. I think a lot of people would like to see that, but I
              think we need to do DACA first.

              UNIDENTIFIED MALE: Mr. President, you need to be clear, though. I tltink
              what Senator Feinstein is asking here, when we talk about just DACA, we
              don't want to be back here two years later.

              TRUMP: l thi11k that's what she said. No, No, l think she's saying
              something different.

              I think what we're all saying is we'll do DACA and we can certainly start
              comprehensive imntigration refonn the following afternoon, OK. We'll take
              an hour off and then we' 11 start.

              (END VIDEO CLIP)

              REID: Republicans sat around tl1at table and watched their president almost
              give away tl1e entire store for nothing. MSNBC political analyst Jason
              Johnson is the politics editor at The Root and a professor at Morgan State
              University ; and Rick Wilson is a Republican strategist and media
              consultant.

              And Rick, the entire premise of the Trump campaign was Mexico is sending
              its worst, we' re going to end immigration and build a wall. How did he
              suddenly go from that to being Marco Rubio? What is happening?

              RICK WILSON. REPUBLICAN STRATEGIST: I tltink Donald Trump got his gang of
              eight tattoo tonight and the Members Only jacket for RINO immigration
              squishes, because this is a guy who literally sat there today and shredded
              the entire Bannon/Steve Miller agenda on building the wall and
              throwing out all the brown people. It was a clown show.

              REID: But who is in charge of telling Ann Coulter? I nominate you, Rick.
              You' re in charge of telling Ann Coulter. You have to tell her.




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              OK, so Jason, is this a Democrats in my Twitter feed, there is some anger
              that Democrats aren't really putting their foot down and saying we ain't
              voting for a wall period, end of story. We don't care what you say.

              Should Democrats be planting their flag there?

              JASON JOHNSON, THE ROOT: They don't even have to put the flag down yet,
              Joy, because it's clear -- and this is from the book and everyone who has
              ever talked about this president, he agrees with whatever the last idea is
              of the person who left the room. That's why he was ping ponging back and
              forth. I like this kind of immigration. I hate this kind of i1mnigration.
              I don't like these kind of people. I like these people.

              So, the Democrats don't have to take a strong position now because they
              don't know what position Tnnnp is going to have in three weeks.

              That's part of the problem. So, there is no reason to plant a flag.

              REID: Rick, I'm going to let you listen to Sarah Huckabee Sanders whose
              job frequently is to try to interpret Trump for regular people.

              Here she is trying to explain that he really does know what clean DACA bill
              means. He meant something completely different tl1an what clean DACA bill
              sounds like. Take a listen.

              (BEGIN VIDEO CLIP)

              SARAH HUCKABEE SANDERS, WHITE HOUSE PRESS SECRETARY: Only if you look at
              what the president's definition of a clean DACA bill is, and within that
              bill, he thinks that you have to include not just fixing tl1e -- not just
              fixing DACA, but closing the loopholes and making sure we have a solution
              on the front so we don't create a problem and find ourselves right back
              where we started in one, two, tlrree years later.

              (END VIDEO CLIP)

              REID: Help me, Rick. What did that mean?

              WILSON: You know, Sarah Sanders is just the White House mistress of word
              vomit. Every day something new just pops out.

              Look, I don't blame her. It's like Donald Trump speaks some sort of
              forgotten language like Hitite (ph) or Syrian and just rambles on and she
              just tries to translate as best she can.

              But this is a White House led by a man who does not have a lot of shall we
              say intellectual heft when it comes to understanding complex items of the
              policy agenda. You know, he's overcome by basically inanimate objects
              every day. And so you end up witl1 a situation where he says tirings in tins
              meeting that the rest of tl1e Republicans are in the room saying, dear god,
              what are we doing here? Because, you know, it's like they stumble
              occasionally on a policy win like the tax bill, and then they come to
              something like this and Trump is confused about what his own base is going
              to do about tins.

              A lot oflus base was motivated and infonned by the sense that he was going




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              to build a wall and throw out all the brown people, and obviously, what
              he's saying today is we'll have a policy based on love and we're going to
              do DACA and we're going to come back an hour later and do comprehensive
              immigration refonn.

              Like I said, that gang of eight tramp stamp tattoos is going to look
              awesome.

              REID: Back in June of 2016, we pulled this -- January of 2016, January
              30th, as a matter of fact, Donald Trump told The New York Times editorial
              board the following about the wall. He said quote, "if it gets a little
              boring at his rallies, ifl see people starting to sort of think about
              leaving, l can sort of tell the audience, 1 will just say, we'll build the
              wall, and they go nuts.

              Isn't it just the case that Donald Trump used the wall and all of this
              Brexit talk about immigration just to trick his base into being for for
              him?

              WILSON: Sure.

              REID: Because he doesn't know what any of this means?

              JOHNSON: Joy, he doesn't know what any of this means. He doesn't know how
              to build it. He's basically been punked multiple times by Mexico who is
              like, I'm not building your wall. I'm not giving you any money. Fox said
              I'm not building a wall. So he doesn't know how this thing can get made.
              And he's always been back and forth on these issues.

              Look, I mean, back in 2012 remember he said Mitt Romney was crazy for
              telling people that they have to self-deport and he said that to Newsmax.
              But I think the important tiring to remember is this, as much as Donald
              Trump seems to flip flop back and forth, and can't figure out what he wants
              to order for lunch when it comes to inunigration, this is the same
              administration that's now trying to kick out 200,000 El Salvadorians, when
              they aren't doing that to Kosovo refugees who we accepted in 1999. So the
              underlying tendency is still kicking out people of color, making it
              difficult for people of color to stay in the country, or at the same time
              fanning ignorance.

              REID: And at the same time, Rick then why doesn't his base react when he
              changes his mind?

              WILSON: I tlrink we'll see the conunent section oftl1e now Steve Bannon free
              Breitbart tomorrow losing t11eir minds on tllis and I tlrink a lot of t11ese
              folks that really relied on Donald Trump· s
              inunigration message that he really activated in an effo11 to position
              himself as tl1c guy who was going to return their jobs from the sly Mexicans
              and wile Cllinese. you know, these evil brown people and people of color
              from overseas, I tlrink he's going to have some surprised supporters when
              they start reading these stories tomorrow.

              REID: Absolutely. Jason Johnson, Rick Wilson, thank you, guys.

              That's All In for tlris evening. The Rachel Maddow Show starts right now.
              Good evening Rachel.




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             2                        SOUTHERN DISTRICT OF WEST VIRGINIA
             3                                    CHARLESTON DIVISION
             4
             5      DON BLANKENSHIP,


             6                      Plaintiff,


             7               vs .                                             Case No .
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             8      FOX NEWS NETWORK ,              LLC,        et
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            16        VIDEOTAPED REMOTE DEPOSITION VIA ZOOM OF :
            17                               MARIAN PORGES
            18                               THURSDAY,           DECEMBER 10,        2020
            19                               11 : 03 A . M.          EASTERN STANDARD TIME
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                      Reported by :            PAU LA A.         PYBURN
            25                                 CSR 7304,             RPR,    CLR

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             1                  VIDEOTAPED REMOTE DEPOSITION VIA ZOOM OF

             2      MARIAN PORGES,      the witness,          taken on behalf of

             3      PLAINTIFF,     on Thursday,         December 10,   2020,
             4      11 : 03 a . m. Eastern Standard Time, before PAULA A.

             5      PYBURN,     CSR 7304, RPR,       CLR.

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            14            Erik Bierbauer,          MSNBC In-House Counsel
            15            Don Blankenship
            16            Thomas Munk,       Concierge
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           1     Marian, can you hear me?                                                11:29:55

           2                THE WITNESS:       I do hear you, and I haven't              11:29:58

           3     adjusted anything on my side.            I mean,        I can also      11:30:01

           4     try to speak up, of course.                                             11:30:03

           5                MR. SIMPKINS:        I think it may have been an             11:30:04

           6     issue with my internet; so I apologize.                                 11:30:06

           7          Q     Do you need to reread that first paragraph                   11:30:08

           8     that I just read into the record?                                       11:30:11

           9          A     No,   I do not.                                              11:30:14

         10           Q     Okay.    What is your understanding of the                   11:30:15

         11      word "accuracy" as referenced in the guidelines or                      11:30:17

         12      in that paragraph?                                                      11:30:21

         13           A     Accuracy is getting our information right,                   11:30:25

         14      what we're reporting.                                                   11:30:30

         15           Q     Fair to say correct or precise?                Would that    11:30:32

         16      be a fair statement?                                                    11:30:37

         17           A     We -- we always want to be correct, yes.                     11:30:41

         18      We strive to be correct, yes.                                           11:30:43

         19           Q     What is your understanding of the word                       11:30:45

         20      "fairness" as referenced in the guidelines?                             11:30:47

         21           A     Acknowledging that there are more than one                   11:30:51

         22      side to a story and it's our job to find out all                        11:30:54

         23      those sides.                                                            11:30:59

         24           Q     Okay.    Okay.     Great.                                    11:30:59

         25                 What is your understanding of the word                       11:31:01

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           1     "integrity" as referenced in the guidelines?                  11:31:04

           2          A     Making sure our news organization is               11:31:14

           3     reporting from a place where -- excuse me -- a place          11:31:17

           4     where we can be proud and where we have done our              11:31:23

           5     best to do the right thing.                                   11:31: 28

           6          Q     Is accuracy a fundamental principle for            11:31:29

           7     MSNBC?                                                        11:31:41

           8          A     I think accuracy is a fundamental                  11:31:42

           9     journalistic principle.                                       11: 31:45

         10           Q     Is fairness a fu ndamental principle for           11:31:46

         11      MSNBC?                                                        11:3 1 : 50

         12           A     Yes.    We always strive to be fair,     of        11:31: 52

         13      course.                                                       11:31:54

         14           Q     Is integrity a fundamental principle for           11: 31: 54

         15      MSNBC?                                                        11:31:59

         16           A     Yes.                                               11:32:00

         17           Q     Okay.    Why is accuracy a fundamental             11:32:00

         18      principle for MSNBC?                                          11:32:04

         19           A     We're journalists; it's important to be            11:32:06

         20      right.                                                        11 : 32: 13

         21           Q     Thank you.                                         11:32:13

         22                 Now, why is fairness a fundamental                 11:32:14

         23      principle for MSNBC?                                          11:32:16

         24           A     We want to be seen by our audience as              11 : 32:19

         25      people who present a story based on all sides, not            11 :32: 21

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             1                  MR . SHOOK:    Objection .     Go ahead and answer    11:59:19

             2      if you can .                                                      11 : 59 : 22

             3                  THE WITNESS:     He was not convicted of a            11:59:22

             4      felony charge, yes.                                               11:59:30

             5      BY MR . SIMPKINS:                                                 11 : 59:31

             6           Q      Isn't it true th a t Don Blankenship was              11:59 : 31

             7      convicted of a misdemeanor only?                                  11 : 59 : 33

             8           A      Yes ,                                                 11:59:37

             9           Q      Okay.     Marian, the -- the, quote, convicted        11:59:37

            10      felon Don Blankenship, unquote, statements made,                  11 : 59 : 49

            11      were those a violation of the guidelines that you've              11: 5 9 : 53

            12      previously testified to here today?                               11 : 59 : 57

            13           A      I don't believe so, no .                              12 : 00 : 00

            14           Q      You do not believe so?                                12 : 00:01

            15           A      No, they were not .                                   12 : 00:03

            16           Q      How       how were they not?       How were they      12 : 00 : 04

            17     not a viola t ion of your guidelines to report                     12 : 00 : 10

            18      accurate,    f air,   and honest reporting?                       12 : 00 : 12

            19           A      Because I think the words used in the                 12:00:14

            20      context in which they were used were substantially                12 : 00 : 17

            21      true .                                                            12 : 00 : 19

            22           Q      Let me ask you this :        Quote, convicted         12 : 00 : 20

            23      felon Don Blankenship, was that an accurate,            fair,     12:00:23

            24     and honest r epresentation of his -- of his charge or              12 : 00 : 26

            25     a representation of Mr. Blankenship's charges?                     12:00 : 33

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           1      STATE OF CALIFORNIA
           2      COUNTY OF RIVERSIDE                 ss.
           3
           4            I, Paula A . Pyburn, CSR No . 7304, RPR, CLR, in
           5      and for the State of California, do hereby certify :
           6            I am the deposition officer that
           7      stenographically recorded the testimony in the
           8      foregoing deposition;
           9            Prior to being examined the deponent was first
          10      duly sworn by me;
          11           The foregoing transcript is a true record of the
          12      testimony given .
          13           Before completion of the deposition, review of
          14      the transcript [xx] was          [ ] was not requested .       If
          15      requested, any changes made by the deponent (and
          16      provided to the reporter) during the period allowed
          17      are appended hereto .
          18
          19      Dated: December 30, 2020
          20
          21
          22
                                          Paula A. Pyburn, RPR, CLR
          23                              CSR No. 7304
                                          Certified Shorthand
          24                              Reporter for the
                                          State of California
          25

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                   NBCUniversal News Group
                    Policies and Guidelines



                                     December 2014




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         NBCUniversal

                                                      FOREWORD




         The NBCUniversal News Group (News Group) - NBC News, MSNBC, and CNBC - stands for accuracy,
         fairness, independence, and integrity. Our goal in the crowded field of TV and digital services is to be
         the reliable source for news and information.

         These Policies and Guidelines apply to everyone working for the News Group, the NBCUniversal
         Owned Stations, and the Telemundo network and stations. There may be some specific policies and
         approval processes that are specific to each entity, but the fundamental principles apply to all.

         Of course, we recognize that it is not possible to include every issue you may face in the course of
         your work. We expect you to use your best common sense and conduct yourselves in a professional
         manner at all times.

         In some cases, you may need to consult the News Group Standards team ("Standards"), along with
         the News Group Lawyers ("Legal") for guidance. We are here, as part of the journalism process, to
         help you publish and air your work.

         The Senior Vice President for Standards, in consultation with the senior management of the
         respective divisions, must approve any exceptions to these policies and guidelines in advance.



                                                          David McCormick
                                                          Senior Vice President, Standards
                                                          NBCUniversal News Group




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                           EXHIBIT 5




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                                          In the Matter Of:

                                         BLANKE1VSHIP vs
                                         FOX NEWS NETWORK




                                      DON BLANKENSHIP
                                           April 29, 2021




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                                                                                        1

                   1                UNITED STATES DISTRICT COURT
                   2             SOUTHERN DISTRICT OF WEST VIRGINIA

                   3                      CHARLESTON DIVISION

                   4    --------------------------x
                   5    DON BLANKENSHIP,

                   6                     Plaintiff, :         Case No.

                   7          v.                              2 : 19-cv-00236

                   8    FOX NEWS NETWORK LLC,

                   9    et al.,

                  10                     Defendants . :

                  11    --------------------------x
                  12

                  13     REMOTE VIDEOTAPED STENOGRAPHIC DEPOSITION OF

                  14                          DON BLANKENSHIP

                  15                   Thursday, April 29, 2021

                  16                             9 : 18 a . rn .

                  17

                  18

                  19

                  20

                  21    Job No. :     2021 - 788054

                  22    Pages:      1 - 507

                  23    STENOGRAPHICALLY REPORTED BY :

                  24    GISELLE MITCHELL- MARGERUM, RPR, CRI, CCR, LCR, CSR


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                                     Don Blankenship - April 29, 2021

                                                                                   2
              1                Deposition of DON BLANKENSHIP, held remotely,

              2    via videoconference at :

              3

              4

              5                VIA VIDEOCONFERENCE

              6

             7

              8

              9                Pursuant to agreement, before Giselle

            10     Mitchell - Margerum, Registered Professional Reporter,

            11     Certified Reporting Instructor, Licensed Court Reporter

            12      (TN), Certified Court Reporter (GA), Certified Court

            13     Reporter (WA), Certified Shorthand Reporter (OR), and

            14     Notary Public    (Washington,    D. C . ) .

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                                      Don Blankenship - April 29, 2021

                                                                                    3
              1                    A P P E A R A N C E S

              2     ON BEHALF OF PLAINTIFF :

              3                 JEREMY GRAY, ESQ.

              4                 SAAM TAKALOO, ESQ .

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            22                  304.348.2404

            23

            24



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                                                                                    4
              1    APPEARANCES (cont'd) :

              2

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              4     and CNBC:

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            24



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                                       Don Blankenship - April 29, 2021

                                                                                      5
              1     APPEARANCES   (cont ' d) :

              2     FOR DEFENDANT AMERICAN BROADCASTING COMPANIES, HD

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            11      and WP COMPANY :

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            24                 WHEELING, WV 26003



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                                          Don Blankenship - April 29, 2021

                                                                                            154
              1     NBC Universal.         I'll be asking a group of

              2     questions next .

              3                           In your testimony earlier, you

              4     testified that you retired from Massey Energy

              5     Company on December 31st 2010.              Correct?

              6                           MR . SIMPKINS:    Objection as to

             7           form .

             8           A.       I don't know if I was specific,

              9     December 31 .        Whatever that document said.          I

            10      agreed that it was at the end of 2010.                 I

            11      don't know if it was January 1, 2011; or

            12      December 23, 2010; or December 31, 2010.

            13           Q.       Since your retirement, have you been

            14      employed by anyone?

            15           A.       No.

            16           Q.       You remain to this day, retired .

            17     Correct?

            18           A.       Yes.

            19           Q.       Since your retirement, have you

            20     served as an independent contractor for

            21     anyone?

            22                           MR . SIMPKINS:     Objection as to

            23           form.

            24           A.       I don't think you would call it an


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                                       Don Blankenship - April 29, 2021

                                                                                    155
              1     independent contractor.        I've done a little

             2      bit of -- brokered one boat, or two boats of

             3      coal for client resources, I think that would

             4      be about the extent of it.

             5           Q.    But you haven't been a paid

             6      independent contractor from -- since your

             7      retirement, have you?

             8           A.    I think that's correct.

             9           Q.    Since your retirement, have you been

            10      a paid consultant in any way?

            11           A.    No.

            12           Q.    Since your retirement, have you

            13      served on any boards?

            14           A.    No.

            15           Q.    Have you pursued employment since

            16      your retirement?

            17           A.    No.

            18           Q.    Why not?

            19           A.    Because of the aftermath of the

            20      tragedy and various other things.          Like t he

            21     non-compete agreement.         Being the subject of

            22     an FBI investigation .        Being indicted, being

            23      tried, being imprisoned, being in a half-way

            24     house, and deciding that I should run for the



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                                           Don Blankenship - April 29, 2021

                                                                                       156
              1     U.S. Senate.

              2           Q.       So,   the Upper Big Branch tragedy

              3     impacted your interest in getting employment

              4     or your ability to obtain employment?

              5                           MR. SIMPKINS :     Objection as to

              6           form .

              7          A.        I don't think the tragedy had much

              8     impact .    The reporting on the tragedy had a

              9     lot of impact .

            10           Q.        So, the reporting on the Upper Big

            11      Branch tragedy impacted your ability to obtain

            12      employment after retirement?

            13                            MR. SIMPKINS:      Objection as to

            14            form?

            15           A.        I think it's fair to say that the --

            16      the reporting - - the false reporting and the

            17     FBI activity and public statements all had an

            18     impact on my desire or likelihood of

            19     successfully seeking employment, so there were

            20     a lot of factors over that, I guess, about an

            21     eight-year period, seven-year period.

            22           Q.        And does that impact you still to

            23      this day?

            24           A.        I   don't know .   You know, I mean - -



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                                        Don Blankenship - April 29, 2021

                                                                                     170
           1    probably summer of 2014.

           2            Q.       It was after you retired?

           3            A.       Yes.

           4            Q.       Did you make any money associated

           5    with the Regcession documentary?

           6                            MR. SIMPKINS:     Objection as to

           7            form .

           8            A.       I wasn't trying to make any money.

           9    I was trying to repair a reputation that might

          10    lead to both a more normal life and better

          11    employment opportunities.

          12                     And to save coal miners' lives,

          13    which I think that if they watch it and look

          14    at the recommendations, it will save lives.

          15            Q.       What is Number 23 Inc.?

          16            A.       It is just my son's dirt track

          17    racing team, that they raced in a couple of

          18    series and one of the series is called the

          19    world of outlaws and one Lucas racing or

          20    something like that.

          21            Q.       What is your role with Number 23

          22    Inc.?

          23                            MR . SIMPKINS :   Objection as to

          24            form.



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                                          Don Blankenship - April 29, 2021

                                                                                           319
              1     your face .

              2                           MR. FEDER :     Let's take a break

              3           now,     for a few minutes.

              4                           MR . REGAN:     All right.

              5                           MR. FEDER:      And then, we

              6           could -- do people want 10 minutes,                 I

              7           guess?      Let's go off the record .

              8                           THE VIDEOGRAPHER :        The time is

              9           4:38 .     Off the record .

            10                     (Short break . )

            11                            THE VIPEOGRAPHER:         All right.

            12            The time is 5 : 10 .        Back on the record .

            13                            MR. FEDER:      Okay.     Thanks

            14            Mr. Blankenship, that concludes my

            15            portion, for now, on that topic.                  And so,

            16            I'm going to pass the baton to Mr . Regan,

            17            to continue the next topic.

            18                            THE WITNESS:         Thank you.

            19                            MR . REGAN:     Thank you, Eric.

            20      FURTHER CROSS - EXAMINATION BY MR. REGAN:

            21           Q.        Mr. Blankenship, you were indicted

            22     by a Federal Grand Jury,             in November of 2014.

            23      Is that correct?

            24           A.        Yes.



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                                  Don Blankenship - April 29, 2021

                                                                                   331
        ·1    · · ·Q.· ·The sentencing judge gave you, or

        ·2    sentenced you, to a term of 12 months in

        ·3    prison.· Correct?

        ·4    · · ·A.· ·Yes.

        ·5    · · ·Q.· ·And that was the maximum sentence

        ·6    that she could have imposed for that offence.

        ·7    Correct?

        ·8    · · ·A.· ·That's what I'm told.· Yes.

        ·9    · · ·Q.· ·And she also imposed a

        10    250,000-dollar fine.· Correct?

        11    · · ·A.· ·Yes.

        12    · · ·Q.· ·And that was the maximum fine that

        13    she could have imposed, under the law?

        14    · · ·A.· ·Yes.

        15    · · ·Q.· ·And she also imposed a term of 12

        16    months of supervised release, to follow your

        17    release from prison.· Right?

        18    · · ·A.· ·Yes.

        19    · · ·Q.· ·And that supervised -- that 12

        20    months of supervised release was also the

        21    maximum sentence she could impose?

        22    · · ·A.· ·Yes.

        23    · · ·Q.· ·Correct?

        24    · · ·A.· ·That's my understanding.


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                                                                                      338
              1                          And that she said:

              2                          "I also find,      specifically,

              3     that Mr. Blankenship, that the sentence

              4     reflects the seriousness of the offense."

              5                          And if I told you that she used

              6     the word "serious" several other times in her

              7     sentencing,      including saying :

              8                          "The crime is serious, and we

              9     sentence based on the conduct, which I find to

            10      be very serious, not only in its commission,

            11      but in its potential impact in terms of risk

            12      in this particular case."

            13                           Would that be surprising to

            14      you?

            15                           MR. SIMPKINS :     Objection as to

            16             form?

            17             A.      No.   As I   said, I   think it might

            18     have been surprising to most of the people in

            19      the audience, and to my attorneys.

            20                     It wasn't surprising to me, because

            21     it's been consistent with the treatment since

            22     1985, by liberal or activist judges, or the

            23     media .

            24                     The bottom line is, you know, they



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           1                         MR. SIMPKINS :    Objection as to

           2            form.

            3           Q.         in deciding how long to sentence

            4    you?

            5           A.      I agree

            6           Q.      Right?

           7            A.      I agree that the action she took

            8    would suggest that she considered i t a very

            9    serious offense.

          10                    But I suspect that like with the

          11     Mine Safety and Health Administration; United

          12     Mine Workers; Department of Labor;

          13     Davitt McAteer; and Joe Manchin state reports,

          14     that she was protecting the President's

          15     proclamation that he made before anybody went

          16     underground, and so forth.

          17                    And I think it's important to

          18     understand, consider i t as serious as you want

          19     to consider it, the words, "conspiring

          20     to willfully commit mine safety violations,"

          21     sounds horrible .

          22                    But what constituted that, in this

          23     trial, was the men telling each other that

          24     inspectors had arrived .       Which is a national,



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           1                    REPORTER'S     CERTIFICATE

           2

           3         I, GISELLE MITCHELL-MARGERUM, the undersigned,
                a Registered Professional Reporter, Certified
           4    Reporting Instructor, Licensed Court Reporter, and
                Certified Court Reporter, do hereby certify:
           5
                     That the witness, DON BLANKENSHIP, before
           6    examination was remotely duly sworn to testify to
                the truth, the whole truth, and nothing but the
           7    truth.

           8         That the foregoing deposition was taken
                remotely stenographically by me on Thursday, April
           9    29, 2021, and thereafter was transcribed by me, and
                that the deposition is a full, true, and complete
          10    transcript of the testimony, including questions
                and answers, and objections, motions and exceptions
          11    made by counsel .

          12         That reading and signing was not requested;
                and that I am neither attorney nor counsel for, nor
          13    related to or employed by, any of the parties to
                the action in which this deposition was taken; and
          14    that I have no interest, financial or otherwise, in
                this case .
          15

          16              IN WITNESS WHEREOF,         I have hereunto set
                my hand this 4th day of May               2021 .
          17

          18

          19

          20

          21    GISELLE MITCHELL-MARGERUM, RPR, CRI, CCR, LCR, CSR

          22

          23

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